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                                                                                 Actual Actual            Time   Amount
Date Billed on      Billed By                    Description                                     Rate                     % Reduction           Category
                                                                                 Time Charge            Claimed Claimed
 2019-02-06      Josh Sanford   Discussion of case status and directing case        0.10 $30.00 $300.00     0.00    $0.00     100.00% In House Conference
                                strategy to Attorney Chris Burks, Blake Hoyt,
                                Tess Bradford, April Rheaume , Michael Stiritz
                                , Steve Rauls, Josh West, and Sean Short:
                                complaint
 2019-02-06      Josh Sanford   Telephone Conference(s) with Anna Stiritz :        0.10   $30.00 $300.00    0.00     $0.00     100.00% In House Conference
                                FLMA claim
 2019-02-06      Josh Sanford   Conference with Josh West: FMLA claim              0.20   $60.00 $300.00    0.00     $0.00     100.00% In House Conference
 2019-02-06      Josh Sanford   Examination of intra-office memo: FMLA             0.10   $30.00 $300.00    0.00     $0.00     100.00% Case Management
                                liability
 2019-02-06      Josh Sanford   Examination of memo on FMLA issues                 0.10   $30.00 $300.00    0.00    $0.00      100.00% Case Management
 2019-02-06      Josh Sanford   Examination of intra-office memo: second P         0.10   $30.00 $300.00    0.10   $30.00        0.00% Case Management
 2019-02-06      Sean Short     Conference with Josh Sanford, Chris Burks,         0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                Josh West, Steve Rauls, April Rheaume , Tess
                                Bradford, Michael Stiritz, Stacy Gibson, and
                                Blake Hoyt regarding case status
 2019-02-06      Josh West      Perform legal research as related to Client's      0.40   $90.00 $225.00    0.00     $0.00     100.00% Complaint/Summons/Service
                                case FMLA serious health conditions regarding
                                strep throat
 2019-02-06      Josh West      Compose e-mail to memo to Josh Sanford,            0.30   $67.50 $225.00    0.00     $0.00     100.00% In House Conference
                                Anna Stiritz, and Lydia Hamlet regarding
                                serious health conditions, strep throat
 2019-02-06      Josh West      Conference with Josh Sanford regarding case        0.30   $67.50 $225.00    0.00     $0.00     100.00% In House Conference
                                facts, case analysis
 2019-02-06      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00   0.10     $2.50       0.00% Complaint/Summons/Service
                                email(s) from Anna Stiritz regarding potential
                                second Plaintiff
 2019-02-06      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00   0.00     $0.00     100.00% Complaint/Summons/Service
                                email(s) from Josh Sanford regarding: FMLA
                                and strep throat
 2019-02-06      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00   0.00     $0.00     100.00% Complaint/Summons/Service
                                email(s) from Josh Sanford regarding: FMLA
                                and strep throat
 2019-02-06      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00   0.00     $0.00     100.00% Complaint/Summons/Service
                                email(s) from Josh West regarding FMLA and
                                strep throat
 2019-02-06      Staff          Preparation and drafting of complaint              0.10    $2.50 $25.00     0.10     $2.50       0.00% Complaint/Summons/Service
 2019-02-06      Stacy Gibson   Conference with Josh Sanford, Chris Burks,         0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                Josh West, April Rheaume , Sean Short, Daniel
                                Ford, Blake Hoyt, and Tess Bradford regarding
                                complaint status
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                                                                                Actual Actual            Time   Amount
Date Billed on      Billed By                    Description                                    Rate                     % Reduction           Category
                                                                                Time Charge            Claimed Claimed
 2019-02-06      Stacy Gibson   Conference with Josh Sanford, Chris Burks,         0.10 $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                Josh West, April Rheaume , Sean Short, Daniel
                                Ford, Blake Hoyt, and Tess Bradford regarding
                                complaint status
 2019-02-06      Staff          Telephone Conference(s) with Josh Sanford -       0.10    $2.50   $25.00   0.10     $2.50       0.00% Complaint/Summons/Service
                                damages
 2019-02-06      Staff          Telephone Conference(s) between Attorney          0.10    $2.50   $25.00   0.10     $2.50       0.00% Complaint/Summons/Service
                                and Client regarding 2nd Plaintiff
 2019-02-07      Josh Sanford   Telephone Conference(s) with Lydia Hamlet:        0.20   $60.00 $300.00    0.20   $60.00        0.00% In House Conference
                                merits, Next steps
 2019-02-07      Josh Sanford   Receive, read and prepare response to             0.10   $30.00 $300.00    0.10   $30.00        0.00% In House Conference
                                email(s) from Lydia Hamlet: drafting
                                complaint
 2019-02-07      Josh Sanford   Examination of intra-office memo: Client          0.10   $30.00 $300.00    0.00     $0.00     100.00% Case Management
                                meeting
 2019-02-07      Staff          Telephone Conference(s) with Anna Stiritz         0.10    $2.50   $25.00   0.10     $2.50       0.00% Complaint/Summons/Service
                                regarding complaint
 2019-02-07      Staff          Telephone Conference(s) with Josh Sanford         0.10    $2.50   $25.00   0.00     $0.00     100.00% In House Conference
                                regarding case strategy, complaint, etc.- see
                                House (FMLA)
 2019-02-07      Staff                                                            0.10    $2.50   $25.00   0.10     $2.50       0.00% Client Communication
 2019-02-07      Staff          Compose, prepare and send correspondence to       0.10    $2.50   $25.00   0.00     $0.00     100.00% Case Management
                                Josh Sanford regarding complaint status
 2019-02-07      Staff          Receive, read and prepare response to             0.10    $2.50   $25.00   0.00     $0.00     100.00% Case Management
                                email(s) from Josh Sanford regarding
                                complaint
 2019-02-07      Staff          Receive, read and prepare response to             0.10    $2.50   $25.00   0.10     $2.50       0.00% Case Management
                                email(s) from Josh Sanford regarding
                                complaint
 2019-02-07      Staff          Conference with Allison Koile regarding           0.20    $5.00   $25.00   0.00     $0.00     100.00% Case Management
                                complaint, claims, etc
 2019-02-07      Staff          Conference with Staff regarding complaint         0.10    $2.50 $25.00     0.00     $0.00     100.00%   Case Management
 2019-02-07      Staff          Compose e-mail to Lydia Hamlet                    0.10    $2.50 $25.00     0.00     $0.00     100.00%   In House Conference
 2019-02-07      Staff                                                            0.10    $2.50 $25.00     0.10     $2.50       0.00%   Client Communication
 2019-02-08      Josh Sanford   Examination of intra-office memo: Client call     0.10   $30.00 $300.00    0.00     $0.00     100.00%   Case Management
 2019-02-08      Steve Rauls    Conference with Josh Sanford regarding            0.10   $17.50 $175.00    0.00     $0.00     100.00%   In House Conference
                                complaint
 2019-02-08      Josh Sanford   Examination of intra-office memos: second         0.10   $30.00 $300.00    0.10   $30.00        0.00% Case Management
                                Plaintiff
 2019-02-08      Josh Sanford   Examination of draft complaint, intra-office      0.10   $30.00 $300.00    0.00     $0.00     100.00% Complaint/Summons/Service
                                memo
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                                                                                 Actual Actual            Time   Amount
Date Billed on      Billed By                    Description                                     Rate                     % Reduction           Category
                                                                                 Time Charge            Claimed Claimed
 2019-02-08      Josh Sanford   Discussion of case status and directing case        0.10 $30.00 $300.00     0.00    $0.00     100.00% In House Conference
                                strategy to Attorney Steve Rauls
 2019-02-08      Josh Sanford   Examination of intra-office memo: 3rd              0.10   $30.00 $300.00    0.00     $0.00     100.00% Case Management
                                Plaintiff
 2019-02-08      Josh Sanford   Editing and revision of complaint                  0.50 $150.00 $300.00     0.50   $150.00       0.00% Complaint/Summons/Service
 2019-02-08      Josh Sanford   Preparation and drafting of intra-office memo:     0.10 $30.00 $300.00      0.00     $0.00     100.00% Case Management
                                Next steps
 2019-02-08      Staff                                                             0.60   $15.00   $25.00   0.60    $15.00       0.00% Client Communication
 2019-02-08      Staff                                                             0.10    $2.50   $25.00   0.00     $0.00     100.00% Client Communication
 2019-02-08      Staff          Compose, prepare and send correspondence to        0.10    $2.50   $25.00   0.00     $0.00     100.00% In House Conference
                                Anna Stiritz regarding Client conference
 2019-02-08      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00   0.00     $0.00     100.00% In House Conference
                                email(s) from Anna Stiritz regarding
                                additional Plaintiffs
 2019-02-08      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00   0.00     $0.00     100.00% In House Conference
                                email(s) from Anna Stiritz regarding
                                conference call with Client; second Plaintiff
 2019-02-08      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00   0.00     $0.00     100.00% In House Conference
                                email(s) from Anna Stiritz regarding
                                conference call with Client
 2019-02-08      Staff          Work on Client's file complaint (email Josh        1.20   $30.00   $25.00   1.20    $30.00       0.00% Complaint/Summons/Service
                                Sanford regarding same)
 2019-02-08      Staff                                                             0.10    $2.50 $25.00     0.10     $2.50       0.00% Client Communication
 2019-02-11      Josh Sanford   Examination of intra-office memo: contacts         0.10   $30.00 $300.00    0.00     $0.00     100.00% Case Management
                                out to 2 Plaintiffs
 2019-02-11      Josh Sanford   Discussion of case status and directing case       0.10   $30.00 $300.00    0.00     $0.00     100.00% In House Conference
                                strategy to Attorney Allison Koile
 2019-02-11      Josh Sanford   Examination of intra-office memo: 2nd              0.10   $30.00 $300.00    0.00     $0.00     100.00% Case Management
                                Plaintiff
 2019-02-11      Josh Sanford   Examination of intra-office memo: edited           0.10   $30.00 $300.00    0.00     $0.00     100.00% Complaint/Summons/Service
                                complaint
 2019-02-11      Staff          Compose, prepare and send correspondence to        0.10    $2.50   $25.00   0.00     $0.00     100.00% In House Conference
                                Josh Sanford regarding Davidson allegations

 2019-02-11      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00   0.00     $0.00     100.00% Complaint/Summons/Service
                                email(s) from Josh Sanford regarding editing
                                complaint
 2019-02-11      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00   0.00     $0.00     100.00% In House Conference
                                email(s) from Anna Stiritz regarding contract
                                (Davidson)
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                                                                                 Actual Actual              Time   Amount
Date Billed on      Billed By                    Description                                       Rate                     % Reduction           Category
                                                                                 Time Charge              Claimed Claimed
 2019-02-11      Staff          Receive, read and prepare response to               0.10  $2.50    $25.00     0.00    $0.00     100.00% In House Conference
                                email(s) from Josh Sanford regarding
                                additional Plaintiffs
 2019-02-11      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                email(s) from Anna Stiritz regarding
                                additional Plaintiffs
 2019-02-11      Staff          Receipt and review of Davidson contact             0.10    $2.50 $25.00      0.00    $0.00       100.00% Case Management
 2019-02-11      Staff          Work on Client's file complaint                    1.70   $42.50 $25.00      1.00   $25.00        41.18% Complaint/Summons/Service
 2019-02-14      Josh Sanford   Receive, read and prepare response to              0.10   $30.00 $300.00     0.00    $0.00       100.00% In House Conference
                                email(s) from Lydia Hamlet and Anna Stiritz:
                                filing tomorrow
 2019-02-15      Staff                                                             0.10    $2.50   $25.00    0.00     $0.00      100.00% Client Communication
 2019-02-15      Staff          Compose, prepare and send correspondence to        0.10    $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                Josh Sanford regarding filing status
 2019-02-15      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                email(s) from Josh Sanford regarding filing
                                status, third Plaintiff
 2019-02-15      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                email(s) from Staff regarding Client call
 2019-02-17      Josh Sanford   Receive, read and prepare response to              0.10   $30.00 $300.00     0.00     $0.00      100.00% In House Conference
                                email(s) from Lydia Hamlet: filing Tuesday
 2019-02-18      Josh Sanford   Receive, read and prepare response to              0.10   $30.00 $300.00     0.00     $0.00      100.00% In House Conference
                                email(s) from Lydia Hamlet: filing tomorrow
 2019-02-18      Josh Sanford   Discussion of case status and directing case       0.10   $30.00 $300.00     0.00     $0.00      100.00% In House Conference
                                strategy to Attorney Chris Burks, Stacy
                                Gibson, Sean Short, Steve Rauls, Tess
                                Bradford, Michael Stiritz , Josh West, Rebecca
                                Matlock, Meridith Queen, and Blake Hoyt
                                (status of complaint)
 2019-02-18      Josh Sanford   Telephone Conference(s) with Staff: case           0.10   $30.00 $300.00     0.10   $30.00         0.00% Case Management
                                management
 2019-02-18      Josh Sanford   Editing and revision of revised complaint          0.30   $90.00 $300.00     0.30   $90.00         0.00% Complaint/Summons/Service
 2019-02-18      Josh Sanford   Preparation and drafting of intra-office memo:     0.10   $30.00 $300.00     0.00    $0.00       100.00% Case Management
                                filing tomorrow
 2019-02-18      Staff          Compose, prepare and send correspondence to        0.10    $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                Josh Sanford regarding complaint
 2019-02-18      Staff          Compose, prepare and send correspondence to        0.10    $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                Josh Sanford regarding complaint
 2019-02-18      Staff          Compose, prepare and send correspondence to        0.10    $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                Josh Sanford regarding complaint status
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                                                                                 Actual Actual              Time   Amount
Date Billed on      Billed By                    Description                                       Rate                     % Reduction           Category
                                                                                 Time Charge              Claimed Claimed
 2019-02-18      Staff          Receive, read and prepare response to               0.10  $2.50    $25.00     0.00    $0.00     100.00% In House Conference
                                email(s) from Staff regarding call from Client

 2019-02-18      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                email(s) from Josh Sanford regarding status
 2019-02-18      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                email(s) from Josh Sanford regarding
                                complaint status
 2019-02-18      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                email(s) from Josh Sanford regarding 2-19-19
                                CCS and summons
 2019-02-18      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                email(s) from Josh Sanford regarding filing
                                complaint
 2019-02-18      Staff          Preparation and drafting of complaint              0.20    $5.00   $25.00    0.20     $5.00        0.00% Complaint/Summons/Service
 2019-02-18      Staff          Work on Client's file prepare complaint for        0.10    $2.50   $25.00    0.00     $0.00      100.00% Complaint/Summons/Service
                                filing
 2019-02-18      Staff          Work on Client's file summons                      0.40   $10.00   $25.00    0.40   $10.00         0.00% Complaint/Summons/Service
 2019-02-18      Staff          Work on Client's file cover sheet                  0.20    $5.00   $25.00    0.20    $5.00         0.00% Complaint/Summons/Service
 2019-02-18      Staff          Editing and revision of summons; save same         0.20    $5.00   $25.00    0.20    $5.00         0.00% Complaint/Summons/Service
                                to electronice file
 2019-02-18      Staff          Conference with Staff regarding summons            0.10    $2.50   $25.00    0.00     $0.00      100.00% Case Management
 2019-02-18      Staff          Conference with Staff regarding filing             0.10    $2.50   $25.00    0.00     $0.00      100.00% Case Management
                                complaint
 2019-02-18      Staff          Conference with Staff regarding filing             0.10    $2.50   $25.00    0.00     $0.00      100.00% Case Management
                                complaint
 2019-02-19      Josh Sanford   Telephone Conference(s) with Lydia Hamlet          0.10   $30.00 $300.00     0.00     $0.00      100.00% In House Conference
 2019-02-19      Josh Sanford   Examination of transmittal to                      0.10   $30.00 $300.00     0.00     $0.00      100.00% Case Management
 2019-02-19      Josh Sanford   Discussion of case status and directing case       0.10   $30.00 $300.00     0.00     $0.00      100.00% In House Conference
                                strategy to Attorney Sean Short
 2019-02-19      Josh Sanford   Examination of Intra-office memo regarding         0.10   $30.00 $300.00     0.00     $0.00      100.00% Case Management
                                case events and deadlines
 2019-02-19      Josh Sanford   Examination of filed complaint; judge              0.10   $30.00 $300.00     0.10   $30.00         0.00% Case Management
                                assignment
 2019-02-19      Josh Sanford   Examination of notice of reassignment              0.10   $30.00 $300.00     0.10   $30.00         0.00% Case Management
 2019-02-19      Josh Sanford   Examination of notice of summons-issued            0.10   $30.00 $300.00     0.00    $0.00       100.00% Case Management
 2019-02-19      Staff          Conference with Lydia Hamlet regarding case        0.20    $5.00 $25.00      0.00    $0.00       100.00% In House Conference
                                filing
 2019-02-19      Staff                                                             0.30    $7.50   $25.00    0.30     $7.50        0.00% Client Communication
 2019-02-19      Staff                                                             0.10    $2.50   $25.00    0.00     $0.00      100.00% Client Communication
 2019-02-19      Staff          Compose, prepare and send correspondence to        0.10    $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                Josh Sanford regarding case assignment
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                                                                              Actual Actual             Time   Amount
Date Billed on      Billed By                  Description                                     Rate                     % Reduction           Category
                                                                              Time Charge             Claimed Claimed
 2019-02-19      Staff          Compose, prepare and send correspondence to      0.10  $2.50   $25.00     0.00    $0.00     100.00% In House Conference
                                Josh Sanford regarding case reassignment
 2019-02-19      Staff          Compose, prepare and send correspondence to      0.10  $2.50   $25.00    0.10     $2.50        0.00% In House Conference
                                Josh Sanford regarding CCS and summons
 2019-02-19      Staff          Compose, prepare and send correspondence to      0.10  $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                Josh Sanford regarding CCS and summons
 2019-02-19      Staff          Receive, read and prepare response to            0.10  $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                email(s) from Josh Sanford regarding case
                                reassignment
 2019-02-19      Staff          Receive, read and prepare response to            0.10  $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                email(s) from Josh Sanford regarding status
 2019-02-19      Staff          Receive, read and prepare response to            0.10  $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                email(s) from Josh Sanford regarding cover
                                sheet, filing
 2019-02-19      Staff          Receive, read and prepare response to            0.10  $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                email(s) from Sean Short regarding cover
                                sheet
 2019-02-19      Staff          Receive, read and prepare response to            0.10  $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                email(s) from Sean Short regarding case
                                initiating document to Court
 2019-02-19      Staff          Receive, read and prepare response to            0.10  $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                email(s) from Josh Sanford regarding
                                complaint, etc
 2019-02-19      Staff          Receipt and review of filing fee receipt         0.10  $2.50   $25.00    0.10     $2.50        0.00% Case Management
 2019-02-19      Staff          Receipt and review of notice regarding filing    0.10  $2.50   $25.00    0.00     $0.00      100.00% Case Management
                                fee
 2019-02-19      Staff          Receipt and review of notice of reassignment     0.10  $2.50   $25.00    0.00     $0.00      100.00% Case Management
                                to Brooks
 2019-02-19      Staff          Receipt and review of edited cover sheet         0.10  $2.50   $25.00    0.00     $0.00      100.00% Case Management
 2019-02-19      Staff          Receipt and review of filed marked               0.10  $2.50   $25.00    0.00     $0.00      100.00% Case Management
                                complaint, cover sheet
 2019-02-19      Staff          Receipt and review of notice regarding issued    0.10  $2.50   $25.00    0.10     $2.50        0.00% Case Management
                                summons
 2019-02-19      Staff          Receipt and review of intra-office memo          0.20  $5.00   $25.00    0.00     $0.00      100.00% Case Management
                                regarding service deadline and summons
 2019-02-19      Staff          Receipt and review of magistrate                 0.10  $2.50   $25.00    0.10     $2.50        0.00% Case Management
                                notice/consent form
 2019-02-19      Staff          Work on Client's file prepare complaint and      0.30  $7.50   $25.00    0.00     $0.00      100.00% Case Management
                                cover sheet for filing; email Sean Short
                                regarding same
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                                                                                 Actual Actual            Time   Amount
Date Billed on      Billed By                    Description                                     Rate                     % Reduction           Category
                                                                                 Time Charge            Claimed Claimed
 2019-02-19      Sean Short     Telephone Conference(s) with Lydia Hamlet           0.10 $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                regarding filing complaint
 2019-02-19      Sean Short     Compose e-mail to Process Server regarding         0.10   $17.50 $175.00    0.00     $0.00     100.00% Complaint/Summons/Service
                                service of summons and complaint
 2019-02-19      Sean Short     Compose e-mail to clerk regarding filing civil     0.10   $17.50 $175.00    0.00     $0.00     100.00% Complaint/Summons/Service
                                cover sheet and complaint
 2019-02-19      Sean Short     Compose e-mail to Lydia Hamlet regarding           0.10   $17.50 $175.00    0.00     $0.00     100.00% Complaint/Summons/Service
                                civil cover sheet
 2019-02-19      Sean Short     Receipt and review of summons issued; save         0.10   $17.50 $175.00    0.00     $0.00     100.00% Complaint/Summons/Service
                                to file
 2019-02-19      Sean Short     Filing Requests for issuance of summons            0.10   $17.50 $175.00    0.00     $0.00     100.00% Complaint/Summons/Service
 2019-02-21      Josh Sanford   Discussion of case status and directing case       0.10   $30.00 $300.00    0.00     $0.00     100.00% In House Conference
                                strategy to Attorney Lydia Hamlet
 2019-02-21      Staff          Telephone Conference(s) with Sean Short            0.10    $2.50   $25.00   0.00     $0.00     100.00% In House Conference
                                regarding service status
 2019-02-21      Staff          Telephone Conference(s) with Josh Sanford          0.10    $2.50   $25.00   0.00     $0.00     100.00% In House Conference
                                regarding case reassignment, service status
 2019-02-21      Sean Short     Conference with Lydia Hamlet regarding             0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                service of process
 2019-02-25      Staff          Conference with Staff regarding message            0.10    $2.50   $25.00   0.00     $0.00     100.00% In House Conference
                                from Client
 2019-02-26      Staff                                                             0.10    $2.50 $25.00     0.00    $0.00      100.00% Client Communication
 2019-02-28      Josh Sanford   Editing and revision of draft Discovery            0.10   $30.00 $300.00    0.10   $30.00        0.00% Discovery Related
 2019-02-28      Josh Sanford   Receive, read and prepare response to              0.10   $30.00 $300.00    0.00    $0.00      100.00% In House Conference
                                email(s) from Stacy Gibson: propounding
                                Discovery
 2019-03-12      Josh Sanford   Preparation and drafting of intra-office memo:     0.20   $60.00 $300.00    0.00     $0.00     100.00% Case Management
                                status of service
 2019-03-12      Sean Short     Telephone Conference(s) with Process Server        0.10   $17.50 $175.00    0.00     $0.00     100.00% Complaint/Summons/Service
                                regarding status of service
 2019-03-12      Sean Short     Receive, read and prepare response to              0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                email(s) from Josh Sanford regarding status
                                of service of process
 2019-03-12      Sean Short     Compose e-mail to Process Server regarding         0.10   $17.50 $175.00    0.00     $0.00     100.00% Complaint/Summons/Service
                                status of service of summons and complaint
 2019-03-13      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00   0.00     $0.00     100.00% In House Conference
                                email(s) from Sean Short regarding service
                                status
 2019-03-13      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00   0.00     $0.00     100.00% In House Conference
                                email(s) from Sean Short regarding summons
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                                                                                 Actual Actual              Time   Amount
Date Billed on      Billed By                    Description                                       Rate                     % Reduction           Category
                                                                                 Time Charge              Claimed Claimed
 2019-03-13      Staff          Receive, read and prepare response to               0.10  $2.50    $25.00     0.00    $0.00     100.00% In House Conference
                                email(s) from Josh Sanford regarding service
                                status
 2019-03-15      Staff          Receipt and review of intra-office memo            0.10    $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                regarding complaint status
 2019-03-18      Staff          Receipt and review of Notice of Appearance-        0.10    $2.50   $25.00    0.00     $0.00      100.00% Case Management
                                Weeks
 2019-03-18      Staff          Receipt and review of Notice of Appearance-        0.10    $2.50   $25.00    0.00     $0.00      100.00% Case Management
                                Dupps
 2019-03-18      Staff          Receipt and review of answer to complaint          0.10    $2.50   $25.00    0.00     $0.00      100.00% Case Management
 2019-03-18      Staff          Work on Client's file regarding: review of D's     0.10    $2.50   $25.00    0.00     $0.00      100.00% Case Management
                                answer
 2019-03-18      Staff          Work on Client's file 216 Motion/prepare for       0.10    $2.50   $25.00    0.10     $2.50        0.00% Collective Action Certification
                                conference with Steve Rauls regarding same
 2019-03-18      Staff          Conference with staff regarding scheduling         0.10    $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                conference
 2019-03-18      Josh Sanford   Examination of answer                              0.25   $75.00 $300.00     0.25    $75.00        0.00% Case Management
 2019-03-18      Josh Sanford   Examination of Notice of Appearance= Tucker        0.10   $30.00 $300.00     0.10    $30.00        0.00% Case Management

 2019-03-18      Josh Sanford   Initial Scheduling Order Examination of            0.10   $30.00 $300.00     0.10    $30.00        0.00% Case Management
 2019-03-19      Staff          Receipt and review of intra-office memo            0.10    $2.50 $25.00      0.00     $0.00      100.00% In House Conference
                                regarding status
 2019-03-19      Josh Sanford   Examination of Notice of Appearance- Weeks         0.10   $30.00 $300.00     0.10    $30.00        0.00% Case Management
 2019-03-19      Josh Sanford   Examination of Defendant's counsel website         0.20   $60.00 $300.00     0.20    $60.00        0.00% Case Management
 2019-03-19      Josh Sanford   Telephone Conference(s) with Opposing              0.10   $30.00 $300.00     0.00     $0.00      100.00% Opposing Counsel Communication
                                Counsel- left voice mail
 2019-03-19      Josh Sanford   Work on Client's file; 216 Motion                  0.10   $30.00 $300.00     0.10    $30.00        0.00% Collective Action Certification
 2019-03-19      Josh Sanford   Preparation and drafting of 216 Motion             0.30   $90.00 $300.00     0.30    $90.00        0.00% Collective Action Certification
 2019-03-19      Josh Sanford   Telephone Conference(s) with Vanessa Kinney:       0.10   $30.00 $300.00     0.00     $0.00      100.00% In House Conference
                                Response to Motion to Dismiss
 2019-03-19      Josh Sanford   Receive, read and prepare response to              0.10   $30.00 $300.00     0.00     $0.00      100.00% In House Conference
                                email(s) from Vanessa Kinney: 216 Motion
 2019-03-19      Vanessa Kinney Telephone Conference(s) with Josh Sanford          0.10   $22.50 $225.00     0.00     $0.00      100.00% In House Conference
                                regarding 216
 2019-03-19      Vanessa Kinney Work on Client's file; work on 216 Motion and      3.10 $697.50 $225.00      3.10   $697.50        0.00% Collective Action Certification
                                Brief
 2019-03-20      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                email(s) from Josh Sanford regarding 216
                                Motion
 2019-03-20      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00    0.10     $2.50        0.00% Opposing Counsel Communication
                                email(s) from Opposing Counsel regarding
                                status
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                                                                                    Actual Actual              Time   Amount
Date Billed on      Billed By                      Description                                        Rate                     % Reduction         Category
                                                                                    Time Charge              Claimed Claimed
 2019-03-20      Staff            Receipt and review of Notice of Appearance           0.10  $2.50    $25.00     0.00    $0.00     100.00% Case Management
                                  Boehler
 2019-03-20      Staff            Conference with Steve Rauls regarding               0.10    $2.50   $25.00    0.00     $0.00     100.00% In House Conference
                                  defenses
 2019-03-20      Josh Sanford     Preparation and drafting of notices, consents,      0.50 $150.00 $300.00      0.50   $150.00       0.00% Collective Action Certification
                                  Brief in Support
 2019-03-20      Josh Sanford     Receive, read and prepare response to               0.10   $30.00 $300.00     0.10    $30.00       0.00% Opposing Counsel Communication
                                  email(s) from Opposing Counsel: moving for
                                  216
 2019-03-20      Vanessa Kinney   Work on Client's file; work on section 216          1.20 $270.00 $225.00      1.20   $270.00       0.00% Collective Action Certification
                                  Motion exhibits except Client Declarations;
                                  format Client Declarations and edit 216 Brief
 2019-03-20      Vanessa Kinney   Work on Client's file; work on Client               1.90 $427.50 $225.00      0.90   $202.50      52.63% Collective Action Certification
                                  Declaration and edit 216 Brief
 2019-03-20      Vanessa Kinney   Work on Client's file; work on 216 documents        1.80 $405.00 $225.00      0.00     $0.00     100.00% Collective Action Certification
 2019-03-21      Staff            Telephone Conference(s) with Josh Sanford           0.10   $2.50 $25.00       0.00     $0.00     100.00% In House Conference
                                  regarding 216 Motion
 2019-03-21      Staff            Work on Client's file notes to file regarding       0.10    $2.50   $25.00    0.00     $0.00     100.00% Case Management
                                  status of 216 Motion, etc
 2019-03-21      Staff            Work on Client's file regarding calendaring         0.40   $10.00   $25.00    0.20     $5.00      50.00% Case Management
                                  and reminders for case deadlines
 2019-03-22      Josh Sanford     Receive, read and prepare response to               0.10   $30.00 $300.00     0.00     $0.00     100.00% In House Conference
                                  email(s) from Vanessa Kinney: 216 Motion
                                  and Brief in Support
 2019-03-22      Josh Sanford     Telephone Conference(s) with Vanessa Kinney:        0.10   $30.00 $300.00     0.00     $0.00     100.00% In House Conference
                                  216 strategy
 2019-03-22      Vanessa Kinney   Receipt and review of 216 documents to              0.50 $112.50 $225.00      0.50   $112.50       0.00% Collective Action Certification
                                  ensure consistency due to changes in Requests
                                  of method for distribution; edit; email to Josh
                                  Sanford
 2019-03-22      Vanessa Kinney   Editing and revision of 216 Motion and email        0.10   $22.50 $225.00     0.00     $0.00     100.00% Collective Action Certification
                                  to Josh Sanford
 2019-03-22      Vanessa Kinney   Telephone Conference(s) with Josh Sanford           0.10   $22.50 $225.00     0.00     $0.00     100.00% In House Conference
                                  regarding Declarations and two job positions
                                  covered by 216 Motion; email Client
                                  Declarations to Josh Sanford
 2019-03-24      Staff            Receive, read and prepare response to               0.10    $2.50   $25.00    0.00     $0.00     100.00% In House Conference
                                  email(s) from Josh Sanford regarding
                                  Declarations
 2019-03-24      Staff            Receipt and review of Davidson Declaration          0.10    $2.50   $25.00    0.10     $2.50       0.00% Collective Action Certification
 2019-03-24      Staff            Receipt and review of Rodriguez Declaration         0.10    $2.50   $25.00    0.10     $2.50       0.00% Collective Action Certification
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                                                                                  Actual Actual             Time   Amount
Date Billed on      Billed By                     Description                                      Rate                     % Reduction           Category
                                                                                  Time Charge             Claimed Claimed
 2019-03-24      Josh Sanford   Editing and revision of 216 Declarations- 2          0.50 $150.00 $300.00     0.00    $0.00     100.00% Collective Action Certification
 2019-03-24      Josh Sanford   Editing and revision of 216 Declarations-two         0.50 $150.00 $300.00     0.50 $150.00        0.00% Collective Action Certification
 2019-03-24      Josh Sanford   Receive, read and prepare response to                0.20 $60.00 $300.00      0.00    $0.00     100.00% Collective Action Certification
                                email(s) from Vanessa Kinney; call Vanessa
                                Kinney; 216 documents
 2019-03-24      Josh Sanford   Preparation and drafting of intra-office memo:      0.10   $30.00 $300.00      0.00     $0.00      100.00% Case Management
                                216 Declarations
 2019-03-24      Vanessa Kinney Telephone Conference(s) with Josh Sanford           0.10   $22.50 $225.00      0.00     $0.00      100.00% In House Conference
                                regarding facts regarding Plaintiffs'
                                interactions with subordinate employees
 2019-03-25      Staff          Receive, read and prepare response to               0.10    $2.50   $25.00     0.00     $0.00      100.00% In House Conference
                                email(s) from Anna Stiritz regarding status
 2019-03-25      Staff          Receipt and review of Anna Stiritz regarding        0.10    $2.50   $25.00     0.00     $0.00      100.00% In House Conference
                                Rodriguez Declaration
 2019-03-25      Josh Sanford   Examination of intra-office memos: Saturday         0.10   $30.00 $300.00      0.00     $0.00      100.00% Collective Action Certification
                                pay, signed Declaration
 2019-03-25      Josh Sanford   Telephone Conference(s) with Anna Stiritz:          0.10   $30.00 $300.00      0.00     $0.00      100.00% In House Conference
                                Saturday pay, signed Declaration
 2019-03-25      Josh Sanford   Telephone Conference(s) with Anna Stiritz:          0.10   $30.00 $300.00      0.00     $0.00      100.00% In House Conference
                                status of Declarations
 2019-03-25      Josh Sanford   Examination of intra-office memo: Client            0.10   $30.00 $300.00      0.00     $0.00      100.00% In House Conference
                                messages and notes
 2019-03-25      Josh Sanford   Editing and revision of Davidson Declaration l      0.30   $90.00 $300.00      0.30    $90.00        0.00% Collective Action Certification
 2019-03-25      Josh Sanford   Receive, read and prepare response to               0.10   $30.00 $300.00      0.00     $0.00      100.00% In House Conference
                                email(s) from Anna Stiritz; Davidson
                                Declaration
 2019-03-26      Staff          Receive, read and prepare response to               0.10    $2.50   $25.00     0.00     $0.00      100.00% In House Conference
                                email(s) from Anna Stiritz regarding Davidson
                                Declaration (notes tof ile regarding same)

 2019-03-26      Josh Sanford    Examination of intra-office memo: Davidson         0.10   $30.00 $300.00      0.00     $0.00      100.00% Collective Action Certification
                                 Declaration
 2019-03-26      Josh Sanford    Editing and revision of 216 Motion, Brief in       1.10 $330.00 $300.00       0.60   $180.00        45.45% Collective Action Certification
                                 Support, all exhibits
 2019-03-26      Josh Sanford    Preparation and drafting of intra-office memo:     0.10   $30.00 $300.00      0.10    $30.00         0.00% Collective Action Certification
                                 filing 216 Motion
 2019-03-27      Staff           Receipt and review of Brief in Support 216         0.10    $2.50   $25.00     0.10     $2.50         0.00% Collective Action Certification
                                 Motion
 2019-03-27      Staff           Receipt and review of 216 Motion                   0.10    $2.50   $25.00     0.10     $2.50         0.00% Collective Action Certification
 2019-03-27      Staff           Receipt and review of Davidson Declaration,        0.10    $2.50   $25.00     0.10     $2.50         0.00% Collective Action Certification
                                 signed
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                                                                                Actual Actual            Time   Amount
Date Billed on      Billed By                    Description                                    Rate                     % Reduction           Category
                                                                                Time Charge            Claimed Claimed
 2019-03-27      Sean Short     Filing Motion to certify class and Brief in        0.20 $35.00 $175.00     0.00    $0.00     100.00% Collective Action Certification
                                Support
 2019-03-27      Josh Sanford   Examination of filed 216 Motion                   0.10   $30.00 $300.00      0.00    $0.00       100.00% Collective Action Certification
 2019-03-29      Staff          Work on Client's file notes to file regarding     0.10    $2.50 $25.00       0.00    $0.00       100.00% Case Management
                                26f conference
 2019-04-01      Josh Sanford   Examination of Process Server letter              0.10   $30.00 $300.00      0.10   $30.00         0.00% Complaint/Summons/Service
 2019-04-02      Steve Rauls    Telephone Conference(s) with Lydia Hamlet         0.10   $17.50 $175.00      0.00    $0.00       100.00% In House Conference
                                regarding planning for case management
                                conference
 2019-04-02      Staff          Telephone Conference(s) with Steve Rauls          0.10    $2.50   $25.00     0.00    $0.00       100.00% Case Management
                                regarding case management Hearing
 2019-04-02      Staff          Telephone Conference(s) with Josh Sanford         0.10    $2.50   $25.00     0.00    $0.00       100.00% Case Management
                                regarding 26f report
 2019-04-02      Staff          Telephone Conference(s) with Josh Sanford         0.10    $2.50   $25.00     0.00    $0.00       100.00% In House Conference
                                and Steve Rauls regarding 26f conference;
                                case management Hearing, etc
 2019-04-02      Josh Sanford   Telephone Conference(s) with Lydia Hamlet:        0.10   $30.00 $300.00      0.00    $0.00       100.00% In House Conference
                                case management Hearing
 2019-04-02      Josh Sanford   Conference with Steve Rauls: case                 0.10   $30.00 $300.00      0.00    $0.00       100.00% In House Conference
                                management Hearing
 2019-04-03      Steve Rauls    Editing and revision of proposed 26f report;      0.50   $87.50 $175.00      0.30   $52.50        40.00% Case Management
                                email exchange with Lydia Hamlet regarding
                                changes
 2019-04-03      Staff                                                            0.10    $2.50   $25.00     0.10    $2.50         0.00% Client Communication
 2019-04-03      Staff          Telephone Conference(s) with Steve Rauls          0.10    $2.50   $25.00     0.00    $0.00       100.00% Case Management
                                regarding Client, case management Hearing,
                                26f report
 2019-04-03      Staff                                                            0.10    $2.50   $25.00     0.10    $2.50         0.00% Client Communication
 2019-04-03      Staff          Compose, prepare and send correspondence to       0.10    $2.50   $25.00     0.00    $0.00       100.00% Case Management
                                Steve Rauls regarding 26f report
 2019-04-03      Staff          Compose, prepare and send correspondence to       0.10    $2.50   $25.00     0.00    $0.00       100.00% Case Management
                                Josh Sanford regarding 26f report
 2019-04-03      Staff          Receive, read and prepare response to             0.10    $2.50   $25.00     0.10    $2.50         0.00% Case Management
                                email(s) from Steve Rauls regarding 26f
                                report
 2019-04-03      Staff          Work on Client's file 26f report; call with       2.30   $57.50   $25.00     2.30   $57.50         0.00% Case Management
                                Steve Rauls regarding same; research
                                regarding same
 2019-04-04      Steve Rauls    Conference with Lydia Hamlet regarding 26f        0.10   $17.50 $175.00      0.00    $0.00       100.00% In House Conference
                                conference
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                                                                            Actual Actual              Time   Amount
Date Billed on      Billed By                   Description                                  Rate                      % Reduction          Category
                                                                            Time Charge              Claimed Claimed
 2019-04-04      Staff          Compose, prepare and send correspondence to    0.10  $2.50    $25.00     0.10    $2.50       0.00% Opposing Counsel Communication
                                Opposing Counsel regarding 26f report
 2019-04-04      Staff          Receive, read and prepare response to          0.10  $2.50    $25.00    0.10    $2.50        0.00% Opposing Counsel Communication
                                email(s) from Opposing Counsel regarding
                                draft report
 2019-04-04      Staff          Receive, read and prepare response to          0.10  $2.50    $25.00    0.00    $0.00      100.00% Case Management
                                email(s) from Josh Sanford regarding 26f
                                conference
 2019-04-04      Staff          Receive, read and prepare response to          0.10  $2.50    $25.00    0.10    $2.50        0.00% Opposing Counsel Communication
                                email(s) from Opposing Counsel regarding
                                26f conference
 2019-04-04      Staff          Receive, read and prepare response to          0.10  $2.50    $25.00    0.00    $0.00      100.00% Opposing Counsel Communication
                                email(s) from Opposing Counsel regarding
                                26f conference
 2019-04-04      Staff          Receive, read and prepare response to          0.10  $2.50    $25.00    0.10    $2.50        0.00% Case Management
                                email(s) from Josh Sanford regarding
                                Discovery, agreed Initial Disclosures
 2019-04-04      Staff          Receive, read and prepare response to          0.10  $2.50    $25.00    0.00    $0.00      100.00% Opposing Counsel Communication
                                email(s) from Opposing Counsel regarding
                                26f conference and report
 2019-04-04      Staff          Receipt and review of intra-office memo        0.10  $2.50    $25.00    0.00    $0.00      100.00% Case Management
                                regarding status
 2019-04-04      Staff          Receipt and review of corporate disclosure     0.10  $2.50    $25.00    0.00    $0.00      100.00% Case Management
                                statement
 2019-04-04      Staff          Editing and revision of 26f report; email      0.40 $10.00    $25.00    0.40   $10.00        0.00% Case Management
                                Opposing Counsel regarding same
 2019-04-04      Josh Sanford   Receive, read and prepare response to          0.10 $30.00   $300.00    0.00    $0.00      100.00% In House Conference
                                email(s) from Lydia Hamlet: 26f conference
 2019-04-04      Josh Sanford   Examination of Defendant's corp disclosure     0.10 $30.00   $300.00    0.10   $30.00        0.00% Case Management
 2019-04-04      Josh Sanford   Receive, read and prepare response to          0.10 $30.00   $300.00    0.10   $30.00        0.00% Opposing Counsel Communication
                                email(s) from Opposing Counsel: 26f
                                conference
 2019-04-04      Josh Sanford   Examination of emails with Opposing Counsel    0.10 $30.00   $300.00    0.00    $0.00      100.00% Opposing Counsel Communication

 2019-04-04      Josh Sanford   Examination of Intra-office memo regarding   0.10   $30.00 $300.00      0.10   $30.00        0.00% Case Management
                                case events and deadlines
 2019-04-04      Josh Sanford   Examination of emails with Opposing          0.10   $30.00 $300.00      0.00    $0.00      100.00% Opposing Counsel Communication
                                Counsels: 26f report
 2019-04-08      Staff          Telephone Conference(s) with Josh Sanford    0.10    $2.50    $25.00    0.00    $0.00      100.00% Case Management
                                regarding conference call
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                                                                               Actual Actual              Time   Amount
Date Billed on      Billed By                   Description                                      Rate                     % Reduction         Category
                                                                               Time Charge              Claimed Claimed
 2019-04-08      Staff          Telephone Conference(s) with Josh Sanford         0.10  $2.50    $25.00     0.00    $0.00     100.00% Case Management
                                regarding 26f report and conference
 2019-04-08      Staff          Compose, prepare and send correspondence to      0.10    $2.50   $25.00    0.00    $0.00      100.00% Case Management
                                Josh Sanford regarding conference call
 2019-04-08      Staff          Receive, read and prepare response to            0.10    $2.50   $25.00    0.10    $2.50        0.00% Opposing Counsel Communication
                                email(s) from Opposing Counsel regarding
                                26f report draft
 2019-04-08      Staff          Receipt and review of Opposing Counsel's         0.10    $2.50   $25.00    0.10    $2.50        0.00% Case Management
                                proposed additions to 26f report
 2019-04-08      Staff          Work on Client's file; 26f conference            0.30    $7.50 $25.00      0.30    $7.50        0.00% Case Management
 2019-04-08      Steve Rauls    Examination of Defendant's proposed changes      0.20   $35.00 $175.00     0.00    $0.00      100.00% Case Management
                                to 26f report
 2019-04-08      Josh Sanford   Telephone Conference(s) with Lydia Hamlet:       0.30   $90.00 $300.00     0.30   $90.00        0.00% In House Conference
                                preparation for 26f
 2019-04-08      Josh Sanford   Telephone Conference(s) with Opposing            0.10   $30.00 $300.00     0.00    $0.00      100.00% In House Conference
                                Counsels/ Lydia Hamlet: 26f conference
 2019-04-09      Staff          Compose, prepare and send correspondence to      0.10    $2.50   $25.00    0.00    $0.00      100.00% Case Management
                                Josh Sanford and Steve Rauls regarding 26f
                                report, protective order, and Release
 2019-04-09      Staff          Compose, prepare and send correspondence to      0.10    $2.50   $25.00    0.00    $0.00      100.00% Case Management
                                Josh Sanford and Steve Rauls regarding
                                Releases
 2019-04-09      Staff          Receive, read and prepare response to            0.10    $2.50   $25.00    0.10    $2.50        0.00% Case Management
                                email(s) from Josh Sanford regarding 26f
                                report
 2019-04-09      Staff          Receive, read and prepare response to            0.10    $2.50   $25.00    0.00    $0.00      100.00% Case Management
                                email(s) from Josh Sanford regarding medical
                                Releases
 2019-04-09      Staff          Receive, read and prepare response to            0.10    $2.50   $25.00    0.10    $2.50        0.00% Opposing Counsel Communication
                                email(s) from Opposing Counsel regarding
                                26f report
 2019-04-09      Staff          Receive, read and prepare response to            0.10    $2.50   $25.00    0.00    $0.00      100.00% Opposing Counsel Communication
                                email(s) from Opposing Counsel regarding
                                26f report
 2019-04-09      Staff          Receipt and review of protective order           0.20    $5.00   $25.00    0.00    $0.00      100.00% Case Management
 2019-04-09      Staff          Receipt and review of Davidson medical           0.10    $2.50   $25.00    0.00    $0.00      100.00% Case Management
                                Release
 2019-04-09      Staff          Preparation and drafting of 26f report with      0.20    $5.00   $25.00    0.00    $0.00      100.00% Case Management
                                Opposing Counsel edits
 2019-04-09      Staff          Receipt and review of Rodriguez medical          0.10    $2.50   $25.00    0.00    $0.00      100.00% Case Management
                                Release
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                                                                                 Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                    Rate                     % Reduction          Category
                                                                                 Time Charge            Claimed Claimed
 2019-04-09      Staff          Editing and revision of 26f report                  0.20  $5.00 $25.00      0.20    $5.00       0.00% Case Management
 2019-04-09      Josh Sanford   Examination of Opposing Counsel edits to 26f        0.10 $30.00 $300.00     0.10  $30.00        0.00% Case Management
 2019-04-09      Josh Sanford   Receive, read and prepare response to               0.10 $30.00 $300.00     0.10  $30.00        0.00% Opposing Counsel Communication
                                email(s) from Opposing Counsel, review
                                Release
 2019-04-09      Josh Sanford   Preparation and drafting of intra-office memo:     0.10   $30.00 $300.00    0.00     $0.00     100.00% Case Management
                                26f, Release order (proposed)
 2019-04-09      Josh Sanford   Receive, read and prepare response to              0.10   $30.00 $300.00    0.00     $0.00     100.00% In House Conference
                                email(s) from Lydia Hamlet and Steve Rauls
                                Releases/terms of Release
 2019-04-10      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00   0.00     $0.00     100.00% Case Management
                                email(s) from Josh Sanford regarding Steve
                                Rauls to review medical Releases
 2019-04-10      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00   0.00     $0.00     100.00% Case Management
                                email(s) from Josh Sanford regarding medical
                                Releases
 2019-04-10      Josh Sanford   Receive, read and prepare response to              0.10   $30.00 $300.00    0.00     $0.00     100.00% In House Conference
                                email(s) from Lydia Hamlet: medical
                                Releases
 2019-04-10      Josh Sanford   Examination of Responses, Brief in Support         0.40 $120.00 $300.00     0.40   $120.00       0.00% Collective Action Certification
 2019-04-10      Josh Sanford   Receive, read and prepare response to              0.10 $30.00 $300.00      0.00     $0.00     100.00% In House Conference
                                email(s) from Vanessa Kinney: reply
 2019-04-10      Josh Sanford   Preparation and drafting of intra-office memo:     0.10   $30.00 $300.00    0.00     $0.00     100.00% In House Conference
                                reply
 2019-04-11      Staff          Compose, prepare and send correspondence to        0.10    $2.50   $25.00   0.00     $0.00     100.00% Case Management
                                Josh Sanford regarding reply
 2019-04-11      Staff          Receipt and review of Defendant's Brief in         0.10    $2.50   $25.00   0.00     $0.00     100.00% Collective Action Certification
                                Support of Response in opposition to Motion
                                for Collective Action (initial receipt)
 2019-04-11      Staff          Receipt and review of intra-office memo            0.10    $2.50   $25.00   0.00     $0.00     100.00% Case Management
                                regarding Reply in Support of Motion for class
                                Certification (Set additional reminders)
 2019-04-11      Staff          Receipt and review of Response in opposition       0.10    $2.50   $25.00   0.00     $0.00     100.00% Collective Action Certification
                                to Motion to certify class (initial report)

 2019-04-11      Staff          Work on Client's file notes to file regarding      0.10    $2.50   $25.00   0.10     $2.50       0.00% Case Management
                                preparation for case management Hearing,
                                etc
 2019-04-11      Josh Sanford   Examination of Vanessa Kinney: 216 reply           0.10   $30.00 $300.00    0.00     $0.00     100.00% Collective Action Certification
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                                                                                   Actual Actual             Time   Amount
Date Billed on      Billed By                     Description                                       Rate                    % Reduction           Category
                                                                                   Time Charge             Claimed Claimed
 2019-04-11      Vanessa Kinney Receipt and review of Motion, Brief, and              1.00 $225.00 $225.00     1.00 $225.00       0.00% Collective Action Certification
                                Declaration in Response to Motion for
                                Collective Action ; take notes for Response
 2019-04-11      Vanessa Kinney Perform legal research as related to Client's        1.20 $270.00 $225.00       1.20   $270.00        0.00% Collective Action Certification
                                case; case law cited by Defendant and cases
                                favoring Plaintiff's position; set up reply
                                document
 2019-04-12      Staff          Compose, prepare and send correspondence to          0.10    $2.50   $25.00     0.00     $0.00      100.00% Case Management
                                Josh Sanford regarding Reply in Support of
                                Motion for Collective Action
 2019-04-12      Staff          Receive, read and prepare response to                0.10    $2.50   $25.00     0.00     $0.00      100.00% Case Management
                                email(s) from Josh Sanford regarding Reply in
                                Support of Motion for Collective Action
 2019-04-12      Josh Sanford   Receive, read and prepare response to                0.10   $30.00 $300.00      0.00     $0.00      100.00% In House Conference
                                email(s) from Lydia Hamlet: 216 reply
 2019-04-12      Vanessa Kinney Work on Client's file work on conditional            1.70 $382.50 $225.00       1.70   $382.50        0.00% Collective Action Certification
                                Certification reply
 2019-04-12      Vanessa Kinney Work on Client's file work on conditional            1.50 $337.50 $225.00       0.50   $112.50       66.67% Collective Action Certification
                                Certification reply
 2019-04-13      Josh Sanford   Telephone Conference(s) with Vanessa Kinney:         0.10   $30.00 $300.00      0.00     $0.00      100.00% In House Conference
                                216 reply
 2019-04-13      Vanessa Kinney Work on Client's file work on conditional            3.70 $832.50 $225.00       2.50   $562.50       32.43% Collective Action Certification
                                certification reply
 2019-04-15      Staff          Telephone Conference(s) with Josh Sanford            0.10    $2.50   $25.00     0.00     $0.00      100.00% Case Management
                                regarding Motion for leave to file reply
 2019-04-15      Staff          Compose, prepare and send correspondence to          0.10    $2.50   $25.00     0.00     $0.00      100.00% Case Management
                                Josh Sanford regarding Motion for Leave to
                                file reply
 2019-04-15      Staff          Receive, read and prepare response to                0.10    $2.50   $25.00     0.00     $0.00      100.00% Case Management
                                email(s) from Josh Sanford regarding Motion
                                for Leave
 2019-04-15      Staff          Receive, read and prepare response to                0.10    $2.50   $25.00     0.10     $2.50        0.00% Case Management
                                email(s) from Josh Sanford regarding Motion
                                for Leave to file reply
 2019-04-15      Staff          Preparation and drafting of Motion for Leave         0.20    $5.00   $25.00     0.20     $5.00        0.00% Collective Action Certification
                                to file reply
 2019-04-15      Staff          Receipt and review of filed Motion for Leave         0.10    $2.50   $25.00     0.00     $0.00      100.00% Collective Action Certification
                                to file reply
 2019-04-15      Staff          Work on Client's file ; file Motion for leave to     0.30    $7.50   $25.00     0.30     $7.50        0.00% Collective Action Certification
                                file reply
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                                                                                   Actual Actual              Time   Amount
Date Billed on      Billed By                     Description                                        Rate                     % Reduction          Category
                                                                                   Time Charge              Claimed Claimed
 2019-04-15      Staff           Work on Client's file; prepare for case              0.20  $5.00    $25.00     0.20    $5.00       0.00% Court Appearance and Prep
                                 management Hearing
 2019-04-15      Staff           Work on Client's file regarding disclosure, etc     0.10    $2.50   $25.00    0.10     $2.50        0.00% Case Management

 2019-04-15      Josh Sanford   Telephone Conference(s) with Vanessa Kinney:         0.10   $30.00 $300.00     0.00     $0.00      100.00% In House Conference
                                216 reply
 2019-04-15      Josh Sanford   Examination of intra-office memo: 216 reply          0.10 $30.00 $300.00       0.00     $0.00      100.00% Case Management
 2019-04-15      Josh Sanford   Editing and revision of 216 reply                    0.40 $120.00 $300.00      0.40   $120.00        0.00% Collective Action Certification
 2019-04-15      Josh Sanford   Receive, read and prepare response to                0.10 $30.00 $300.00       0.00     $0.00      100.00% In House Conference
                                email(s) from Vanessa Kinney: edits to reply
 2019-04-15      Josh Sanford   Telephone Conference(s) with Vanessa Kinney:         0.10   $30.00 $300.00     0.00     $0.00      100.00% In House Conference
                                edits to reply
 2019-04-15      Josh Sanford   Examination of intra-office memo: revised 216        0.10   $30.00 $300.00     0.00     $0.00      100.00% Case Management
                                reply
 2019-04-15      Josh Sanford   Telephone Conference(s) with Lydia Hamlet:           0.10   $30.00 $300.00     0.00     $0.00      100.00% In House Conference
                                Motion for Leave for reply
 2019-04-15      Josh Sanford   Examination of Motion for Leave; email Lydia         0.10   $30.00 $300.00     0.00     $0.00      100.00% Collective Action Certification
                                Hamlet
 2019-04-15      Josh Sanford   Examination of filed Motion for Leave- reply         0.10 $30.00 $300.00       0.00     $0.00      100.00% Collective Action Certification
 2019-04-15      Vanessa Kinney Compose e-mail to Josh Sanford regarding             0.60 $135.00 $225.00      0.00     $0.00      100.00% In House Conference
                                conditional Certification reply
 2019-04-15      Vanessa Kinney Telephone Conference(s) with Josh Sanford            0.10   $22.50 $225.00     0.00     $0.00      100.00% In House Conference
                                regarding adding footnote reference to Mathis
                                case to reply briefing
 2019-04-15      Vanessa Kinney Editing and revision of reply Brief and email        0.20   $45.00 $225.00     0.20    $45.00        0.00% Collective Action Certification
                                to Josh Sanford
 2019-04-15      Josh Sanford   Examination of Motion for Leave; email Lydia         0.10   $30.00 $300.00     0.00     $0.00      100.00% Case Management
                                Hamlet
 2019-04-15      Josh Sanford   Examination of filed Motion for Leave- reply         0.10   $30.00 $300.00     0.00     $0.00      100.00% Case Management
 2019-04-16      Josh Sanford   Examination of text order                            0.10   $30.00 $300.00     0.10    $30.00        0.00% Case Management
 2019-04-16      Josh Sanford   Receive, read and prepare response to                0.10   $30.00 $300.00     0.00     $0.00      100.00% In House Conference
                                email(s) from Lydia Hamlet
 2019-04-16      Josh Sanford   Discussion of case status and directing case         0.10   $30.00 $300.00     0.10    $30.00        0.00% In House Conference
                                strategy to Attorney Lydia Hamlet
 2019-04-16      Staff          Compose, prepare and send correspondence to          0.10    $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                Steve Rauls regarding reply for filing
 2019-04-16      Staff          Receipt and review of order granting leave to        0.10    $2.50   $25.00    0.00     $0.00      100.00% Case Management
                                file reply
 2019-04-16      Staff          Work on Client's file prepare reply for filing;      0.20    $5.00   $25.00    0.00     $0.00      100.00% Case Management
                                conference with Stacy Gibson regarding same
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                                                                                 Actual Actual              Time   Amount
Date Billed on      Billed By                    Description                                       Rate                     % Reduction         Category
                                                                                 Time Charge              Claimed Claimed
 2019-04-16      Staff          Conference with Steve Rauls regarding reply         0.20  $5.00    $25.00     0.00    $0.00     100.00% Case Management
                                and argument at case management
                                conference (notes following)
 2019-04-16      Steve Rauls    Conference with Lydia Hamlet regarding Reply       0.10   $17.50 $175.00     0.00    $0.00      100.00% In House Conference
                                in Support of collective action; file reply

 2019-04-17      Staff          Receipt and review of file marked Reply in         0.10    $2.50   $25.00    0.00    $0.00      100.00% Case Management
                                Support of class Motion
 2019-04-18      Josh Sanford   Examination of Intra-office memo regarding         0.10   $30.00 $300.00     0.00    $0.00      100.00% Case Management
                                case events and deadlines
 2019-04-18      Josh Sanford   Receive, read and prepare response to              0.10   $30.00 $300.00     0.00    $0.00      100.00% In House Conference
                                email(s) from Lydia Hamlet and Steve Rauls:
                                medical Release
 2019-04-18      Josh Sanford   Examination of emails with Opposing Counsel        0.10   $30.00 $300.00     0.00    $0.00      100.00% Opposing Counsel Communication

 2019-04-18      Josh Sanford   Receive, read and prepare response to              0.10   $30.00 $300.00     0.00    $0.00      100.00% Opposing Counsel Communication
                                email(s) from Opposing Counsels
 2019-04-18      Staff          Compose, prepare and send correspondence to        0.10    $2.50   $25.00    0.00    $0.00      100.00% Opposing Counsel Communication
                                Opposing Counsel regarding medical Release,
                                etc
 2019-04-18      Staff          Compose, prepare and send correspondence to        0.10    $2.50   $25.00    0.00    $0.00      100.00% Case Management
                                Josh Sanford and Steve Rauls regarding: 26f
                                report and related documents
 2019-04-18      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00    0.10    $2.50        0.00% Case Management
                                email(s) from Josh Sanford regarding 26f
                                report, etc
 2019-04-18      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00    0.00    $0.00      100.00% Case Management
                                email(s) from Josh Sanford regarding
                                protective order, etc
 2019-04-18      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00    0.10    $2.50        0.00% Opposing Counsel Communication
                                email(s) from Opposing Counsel regarding
                                26f report
 2019-04-18      Staff          Receipt and review of intra-office memo:           0.10    $2.50   $25.00    0.00    $0.00      100.00% Case Management
                                regarding 26f report deadline
 2019-04-18      Staff          Work on Client's file intra-office memo: case      0.10    $2.50   $25.00    0.00    $0.00      100.00% Case Management
                                management Hearing
 2019-04-18      Staff          Conference with Josh Sanford and Steve Rauls       0.30    $7.50   $25.00    0.00    $0.00      100.00% Case Management
                                regarding reply, case management Hearing,
                                etc
 2019-04-19      Josh Sanford   Preparation and drafting of intra-office memo:     0.10   $30.00 $300.00     0.00    $0.00      100.00% Case Management
                                26f edits
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                                                                                Actual Actual            Time   Amount
Date Billed on      Billed By                    Description                                    Rate                    % Reduction           Category
                                                                                Time Charge            Claimed Claimed
 2019-04-19      Josh Sanford   Conference with Steve Rauls: preparation for       0.10 $30.00 $300.00     0.10  $30.00       0.00% In House Conference
                                Court
 2019-04-19      Josh Sanford   Examination of intra-office memo: 26f issues      0.10   $30.00 $300.00    0.00    $0.00      100.00% Case Management
 2019-04-19      Josh Sanford   Telephone Conference(s) with email to             0.10   $30.00 $300.00    0.10   $30.00        0.00% Opposing Counsel Communication
                                Opposing Counsels
 2019-04-19      Staff          Receive, read and prepare response to             0.10    $2.50   $25.00   0.00    $0.00      100.00% Case Management
                                email(s) from Josh Sanford regarding 26f
                                report, releases, and protective order
 2019-04-19      Staff          Receive, read and prepare response to             0.10    $2.50   $25.00   0.00    $0.00      100.00% Case Management
                                email(s) from Steve Rauls regarding proposed
                                changes to 26f report, medical Release, and
                                protective order
 2019-04-19      Steve Rauls    Editing and revision of Defendant's proposed      0.80 $140.00 $175.00     0.00    $0.00      100.00% Case Management
                                protective order, medical Release, and 26f
                                report; discuss changes with Josh Sanford and
                                email to Opposing Counsel
 2019-04-22      Josh Sanford   Examination of Opposing Counsel email             0.10   $30.00 $300.00    0.10   $30.00        0.00% Opposing Counsel Communication
 2019-04-22      Josh Sanford   Examination of emails with Opposing Counsel       0.10   $30.00 $300.00    0.10   $30.00        0.00% Opposing Counsel Communication

 2019-04-22      Josh Sanford   Examination of filed 26f report                   0.10   $30.00 $300.00    0.00    $0.00      100.00% Case Management
 2019-04-22      Josh Sanford   Examination of Opposing Counsel email to          0.10   $30.00 $300.00    0.10   $30.00        0.00% Opposing Counsel Communication
                                chambers
 2019-04-22      Josh Sanford   Examination of Proposed Order- entered by         0.10   $30.00 $300.00    0.10   $30.00        0.00% Case Management
                                Court
 2019-04-22      Josh Sanford   Examination of Notice of Appearance- Rauls        0.10   $30.00 $300.00    0.00    $0.00      100.00% Case Management
 2019-04-22      Staff          Telephone Conference(s) with Steve Rauls          0.10    $2.50 $25.00     0.00    $0.00      100.00% Case Management
                                regarding filing 26f report
 2019-04-22      Staff                                                            0.20    $5.00   $25.00   0.00    $0.00      100.00%   Client Communication
 2019-04-22      Staff                                                            0.20    $5.00   $25.00   0.00    $0.00      100.00%   Client Communication
 2019-04-22      Staff                                                            0.20    $5.00   $25.00   0.00    $0.00      100.00%   Client Communication
 2019-04-22      Staff          Receive, read and prepare response to             0.10    $2.50   $25.00   0.00    $0.00      100.00%   Case Management
                                email(s) from Steve Rauls regarding 26f
                                report and related documents
 2019-04-22      Staff          Receive, read and prepare response to             0.10    $2.50   $25.00   0.00    $0.00      100.00% Opposing Counsel Communication
                                email(s) from Opposing Counsel regarding
                                filing 26f report and protective order
 2019-04-22      Staff          Receive, read and prepare response to             0.10    $2.50   $25.00   0.00    $0.00      100.00% Opposing Counsel Communication
                                email(s) from Opposing Counsel regarding
                                26f report, proposed order; medical Release
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                                                                                 Actual Actual              Time   Amount
Date Billed on      Billed By                    Description                                       Rate                     % Reduction         Category
                                                                                 Time Charge              Claimed Claimed
 2019-04-22      Staff          Receive, read and prepare response to               0.10  $2.50    $25.00     0.00    $0.00     100.00% Case Management
                                email(s) from Josh Sanford regarding 26f
                                report
 2019-04-22      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00    0.00    $0.00      100.00% Opposing Counsel Communication
                                email(s) from Opposing Counsel regarding
                                proposed protective order (Email to Court
 2019-04-22      Staff          Receive, read and prepare response to              0.10    $2.50   $25.00    0.10    $2.50        0.00% Opposing Counsel Communication
                                email(s) from Opposing Counsel regarding
                                26f report
 2019-04-22      Staff          Preparation and drafting of Steve Rauls Notice     0.30    $7.50   $25.00    0.30    $7.50        0.00% Case Management
                                of Appearance; email Steve Rauls regarding
                                same
 2019-04-22      Staff          Receipt and review of file marked Steve Rauls      0.10    $2.50   $25.00    0.00    $0.00      100.00% Case Management
                                Notice of Appearance
 2019-04-22      Staff          Receipt and review of approved, filed              0.10    $2.50   $25.00    0.00    $0.00      100.00% Case Management
                                protective order
 2019-04-22      Staff          Receipt and review of file-marked 26f report       0.10    $2.50   $25.00    0.00    $0.00      100.00% Case Management
 2019-04-22      Staff          Work on Client's file; prepare Release for         0.20    $5.00   $25.00    0.00    $0.00      100.00% Case Management
                                Clients' signature; email Staff regarding same

 2019-04-22      Staff          Work on Client's file Initial Disclosures          0.10    $2.50   $25.00    0.10    $2.50        0.00% Case Management
                                (signed Release and information)
 2019-04-22      Steve Rauls    Filing Notice of Appearance                        0.10   $17.50 $175.00     0.00    $0.00      100.00% Case Management
 2019-04-23      Staff          Work on Client's file Initial Disclosures          0.70   $17.50 $25.00      0.70   $17.50        0.00% Discovery Related
 2019-04-24      Josh Sanford   Conference with Steve Rauls: preparation for       0.10   $30.00 $300.00     0.10   $30.00        0.00% In House Conference
                                conference
 2019-04-24      Staff          Compose, prepare and send correspondence to        0.20    $5.00   $25.00    0.00    $0.00      100.00% Case Management
                                Anna Stiritz regarding contact with Plaintiffs
                                regarding information needed for Initial
                                Disclosures
 2019-04-24      Staff          Conference with Anna Stiritz regarding             0.10    $2.50   $25.00    0.10    $2.50        0.00% Case Management
                                information for Initial Disclosures
 2019-04-24      Staff          Conference with Staff regarding case               0.10    $2.50   $25.00    0.00    $0.00      100.00% Case Management
                                management Hearing
 2019-04-24      Steve Rauls    Conference with Josh Sanford regarding case        0.10   $17.50 $175.00     0.00    $0.00      100.00% Case Management
                                management Hearing
 2019-04-25      Staff          Telephone Conference(s) with Anna Stiritz          0.10    $2.50   $25.00    0.10    $2.50        0.00% Case Management
                                regarding information from Davidson
 2019-04-25      Staff          Telephone Conference(s) with Josh Sanford          0.10    $2.50   $25.00    0.00    $0.00      100.00% Case Management
                                regarding case management Hearing
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                                                                                 Actual Actual              Time   Amount
Date Billed on      Billed By                   Description                                       Rate                      % Reduction         Category
                                                                                 Time Charge              Claimed Claimed
 2019-04-25      Staff          Compose, prepare and send correspondence to         0.10  $2.50    $25.00     0.00    $0.00     100.00% Case Management
                                Steve Rauls regarding Initial Disclosures
 2019-04-25      Staff          Compose, prepare and send correspondence to         0.10  $2.50    $25.00    0.00    $0.00      100.00% Case Management
                                Anna Stiritz regarding medical information
                                from Rodriguez
 2019-04-25      Staff          Receive, read and prepare response to               0.10  $2.50    $25.00    0.00    $0.00      100.00% Case Management
                                email(s) from Anna Stiritz regarding
                                Rodriguez medical providers
 2019-04-25      Staff          Receive, read and prepare response to               0.10  $2.50    $25.00    0.00    $0.00      100.00% Case Management
                                email(s) from Anna Stiritz regarding
                                Rodriguez medical Release
 2019-04-25      Staff          Receive, read and prepare response to               0.10  $2.50    $25.00    0.00    $0.00      100.00% Case Management
                                email(s) from Anna Stiritz regarding medical
                                providers
 2019-04-25      Staff          Receive, read and prepare response to               0.10  $2.50    $25.00    0.00    $0.00      100.00% Case Management
                                email(s) from Steve Rauls regarding case
                                management Hearing
 2019-04-25      Staff          Preparation and drafting of Initial Disclosures     0.30  $7.50    $25.00    0.30    $7.50        0.00% Discovery Related
 2019-04-25      Staff          Receipt and review of Rodriguez medical             0.10  $2.50    $25.00    0.00    $0.00      100.00% Case Management
                                Release, save same to file
 2019-04-25      Staff          Receipt and review of information from              0.10  $2.50    $25.00    0.00    $0.00      100.00% Discovery Related
                                Davidson to provide in Initial Disclosures; save
                                same to file
 2019-04-25      Staff          Conference with Staff regarding case                0.10  $2.50    $25.00    0.00    $0.00      100.00% Case Management
                                management Hearing
 2019-04-25      Steve Rauls    Telephone Conference(s) with Josh Sanford           0.10 $17.50   $175.00    0.00    $0.00      100.00% In House Conference
                                and Lydia Hamlet to plan for case
                                management and Motions Hearing
 2019-04-25      Steve Rauls    Receive, read and prepare response to               0.30 $52.50   $175.00    0.20   $35.00       33.33% Discovery Related
                                email(s) from Lydia Hamlet regarding Initial
                                Disclosures; edit disclosure
 2019-04-26      Josh Sanford   Conference with Lydia Hamlet and Steve              0.10 $30.00   $300.00    0.00    $0.00      100.00% In House Conference
                                Rauls: Court next week
 2019-04-26      Josh Sanford   Discussion of case status and directing case        0.10 $30.00   $300.00    0.10   $30.00        0.00% In House Conference
                                strategy to Attorney Steve Rauls: (preparation
                                for Court)
 2019-04-26      Josh Sanford   Examination of Plaintiff's disclosure               0.10 $30.00   $300.00    0.00    $0.00      100.00% Discovery Related
 2019-04-26      Staff          Compose, prepare and send correspondence to         0.10  $2.50    $25.00    0.10    $2.50        0.00% Case Management
                                Steve Rauls regarding Initial Disclosures
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                                                                                     Actual Actual               Time   Amount
Date Billed on      Billed By                       Description                                        Rate                      % Reduction         Category
                                                                                     Time Charge               Claimed Claimed
 2019-04-26      Staff             Receive, read and prepare response to                0.10  $2.50     $25.00     0.00    $0.00     100.00% Case Management
                                   email(s) from Steve Rauls regarding Initial
                                   Disclosures- review
 2019-04-26      Staff             Receive, read and prepare response to               0.10    $2.50    $25.00    0.00     $0.00     100.00% Case Management
                                   email(s) from Steve Rauls regarding Initial
                                   Disclosures
 2019-04-26      Staff             Preparation and drafting of Initial Disclosures     0.90   $22.50    $25.00    0.90    $22.50       0.00% Discovery Related
 2019-04-26      Staff             Work on Client's file prepare Initial               0.60   $15.00    $25.00    0.60    $15.00       0.00% Discovery Related
                                   Disclosures for service
 2019-04-26      Steve Rauls       Receive, read and prepare response to               0.10   $17.50 $175.00      0.00     $0.00     100.00% In House Conference
                                   email(s) from Lydia Hamlet regarding Initial
                                   Disclosures
 2019-04-26      Steve Rauls       Examination of collective action briefing and       2.00 $350.00 $175.00       2.00   $350.00       0.00% Court Appearance and Prep
                                   exhibits; draft notes for oral argument and
                                   prepare Hearing binder for Josh Sanford
 2019-04-29      Josh Sanford      Discussion of case status and directing case        0.10   $30.00 $300.00      0.00     $0.00     100.00% In House Conference
                                   strategy to Attorney Steve Rauls
 2019-04-29      Josh Sanford      Telephone Conference(s) with Lydia Hamlet:          0.10   $30.00 $300.00      0.00     $0.00     100.00% In House Conference
                                   Court tomorrow
 2019-04-29      Josh Sanford      Preparation for Hearing                             0.60 $180.00 $300.00       0.60   $180.00       0.00% Court Appearance and Prep
 2019-04-29      Lydia H. Hamlet   Telephone Conference(s) with JS re: case            0.10 $17.50 $175.00        0.00     $0.00     100.00% In House Conference
                                   management hearing
 2019-04-30      Josh Sanford      Court Appearance, including travel time and         5.60 #######    $300.00    2.50   $750.00      55.36% Court Appearance and Prep
                                   waiting 216 Motion, case management, with
                                   travel
 2019-04-30      Josh Sanford      Discussion of case status and directing case        0.10   $30.00 $300.00      0.00     $0.00     100.00% In House Conference
                                   strategy to Attorney Steve Rauls
 2019-04-30      Josh Sanford      Examination of Electronic Court Filing/text         0.10   $30.00 $300.00      0.00     $0.00     100.00% Case Management
                                   orders
 2019-04-30      Lydia H. Hamlet   Conference with PR re: case management              0.10   $17.50 $175.00      0.00     $0.00     100.00% In House Conference
                                   hearing
 2019-04-30      Steve Rauls       Examination of Defendant's initial disclosures      0.90 $157.50 $175.00       0.90   $157.50       0.00% Discovery Related
                                   and attachments
 2019-04-30      Lydia H. Hamlet   Court Appearance (including travel time and         3.90 $682.50 $175.00       0.00     $0.00     100.00% Court Appearance and Prep
                                   waiting)
 2019-04-30      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00      0.10    $17.50       0.00% Opposing Counsel Communication
                                   email(s) from oc re: Defendant's initial
                                   disclosures
 2019-04-30      Steve Rauls       Receipt and review of text-only order               0.20   $35.00 $175.00      0.20    $35.00       0.00% Collective Action Certification
                                   regarding motion for collective action; discuss
                                   next steps with JS
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                                                                                   Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                     Rate                     % Reduction           Category
                                                                                   Time Charge            Claimed Claimed
 2019-04-30      Lydia H. Hamlet Receipt and review of Defendant's initial            0.20 $35.00 $175.00     0.00    $0.00     100.00% Discovery Related
                                 disclosures; save same to electronic file
 2019-04-30      Lydia H. Hamlet Work on Client's file regarding preparation for     0.20   $35.00 $175.00     0.20    $35.00       0.00% Court Appearance and Prep
                                 case management hearing
 2019-05-01      Josh Sanford    Discussion of case status and directing case        0.10   $30.00 $300.00     0.00     $0.00     100.00% In House Conference
                                 strategy to Attorney Daniel Ford
 2019-05-01      Josh Sanford    Discussion of case status and directing case        0.20   $60.00 $300.00     0.00     $0.00     100.00% In House Conference
                                 strategy to Attorney Steve Rauls
                                 (FMLA/revised 216)
 2019-05-01      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00     0.10    $17.50       0.00% In House Conference
                                 email(s) from JS re: notice of settlement
 2019-05-01      Lydia H. Hamlet Conference with PR re: case management              0.10   $17.50 $175.00     0.00     $0.00     100.00% In House Conference
                                 hearing
 2019-05-01      Lydia H. Hamlet Conference with TF re: case management              0.20   $35.00 $175.00     0.20    $35.00       0.00% Case Management
                                 hearing
 2019-05-02      Lydia H. Hamlet Receipt and review of order re: amended MCA         0.10   $17.50 $175.00     0.10    $17.50       0.00% Collective Action Certification

 2019-05-02      Lydia H. Hamlet Receipt and review of minute entry                  0.10 $17.50 $175.00       0.10    $17.50       0.00% Case Management
 2019-05-03      Steve Rauls     Editing and revision of amended motion for          1.20 $210.00 $175.00      1.20   $210.00       0.00% Collective Action Certification
                                 collective action and amended notice
                                 documents
 2019-05-03      Lydia H. Hamlet Work on Client's file regarding calendaring         0.10   $17.50 $175.00     0.00     $0.00     100.00% Collective Action Certification
                                 deadline to file amended MCA
 2019-05-03      Lydia H. Hamlet Telephone Conference(s) with SR re: amended         0.20   $35.00 $175.00     0.20    $35.00       0.00% In House Conference
                                 MCA
 2019-05-03      Lydia H. Hamlet Conference with TF re: case management              0.10   $17.50 $175.00     0.00     $0.00     100.00% Case Management
                                 hearing
 2019-05-06      Lydia H. Hamlet Receipt and review of IOM re: case status           0.10   $17.50 $175.00     0.00     $0.00     100.00% Case Management
 2019-05-07      Steve Rauls     Receipt and review of case management               0.10   $17.50 $175.00     0.00     $0.00     100.00% Case Management
                                 order
 2019-05-07      Steve Rauls     Receipt and review of order setting                 0.10   $17.50 $175.00     0.00     $0.00     100.00% Case Management
                                 settlement conference
 2019-05-07      Josh Sanford    Examination of C.M.O                                0.10   $30.00   $300.00   0.00     $0.00     100.00%   Case Management
 2019-05-07      Josh Sanford    Examination of order setting hearings               0.10   $30.00   $300.00   0.00     $0.00     100.00%   Case Management
 2019-05-08      Josh Sanford    Examination of email to OCs                         0.10   $30.00   $300.00   0.00     $0.00     100.00%   Opposing Counsel Communication
 2019-05-08      Josh Sanford    Examination of redrafted 216                        0.10   $30.00   $300.00   0.00     $0.00     100.00%   Collective Action Certification
 2019-05-08      Lydia H. Hamlet Conference with AK/PR re: case management           0.10   $17.50   $175.00   0.00     $0.00     100.00%   In House Conference
                                 hearing, amending pleadings
 2019-05-08      Lydia H. Hamlet Conference with TF re: calendaring deadlines        0.10   $17.50 $175.00     0.10    $17.50       0.00% Case Management
 2019-05-08      Lydia H. Hamlet Conference with TF re: case management              0.10   $17.50 $175.00     0.00     $0.00     100.00% Case Management
                                 order
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                                                                                    Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                      Rate                    % Reduction           Category
                                                                                    Time Charge            Claimed Claimed
 2019-05-08      Lydia H. Hamlet Receive, read and prepare response to                 0.10 $17.50 $175.00     0.10  $17.50       0.00% In House Conference
                                 email(s) from SR re: amended pleadings
 2019-05-08      Josh Sanford    Discussion of case status and directing case         0.10   $30.00 $300.00    0.00     $0.00     100.00% In House Conference
                                 strategy to Attorney Steve Rauls
 2019-05-08      Steve Rauls     Editing and revision of amended motion for           1.40 $245.00 $175.00     1.40   $245.00       0.00% Collective Action Certification
                                 collective action and attachments; discuss
                                 changes with JS and email to opposing
                                 counsel for review
 2019-05-08      Lydia H. Hamlet Receipt and review of order setting                  0.10   $17.50 $175.00    0.10    $17.50       0.00% Case Management
                                 settlement conference
 2019-05-08      Lydia H. Hamlet Receipt and review of amended pleadings              0.10   $17.50 $175.00    0.10    $17.50       0.00% Collective Action Certification
 2019-05-09      Lydia H. Hamlet Conference with TF re: case management               0.10   $17.50 $175.00    0.00     $0.00     100.00% Case Management
                                 order
 2019-05-10      Lydia H. Hamlet Work on Client's file regarding calendar             0.20   $35.00 $175.00    0.00     $0.00     100.00% Case Management
                                 dates/deadlines from order setting settlement
                                 conference
 2019-05-10      Lydia H. Hamlet Work on Client's file regarding calendar dates       0.20   $35.00 $175.00    0.00     $0.00     100.00% Case Management
                                 from case management order
 2019-05-13      Lydia H. Hamlet Receipt and review of IOM re: settlement             0.10   $17.50 $175.00    0.10    $17.50       0.00% Case Management
                                 conference
 2019-05-13      Lydia H. Hamlet Receipt and review of IOM re: confidential           0.10   $17.50 $175.00    0.10    $17.50       0.00% Case Management
                                 settlement statement
 2019-05-13      Josh Sanford    Examination of Intra-office memo regarding           0.10   $30.00 $300.00    0.00     $0.00     100.00% Case Management
                                 case events and deadlines
 2019-05-14      Lydia H. Hamlet Work on Client's file - notes re: case deadlines     0.20   $35.00 $175.00    0.10    $17.50      50.00% Case Management

 2019-05-20      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from SR re: conference call
 2019-05-20      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from JS re: conference call
 2019-05-20      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.10    $17.50       0.00% In House Conference
                                 email(s) from SR re: conference call; redline
                                 edits, etc.
 2019-05-20      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from SR re: confirming conference
                                 call with oc
 2019-05-20      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from JS re: conference call, redline
                                 edits
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                                                                                   Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                     Rate                    % Reduction          Category
                                                                                   Time Charge            Claimed Claimed
 2019-05-20      Lydia H. Hamlet Receive, read and prepare response to                0.10 $17.50 $175.00     0.10  $17.50       0.00% Opposing Counsel Communication
                                 email(s) from oc re: conference re: amended
                                 pleadings
 2019-05-20      Josh Sanford    Receive, read and prepare response to               0.10   $30.00 $300.00     0.00     $0.00   100.00% In House Conference
                                 email(s) from Lydia Hamlet and Steve Raulsz:
                                 216 call with OC
 2019-05-20      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50 $175.00     0.00     $0.00   100.00% In House Conference
                                 JS/SR re: conference call
 2019-05-20      Steve Rauls     Receipt and review of email from OC                 0.10   $17.50 $175.00     0.00     $0.00   100.00% Opposing Counsel Communication
                                 regarding proposed amended collective action
                                 motion; follow up with LH
 2019-05-20      Lydia H. Hamlet Conference with TF re: conference call re:          0.10   $17.50 $175.00     0.00     $0.00   100.00% Case Management
                                 amended pleadings
 2019-05-20      Josh Sanford    Examination of OC email                             0.10   $30.00   $300.00   0.10    $30.00     0.00%   Opposing Counsel Communication
 2019-05-23      Josh Sanford    Examination of IOM: edits to releases               0.10   $30.00   $300.00   0.00     $0.00   100.00%   Case Management
 2019-05-23      Josh Sanford    Examination of OC email                             0.10   $30.00   $300.00   0.00     $0.00   100.00%   Opposing Counsel Communication
 2019-05-23      Lydia H. Hamlet Receipt and review of IOM re: conference call       0.10   $17.50   $175.00   0.10    $17.50     0.00%   Case Management

 2019-05-23      Steve Rauls     Receipt and review of email from OC                 0.10   $17.50 $175.00     0.00     $0.00   100.00% Opposing Counsel Communication
                                 requesting additional medical release; follow
                                 up with LH
 2019-05-23      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00     0.00     $0.00   100.00% In House Conference
                                 email(s) from SR re: medical authorizations
 2019-05-23      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00     0.00     $0.00   100.00% In House Conference
                                 email(s) from SR re: medical releases
 2019-05-23      Lydia H. Hamlet Receive, read and prepare response to               0.20   $35.00 $175.00     0.00     $0.00   100.00% Opposing Counsel Communication
                                 email(s) from oc re: medical releases; review
                                 same
 2019-05-24      Lydia H. Hamlet                                                     0.10 $17.50 $175.00       0.00     $0.00   100.00% Client Communication
 2019-05-24      Lydia H. Hamlet                                                     0.10 $17.50 $175.00       0.00     $0.00   100.00% Client Communication
 2019-05-24      Lydia H. Hamlet Editing and revision of medical releases; draft     0.80 $140.00 $175.00      0.00     $0.00   100.00% Case Management
                                 letters to clients re: same; prepare same for
                                 service (1.88 postage)
 2019-05-28      Steve Rauls     Examination of Defendant's proposed                 1.80 $315.00 $175.00      1.80   $315.00     0.00% Collective Action Certification
                                 amended motion and notice documents;
                                 prepare for conference call with opposing
                                 counsel
 2019-05-28      Josh Sanford    Examination of OC email; edited motion              0.20   $60.00 $300.00     0.20    $60.00     0.00% Collective Action Certification
 2019-05-28      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00     0.10    $17.50     0.00% In House Conference
                                 email(s) from SR re: redline edits
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                                                                                    Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                      Rate                    % Reduction          Category
                                                                                    Time Charge            Claimed Claimed
 2019-05-28      Lydia H. Hamlet Receive, read and prepare response to                 0.10 $17.50 $175.00     0.10  $17.50       0.00% Opposing Counsel Communication
                                 email(s) from oc re: redline changes
 2019-05-28      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.10    $17.50      0.00% In House Conference
                                 email(s) from SR re; CTJ language
 2019-05-28      Lydia H. Hamlet Compose, prepare and send correspondence to          0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                 SR re: conference call
 2019-05-28      Steve Rauls     Telephone Conference(s) with LH regarding            0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                 planning for phone conference with opposing
                                 counsel
 2019-05-28      Lydia H. Hamlet Telephone Conference(s) with SR re:                  0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                 conference call, medical releases, etc.
 2019-05-28      Steve Rauls     Telephone Conference(s) with opposing                0.60 $105.00 $175.00     0.00     $0.00    100.00% Opposing Counsel Communication
                                 counsel; follow up with LH
 2019-05-28      Lydia H. Hamlet Telephone Conference(s) with SR re: class            0.30   $52.50 $175.00    0.30    $52.50      0.00% In House Conference
                                 definition, notice, second conference call, etc.
                                 (notes following)
 2019-05-28      Lydia H. Hamlet Telephone Conference(s) with oc/SR (notes            0.70 $122.50 $175.00     0.70   $122.50      0.00% Opposing Counsel Communication
                                 following)
 2019-05-28      Lydia H. Hamlet Work on Client's file regarding prepare for          0.10   $17.50 $175.00    0.10    $17.50      0.00% Case Management
                                 conference call with oc
 2019-05-28      Lydia H. Hamlet Work on Client's file regarding conference call      0.10   $17.50 $175.00    0.00     $0.00    100.00% Case Management

 2019-05-28      Lydia H. Hamlet Receipt and review of Defendant-edited               0.20   $35.00 $175.00    0.20    $35.00      0.00% Collective Action Certification
                                 amended MCA
 2019-05-28      Lydia H. Hamlet Receipt and review of Defendant-edited               0.10   $17.50 $175.00    0.10    $17.50      0.00% Collective Action Certification
                                 amended electronic notice
 2019-05-28      Lydia H. Hamlet Receipt and review of Defendant's redlines to        0.10   $17.50 $175.00    0.10    $17.50      0.00% Collective Action Certification
                                 electronic consent
 2019-05-28      Lydia H. Hamlet Receipt and review of Defendant's redlines to        0.10   $17.50 $175.00    0.10    $17.50      0.00% Collective Action Certification
                                 amended notice
 2019-05-28      Lydia H. Hamlet Receipt and review of oc-edited amended              0.10   $17.50 $175.00    0.10    $17.50      0.00% Collective Action Certification
                                 MCA
 2019-05-29      Josh Sanford    Receive, read and prepare response to                0.10   $30.00 $300.00    0.10    $30.00      0.00% In House Conference
                                 email(s) from Lydia Hamlet and Steve Rauls:
                                 216 motion
 2019-05-29      Steve Rauls     Receive, read and prepare response to                0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                 email(s) from JS regarding Defendant's
                                 proposed changes to notice documents
 2019-05-29      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                 email(s) from SR re: status, notice
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                     Rate                     % Reduction           Category
                                                                                  Time Charge            Claimed Claimed
 2019-05-29      Lydia H. Hamlet Receive, read and prepare response to               0.10 $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from JS re: notice
 2019-05-29      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                 email(s) from JS re: status
 2019-05-29      Lydia H. Hamlet AK/AR re: proposed notice, etc.                    0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
 2019-05-29      Staff           Conference with LH/AR RE case status and           0.10    $2.50 $25.00      0.00     $0.00    100.00% In House Conference
                                 strategy
 2019-05-31      Lydia H. Hamlet Receipt and review of new draft amended            0.10   $17.50 $175.00     0.10    $17.50      0.00% Collective Action Certification
                                 MCA, notice, and CTJ
 2019-05-31      Steve Rauls     Editing and revision of amended motion for         2.20 $385.00 $175.00      1.50   $262.50     31.82% Collective Action Certification
                                 collective action and notice documents; email
                                 to JS and LH for review
 2019-05-31      Josh Sanford    Receive, read and prepare response to              0.20   $60.00 $300.00     0.00     $0.00    100.00% In House Conference
                                 email(s) from Steve Rauls and Lydia Hamlet:
                                 edits to 216 motion
 2019-05-31      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                 email(s) from SR re: new draft pleadings for
                                 amended MCA
 2019-06-04      Steve Rauls     Editing and revision of amended motion for         0.30   $52.50 $175.00     0.30    $52.50      0.00% Collective Action Certification
                                 collective action and notice documents; email
                                 to opposing counsel for review.
 2019-06-04      Lydia H. Hamlet                                                    0.20   $35.00 $175.00     0.20    $35.00      0.00% Client Communication
 2019-06-04      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.10    $17.50      0.00% In House Conference
                                 email(s) from JS re: amended MCA, etc.
 2019-06-04      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.00     $0.00    100.00%   Client Communication
 2019-06-04      Lydia H. Hamlet                                                    0.20   $35.00   $175.00   0.00     $0.00    100.00%   Client Communication
 2019-06-04      Josh Sanford    Examination of email to OC- 216                    0.10   $30.00   $300.00   0.00     $0.00    100.00%   Opposing Counsel Communication
 2019-06-05      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50   $175.00   0.00     $0.00    100.00%   In House Conference
                                 email(s) from SR re: new drafts of MCA,
                                 notice, etc.
 2019-06-05      Lydia H. Hamlet Work on Client's file regarding cursory review     0.10   $17.50 $175.00     0.00     $0.00    100.00% Collective Action Certification
                                 of SR-revised amended MCA, notice, etc.
 2019-06-07      Josh Sanford    Examination of OC email: releases                  0.10   $30.00 $300.00     0.00     $0.00    100.00% Opposing Counsel Communication
 2019-06-07      Josh Sanford    Conference with Lydia Hamlet: call with OC         0.10   $30.00 $300.00     0.10    $30.00      0.00% In House Conference
 2019-06-07      Josh Sanford    Examination of Intra-office memo regarding         0.10   $30.00 $300.00     0.00     $0.00    100.00% Case Management
                                 case events and deadlines
 2019-06-07      Lydia H. Hamlet Telephone Conference(s) with TF re:                0.10   $17.50 $175.00     0.10    $17.50      0.00% Case Management
                                 conference call
 2019-06-07      Lydia H. Hamlet Telephone Conference (notes to file following)     0.30   $52.50 $175.00     0.00     $0.00    100.00% Opposing Counsel Communication
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                                                                                   Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                     Rate                     % Reduction           Category
                                                                                   Time Charge            Claimed Claimed
 2019-06-07      Steve Rauls       Telephone Conference(s) with JS, LH and            0.30 $52.50 $175.00     0.00    $0.00     100.00% In House Conference
                                   opposing counsel regarding notice documents
                                   and procedure
 2019-06-07      Josh Sanford      Telephone Conference(s) with OCs, SR, and         0.30   $90.00 $300.00     0.30    $90.00      0.00% Opposing Counsel Communication
                                   LH: terms of class
 2019-06-07      Josh Sanford      Discussion of case status and directing case      0.10   $30.00 $300.00     0.00     $0.00    100.00% In House Conference
                                   strategy to Attorney SR
 2019-06-10      Lydia H. Hamlet   Receive, read and prepare response to             0.10   $17.50 $175.00     0.00     $0.00    100.00% Opposing Counsel Communication
                                   email(s) from oc re: medical releases
 2019-06-10      Lydia H. Hamlet   Receive, read and prepare response to             0.10   $17.50 $175.00     0.10    $17.50      0.00% Opposing Counsel Communication
                                   email(s) from oc re: amended MCA
 2019-06-10      Josh Sanford      Receive, read and prepare response to             0.10   $30.00 $300.00     0.10    $30.00      0.00% Opposing Counsel Communication
                                   email(s) from OCs: conditional cert
 2019-06-10      Josh Sanford      Receive, read and prepare response to             0.10   $30.00 $300.00     0.00     $0.00    100.00% In House Conference
                                   email(s) from LH and SR: conditional cert
 2019-06-10      Lydia H. Hamlet   Telephone Conference(s) with SR re: amended       0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                   notice, consent, etc.
 2019-06-10      Josh Sanford      Examination of OC email, with redlines            0.20 $60.00 $300.00       0.00     $0.00    100.00% Opposing Counsel Communication
 2019-06-10      Steve Rauls       Examination of Def.'s new proposed notice         0.60 $105.00 $175.00      0.60   $105.00      0.00% Collective Action Certification
                                   and consent documents; follow-up emails to
                                   JS and opposing counsel.
 2019-06-10      Josh Sanford      Examination of                                    0.10   $30.00   $300.00   0.00     $0.00    100.00%   Collective Action Certification
 2019-06-10      Josh Sanford      Conference with SR: next steps, strategy          0.10   $30.00   $300.00   0.00     $0.00    100.00%   In House Conference
 2019-06-11      Josh Sanford      Examination of email to OC- 216                   0.10   $30.00   $300.00   0.00     $0.00    100.00%   Opposing Counsel Communication
 2019-06-11      Josh Sanford      Examination of OC email                           0.10   $30.00   $300.00   0.00     $0.00    100.00%   Opposing Counsel Communication
 2019-06-11      Josh Sanford      Telephone Conference(s) with OC and SR;           0.20   $60.00   $300.00   0.20    $60.00      0.00%   Opposing Counsel Communication
                                   conference with SR
 2019-06-11      Steve Rauls       Telephone Conference(s) with opposing             0.20   $35.00 $175.00     0.00     $0.00    100.00% Opposing Counsel Communication
                                   counsel regarding scope of collective; follow
                                   up with JS
 2019-06-11      Lydia H. Hamlet   Receive, read and prepare response to             0.10   $17.50 $175.00     0.10    $17.50      0.00% Opposing Counsel Communication
                                   email(s) from oc re: production employees v.
                                   specialty department employees
 2019-06-11      Lydia H. Hamlet   Receive, read and prepare response to             0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                   email(s) from SR re: amended MCA docs
 2019-06-11      Lydia H. Hamlet   Receive, read and prepare response to             0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                   email(s) from SR re: class definition, etc.
 2019-06-11      Lydia H. Hamlet   Receive, read and prepare response to             0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                   email(s) from SR re: class definition, job
                                   descriptions
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                     Rate                     % Reduction           Category
                                                                                  Time Charge            Claimed Claimed
 2019-06-11      Lydia H. Hamlet Receive, read and prepare response to               0.10 $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from JS re: notice
 2019-06-11      Steve Rauls     Editing and revision of proposed motion for        0.60 $105.00 $175.00      0.60   $105.00      0.00% Collective Action Certification
                                 collective action and notice documents; email
                                 revisions to opposing counsel with
                                 explanations
 2019-06-12      Josh Sanford    Discussion of case status and directing case       0.10   $30.00 $300.00     0.00     $0.00    100.00% In House Conference
                                 strategy to Attorney SR (216)
 2019-06-12      Lydia H. Hamlet Receipt and review of file-marked unopposed        0.10   $17.50 $175.00     0.00     $0.00    100.00% Case Management
                                 amended MCA
 2019-06-12      Steve Rauls     Receive, read and prepare response to              0.20   $35.00 $175.00     0.20    $35.00      0.00% Opposing Counsel Communication
                                 email(s) from opposing counsel approving
                                 unopposed motion for collective action; file
                                 motion and attachments
 2019-06-12      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.00     $0.00    100.00% Opposing Counsel Communication
                                 email(s) from oc re: filing amended MCA and
                                 exhibits unopposed
 2019-06-12      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                 email(s) from SR re: filing/status of amended
                                 MCA
 2019-06-12      Josh Sanford    Examination of OC email: 216 agreement             0.10   $30.00   $300.00   0.00     $0.00    100.00%   Opposing Counsel Communication
 2019-06-12      Josh Sanford    Examination of email to OC                         0.10   $30.00   $300.00   0.00     $0.00    100.00%   Opposing Counsel Communication
 2019-06-12      Josh Sanford    Examination of filed 216 motion-amended            0.10   $30.00   $300.00   0.00     $0.00    100.00%   Case Management
 2019-06-12      Josh Sanford    Examination of Intra-office memo regarding         0.10   $30.00   $300.00   0.00     $0.00    100.00%   Case Management
                                 case events and deadlines
 2019-06-14      Sean Short      Receipt and review of order conditionally          0.10   $17.50 $175.00     0.00     $0.00    100.00% Case Management
                                 certifying class.
 2019-06-14      Steve Rauls     Receipt and review of order granting motion        0.30   $52.50 $175.00     0.30    $52.50      0.00% Collective Action Certification
                                 for conditional certification; edit notice
                                 documents and follow up with staff
 2019-06-14      Staff           Receipt and review of Order granting MCA           0.10    $2.50 $25.00      0.00     $0.00    100.00% Collective Action Certification
 2019-06-14      Lydia H. Hamlet Receipt and review of order finding as moot        0.10   $17.50 $175.00     0.10    $17.50      0.00% Collective Action Certification
                                 motion to certify class and granting motion to
                                 certify class
 2019-06-14      Josh Sanford    Examination of order- 216                          0.20   $60.00 $300.00     0.00     $0.00    100.00% Collective Action Certification
 2019-06-14      Josh Sanford    Examination of IOM: class notice                   0.10   $30.00 $300.00     0.00     $0.00    100.00% Case Management
 2019-06-17      Lydia H. Hamlet Receipt and review of Rodriguez medical            0.10   $17.50 $175.00     0.00     $0.00    100.00% Discovery Related
                                 authorization (53 with TF re: same)
 2019-06-17      Lydia H. Hamlet Work on Client's file regarding medical            0.20   $35.00 $175.00     0.00     $0.00    100.00% Discovery Related
                                 release and email same to oc
 2019-06-17      Josh Sanford    Examination of IOM: client mail                    0.10   $30.00 $300.00     0.00     $0.00    100.00% Case Management
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                    Rate                     % Reduction           Category
                                                                                  Time Charge            Claimed Claimed
 2019-06-17      Josh Sanford    Examination of OC email                             0.10 $30.00 $300.00     0.00    $0.00     100.00% Opposing Counsel Communication
 2019-06-17      Josh Sanford    Examination of release transmittal to OC            0.10 $30.00 $300.00     0.00    $0.00     100.00% Opposing Counsel Communication
 2019-06-21      Josh Sanford    Telephone Conference(s) with TF: class notice       0.10 $30.00 $300.00     0.10  $30.00        0.00% Collective Action Management
                                 project
 2019-06-21      Lydia H. Hamlet Receive, read and prepare response to              0.20   $35.00 $175.00     0.20   $35.00       0.00% Opposing Counsel Communication
                                 email(s) from oc re: notice; conference with
                                 TF re: same
 2019-06-21      Steve Rauls     Receipt and review of class list from opposing     0.40   $70.00 $175.00     0.40   $70.00       0.00% Collective Action Management
                                 counsel; make final edits to notice documents
                                 and work with JS on mailing of notice

 2019-06-21      Josh Sanford    Work on Client's file regarding class notice       0.20   $60.00 $300.00     0.20   $60.00       0.00% Collective Action Management
 2019-06-21      Josh West       Work on Client's file regarding print docs for     0.10   $22.50 $225.00     0.00    $0.00     100.00% Collective Action Management
                                 JS
 2019-06-21      Staff           Work on Client's file: prepare and print           0.10    $2.50    $25.00   0.10    $2.50       0.00% Collective Action Management
                                 address labels for notice mailing
 2019-06-21      Josh Sanford    Work on Client's file regarding class notice       0.20   $60.00   $300.00   0.20   $60.00       0.00%   Collective Action Management
 2019-06-21      Josh Sanford    Examination of OC email/class list                 0.20   $60.00   $300.00   0.20   $60.00       0.00%   Collective Action Management
 2019-06-25      Steve Rauls                                                        0.20   $35.00   $175.00   0.20   $35.00       0.00%   Client Communication
 2019-06-25      Lydia H. Hamlet Telephone Conference(s) with VK re: status         0.10   $17.50   $175.00   0.00    $0.00     100.00%   In House Conference
 2019-06-26      Lydia H. Hamlet Telephone Conference(s) with Anne re:              0.10   $17.50   $175.00   0.00    $0.00     100.00%   In House Conference
                                 potential opt-in
 2019-06-26      Staff           Telephone Conference(s) with potential opt-in,     0.10    $2.50    $25.00   0.00    $0.00     100.00% In House Conference
                                 telephone conference with LH
 2019-06-26      Lydia H. Hamlet                                                    0.40   $70.00 $175.00     0.40   $70.00       0.00% Client Communication
 2019-06-26      Lydia H. Hamlet Conference with TF re: potential opt-in            0.10   $17.50 $175.00     0.10   $17.50       0.00% Collective Action Management
 2019-06-29      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from JS re: case deadlines
 2019-07-01      Staff           Examination of deadlines to ensure                 0.10    $2.50    $25.00   0.10    $2.50       0.00% Case Management
                                 compliance
 2019-07-01      Josh Sanford    Examination of IOM: new CTJ(s) in mail             0.10   $30.00 $300.00     0.10   $30.00       0.00% Collective Action Management
 2019-07-01      Lydia H. Hamlet Conference with TF re: CTJ                         0.10   $17.50 $175.00     0.00    $0.00     100.00% Collective Action Management
 2019-07-01      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.00    $0.00     100.00% Collective Action Management
                                 email(s) from TF re: CTJ
 2019-07-01      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from SR re: CTJ
 2019-07-01      Steve Rauls     Receive, read and prepare response to              0.10   $17.50 $175.00     0.10   $17.50       0.00% Collective Action Management
                                 email(s) from staff regarding processing
                                 signed consents to join
 2019-07-01      Josh Sanford    Receive, read and prepare response to              0.10   $30.00 $300.00     0.00    $0.00     100.00% Collective Action Management
                                 email(s) from TF: case management
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                     Rate                    % Reduction           Category
                                                                                  Time Charge            Claimed Claimed
 2019-07-01      Josh Sanford    Telephone Conference(s) with TB:c all from          0.10 $30.00 $300.00     0.10  $30.00       0.00% Collective Action Management
                                 opt in
 2019-07-03      Josh Sanford    Examination of Bradberry CTJ                       0.10   $30.00 $300.00     0.00    $0.00     100.00% Collective Action Management
 2019-07-03      Josh Sanford    Examination of IOM: new CTJ                        0.10   $30.00 $300.00     0.00    $0.00     100.00% Collective Action Management
 2019-07-03      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.00    $0.00     100.00% Collective Action Management
                                 email(s) from TF re: CTJ
 2019-07-03      Steve Rauls     Receipt and review of signed consent from opt-     0.10   $17.50 $175.00     0.10   $17.50       0.00% Collective Action Management
                                 in Bradberry; process and file
 2019-07-10      Lydia H. Hamlet class election - Bradberry                         0.10   $17.50 $175.00     0.00    $0.00     100.00% Collective Action Management
 2019-07-10      Steve Rauls     Receipt and review of signed consent from opt-     0.10   $17.50 $175.00     0.10   $17.50       0.00% Collective Action Management
                                 in Walker; process and file
 2019-07-10      Lydia H. Hamlet Conference with SO re: message from Vintru         0.10   $17.50   $175.00   0.10   $17.50       0.00%   Collective Action Management
 2019-07-10      Tess Bradford                                                      0.20   $35.00   $175.00   0.00    $0.00     100.00%   Client Communication
 2019-07-11      Josh Sanford    Examination of filed Walker CTJ                    0.10   $30.00   $300.00   0.00    $0.00     100.00%   Collective Action Management
 2019-07-11      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10   $17.50       0.00%   Client Communication
 2019-07-11      Lydia H. Hamlet Receipt and review of Larry Walker class           0.10   $17.50   $175.00   0.10   $17.50       0.00%   Collective Action Management
                                 election
 2019-07-12      Staff           Work on Client's file: calendar deadlines from     0.90   $22.50    $25.00   0.30    $7.50      66.67% Case Management
                                 case management order
 2019-07-14      Josh Sanford    Examination of emails with OC                      0.10   $30.00   $300.00   0.00    $0.00     100.00%   Opposing Counsel Communication
 2019-07-15      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.00    $0.00     100.00%   Client Communication
 2019-07-15      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10   $17.50       0.00%   Client Communication
 2019-07-15      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50   $175.00   0.00    $0.00     100.00%   In House Conference
                                 email(s) from AS re: Jason Davidson
 2019-07-15      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.00    $0.00     100.00% Opposing Counsel Communication
                                 email(s) from oc re: medical release -
                                 Davidson
 2019-07-15      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00     0.00    $0.00     100.00% Collective Action Management
                                 AS re: contacting Jason Davidson
 2019-07-15      Lydia H. Hamlet                                                    0.30   $52.50 $175.00     0.30   $52.50       0.00% Client Communication
 2019-07-16      Lydia H. Hamlet Receipt and review of CTJ                          0.10   $17.50 $175.00     0.10   $17.50       0.00% Collective Action Management
 2019-07-16      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00     0.00    $0.00     100.00% Opposing Counsel Communication
                                 oc re: Davidson medical release
 2019-07-16      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.00    $0.00     100.00% Opposing Counsel Communication
                                 email(s) from oc re: status of Davidson
                                 release
 2019-07-16      Josh Sanford    Examination of IOM: new CTJ                        0.10   $30.00 $300.00     0.00    $0.00     100.00% Collective Action Management
 2019-07-17      Steve Rauls     Receipt and review of signed consent from opt-     0.10   $17.50 $175.00     0.10   $17.50       0.00% Collective Action Management
                                 in Dinteru; process and file
 2019-07-19      Lydia H. Hamlet Receipt and review of CTJ Dinteru                  0.10   $17.50 $175.00     0.00    $0.00     100.00% Collective Action Management
 2019-07-29      Lydia H. Hamlet                                                    0.10   $17.50 $175.00     0.00    $0.00     100.00% Client Communication
 2019-07-31      Josh Sanford    Examination of IOM: client letter/release          0.10   $30.00 $300.00     0.00    $0.00     100.00% Case Management
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                                                                                   Actual Actual            Time   Amount
Date Billed on      Billed By                       Description                                    Rate                     % Reduction          Category
                                                                                   Time Charge            Claimed Claimed
 2019-07-31      Lydia H. Hamlet Receive, read and prepare response to                0.10 $17.50 $175.00     0.00    $0.00     100.00% Opposing Counsel Communication
                                 email(s) from oc re: medical release
 2019-07-31      Lydia H. Hamlet                                                     0.10   $17.50 $175.00    0.00    $0.00      100.00% Client Communication
 2019-07-31      Lydia H. Hamlet Compose, prepare and send correspondence to         0.20   $35.00 $175.00    0.00    $0.00      100.00% Opposing Counsel Communication
                                 oc re: medical release
 2019-07-31      Lydia H. Hamlet                                                     0.10   $17.50 $175.00    0.00    $0.00      100.00% Client Communication
 2019-07-31      Lydia H. Hamlet Receipt and review of Davidson medical              0.10   $17.50 $175.00    0.00    $0.00      100.00% Case Management
                                 authorization
 2019-08-05      Sean Short                                                          0.10   $17.50 $175.00    0.00    $0.00      100.00% Client Communication
 2019-08-13      Staff                                                               0.10    $2.50 $25.00     0.10    $2.50        0.00% Client Communication
 2019-08-16      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50 $175.00    0.10   $17.50        0.00% In House Conference
                                 AS re: opt in
 2019-08-16      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50 $175.00    0.00    $0.00      100.00% Collective Action Management
                                 HH re: potential opt-in
 2019-08-16      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.00    $0.00      100.00% Collective Action Management
                                 email(s) from HH re: opt-in
 2019-08-16      Lydia H. Hamlet Telephone Conference(s) with HH re: potential       0.10   $17.50 $175.00    0.00    $0.00      100.00% Collective Action Management
                                 opt-in
 2019-08-16      Lydia H. Hamlet Telephone Conference(s) with SR re: potential       0.10   $17.50 $175.00    0.10   $17.50        0.00% Collective Action Management
                                 opt-in
 2019-08-16      Steve Rauls     Telephone Conference(s) with LH regarding           0.10   $17.50 $175.00    0.00    $0.00      100.00% Collective Action Management
                                 call from potential opt-in
 2019-08-19      Sean Short                                                          0.30   $52.50 $175.00    0.00    $0.00      100.00% Client Communication
 2019-08-20      Lydia H. Hamlet Telephone Conference(s) with SS re: questions       0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                 from Ryan Bradberry
 2019-08-20      Sean Short      Telephone Conference(s) with LH regarding           0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                 case status; call from client.
 2019-08-20      Lydia H. Hamlet                                                     0.20   $35.00 $175.00    0.20   $35.00        0.00% Client Communication
 2019-08-20      Lydia H. Hamlet                                                     0.20   $35.00 $175.00    0.20   $35.00        0.00% Client Communication
 2019-08-20      Steve Rauls     Telephone Conference(s) with LH regarding           0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                 inquiries from opt-in plaintiffs
 2019-08-20      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.10   $17.50        0.00% Collective Action Management
                                 email(s) from AS re: opt-in: Parker
 2019-08-20      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.10   $17.50        0.00% Collective Action Management
                                 email(s) from SO re: Bradberry
 2019-08-20      Steve Rauls     Receipt and review of signed contract from          0.20   $35.00 $175.00    0.20   $35.00        0.00% Collective Action Management
                                 opt-in Waldroup; draft and file consent to join

 2019-08-20      Staff           Work on Client's file: audit file for unfiled       0.30    $7.50   $25.00   0.30    $7.50        0.00% Collective Action Management
                                 CTJs, update master list
 2019-08-20      Josh Sanford                                                        0.10   $30.00 $300.00    0.10   $30.00        0.00% Client Communication
 2019-08-20      Josh Sanford    Examination of Waldroup CTJ                         0.10   $30.00 $300.00    0.00    $0.00      100.00% Collective Action Management
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                     Rate                     % Reduction           Category
                                                                                  Time Charge            Claimed Claimed
 2019-08-20      Josh Sanford    Examination of IOMS: Waldroup contract              0.10 $30.00 $300.00     0.00    $0.00     100.00% Collective Action Management
 2019-08-21      Josh Sanford    Examination of IOM: Ryan Bradberry                  0.20 $60.00 $300.00     0.20  $60.00        0.00% Collective Action Management
 2019-08-21      Lydia H. Hamlet Receipt and review of file-marked Waldroup          0.10 $17.50 $175.00     0.00    $0.00     100.00% Collective Action Management
                                 CTJ
 2019-08-21      Lydia H. Hamlet Receipt and review of Waldroup contract            0.10   $17.50 $175.00    0.10    $17.50        0.00% Collective Action Management
 2019-08-21      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.00     $0.00      100.00% In House Conference
                                 email(s) from AS re: Waldroup
 2019-08-21      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.00     $0.00      100.00% In House Conference
                                 email(s) from JS re: Waldroup CTJ
 2019-08-21      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.00     $0.00      100.00% In House Conference
                                 email(s) from SR re: Waldroup CTJ
 2019-08-21      Josh Sanford                                                       0.20   $60.00 $300.00    0.20    $60.00        0.00% Client Communication
 2019-08-27      Lydia H. Hamlet Conference with SR, etc. re: case status,          0.10   $17.50 $175.00    0.10    $17.50        0.00% In House Conference
                                 discovery requests
 2019-08-27      Stacy Gibson    Conference with SR, AR, CL, MQ and LH re:          0.10   $17.50 $175.00    0.00     $0.00      100.00% In House Conference
                                 settlement status
 2019-08-27      Steve Rauls     Telephone Conference(s) with LH regarding          0.10   $17.50 $175.00    0.00     $0.00      100.00% In House Conference
                                 discovery to defendant
 2019-09-03      Josh Sanford                                                       0.10   $30.00 $300.00    0.10    $30.00        0.00% Client Communication
 2019-09-03      Josh Sanford    Discussion of case status and directing case       0.10   $30.00 $300.00    0.00     $0.00      100.00% In House Conference
                                 strategy to Attorney SR
 2019-09-05      Steve Rauls     Review file to determine case status               0.10   $17.50 $175.00    0.00     $0.00      100.00%   Case Management
 2019-09-06      Staff           Conference with LH re case status                  0.10    $2.50 $25.00     0.00     $0.00      100.00%   Case Management
 2019-09-06      Lydia H. Hamlet Conference with Anne re: case status               0.10   $17.50 $175.00    0.00     $0.00      100.00%   Case Management
 2019-09-06      Lydia H. Hamlet Conference with Anne re: discovery requests        0.10   $17.50 $175.00    0.10    $17.50        0.00%   Discovery Related
 2019-09-06      Staff           Conference with LH re Rogs and RFPs                0.10    $2.50 $25.00     0.10     $2.50        0.00%   Discovery Related
 2019-09-09      Staff           Prepare and compose Discovery Requests to          1.00   $25.00 $25.00     1.00    $25.00        0.00%   Discovery Related
                                 be Answered by Opposing Party
 2019-09-09      Staff           Prepare and compose Discovery Requests to          0.70   $17.50   $25.00   0.00     $0.00      100.00% Discovery Related
                                 be Answered by Opposing Party, email to LH
 2019-09-09      Stacy Gibson    Telephone Conference(s) with AP re: discovery      0.10   $17.50 $175.00    0.00     $0.00      100.00% Case Management

 2019-09-09      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.10    $17.50        0.00% Case Management
                                 email(s) from Anne re: draft discovery
                                 requests
 2019-09-11      Staff           Conference with LH RE case status                  0.10    $2.50 $25.00     0.00     $0.00      100.00% Case Management
 2019-09-11      Lydia H. Hamlet Conference with AK re: case status                 0.10   $17.50 $175.00    0.00     $0.00      100.00% Case Management
 2019-09-12      Lydia H. Hamlet Preparation and drafting of discovery requests     0.10   $17.50 $175.00    0.10    $17.50        0.00% Discovery Related

 2019-09-13      Lydia H. Hamlet Preparation and drafting of discovery requests     1.40 $245.00 $175.00     1.00   $175.00       28.57% Discovery Related
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                                                                                   Actual Actual               Time   Amount
Date Billed on      Billed By                      Description                                       Rate                     % Reduction           Category
                                                                                   Time Charge               Claimed Claimed
 2019-09-13      Lydia H. Hamlet   Compose, prepare and send correspondence to        0.10 $17.50    $175.00     0.10  $17.50       0.00% In House Conference
                                   SR re: outgoing discovery
 2019-09-20      Lydia H. Hamlet   Receive, read and prepare response to              0.10 $17.50    $175.00    0.00     $0.00     100.00% In House Conference
                                   email(s) from SR re: opt-in period
 2019-09-20      Lydia H. Hamlet   Receipt and review of IOM re: end of opt-in        0.10 $17.50    $175.00    0.00     $0.00     100.00% Case Management
                                   period
 2019-09-20      Lydia H. Hamlet   Notes to file re: outgoing discovery               0.10 $17.50    $175.00    0.00     $0.00     100.00%   Case Management
 2019-09-26      Lydia H. Hamlet   Conference with SR re: outgoing discovery          0.10 $17.50    $175.00    0.00     $0.00     100.00%   In House Conference
 2019-09-26      Lydia H. Hamlet   Conference with Team re: case status               0.10 $17.50    $175.00    0.00     $0.00     100.00%   Case Management
 2019-09-30      Steve Rauls       Editing and revision of discovery requests to      1.60 $280.00   $175.00    0.70   $122.50      56.25%   Discovery Related
                                   Defendant; email to opposing counsel
 2019-09-30      Josh Sanford      Conference with SR: scope of discovery             0.10 $30.00    $300.00    0.10    $30.00       0.00% In House Conference
 2019-09-30      Josh Sanford      Examination of transmittal of discovery to OC      0.10 $30.00    $300.00    0.00     $0.00     100.00% Opposing Counsel Communication
 2019-10-01      Lydia H. Hamlet   Conference with VK re: case status,                0.10 $17.50    $175.00    0.00     $0.00     100.00% In House Conference
                                   responding to probable motion to decertify,
                                   etc
 2019-10-01      Lydia H. Hamlet   Work on Client's file: calendar deadline for       0.10 $17.50    $175.00    0.00     $0.00     100.00% Case Management
                                   Defendant's response to first discovery
                                   requests
 2019-10-01      Lydia H. Hamlet   Receipt and review of final draft of outgoing      0.10 $17.50    $175.00    0.10    $17.50       0.00% Discovery Related
                                   discovery
 2019-10-01      Lydia H. Hamlet   Receive, read and prepare response to              0.10 $17.50    $175.00    0.00     $0.00     100.00% In House Conference
                                   email(s) from SR re: Plaintiffs' discovery
                                   requests to Defendant
 2019-10-04      Lydia H. Hamlet   Receive, read and prepare response to              0.10 $17.50    $175.00    0.00     $0.00     100.00% In House Conference
                                   email(s) from JS re: discovery requests
 2019-10-04      Lydia H. Hamlet   Receive, read and prepare response to              0.10 $17.50    $175.00    0.00     $0.00     100.00% In House Conference
                                   email(s) from JS re: discovery requests
 2019-10-04      Lydia H. Hamlet   Receive, read and prepare response to              0.30 $52.50    $175.00    0.30    $52.50       0.00% Opposing Counsel Communication
                                   email(s) from oc re: written discovery and
                                   depositions; conference with JS re: same
 2019-10-04      Josh Sanford      Receive, read and prepare response to              0.10 $30.00    $300.00    0.00     $0.00     100.00% Opposing Counsel Communication
                                   email(s) from OC re discovery requests
 2019-10-04      Josh Sanford      Preparation and drafting of IOM: answering         0.10 $30.00    $300.00    0.10    $30.00       0.00% Case Management
                                   discovery
 2019-10-04      Lydia H. Hamlet   Work on Client's file: check calendar re:          0.30 $52.50    $175.00    0.10    $17.50      66.67% Case Management
                                   availability for depositions; calendar
                                   prospective dates; calendar due date for
                                   written discovery, etc.; conference with SR re:
                                   same
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                     Rate                     % Reduction         Category
                                                                                  Time Charge            Claimed Claimed
 2019-10-04      Lydia H. Hamlet Conference with TF re: Defendant's discovery        0.10 $17.50 $175.00     0.00    $0.00     100.00% Case Management
                                 requests
 2019-10-04      Steve Rauls     Conference with LH regarding Def.'s discovery      0.10   $17.50 $175.00    0.00    $0.00     100.00% In House Conference
                                 requests
 2019-10-04      Josh Sanford    Conference with LH re discovery requests           0.10   $30.00 $300.00    0.00    $0.00     100.00% In House Conference
 2019-10-04      Josh Sanford    Examination of discovery requests                  0.30   $90.00 $300.00    0.30   $90.00       0.00% Discovery Related
 2019-10-04      Josh Sanford    Examination of Intra-office memo regarding         0.10   $30.00 $300.00    0.00    $0.00     100.00% Case Management
                                 case events and deadlines
 2019-10-07      Lydia H. Hamlet Conference with AP re: discovery responses         0.10   $17.50 $175.00    0.10   $17.50       0.00% Case Management
                                 and depositions
 2019-10-07      Josh Sanford    Examination of depo email to OC                    0.10   $30.00 $300.00    0.00    $0.00     100.00% Opposing Counsel Communication
 2019-10-07      Josh Sanford    Examination of emails with OC                      0.20   $60.00 $300.00    0.00    $0.00     100.00% Opposing Counsel Communication
 2019-10-07      Lydia H. Hamlet Work on Client's file: check availability for      0.10   $17.50 $175.00    0.10   $17.50       0.00% Deposition Related
                                 proposed deposition dates
 2019-10-07      Lydia H. Hamlet Work on Client's file: calendar due dates and      0.20   $35.00 $175.00    0.00    $0.00     100.00% Case Management
                                 reminders )(discovery responses- Outlook and
                                 Practice Panther)
 2019-10-07      Lydia H. Hamlet Work on Client's file: calendar tentative depo     0.10   $17.50 $175.00    0.00    $0.00     100.00% Deposition Related
                                 dates
 2019-10-07      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.10   $17.50       0.00% In House Conference
                                 email(s) from SR re: depositions
 2019-10-07      Steve Rauls     Receive, read and prepare response to              0.10   $17.50 $175.00    0.00    $0.00     100.00% In House Conference
                                 email(s) from LH regarding scheduling
                                 depositions
 2019-10-07      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.10   $17.50       0.00% Opposing Counsel Communication
                                 email(s) from oc re: depositions
 2019-10-07      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00    0.10   $17.50       0.00% Opposing Counsel Communication
                                 oc re: depositions
 2019-10-07      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00    0.00    $0.00     100.00% In House Conference
                                 AP re: contacting clients re: deposition dates

 2019-10-07      Lydia H. Hamlet Compose, prepare and send correspondence to        0.30   $52.50 $175.00    0.30   $52.50       0.00% In House Conference
                                 JS/SR re: depositions
 2019-10-08      Lydia H. Hamlet Telephone Conference(s) with AP re:                0.10   $17.50 $175.00    0.10   $17.50       0.00% Case Management
                                 discovery/depo project
 2019-10-08      Lydia H. Hamlet Telephone Conference(s) with Anne re:              0.10   $17.50 $175.00    0.00    $0.00     100.00% Case Management
                                 discovery project/conferences with
                                 clients/status
 2019-10-08      Staff           Compose electronic communication to LH re          0.10    $2.50   $25.00   0.00    $0.00     100.00% Case Management
                                 contacting plaintiffs re depositions
 2019-10-08      Staff           Receipt and review of email from LH                0.10    $2.50   $25.00   0.00    $0.00     100.00% Case Management
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                     Rate                     % Reduction         Category
                                                                                  Time Charge            Claimed Claimed
 2019-10-08      Lydia H. Hamlet Receipt and review of IOM re: discovery             0.10 $17.50 $175.00     0.00    $0.00     100.00% Case Management
                                 responses
 2019-10-08      Steve Rauls     Examination of email from opposing counsel         0.10   $17.50 $175.00     0.10    $17.50     0.00% Opposing Counsel Communication
                                 with discovery requests; calendar response
 2019-10-09      Lydia H. Hamlet Conference with JS re: discovery requests          0.10   $17.50   $175.00   0.10    $17.50     0.00%   In House Conference
 2019-10-09      Lydia H. Hamlet Conference with SO re: discovery requests          0.10   $17.50   $175.00   0.10    $17.50     0.00%   Case Management
 2019-10-09      Josh Sanford    Conference with LH: discovery requests             0.10   $30.00   $300.00   0.00     $0.00   100.00%   In House Conference
 2019-10-09      Lydia H. Hamlet Conference with AR/SS re: CTJs                     0.10   $17.50   $175.00   0.00     $0.00   100.00%   In House Conference
 2019-10-09      Stacy Gibson    Conference with SR, MQ, CL, LH, AR re: case        0.10   $17.50   $175.00   0.00     $0.00   100.00%   In House Conference
                                 status
 2019-10-09      Josh Sanford    Examination of email to OC                         0.10   $30.00 $300.00     0.00     $0.00   100.00% Opposing Counsel Communication
 2019-10-09      Staff           Work on Client's file: create spreadsheet of       0.20    $5.00 $25.00      0.20     $5.00     0.00% Deposition Related
                                 deposition times, call plaintiffs for
                                 preferences
 2019-10-09      Lydia H. Hamlet Work on Client's file: re: discovery               0.20   $35.00 $175.00     0.20    $35.00     0.00%   Discovery Related
 2019-10-09      Staff           Work on Client's file: update master list          0.10    $2.50 $25.00      0.10     $2.50     0.00%   Collective Action Management
 2019-10-09      Staff                                                              0.10    $2.50 $25.00      0.10     $2.50     0.00%   Client Communication
 2019-10-09      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00     0.10    $17.50     0.00%   Opposing Counsel Communication
                                 oc re: discovery requests
 2019-10-09      Staff           Telephone Conference(s) with LH re                 0.10    $2.50    $25.00   0.00     $0.00   100.00% Case Management
                                 depositions, CTJs
 2019-10-09      Steve Rauls     Telephone Conference(s) with LH regarding          0.10   $17.50 $175.00     0.00     $0.00   100.00% In House Conference
                                 responses to Def.'s discovery requests
 2019-10-09      Staff                                                              0.10    $2.50    $25.00   0.10     $2.50     0.00% Client Communication
 2019-10-09      Staff                                                              0.20    $5.00    $25.00   0.20     $5.00     0.00% Client Communication
 2019-10-09      Staff           Telephone Conference(s) with LH re contacting      0.10    $2.50    $25.00   0.00     $0.00   100.00% Case Management
                                 plaintiffs about depos
 2019-10-09      Staff                                                              0.10    $2.50 $25.00      0.00     $0.00   100.00% Client Communication
 2019-10-09      Staff                                                              0.10    $2.50 $25.00      0.00     $0.00   100.00% Client Communication
 2019-10-09      Lydia H. Hamlet Telephone Conference(s) between Attorney           0.10   $17.50 $175.00     0.10    $17.50     0.00% Case Management
                                 and Anne re: discovery project
 2019-10-09      Lydia H. Hamlet Telephone Conference(s) between Attorney           0.10   $17.50 $175.00     0.00     $0.00   100.00% Case Management
                                 and Anne re: contact with clients, CTJs, etc.
 2019-10-10      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.10    $17.50     0.00% Opposing Counsel Communication
                                 email(s) from oc re: discovery requests
 2019-10-10      Lydia H. Hamlet Work on Client's file: save editable discovery     0.60 $105.00 $175.00      0.30    $52.50    50.00% Discovery Related
                                 requests to electronic file; Email Anne
 2019-10-10      Josh Sanford    Examination of OC email                            0.10 $30.00 $300.00       0.00     $0.00   100.00% Opposing Counsel Communication
 2019-10-11      Lydia H. Hamlet Work on Client's file: re: discovery               1.20 $210.00 $175.00      1.20   $210.00     0.00% Discovery Related
                                 requests/responses
 2019-10-14      Staff           Receipt and review of email from LH re             0.10    $2.50    $25.00   0.00     $0.00   100.00% In House Conference
                                 discovery answers
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                                                                                 Actual Actual              Time   Amount
Date Billed on      Billed By                     Description                                      Rate                    % Reduction           Category
                                                                                 Time Charge              Claimed Claimed
 2019-10-14      Staff           Preparation and Drafting of Answers to             0.50 $12.50    $25.00     0.50  $12.50       0.00% Discovery Related
                                 Opposing Party's RFAs
 2019-10-14      Staff           Preparation and Drafting of Answers to            0.80   $20.00   $25.00    0.80   $20.00        0.00% Discovery Related
                                 Opposing Party's RFAs
 2019-10-14      Staff           Preparation and Drafting of Answers to            0.20    $5.00   $25.00    0.20    $5.00        0.00% Discovery Related
                                 Opposing Party's RFAs
 2019-10-14      Staff           Preparation and drafting of CTJ and send via      0.10    $2.50   $25.00    0.10    $2.50        0.00% Collective Action Management
                                 Right Signature
 2019-10-14      Staff                                                             0.10    $2.50 $25.00      0.00    $0.00      100.00% Client Communication
 2019-10-14      Staff           Conference with LH re answering discovery         0.10    $2.50 $25.00      0.00    $0.00      100.00% In House Conference
 2019-10-14      Lydia H. Hamlet Conference with AP re: discovery requests,        0.10   $17.50 $175.00     0.00    $0.00      100.00% In House Conference
                                 CTJ, etc.
 2019-10-14      Lydia H. Hamlet Conference with Anne re: discovery requests       0.10   $17.50 $175.00     0.00    $0.00      100.00% In House Conference
 2019-10-15      Lydia H. Hamlet Conference with AP re: Davidson CTJ               0.10   $17.50 $175.00     0.00    $0.00      100.00% In House Conference
 2019-10-15      Staff           Examination of deposition scheduling              0.10    $2.50 $25.00      0.10    $2.50        0.00% Deposition Related
                                 spreadsheet
 2019-10-15      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00     0.00    $0.00      100.00% In House Conference
                                 email(s) from AP re: Davidson CTJ
 2019-10-15      Staff                                                             0.10    $2.50   $25.00    0.00    $0.00      100.00% Client Communication
 2019-10-15      Staff           Preparation and Drafting of Answers to            0.70   $17.50   $25.00    0.70   $17.50        0.00% Discovery Related
                                 Opposing Party's RFPs and Rogs
 2019-10-15      Staff           Preparation and Drafting of Answers to            0.40   $10.00   $25.00    0.40   $10.00        0.00% Discovery Related
                                 Opposing Party's RFPs and Rogs
 2019-10-15      Staff           Preparation and Drafting of Answers to            0.10    $2.50   $25.00    0.10    $2.50        0.00% Discovery Related
                                 Opposing Party's RFPs and Rogs
 2019-10-15      Staff           Preparation and Drafting of Answers to            0.10    $2.50   $25.00    0.10    $2.50        0.00% Discovery Related
                                 Opposing Party's RFPs and Rogs
 2019-10-15      Staff           Preparation and Drafting of Answers to            0.10    $2.50   $25.00    0.10    $2.50        0.00% Discovery Related
                                 Opposing Party's RFPs and Rogs
 2019-10-15      Staff           Receipt and review of signed CTJ                  0.10    $2.50   $25.00    0.10    $2.50        0.00% Collective Action Management
 2019-10-16      Staff           Preparation and Drafting of Answers to            1.00   $25.00   $25.00    1.00   $25.00        0.00% Discovery Related
                                 Opposing Party's RFAs, RFPs, and Rogs
 2019-10-16      Staff           Preparation and Drafting of Answers to            0.10    $2.50   $25.00    0.10    $2.50        0.00% Discovery Related
                                 Opposing Party's RFPs
 2019-10-16      Staff           Preparation and Drafting of Answers to            0.20    $5.00   $25.00    0.20    $5.00        0.00% Discovery Related
                                 Opposing Party's RFPs and Rogs
 2019-10-16      Lydia H. Hamlet Telephone Conference(s) between Attorney          0.10   $17.50 $175.00     0.00    $0.00      100.00% In House Conference
                                 and AP re: discovery responses
 2019-10-16      Lydia H. Hamlet Telephone Conference(s) with AP re: discovery     0.10   $17.50 $175.00     0.00    $0.00      100.00% In House Conference
                                 responses
 2019-10-16      Lydia H. Hamlet Telephone Conference(s) with AP re: discovery     0.10   $17.50 $175.00     0.00    $0.00      100.00% In House Conference
                                 responses
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                    Rate                     % Reduction           Category
                                                                                  Time Charge            Claimed Claimed
 2019-10-16      Josh Sanford      Examination of OC email                           0.10 $30.00 $300.00     0.00    $0.00     100.00% Opposing Counsel Communication
 2019-10-17      Staff             Telephone Conference(s) with Larry Walker re      0.20  $5.00 $25.00      0.20    $5.00       0.00% Discovery Related
                                   discovery answers
 2019-10-17      Staff             Telephone Conference(s) with plaintiffs re       0.10    $2.50   $25.00   0.10    $2.50        0.00% Discovery Related
                                   discovery answers
 2019-10-17      Staff             Preparation and Drafting of Answers to           0.60   $15.00   $25.00   0.60   $15.00        0.00% Discovery Related
                                   Opposing Party's Rogs and RFPs
 2019-10-18      Staff             Receipt and review of email from OC re           0.10    $2.50   $25.00   0.00    $0.00      100.00% Opposing Counsel Communication
                                   deposition scheduling
 2019-10-18      Lydia H. Hamlet   client contact spreadsheet                       0.10   $17.50 $175.00    0.00    $0.00      100.00% Case Management
 2019-10-18      Staff             Compose electronic communication LH re           0.10    $2.50 $25.00     0.00    $0.00      100.00% In House Conference
                                   discovery answers
 2019-10-18      Staff             Compose electronic communication to opt-in       0.10    $2.50   $25.00   0.10    $2.50        0.00% Deposition Related
                                   re deposition scheduling
 2019-10-18      Lydia H. Hamlet   Telephone Conference(s) with Ann re: contact     0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                   with clients
 2019-10-18      Staff             Telephone Conference(s) with Ryan Bradberry      0.20    $5.00   $25.00   0.20    $5.00        0.00% Discovery Related
                                   re discovery answers
 2019-10-18      Lydia H. Hamlet   Telephone Conference(s) with JS re:              0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                   depositions
 2019-10-18      Lydia H. Hamlet   Receive, read and prepare response to            0.10   $17.50 $175.00    0.10   $17.50        0.00% Opposing Counsel Communication
                                   email(s) from oc re: depositions
 2019-10-18      Josh Sanford      Receive, read and prepare response to            0.20   $60.00 $300.00    0.00    $0.00      100.00% In House Conference
                                   email(s) from LH/SR: deposition scheduling
 2019-10-18      Lydia H. Hamlet   Receive, read and prepare response to            0.10   $17.50 $175.00    0.10   $17.50        0.00% In House Conference
                                   email(s) from SR re: scheduling depositions
 2019-10-18      Steve Rauls       Receive, read and prepare response to            0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                   email(s) from LH regarding deposition
                                   scheduling project
 2019-10-18      Lydia H. Hamlet   Receive, read and prepare response to            0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                   email(s) from JS re: depositions
 2019-10-18      Lydia H. Hamlet   GM re: message from Rodriguez                    0.10   $17.50 $175.00    0.00    $0.00      100.00% Case Management
 2019-10-18      Lydia H. Hamlet   Compose, prepare and send correspondence to      0.10   $17.50 $175.00    0.00    $0.00      100.00% Deposition Related
                                   AP re: scheduling depositions
 2019-10-18      Lydia H. Hamlet   Compose, prepare and send correspondence to      0.10   $17.50 $175.00    0.00    $0.00      100.00% Deposition Related
                                   AP re: scheduling depositions
 2019-10-18      Lydia H. Hamlet   Compose, prepare and send correspondence to      0.10   $17.50 $175.00    0.00    $0.00      100.00% Opposing Counsel Communication
                                   oc re: depositions
 2019-10-18      Lydia H. Hamlet   Compose, prepare and send correspondence to      0.50   $87.50 $175.00    0.50   $87.50        0.00% Opposing Counsel Communication
                                   oc re: depositions; JS/SR
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                                                                                 Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                    Rate                    % Reduction          Category
                                                                                 Time Charge            Claimed Claimed
 2019-10-18      Lydia H. Hamlet Compose, prepare and send revised                  0.20 $35.00 $175.00     0.20  $35.00       0.00% Opposing Counsel Communication
                                 correspondence to oc re: depositions
 2019-10-18      Josh Sanford    Examination of email to OC                        0.10   $30.00   $300.00   0.00    $0.00    100.00%   Opposing Counsel Communication
 2019-10-18      Josh Sanford    Examination of email to OC                        0.10   $30.00   $300.00   0.00    $0.00    100.00%   Opposing Counsel Communication
 2019-10-18      Lydia H. Hamlet Conference with AP re: scheduling depos           0.10   $17.50   $175.00   0.00    $0.00    100.00%   Deposition Related
 2019-10-18      Staff           Conference with LH re deposition scheduling       0.10    $2.50    $25.00   0.10    $2.50      0.00%   Deposition Related
 2019-10-18      Staff           Conference with LH re deposition scheduling       0.10    $2.50    $25.00   0.00    $0.00    100.00%   Deposition Related
 2019-10-18      Lydia H. Hamlet Conference with AP re: scheduling depositions     0.10   $17.50   $175.00   0.00    $0.00    100.00%   Deposition Related

 2019-10-21      Staff                                                             0.10    $2.50 $25.00      0.10    $2.50      0.00% Client Communication
 2019-10-22      Lydia H. Hamlet                                                   0.10   $17.50 $175.00     0.00    $0.00    100.00% Client Communication
 2019-10-22      Staff           Receipt and review of email from LH re letter     0.10    $2.50 $25.00      0.00    $0.00    100.00% Case Management
                                 to opt-in
 2019-10-22      Lydia H. Hamlet Receipt and review of draft discovery             0.10   $17.50 $175.00     0.10   $17.50      0.00% Discovery Related
                                 responses
 2019-10-22      Lydia H. Hamlet Receipt and review of IOM re: Def's discovery     0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
                                 responses
 2019-10-22      Staff           Preparation and Drafting of Answers to            0.50   $12.50    $25.00   0.50   $12.50      0.00% Discovery Related
                                 Opposing Party's RFPs and Rogs
 2019-10-22      Staff           Preparation and Drafting of Answers to            0.10    $2.50    $25.00   0.10    $2.50      0.00% Discovery Related
                                 Opposing Party's RFAs
 2019-10-22      Staff           Preparation and Drafting of Answers to            0.10    $2.50    $25.00   0.10    $2.50      0.00% Discovery Related
                                 Opposing Party's RFAs
 2019-10-22      Staff           Preparation and Drafting of Answers to            0.70   $17.50    $25.00   0.70   $17.50      0.00% Discovery Related
                                 Opposing Party's RFAs
 2019-10-22      Lydia H. Hamlet Compose, prepare and send correspondence to       0.10   $17.50 $175.00     0.10   $17.50      0.00% Case Management
                                 AP re: Dinteru correspondence
 2019-10-22      Lydia H. Hamlet Compose, prepare and send correspondence to       0.10   $17.50 $175.00     0.10   $17.50      0.00% In House Conference
                                 SR re: draft discovery responses
 2019-10-22      Staff                                                             0.10    $2.50 $25.00      0.10    $2.50      0.00% Client Communication
 2019-10-22      Staff                                                             0.20    $5.00 $25.00      0.20    $5.00      0.00% Client Communication
 2019-10-22      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
                                 email(s) from AP re: Dinteru
 2019-10-22      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
                                 email(s) from AP re: discovery responses
 2019-10-22      Staff           Telephone Conference(s) with Larry Walker re      0.20    $5.00    $25.00   0.20    $5.00      0.00% Discovery Related
                                 answers to RFAs
 2019-10-22      Staff           Telephone Conference(s) with Ryan Bradberry       0.20    $5.00    $25.00   0.20    $5.00      0.00% Discovery Related
                                 re answers to RFAs
 2019-10-22      Staff           Telephone Conference(s) with plaintiffs re        0.40   $10.00    $25.00   0.40   $10.00      0.00% Discovery Related
                                 discovery answers
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                                                                                   Actual Actual              Time   Amount
Date Billed on      Billed By                       Description                                      Rate                     % Reduction           Category
                                                                                   Time Charge              Claimed Claimed
 2019-10-22      Staff             Telephone Conference(s) with client re             0.20  $5.00    $25.00     0.20    $5.00       0.00% Discovery Related
                                   answers to RFAs
 2019-10-22      Staff             Conference with LH re discovery answers           0.10    $2.50 $25.00      0.00     $0.00      100.00% In House Conference
 2019-10-22      Lydia H. Hamlet   Conference with AP re: discovery responses        0.10   $17.50 $175.00     0.10    $17.50        0.00% Case Management
                                   and scheduling depositions
 2019-10-22      Lydia H. Hamlet   Conference with AP re: letter to Dinteru          0.10   $17.50 $175.00     0.00     $0.00      100.00%   Case Management
 2019-10-22      Lydia H. Hamlet   Conference with SO re: Def's disc resps           0.10   $17.50 $175.00     0.10    $17.50        0.00%   Case Management
 2019-10-22      Lydia H. Hamlet   Conference with TF re: Def's disc resps           0.10   $17.50 $175.00     0.00     $0.00      100.00%   Case Management
 2019-10-22      Staff             Examination of notes on client answers to         0.10    $2.50 $25.00      0.00     $0.00      100.00%   Discovery Related
                                   discovery
 2019-10-23      Staff                                                               0.10   $2.50 $25.00       0.10     $2.50        0.00% Client Communication
 2019-10-24      Steve Rauls     Editing and revision of model responses and         1.10 $192.50 $175.00      1.10   $192.50        0.00% Discovery Related
                                 objections to Def.'s discovery requests
 2019-10-25      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00     0.00     $0.00      100.00% In House Conference
                                 email(s) from SR re: discovery responses
 2019-10-25      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50 $175.00     0.10    $17.50        0.00% Case Management
                                 AP re: discovery responses
 2019-10-25      Lydia H. Hamlet Receipt and review of discovery responses           0.10   $17.50 $175.00     0.10    $17.50        0.00% Discovery Related
                                 draft
 2019-10-28      Staff                                                               0.10    $2.50   $25.00    0.00     $0.00      100.00%   Client Communication
 2019-10-28      Staff                                                               0.20    $5.00   $25.00    0.00     $0.00      100.00%   Client Communication
 2019-10-28      Staff                                                               0.10    $2.50   $25.00    0.00     $0.00      100.00%   Client Communication
 2019-10-28      Staff           Preparation and Drafting of Answers to              1.90   $47.50   $25.00    1.90    $47.50        0.00%   Discovery Related
                                 Opposing Party's Rogs and RFPs
 2019-10-28      Staff           Preparation and Drafting of Answers to              0.20    $5.00   $25.00    0.20     $5.00        0.00% Discovery Related
                                 Opposing Party's Rogs and RFPs
 2019-10-28      Lydia H. Hamlet Work on Client's file: discovery responses          0.10   $17.50 $175.00     0.10    $17.50        0.00% Discovery Related
 2019-10-28      Lydia H. Hamlet Conference with AP re: draft discovery              0.10   $17.50 $175.00     0.00     $0.00      100.00% In House Conference
                                 responses
 2019-10-28      Staff           Conference with LH re discovery responses           0.10    $2.50 $25.00      0.00     $0.00      100.00% In House Conference
 2019-10-28      Lydia H. Hamlet Conference with AP re: status of discovery          0.10   $17.50 $175.00     0.00     $0.00      100.00% In House Conference
                                 responses
 2019-10-28      Lydia H. Hamlet Conference with AP re: discovery responses          0.10   $17.50 $175.00     0.00     $0.00      100.00% In House Conference
 2019-10-28      Lydia H. Hamlet Conference with AP re: request for documents        0.10   $17.50 $175.00     0.00     $0.00      100.00% In House Conference

 2019-10-28      Staff             Examination of revised responses to discovery     0.20    $5.00   $25.00    0.20     $5.00        0.00% Discovery Related

 2019-10-29      Lydia H. Hamlet Work on Client's file: answers to RFAs              0.10   $17.50 $175.00     0.10    $17.50        0.00% Discovery Related
 2019-10-29      Lydia H. Hamlet Work on Client's file: review Bradberry             0.20   $35.00 $175.00     0.20    $35.00        0.00% Discovery Related
                                 answers to RFAs; conference with SR re:
                                 same; email SR re: same
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                                                                               Actual Actual              Time   Amount
Date Billed on      Billed By                   Description                                      Rate                     % Reduction           Category
                                                                               Time Charge              Claimed Claimed
 2019-10-29      Staff          Preparation and Drafting of Answers to            0.20  $5.00    $25.00     0.20    $5.00       0.00% Discovery Related
                                Opposing Party's RFPs and Rogs
 2019-10-29      Staff          Compose electronic communication to LH re        0.10    $2.50   $25.00    0.00     $0.00      100.00% In House Conference
                                RFAs
 2019-10-29      Staff                                                           0.10    $2.50 $25.00      0.10     $2.50        0.00%   Client Communication
 2019-10-29      Staff           Telephone Conference(s) with LH re RFAs         0.10    $2.50 $25.00      0.00     $0.00      100.00%   In House Conference
 2019-10-29      Lydia H. Hamlet Telephone Conference(s) with AP re: RFAs        0.10   $17.50 $175.00     0.00     $0.00      100.00%   In House Conference
 2019-10-29      Lydia H. Hamlet Compose, prepare and send correspondence to     0.10   $17.50 $175.00     0.00     $0.00      100.00%   In House Conference
                                 AP re: RFAs
 2019-10-29      Lydia H. Hamlet Receive, read and prepare response to           0.10   $17.50 $175.00     0.00     $0.00      100.00% In House Conference
                                 email(s) from AP re: Bradberry responses to
                                 RFAs
 2019-10-29      Lydia H. Hamlet Receive, read and prepare response to           0.10   $17.50 $175.00     0.00     $0.00      100.00% In House Conference
                                 email(s) from AP re: answers to written
                                 discovery
 2019-10-29      Lydia H. Hamlet Receive, read and prepare response to           0.20   $35.00 $175.00     0.00     $0.00      100.00% In House Conference
                                 email(s) from AP re: RFAs
 2019-10-30      Lydia H. Hamlet Receive, read and prepare response to           0.10   $17.50 $175.00     0.00     $0.00      100.00% In House Conference
                                 email(s) from AP re: discovery responses
 2019-10-30      Lydia H. Hamlet Receive, read and prepare response to           0.10   $17.50 $175.00     0.00     $0.00      100.00% In House Conference
                                 email(s) from JS re: responses to RFAs
 2019-10-30      Josh Sanford    Receive, read and prepare response to           0.10   $30.00 $300.00     0.00     $0.00      100.00% In House Conference
                                 email(s) from SR/LH: RFA answers
 2019-10-30      Josh Sanford    Receive, read and prepare response to           0.20   $60.00 $300.00     0.00     $0.00      100.00% In House Conference
                                 email(s) from LH/SR: depo strategy
 2019-10-30      Lydia H. Hamlet Compose, prepare and send correspondence to     0.10   $17.50 $175.00     0.00     $0.00      100.00% In House Conference
                                 SR/AP re: RFAs
 2019-10-30      Lydia H. Hamlet Compose, prepare and send correspondence to     0.10   $17.50 $175.00     0.00     $0.00      100.00% In House Conference
                                 SR re: depositions
 2019-10-30      Lydia H. Hamlet Perform legal research regarding executive      0.20   $35.00 $175.00     0.20    $35.00        0.00% Case Management
                                 exemption
 2019-10-30      Josh Sanford    Telephone Conference(s) with SR: discovery      0.10   $30.00 $300.00     0.00     $0.00      100.00% In House Conference
                                 answers
 2019-10-30      Josh Sanford    Preparation and drafting of IOM: RFAs           0.10 $30.00 $300.00       0.00     $0.00      100.00% In House Conference
 2019-10-30      Lydia H. Hamlet Receipt and review of IOM re: discovery         1.00 $175.00 $175.00      1.00   $175.00        0.00% In House Conference
                                 responses
 2019-10-30      Lydia H. Hamlet Work on Client's file re: written discovery     0.20   $35.00 $175.00     0.20    $35.00        0.00% Discovery Related
                                 responses; email JS/SR re: same
 2019-10-30      Josh Sanford    Examination of docs from OC                     0.80 $240.00 $300.00      0.80   $240.00        0.00% Discovery Related
 2019-10-30      Josh Sanford    Examination of NODs; review schedule            0.20 $60.00 $300.00       0.20    $60.00        0.00% Discovery Related
 2019-10-30      Josh Sanford    Editing and revision of RFA answers             0.60 $180.00 $300.00      0.60   $180.00        0.00% Discovery Related
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                                                                                   Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                     Rate                     % Reduction           Category
                                                                                   Time Charge            Claimed Claimed
 2019-10-30      Steve Rauls       Editing and revision of model responses to         0.30 $52.50 $175.00     0.00    $0.00     100.00% Discovery Related
                                   requests for admissions
 2019-10-30      Josh Sanford      Conference with LH: edits to RFA answers          0.10   $30.00 $300.00    0.00     $0.00      100.00% In House Conference
 2019-10-30      Josh Sanford      Conference with LH: discovery answers             0.10   $30.00 $300.00    0.00     $0.00      100.00% In House Conference
 2019-10-30      Lydia H. Hamlet   Conference with JS re: written discovery          0.10   $17.50 $175.00    0.10    $17.50        0.00% In House Conference
                                   responses
 2019-10-30      Lydia H. Hamlet   Conference with JS re: depositions                0.10   $17.50 $175.00    0.00     $0.00      100.00% In House Conference
 2019-10-30      Lydia H. Hamlet   Conference with JS re: RFAs                       0.10   $17.50 $175.00    0.00     $0.00      100.00% In House Conference
 2019-10-30      Josh Sanford      Examination of Intra-office memo regarding        0.10   $30.00 $300.00    0.00     $0.00      100.00% Case Management
                                   case events and deadlines
 2019-10-31      Staff             Conference with LH re discovery answers           0.20    $5.00   $25.00   0.00     $0.00      100.00% In House Conference
 2019-10-31      Staff             Conference with LH re discovery responses         0.10    $2.50   $25.00   0.00     $0.00      100.00% In House Conference
 2019-10-31      Staff             Conference with LH re contacting clients re       0.10    $2.50   $25.00   0.10     $2.50        0.00% In House Conference
                                   discovery
 2019-10-31      Lydia H. Hamlet   Conferences with AP re: discovery responses       0.50 $87.50 $175.00      0.00     $0.00      100.00% In House Conference
 2019-10-31      Steve Rauls       Editing and revision of discovery responses       0.80 $140.00 $175.00     0.80   $140.00        0.00% Discovery Related
                                   and objections for plaintiffs and opt-ins
 2019-10-31      Josh Sanford      Editing and revision of RFA answers               0.70 $210.00 $300.00     0.70   $210.00        0.00%   Discovery Related
 2019-10-31      Josh Sanford      Examination of email to OC                        0.10 $30.00 $300.00      0.00     $0.00      100.00%   Opposing Counsel Communication
 2019-10-31      Lydia H. Hamlet   Work on Client's file: discovery responses        1.30 $227.50 $175.00     1.30   $227.50        0.00%   Discovery Related
 2019-10-31      Staff             Receipt and review of edited discovery            0.10   $2.50 $25.00      0.00     $0.00      100.00%   Discovery Related
                                   responses
 2019-10-31      Lydia H. Hamlet   Receipt and review of draft responses to          0.80 $140.00 $175.00     0.80   $140.00        0.00% Discovery Related
                                   RFAs, email JS/SR re: same; conference with
                                   AP re: same
 2019-10-31      Staff             Preparation and Drafting of Answers to            1.70   $42.50   $25.00   1.70    $42.50        0.00% Discovery Related
                                   Opposing Party's Rogs, RFPs, and RFAs
 2019-10-31      Staff             Preparation and Drafting of Answers to            0.60   $15.00   $25.00   0.60    $15.00        0.00% Discovery Related
                                   Opposing Party's Rogs and RFPs
 2019-10-31      Staff             Preparation and Drafting of Answers to            0.50   $12.50   $25.00   0.50    $12.50        0.00% Discovery Related
                                   Opposing Party's RFAs
 2019-10-31      Staff             Compose electronic communication Park             0.10    $2.50   $25.00   0.00     $0.00      100.00% Discovery Related
                                   Waldroup re discovery answers
 2019-10-31      Lydia H. Hamlet   Telephone Conference(s) with SR re:               0.20   $35.00 $175.00    0.20    $35.00        0.00% In House Conference
                                   depositions, discovery responses, etc. (notes
                                   to file following)
 2019-10-31      Steve Rauls       Telephone Conference(s) with LH regarding         0.20   $35.00 $175.00    0.00     $0.00      100.00% In House Conference
                                   planning for plaintiff depositions
 2019-10-31      Staff             Telephone Conference(s) with MS re duplicate      0.10    $2.50   $25.00   0.00     $0.00      100.00% Case Management
                                   files
 2019-10-31      Lydia H. Hamlet   Compose, prepare and send correspondence to       0.10   $17.50 $175.00    0.00     $0.00      100.00% Opposing Counsel Communication
                                   oc re: Waldroup depo
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                                                                                 Actual Actual              Time   Amount
Date Billed on      Billed By                     Description                                     Rate                      % Reduction           Category
                                                                                 Time Charge              Claimed Claimed
 2019-10-31      Lydia H. Hamlet   Compose, prepare and send correspondence to      0.10 $17.50   $175.00     0.00    $0.00     100.00% In House Conference
                                   JS re: depo schedule
 2019-10-31      Lydia H. Hamlet   Compose, prepare and send correspondence to      0.10 $17.50   $175.00    0.00     $0.00      100.00% In House Conference
                                   JS re: Dinteru
 2019-10-31      Josh Sanford      Receive, read and prepare response to            0.10 $30.00   $300.00    0.00     $0.00      100.00% In House Conference
                                   email(s) from LH: RFA answers
 2019-10-31      Lydia H. Hamlet   Receive, read and prepare response to            0.10 $17.50   $175.00    0.00     $0.00      100.00% In House Conference
                                   email(s) from SR re: responses to RFAs
 2019-10-31      Lydia H. Hamlet   Receive, read and prepare response to            0.10 $17.50   $175.00    0.00     $0.00      100.00% In House Conference
                                   email(s) from AP re: responses to RFAs
 2019-10-31      Lydia H. Hamlet   Receive, read and prepare response to            0.10 $17.50   $175.00    0.00     $0.00      100.00% In House Conference
                                   email(s) from JS re: Dinteru status
 2019-10-31      Lydia H. Hamlet   Receive, read and prepare response to            0.10 $17.50   $175.00    0.00     $0.00      100.00% In House Conference
                                   email(s) from JS re: depo schedule
 2019-10-31      Lydia H. Hamlet   Receive, read and prepare response to            0.10 $17.50   $175.00    0.10    $17.50        0.00% Opposing Counsel Communication
                                   email(s) from oc re: notices of deposition
 2019-10-31      Lydia H. Hamlet   Receive, read and prepare response to            0.10 $17.50   $175.00    0.10    $17.50        0.00% Opposing Counsel Communication
                                   email(s) from oc re: discovery responses
 2019-10-31      Lydia H. Hamlet   Receive, read and prepare response to            0.10 $17.50   $175.00    0.10    $17.50        0.00% Opposing Counsel Communication
                                   email(s) from oc re: discovery responses
 2019-10-31      Lydia H. Hamlet   Receive, read and prepare response to            0.10 $17.50   $175.00    0.00     $0.00      100.00% In House Conference
                                   email(s) from JS re: discovery responses
 2019-11-01      Staff             Compose electronic communication LH with         0.10  $2.50    $25.00    0.00     $0.00      100.00% In House Conference
                                   discovery answers
 2019-11-01      Staff             Preparation and Drafting of Answers to           0.30  $7.50    $25.00    0.30     $7.50        0.00% Discovery Related
                                   Opposing Party's RFPs and Rogs
 2019-11-01      Staff             Receipt and review of doctor's notes from        0.10  $2.50    $25.00    0.00     $0.00      100.00% Discovery Related
                                   client
 2019-11-01      Staff             Editing and revision of responses to Rogs and    0.10  $2.50    $25.00    0.10     $2.50        0.00% Discovery Related
                                   RFPs
 2019-11-04      Lydia H. Hamlet   Conference with team re: discovery responses     0.10 $17.50   $175.00    0.00     $0.00      100.00% In House Conference

 2019-11-04      Staff           Conference with LH re discovery from Dft        0.10    $2.50 $25.00        0.00     $0.00      100.00%   In House Conference
 2019-11-04      Staff           Conference with LH re answering discovery       0.10    $2.50 $25.00        0.00     $0.00      100.00%   In House Conference
 2019-11-04      Staff           Conference with LH re answering discovery       0.10    $2.50 $25.00        0.00     $0.00      100.00%   In House Conference
 2019-11-04      Josh Sanford    Conference with SR: discovery answers           0.10   $30.00 $300.00       0.00     $0.00      100.00%   In House Conference
 2019-11-04      Lydia H. Hamlet Editing and revision of Waldroup discovery      0.20   $35.00 $175.00       0.20    $35.00        0.00%   Discovery Related
                                 responses
 2019-11-04      Lydia H. Hamlet Editing and revision of Walker discovery        0.20   $35.00 $175.00       0.20    $35.00        0.00% Discovery Related
                                 responses
 2019-11-04      Staff           Editing and revision of answers to RFAs         0.10    $2.50     $25.00    0.10     $2.50        0.00% Discovery Related
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                                                                                  Actual Actual             Time   Amount
Date Billed on      Billed By                     Description                                      Rate                    % Reduction           Category
                                                                                  Time Charge             Claimed Claimed
 2019-11-04      Steve Rauls     Editing and revision of opt-ins' discovery          0.60 $105.00 $175.00     0.60 $105.00       0.00% Discovery Related
                                 responses; discuss changes with LH and JS
 2019-11-04      Josh Sanford    Examination of IOM: edits to discovery             0.10   $30.00 $300.00     0.00     $0.00     100.00% In House Conference
                                 answers
 2019-11-04      Josh Sanford    Examination of transmittal of discovery to OC      0.10   $30.00 $300.00     0.00     $0.00     100.00% Opposing Counsel Communication
 2019-11-04      Josh Sanford    Preparation and drafting of IOM: discovery         0.10   $30.00 $300.00     0.00     $0.00     100.00% In House Conference
                                 answers
 2019-11-04      Staff           Work on Client's file: scan and save discovery     0.10    $2.50    $25.00   0.10     $2.50       0.00% Case Management
                                 answers as PDFs, conference with LH re
                                 answering discovery
 2019-11-04      Lydia H. Hamlet Work on Client's file: re: discovery responses     0.10 $17.50 $175.00       0.10    $17.50       0.00% Discovery Related
 2019-11-04      Lydia H. Hamlet Work on Client's file: discovery responses         3.80 $665.00 $175.00      3.80   $665.00       0.00% Discovery Related
 2019-11-04      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10 $17.50 $175.00       0.00     $0.00     100.00% In House Conference
                                 JS re; discovery responses
 2019-11-05      Staff                                                              0.10    $2.50 $25.00      0.10     $2.50       0.00% Client Communication
 2019-11-05      Steve Rauls     Telephone Conference(s) with LH regarding          0.20   $35.00 $175.00     0.00     $0.00     100.00% In House Conference
                                 planning for plaintiff depositions
 2019-11-05      Staff                                                              0.20    $5.00 $25.00      0.20     $5.00       0.00% Client Communication
 2019-11-05      Staff                                                              0.20    $5.00 $25.00      0.20     $5.00       0.00% Client Communication
 2019-11-05      Lydia H. Hamlet Telephone Conference(s) with SR re: depo           0.10   $17.50 $175.00     0.10    $17.50       0.00% In House Conference
                                 prep
 2019-11-05      Staff           Telephone Conference(s) with LH and SR re          0.20    $5.00    $25.00   0.00     $0.00     100.00% In House Conference
                                 deposition prep
 2019-11-05      Staff           Work on Client's file: deposition schedule         0.10    $2.50 $25.00      0.10     $2.50       0.00%   Deposition Related
 2019-11-05      Staff                                                              0.10    $2.50 $25.00      0.10     $2.50       0.00%   Client Communication
 2019-11-05      Lydia H. Hamlet Conference with AP re: depo spreadsheet            0.10   $17.50 $175.00     0.00     $0.00     100.00%   In House Conference
 2019-11-05      Lydia H. Hamlet Conference with AP re: Waldroup - proposed         0.10   $17.50 $175.00     0.00     $0.00     100.00%   In House Conference
                                 depo date
 2019-11-05      Lydia H. Hamlet Conference with AP re: depo prep                   0.10   $17.50 $175.00     0.00     $0.00     100.00% In House Conference
 2019-11-05      Staff           Conference with LH re notice of depositions        0.20    $5.00 $25.00      0.20     $5.00       0.00% In House Conference
 2019-11-05      Lydia H. Hamlet Conference with AP re: contacting clients re:      0.20   $35.00 $175.00     0.00     $0.00     100.00% In House Conference
                                 depo dates
 2019-11-05      Lydia H. Hamlet Conference with TF/SO re: discovery                0.10   $17.50 $175.00     0.10    $17.50       0.00% Case Management
                                 responses
 2019-11-05      Staff           Conference with LH re Bradberry and Walker         0.10    $2.50    $25.00   0.10     $2.50       0.00% In House Conference
                                 depo prep
 2019-11-05      Lydia H. Hamlet Conference with AP re: Bradberry depo prep         0.10   $17.50   $175.00   0.00     $0.00     100.00%   In House Conference
 2019-11-05      Lydia H. Hamlet Conference with AP re: Walker depo prep            0.10   $17.50   $175.00   0.00     $0.00     100.00%   In House Conference
 2019-11-06      Lydia H. Hamlet Conference with AP re: discovery responses         0.20   $35.00   $175.00   0.00     $0.00     100.00%   In House Conference
 2019-11-06      Lydia H. Hamlet Conference with AP re: discovery                   0.20   $35.00   $175.00   0.00     $0.00     100.00%   In House Conference
                                 responses/contacting clients re: depositions
 2019-11-06      Lydia H. Hamlet Conference with AP re: discovery responses         0.10   $17.50 $175.00     0.00     $0.00     100.00% In House Conference
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                                                                                   Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                     Rate                     % Reduction         Category
                                                                                   Time Charge            Claimed Claimed
 2019-11-06      Josh Sanford      Examination of Intra-office memo regarding         0.10 $30.00 $300.00     0.00    $0.00     100.00% Case Management
                                   case events and deadlines
 2019-11-06      Josh Sanford      Examination of Intra-office memo regarding        0.10   $30.00 $300.00    0.00     $0.00    100.00% Case Management
                                   case events and deadlines
 2019-11-06      Josh Sanford      Examination of Intra-office memo regarding        0.10   $30.00 $300.00    0.00     $0.00    100.00% Case Management
                                   case events and deadlines
 2019-11-06      Lydia H. Hamlet   Work on Client's file: re:                        0.90 $157.50 $175.00     0.90   $157.50      0.00% Deposition Related
                                   scheduling/calendaring depositions
 2019-11-06      Lydia H. Hamlet   Receipt and review of IOM re: discovery           0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                   responses
 2019-11-06      Lydia H. Hamlet   Receive, read and prepare response to             0.10   $17.50 $175.00    0.10    $17.50      0.00% In House Conference
                                   email(s) from SR re: discovery responses
 2019-11-06      Lydia H. Hamlet   Receive, read and prepare response to             0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                   email(s) from SR re: discovery responses
 2019-11-06      Lydia H. Hamlet   Compose, prepare and send correspondence to       0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                   SR re: depositions
 2019-11-06      Lydia H. Hamlet   Compose, prepare and send correspondence to       0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                   SR re: discovery responses
 2019-11-06      Lydia H. Hamlet   Compose, prepare and send correspondence to       0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                   SR re: discovery responses
 2019-11-06      Lydia H. Hamlet   Telephone Conference(s) with SR re: discovery     0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                   responses
 2019-11-06      Lydia H. Hamlet   Telephone Conference(s) with SR re: discovery     0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                   responses
 2019-11-06      Lydia H. Hamlet   Telephone Conference(s) with SR re:               0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                   depositions
 2019-11-06      Lydia H. Hamlet   Telephone Conference(s) with SR re: discovery     0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                   responses, depositions
 2019-11-06      Lydia H. Hamlet   Telephone Conference(s) with JS re:               0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                   depositions
 2019-11-07      Steve Rauls       Telephone Conference(s) with LH regarding         0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                   deposition scheduling
 2019-11-07      Lydia H. Hamlet   Telephone Conference(s) with SR re:               0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                   Waldroup depo prep
 2019-11-07      Lydia H. Hamlet   Telephone Conference(s) with SR re: Davidson      0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                   prep
 2019-11-07      Staff                                                               0.20    $5.00 $25.00     0.20     $5.00      0.00% Client Communication
 2019-11-07      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                 AP re: Waldroup deposition
 2019-11-07      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                 JS/SR re: Dinteru
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                                                                                    Actual Actual              Time   Amount
Date Billed on      Billed By                      Description                                       Rate                      % Reduction           Category
                                                                                    Time Charge              Claimed Claimed
 2019-11-07      Lydia H. Hamlet   Compose, prepare and send correspondence to         0.10 $17.50   $175.00     0.00    $0.00     100.00% In House Conference
                                   AP re: depo prep times
 2019-11-07      Lydia H. Hamlet   Compose, prepare and send correspondence to         0.10 $17.50   $175.00    0.00     $0.00      100.00% Opposing Counsel Communication
                                   oc re: Dinteru
 2019-11-07      Lydia H. Hamlet   Compose, prepare and send correspondence to         0.10 $17.50   $175.00    0.00     $0.00      100.00% In House Conference
                                   JS/SR re: Dinteru contacts
 2019-11-07      Lydia H. Hamlet   Receive, read and prepare response to               0.10 $17.50   $175.00    0.00     $0.00      100.00% In House Conference
                                   email(s) from JS re: Dinteru
 2019-11-07      Lydia H. Hamlet   Receive, read and prepare response to               0.10 $17.50   $175.00    0.10    $17.50        0.00% Opposing Counsel Communication
                                   email(s) from oc re: notice of depositon,
                                   Dinteru deposition
 2019-11-07      Josh Sanford      Receive, read and prepare response to               0.10 $30.00   $300.00    0.00     $0.00      100.00% In House Conference
                                   email(s) from LH re deposition
 2019-11-07      Staff             Receipt and review of email from LH re              0.10  $2.50    $25.00    0.10     $2.50        0.00% In House Conference
                                   deposition
 2019-11-07      Lydia H. Hamlet   Work on Client's file: re contacting Dinturu        0.10 $17.50   $175.00    0.00     $0.00      100.00% Deposition Related
 2019-11-07      Lydia H. Hamlet   Work on Client's file: notes re: information re:    0.10 $17.50   $175.00    0.10    $17.50        0.00% Deposition Related
                                   individual plaintiffs
 2019-11-07      Lydia H. Hamlet   Work on Client's file: schedule/calendar depo       0.30 $52.50   $175.00    0.00     $0.00      100.00% Deposition Related
                                   prep of clients
 2019-11-07      Lydia H. Hamlet   Work on Client's file: schedule/calendar            0.10 $17.50   $175.00    0.00     $0.00      100.00% Deposition Related
                                   Davidson prep
 2019-11-07      Lydia H. Hamlet   Work on Client's file: re: depo prep plan, etc.     0.30 $52.50   $175.00    0.30    $52.50        0.00% Deposition Related
 2019-11-07      Staff             Work on Client's file: depo prep scheduling         0.10  $2.50    $25.00    0.00     $0.00      100.00% Deposition Related
 2019-11-07      Lydia H. Hamlet   Work on Client's file: schedule/calendar            0.10 $17.50   $175.00    0.00     $0.00      100.00% Deposition Related
                                   Waldroup depo prep
 2019-11-07      Staff             Work on attempting to contact Tisinhriki            0.30  $7.50    $25.00    0.10     $2.50       66.67% Deposition Related
                                   Dinteru
 2019-11-07      Staff                                                                 0.10  $2.50    $25.00    0.10     $2.50        0.00%   Client Communication
 2019-11-07      Staff                                                                 0.10  $2.50    $25.00    0.10     $2.50        0.00%   Client Communication
 2019-11-07      Staff                                                                 0.10  $2.50    $25.00    0.00     $0.00      100.00%   Client Communication
 2019-11-07      Josh Sanford      Examination of email to OC                          0.10 $30.00   $300.00    0.00     $0.00      100.00%   Opposing Counsel Communication
 2019-11-07      Josh Sanford      Examination of IOM re Dinten                        0.10 $30.00   $300.00    0.00     $0.00      100.00%   In House Conference
 2019-11-07      Josh Sanford      Examination of Wladrop NOD                          0.10 $30.00   $300.00    0.00     $0.00      100.00%   Case Management
 2019-11-07      Staff             Conference with LH re rescheduling depo prep        0.10  $2.50    $25.00    0.10     $2.50        0.00%   In House Conference

 2019-11-07      Lydia H. Hamlet Conference with AP re: Davidson prep              0.10    $17.50 $175.00       0.00     $0.00      100.00% In House Conference
 2019-11-07      Staff           Conference with SR and LH re depo prep            0.10     $2.50 $25.00        0.00     $0.00      100.00% In House Conference
                                 scheduling
 2019-11-07      Lydia H. Hamlet Conference with TF re: depositions/travel         0.20    $35.00 $175.00       0.20    $35.00        0.00% Deposition Related
 2019-11-07      Staff           Conference with LH re Dinteru                     0.10     $2.50 $25.00        0.00     $0.00      100.00% In House Conference
 2019-11-07      Lydia H. Hamlet Conference with AP re: Dinteru                    0.10    $17.50 $175.00       0.00     $0.00      100.00% In House Conference
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                                                                                Actual Actual            Time   Amount
Date Billed on      Billed By                    Description                                    Rate                     % Reduction           Category
                                                                                Time Charge            Claimed Claimed
 2019-11-07      Lydia H. Hamlet Conference with AP re: Dinteru information        0.10 $17.50 $175.00     0.00    $0.00     100.00% In House Conference
 2019-11-07      Lydia H. Hamlet Conference with AP re: Waldroup depo prep,        0.20 $35.00 $175.00     0.00    $0.00     100.00% In House Conference
                                 information re: Plaintiffs
 2019-11-07      Staff           Conference with LH and SR re deposition prep     0.20    $5.00    $25.00   0.20    $5.00       0.00% In House Conference
                                 of Park Waldroup
 2019-11-07      Lydia H. Hamlet Conference with AP re: Dinteru contacts          0.10   $17.50   $175.00   0.00    $0.00     100.00%   In House Conference
 2019-11-07      Lydia H. Hamlet Conference with AP re: Waldroup depo prep        0.10   $17.50   $175.00   0.00    $0.00     100.00%   In House Conference
 2019-11-07      Lydia H. Hamlet Conference with AP re: Davidson depo prep        0.10   $17.50   $175.00   0.00    $0.00     100.00%   In House Conference
 2019-11-07      Lydia H. Hamlet Conference with AP re: Rodriguez depo prep       0.10   $17.50   $175.00   0.00    $0.00     100.00%   In House Conference
 2019-11-08      Lydia H. Hamlet Conference with AP re: Rodriguez depo prep       0.10   $17.50   $175.00   0.00    $0.00     100.00%   In House Conference
 2019-11-08      Staff                                                            0.10    $2.50    $25.00   0.10    $2.50       0.00%   Client Communication
 2019-11-08      Staff           Work on Client's file: deposition scheduling     0.10    $2.50    $25.00   0.10    $2.50       0.00%   Deposition Related
 2019-11-08      Lydia H. Hamlet Work on Client's file: schedule/calendar         0.10   $17.50   $175.00   0.00    $0.00     100.00%   Deposition Related
                                 Rodriguez depo prep
 2019-11-11      Lydia H. Hamlet Conference with SR re: case status               0.10   $17.50   $175.00   0.00    $0.00     100.00%   In House Conference
 2019-11-11      Lydia H. Hamlet Conference with JS re: case status               0.10   $17.50   $175.00   0.00    $0.00     100.00%   In House Conference
 2019-11-13      Josh Sanford    Examination of NOD                               0.10   $30.00   $300.00   0.00    $0.00     100.00%   Case Management
 2019-11-13      Josh Sanford    Examination of emails with OCs-depos             0.20   $60.00   $300.00   0.20   $60.00       0.00%   Opposing Counsel Communication
 2019-11-13      Steve Rauls     Conference with LH regarding depositions and     0.20   $35.00   $175.00   0.00    $0.00     100.00%   In House Conference
                                 anticipated motions practice
 2019-11-13      Lydia H. Hamlet Conference with SR re: dispositive motion        0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 deadline, etc.
 2019-11-13      Lydia H. Hamlet Conference with SR re: depositions, etc.         0.10   $17.50 $175.00     0.00    $0.00     100.00%   In House Conference
 2019-11-13      Lydia H. Hamlet Conference with SR re: Dinteru's deposition      0.10   $17.50 $175.00     0.00    $0.00     100.00%   In House Conference
 2019-11-13      Lydia H. Hamlet                                                  0.10   $17.50 $175.00     0.10   $17.50       0.00%   Client Communication
 2019-11-13      Staff           Telephone Conference(s) with LH re info for      0.10    $2.50 $25.00      0.00    $0.00     100.00%   In House Conference
                                 Dinteru, depo
 2019-11-13      Lydia H. Hamlet Telephone Conference(s) with AP re:              0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 depositions
 2019-11-13      Lydia H. Hamlet Telephone Conference(s) with AP re: Dinteru      0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 deposition
 2019-11-13      Tess Bradford                                                    0.10   $17.50 $175.00     0.00    $0.00     100.00% Client Communication
 2019-11-13      Lydia H. Hamlet                                                  0.10   $17.50 $175.00     0.10   $17.50       0.00% Client Communication
 2019-11-13      Lydia H. Hamlet Receive, read and prepare response to            0.10   $17.50 $175.00     0.10   $17.50       0.00% Opposing Counsel Communication
                                 email(s) from oc re: Dinteru deposition
 2019-11-13      Lydia H. Hamlet Receive, read and prepare response to            0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from TB re: message from Dinteru
 2019-11-13      Lydia H. Hamlet Receive, read and prepare response to            0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from AP re: Dinteru deposition
 2019-11-13      Lydia H. Hamlet Compose, prepare and send correspondence to      0.10   $17.50 $175.00     0.10   $17.50       0.00% Opposing Counsel Communication
                                 oc re: Dinteru deposition
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                                                                                  Actual Actual              Time   Amount
Date Billed on      Billed By                      Description                                     Rate                     % Reduction          Category
                                                                                  Time Charge              Claimed Claimed
 2019-11-13      Lydia H. Hamlet   Compose, prepare and send correspondence to       0.10 $17.50   $175.00     0.10  $17.50       0.00% Deposition Related
                                   TF re: travel for depositions
 2019-11-13      Lydia H. Hamlet   Compose, prepare and send correspondence to       0.10 $17.50   $175.00    0.00    $0.00      100.00% Opposing Counsel Communication
                                   oc re: Dinteru deposition
 2019-11-13      Staff                                                               0.10  $2.50    $25.00    0.10    $2.50        0.00% Client Communication
 2019-11-13      Staff             Compose electronic communication to LH re         0.10  $2.50    $25.00    0.00    $0.00      100.00% In House Conference
                                   call from Dinteru
 2019-11-13      Lydia H. Hamlet   Work on Client's file: schedule/calendar          0.10 $17.50   $175.00    0.10   $17.50        0.00% Deposition Related
                                   Dinteru deposition
 2019-11-13      Lydia H. Hamlet   Work on Client's file: calendar/schedule          0.10 $17.50   $175.00    0.00    $0.00      100.00% Deposition Related
                                   Dinteru deposition and prep
 2019-11-14      Lydia H. Hamlet   Work on Client's file: prepare subpoena to        0.10 $17.50   $175.00    0.10   $17.50        0.00% Deposition Related
                                   testify for issuance
 2019-11-14      Lydia H. Hamlet   Work on Client's file: re: filing Davidson CTJ    0.10 $17.50   $175.00    0.10   $17.50        0.00% Collective Action Management
 2019-11-14      Lydia H. Hamlet   Receipt and review of IOMs re: calls to           0.10 $17.50   $175.00    0.00    $0.00      100.00% In House Conference
                                   plaintiffs re: depos and prep
 2019-11-14      Lydia H. Hamlet   Receipt and review of Dinteru notice of           0.10 $17.50   $175.00    0.10   $17.50        0.00% Case Management
                                   deposition
 2019-11-14      Staff                                                               0.10  $2.50    $25.00    0.10    $2.50        0.00% Client Communication
 2019-11-14      Lydia H. Hamlet   Preparation and drafting of Davidson              0.30 $52.50   $175.00    0.30   $52.50        0.00% Deposition Related
                                   subpoena to testify; conference with SR re:
                                   same
 2019-11-14      Lydia H. Hamlet                                                     0.10 $17.50   $175.00    0.10   $17.50        0.00% Client Communication
 2019-11-14      Lydia H. Hamlet   Compose, prepare and send correspondence to       0.10 $17.50   $175.00    0.10   $17.50        0.00% Deposition Related
                                   GE re: Davidson subpoena
 2019-11-14      Lydia H. Hamlet   Compose, prepare and send correspondence to       0.10 $17.50   $175.00    0.00    $0.00      100.00% In House Conference
                                   AP re: contacting clients prior to depos
 2019-11-14      Lydia H. Hamlet                                                     0.10 $17.50   $175.00    0.10   $17.50        0.00% Client Communication
 2019-11-14      Lydia H. Hamlet   Receive, read and prepare response to             0.10 $17.50   $175.00    0.00    $0.00      100.00% In House Conference
                                   email(s) from AP re: Davidson deposition
 2019-11-14      Lydia H. Hamlet   Receive, read and prepare response to             0.10 $17.50   $175.00    0.00    $0.00      100.00% In House Conference
                                   email(s) from AP re: Davidson subpoena
 2019-11-14      Lydia H. Hamlet   Receive, read and prepare response to             0.10 $17.50   $175.00    0.10   $17.50        0.00% Opposing Counsel Communication
                                   email(s) from oc re: Dinteru depo
 2019-11-14      Lydia H. Hamlet   Receive, read and prepare response to             0.10 $17.50   $175.00    0.00    $0.00      100.00% Opposing Counsel Communication
                                   email(s) from oc re: Dinteru deposition
 2019-11-14      Lydia H. Hamlet   Receive, read and prepare response to             0.10 $17.50   $175.00    0.00    $0.00      100.00% Opposing Counsel Communication
                                   email(s) from oc re: notice of deposition
 2019-11-14      Lydia H. Hamlet   Receive, read and prepare response to             0.10 $17.50   $175.00    0.00    $0.00      100.00% In House Conference
                                   email(s) from AP re: Dinteru contacts
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                     Rate                     % Reduction           Category
                                                                                  Time Charge            Claimed Claimed
 2019-11-14      Lydia H. Hamlet Receive, read and prepare response to               0.10 $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from AP re: calls to Plaintiff
                                 reminding of depos and prep
 2019-11-14      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from AP re: contacting plaintiffs
 2019-11-14      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from AP re: contacting plaintiffs re:
                                 depos, etc.
 2019-11-14      Staff                                                              0.10    $2.50   $25.00   0.10     $2.50       0.00% Client Communication
 2019-11-14      Staff           Receive, read and prepare response to              0.10    $2.50   $25.00   0.10     $2.50       0.00% In House Conference
                                 email(s) from LH re depositions
 2019-11-14      Staff           Receive, read and prepare response to              0.20    $5.00   $25.00   0.20     $5.00       0.00% Case Management
                                 email(s) from LH re depositions, set reminders
                                 to call plaintiffs
 2019-11-14      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from AP re: depositions and prep
 2019-11-14      Staff                                                              0.10    $2.50   $25.00   0.10     $2.50       0.00% Client Communication
 2019-11-14      Staff           Telephone Conference(s) with LH re deposition      0.10    $2.50   $25.00   0.00     $0.00     100.00% In House Conference
                                 of Jason Davidson
 2019-11-14      Staff           Telephone Conference(s) with LH re deposition      0.10    $2.50   $25.00   0.00     $0.00     100.00% In House Conference
                                 of Jason Davidson, subpoena
 2019-11-14      Staff                                                              0.10    $2.50 $25.00     0.10     $2.50       0.00% Client Communication
 2019-11-14      Lydia H. Hamlet Telephone Conference(s) with AP re: Davidson       0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 deposition
 2019-11-14      Lydia H. Hamlet Telephone Conference(s) with AP re: Davidson       0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 deposition
 2019-11-14      Lydia H. Hamlet Conference with SR re: Davidson deposition         0.10   $17.50 $175.00    0.10    $17.50       0.00% In House Conference
 2019-11-14      Lydia H. Hamlet Conference with SR re: Davidson subpoena for       0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 deposition
 2019-11-14      Steve Rauls     Conference with LH regarding deposition            0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 scheduling project
 2019-11-14      Lydia H. Hamlet Conference with SR re: Defendant                   0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
 2019-11-14      Lydia H. Hamlet Conference with SR re: deposition prep,            0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 depositions, travel
 2019-11-15      Steve Rauls     Examination of personnel documents to              1.50 $262.50 $175.00     1.50   $262.50       0.00% Deposition Related
                                 prepare for depositions
 2019-11-18      Josh Sanford    Examination of letter from process server          0.10   $30.00 $300.00    0.10    $30.00       0.00% Case Management
 2019-11-19      Lydia H. Hamlet Conference with SR re: deposition prep             0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
 2019-11-19      Steve Rauls     Conference with LH regarding planning for          0.20   $35.00 $175.00    0.00     $0.00     100.00% In House Conference
                                 plaintiff depositions
 2019-11-19      Lydia H. Hamlet Conference with SR re: depositions and prep        0.20   $35.00 $175.00    0.20    $35.00       0.00% In House Conference
 2019-11-19      Lydia H. Hamlet Conference with SR re: SR NOA                      0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                     Rate                    % Reduction          Category
                                                                                  Time Charge            Claimed Claimed
 2019-11-19      Lydia H. Hamlet Work on Client's file: finalize depo/prep           0.10 $17.50 $175.00     0.10  $17.50       0.00% Deposition Related
                                 spreadsheet
 2019-11-20      Steve Rauls     Email exchange with LH regarding planning for      0.20   $35.00 $175.00    0.00     $0.00     100.00% In House Conference
                                 plaintiff depositions
 2019-11-20      Lydia H. Hamlet Conference with TF re: Davidson CTJ                0.10   $17.50 $175.00    0.10    $17.50       0.00% Case Management
 2019-11-21      Lydia H. Hamlet Conference with TF re: Davidson CTJ                0.10   $17.50 $175.00    0.00     $0.00     100.00% Case Management
 2019-11-21      Lydia H. Hamlet Receipt and review of file-marked Davidson         0.10   $17.50 $175.00    0.00     $0.00     100.00% Case Management
                                 CTJ
 2019-11-21      Lydia H. Hamlet Work on Client's file re: Davidson CTJ             0.10   $17.50 $175.00    0.00     $0.00     100.00% Case Management
 2019-11-21      Lydia H. Hamlet Work on Client's file: file Davidson CTJ           0.10   $17.50 $175.00    0.00     $0.00     100.00% Case Management
 2019-11-26      Staff           Work on Client's file: calendar depositions in     0.10    $2.50 $25.00     0.10     $2.50       0.00% Deposition Related
                                 Fayetteville, AR; book hotel rooms for LH and
                                 SR
 2019-11-26      Lydia H. Hamlet Work on Client's file: review Defendant's          0.40   $70.00 $175.00    0.40    $70.00       0.00% Discovery Related
                                 attachments to discovery responses
 2019-11-26      Lydia H. Hamlet Preparation and drafting of IOM re: final          0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 deposition dates
 2019-11-26      Josh Sanford    Examination of Intra-office memo regarding         0.10   $30.00 $300.00    0.00     $0.00     100.00% Case Management
                                 case events and deadlines
 2019-11-27      Josh Sanford    Examination of IOM: depo prep                      0.10 $30.00    $300.00   0.00     $0.00     100.00%   Case Management
 2019-11-27      Lydia H. Hamlet Conference with SR re: deposition prep             0.10 $17.50    $175.00   0.10    $17.50       0.00%   In House Conference
 2019-11-27      Lydia H. Hamlet Conference with SO re: depositions                 0.10 $17.50    $175.00   0.00     $0.00     100.00%   Case Management
 2019-11-27      Josh Sanford    Conference with LH: depo prep                      0.10 $30.00    $300.00   0.00     $0.00     100.00%   In House Conference
 2019-11-27      Lydia H. Hamlet Work on Client's file: re: EOA                     0.10 $17.50    $175.00   0.10    $17.50       0.00%   Case Management
 2019-11-27      Lydia H. Hamlet Work on Client's file: review documents,           1.90 $332.50   $175.00   1.90   $332.50       0.00%   Deposition Related
                                 prepare for depositions
 2019-11-27      Lydia H. Hamlet Receipt and review of IOM re: depositions          0.10   $17.50 $175.00    0.00     $0.00     100.00% Case Management
 2019-11-27      Lydia H. Hamlet Receipt and review of hotel information for        0.10   $17.50 $175.00    0.10    $17.50       0.00% Case Management
                                 week of 12/2
 2019-11-27      Lydia H. Hamlet Receipt and review of IOM re: first week's         0.10   $17.50 $175.00    0.00     $0.00     100.00% Case Management
                                 depositions
 2019-11-27      Lydia H. Hamlet Telephone Conference(s) with JS re: EOA            0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
 2019-11-27      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.10    $17.50       0.00% Case Management
                                 email(s) from TF re: travel information
 2019-11-27      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 JS re: SR EOA
 2019-11-27      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00    0.00     $0.00     100.00% Case Management
                                 TF re: additional travel information
 2019-11-29      Steve Rauls     Work on Client's file: draft deposition prep       2.70 $472.50 $175.00     2.70   $472.50       0.00% Deposition Related
                                 outlines
 2019-11-29      Lydia H. Hamlet Work on Client's file: review documents, prep      1.30 $227.50 $175.00     1.30   $227.50       0.00% Deposition Related
                                 for depos, etc.
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                                                                                    Actual Actual            Time   Amount
Date Billed on      Billed By                       Description                                     Rate                     % Reduction           Category
                                                                                    Time Charge            Claimed Claimed
 2019-11-29      Josh Sanford      Receive, read and prepare response to               0.20 $60.00 $300.00     0.00    $0.00     100.00% In House Conference
                                   email(s) from SR/LH: FMLA claim
 2019-11-29      Lydia H. Hamlet   Receive, read and prepare response to              0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                   email(s) from SR re: Rodriguez depo prep
 2019-11-29      Lydia H. Hamlet   Receive, read and prepare response to              0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                   email(s) from JS re: Rodriguez claims
 2019-11-29      Lydia H. Hamlet   Receive, read and prepare response to              0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                   email(s) from SR re: Rodriguez claims/depo
                                   prep
 2019-11-29      Lydia H. Hamlet   Receive, read and prepare response to              0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                   email(s) from JS re: FMLA claims
 2019-11-29      Lydia H. Hamlet   Receive, read and prepare response to              0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                   email(s) from SR re: discovery responses, etc.

 2019-11-29      Lydia H. Hamlet Compose, prepare and send correspondence to          0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 SR re: Rodriguez depo prep
 2019-11-29      Lydia H. Hamlet Compose, prepare and send correspondence to          0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 SR re: responsive docs
 2019-11-30      Lydia H. Hamlet Work on Client's file: deposition prep               2.50 $437.50 $175.00     2.50   $437.50       0.00% Deposition Related
 2019-12-01      Steve Rauls     Examination of Davidson personnel file to            1.40 $245.00 $175.00     1.40   $245.00       0.00% Deposition Related
                                 prepare for deposition
 2019-12-01      Steve Rauls     Editing and revision of deposition prep outline      0.40   $70.00 $175.00    0.40    $70.00       0.00% Deposition Related

 2019-12-01      Lydia H. Hamlet Work on Client's file: deposition prep               1.60 $280.00 $175.00     1.60   $280.00       0.00%   Deposition Related
 2019-12-01      Lydia H. Hamlet                                                      0.10 $17.50 $175.00      0.00     $0.00     100.00%   Client Communication
 2019-12-01      Lydia H. Hamlet                                                      0.10 $17.50 $175.00      0.10    $17.50       0.00%   Client Communication
 2019-12-01      Lydia H. Hamlet Compose, prepare and send correspondence to          0.10 $17.50 $175.00      0.00     $0.00     100.00%   In House Conference
                                 SR re: Waldroup depo prep
 2019-12-01      Lydia H. Hamlet                                                      0.10 $17.50 $175.00      0.00     $0.00     100.00%   Client Communication
 2019-12-01      Lydia H. Hamlet                                                      0.10 $17.50 $175.00      0.00     $0.00     100.00%   Client Communication
 2019-12-01      Lydia H. Hamlet                                                      0.10 $17.50 $175.00      0.10    $17.50       0.00%   Client Communication
 2019-12-01      Lydia H. Hamlet                                                      0.10 $17.50 $175.00      0.00     $0.00     100.00%   Client Communication
 2019-12-01      Lydia H. Hamlet                                                      0.10 $17.50 $175.00      0.10    $17.50       0.00%   Client Communication
 2019-12-01      Lydia H. Hamlet                                                      0.10 $17.50 $175.00      0.00     $0.00     100.00%   Client Communication
 2019-12-02      Lydia H. Hamlet                                                      0.10 $17.50 $175.00      0.10    $17.50       0.00%   Client Communication
 2019-12-02      Steve Rauls                                                          0.60 $105.00 $175.00     0.00     $0.00     100.00%   Client Communication
 2019-12-02      Lydia H. Hamlet                                                      0.50 $87.50 $175.00      0.50    $87.50       0.00%   Client Communication
 2019-12-02      Lydia H. Hamlet Telephone Conference(s) with JS re: Waldroup         0.10 $17.50 $175.00      0.00     $0.00     100.00%   In House Conference
                                 deposition
 2019-12-02      Lydia H. Hamlet Telephone Conference(s) with SR re:                  0.10   $17.50 $175.00    0.10    $17.50       0.00% In House Conference
                                 Waldroup deposition
 2019-12-02      Josh Sanford    Telephone Conference(s) with LH (depo)               0.10   $30.00 $300.00    0.00     $0.00     100.00% In House Conference
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                                                                                Actual Actual            Time   Amount
Date Billed on      Billed By                       Description                                 Rate                     % Reduction           Category
                                                                                Time Charge            Claimed Claimed
 2019-12-02      Josh Sanford     Telephone Conference(s) with SR: depo results    0.10 $30.00 $300.00     0.00    $0.00     100.00% In House Conference

 2019-12-02      Lydia H. Hamlet                                                     0.10 $17.50    $175.00   0.10    $17.50     0.00%   Client Communication
 2019-12-02      Lydia H. Hamlet                                                     0.10 $17.50    $175.00   0.00     $0.00   100.00%   Client Communication
 2019-12-02      Lydia H. Hamlet                                                     0.10 $17.50    $175.00   0.00     $0.00   100.00%   Client Communication
 2019-12-02      Lydia H. Hamlet                                                     0.10 $17.50    $175.00   0.10    $17.50     0.00%   Client Communication
 2019-12-02      Lydia H. Hamlet                                                     0.10 $17.50    $175.00   0.10    $17.50     0.00%   Client Communication
 2019-12-02      Lydia H. Hamlet Work on Client's file: attend deposition            5.80 #######   $175.00   5.80 $1,015.00     0.00%   Deposition Related
                                 (including travel)
 2019-12-02      Steve Rauls     Work on Client's file: travel to Fayetteville for   2.70 $472.50 $175.00     0.00     $0.00   100.00% Deposition Related
                                 plaintiff depositions
 2019-12-02      Lydia H. Hamlet Work on Client's file: notes from                   1.30 $227.50 $175.00     1.30   $227.50     0.00% Deposition Related
                                 deposition/for depositions
 2019-12-02      Steve Rauls     Deposition of Park Waldroup                         1.90 $332.50 $175.00     0.00     $0.00   100.00% Deposition Related
 2019-12-02      Josh Sanford    Examination of Intra-office memo regarding          0.10 $30.00 $300.00      0.00     $0.00   100.00% Case Management
                                 case events and deadlines
 2019-12-03      Steve Rauls     Deposition of Rodriguez and Davidson                3.80 $665.00 $175.00     0.00     $0.00   100.00% Deposition Related
 2019-12-03      Staff           Examination of docs from OC                         0.60 $15.00 $25.00       0.60    $15.00     0.00% Case Management
 2019-12-03      Staff           Compose electronic communication to LH re           0.10   $2.50 $25.00      0.10     $2.50     0.00% Case Management
                                 docs from OC
 2019-12-03      Lydia H. Hamlet attend deposition; meet with client prior           5.00 $875.00 $175.00     5.00   $875.00     0.00% Deposition Related
                                 thereto
 2019-12-03      Steve Rauls     Client conference with Attorney: meet with          0.70 $122.50 $175.00     0.00     $0.00   100.00% Deposition Related
                                 Davidson to prepare for deposition
 2019-12-03      Steve Rauls     Client conference with Attorney: meet with          0.80 $140.00 $175.00     0.00     $0.00   100.00% Deposition Related
                                 Rodriguez to prepare for deposition
 2019-12-03      Lydia H. Hamlet Client conference with Attorney regarding -         1.00 $175.00 $175.00     1.00   $175.00     0.00% Deposition Related
                                 Rodriguez deposition prep; notes following
 2019-12-03      Lydia H. Hamlet Telephone Conference(s) with TF re: Bradberry       0.10   $17.50 $175.00    0.10    $17.50     0.00% Deposition Related
                                 depo prep
 2019-12-03      Lydia H. Hamlet Telephone Conference(s) with TF re:                 0.10   $17.50 $175.00    0.10    $17.50     0.00% Deposition Related
                                 documents for depositions
 2019-12-03      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.10    $17.50     0.00% Deposition Related
                                 email(s) from AP re: documents for deposition

 2019-12-03      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.10    $17.50     0.00% Deposition Related
                                 email(s) from AP re: review of documents
 2019-12-03      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.00     $0.00   100.00% Deposition Related
                                 email(s) from AP re: page numbers of
                                 documents for deposition
 2019-12-03      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.10    $17.50     0.00% In House Conference
                                 email(s) from SR re: Davidson deposition
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                                                                                   Actual Actual               Time   Amount
Date Billed on      Billed By                     Description                                        Rate                      % Reduction         Category
                                                                                   Time Charge               Claimed Claimed
 2019-12-03      Staff           Receive, read and prepare response to                0.10  $2.50     $25.00     0.00    $0.00     100.00% Case Management
                                 email(s) from LH re docs from OC
 2019-12-03      Josh Sanford    Receive, read and prepare response to               0.10   $30.00 $300.00      0.10    $30.00       0.00% In House Conference
                                 email(s) from SR/LH: results of depo
 2019-12-03      Lydia H. Hamlet                                                     0.20   $35.00 $175.00      0.20    $35.00       0.00% Client Communication
 2019-12-03      Lydia H. Hamlet                                                     0.10   $17.50 $175.00      0.10    $17.50       0.00% Client Communication
 2019-12-03      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50 $175.00      0.10    $17.50       0.00% In House Conference
                                 SR re: Rodriguez depo prep
 2019-12-03      Lydia H. Hamlet                                                     0.10   $17.50   $175.00    0.10    $17.50       0.00%   Client Communication
 2019-12-03      Lydia H. Hamlet                                                     0.10   $17.50   $175.00    0.10    $17.50       0.00%   Client Communication
 2019-12-03      Lydia H. Hamlet                                                     0.20   $35.00   $175.00    0.20    $35.00       0.00%   Client Communication
 2019-12-04      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50   $175.00    0.00     $0.00     100.00%   Case Management
                                 AP re: contacting Bradberry
 2019-12-04      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50 $175.00      0.00     $0.00     100.00% Case Management
                                 AP re: contacting Walker
 2019-12-04      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50 $175.00      0.00     $0.00     100.00% Case Management
                                 AP re contacting Dinteru
 2019-12-04      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50 $175.00      0.10    $17.50       0.00% Case Management
                                 AP re: calls to plaintiffs
 2019-12-04      Staff           Receive, read and prepare response to               0.10    $2.50    $25.00    0.00     $0.00     100.00% Case Management
                                 email(s) from LH re calling clients re depos
 2019-12-04      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00      0.10    $17.50       0.00% Case Management
                                 email(s) from TF re: Walker
 2019-12-04      Staff                                                               0.20    $5.00 $25.00       0.20     $5.00       0.00% Client Communication
 2019-12-04      Josh Sanford    Telephone Conference(s) with SR: case merits,       0.10   $30.00 $300.00      0.10    $30.00       0.00% In House Conference
                                 after depo
 2019-12-04      Lydia H. Hamlet Work on Client's file: attend Rodriguez             3.80 $665.00 $175.00       3.80   $665.00       0.00% Deposition Related
                                 deposition and return travel
 2019-12-04      Steve Rauls     Work on Client's file: travel from Fayetteville     2.70 $472.50 $175.00       0.00     $0.00     100.00% Deposition Related
                                 to Little Rock after plaintiff depositions
 2019-12-04      Steve Rauls     Deposition of Evanjelina Rodriguez                  2.50 $437.50 $175.00       0.00     $0.00     100.00% Deposition Related
 2019-12-04      Josh Sanford    Examination of Intra-office memo regarding          0.10 $30.00 $300.00        0.00     $0.00     100.00% Case Management
                                 case events and deadlines
 2019-12-05      Josh Sanford    Conference with SR/LH: response to letter           0.10   $30.00 $300.00      0.00     $0.00     100.00% In House Conference
 2019-12-05      Josh Sanford    Conference with LH/SR: discovery letters            0.30   $90.00 $300.00      0.00     $0.00     100.00% In House Conference
 2019-12-05      Lydia H. Hamlet Conference with JS/SR re: responsive letter,        0.30   $52.50 $175.00      0.30    $52.50       0.00% In House Conference
                                 supplemental discovery responses, etc.
 2019-12-05      Lydia H. Hamlet Conference with AR re: depositions                  0.10   $17.50   $175.00    0.00     $0.00     100.00%   In House Conference
 2019-12-05      Lydia H. Hamlet Conference with SR re: oc's letter/addressee        0.10   $17.50   $175.00    0.00     $0.00     100.00%   In House Conference
 2019-12-05      Staff           Conference with LH RE deposition issues             0.20    $5.00    $25.00    0.00     $0.00     100.00%   Case Management
 2019-12-05      Lydia H. Hamlet Conference with JS re: letter from oc               0.10   $17.50   $175.00    0.00     $0.00     100.00%   In House Conference
 2019-12-05      Lydia H. Hamlet Conference with AK re: depositions                  0.20   $35.00   $175.00    0.00     $0.00     100.00%   In House Conference
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                                                                                  Actual Actual                 Time   Amount
Date Billed on      Billed By                     Description                                       Rate                       % Reduction           Category
                                                                                  Time Charge                 Claimed Claimed
 2019-12-05      Lydia H. Hamlet Conference with SR re: Dinteru prep                 0.10 $17.50    $175.00       0.10  $17.50       0.00%   In House Conference
 2019-12-05      Josh Sanford    Examination of OC letter-harassment                 0.20 $60.00    $300.00       0.20  $60.00       0.00%   Opposing Counsel Communication
 2019-12-05      Josh Sanford    Editing and revision of EMAIL TO OC                 0.10 $30.00    $300.00       0.10  $30.00       0.00%   Opposing Counsel Communication
 2019-12-05      Lydia H. Hamlet Work on Client's file re: correspondence to oc      0.30 $52.50    $175.00       0.30  $52.50       0.00%   Opposing Counsel Communication
 2019-12-05      Lydia H. Hamlet Receipt and review of letter from oc re:            0.20 $35.00    $175.00       0.20  $35.00       0.00%   Opposing Counsel Communication
                                 depositions
 2019-12-05      Steve Rauls     Receipt and review of discovery letter from        0.50   $87.50 $175.00        0.40   $70.00      20.00% Opposing Counsel Communication
                                 opposing counsel; follow up with LH and JS
 2019-12-05      Lydia H. Hamlet Telephone Conference(s) with SR re: oc's           0.30   $52.50 $175.00        0.30   $52.50       0.00% In House Conference
                                 letter, response thereto, supplementing
                                 discovery as needed, etc.
 2019-12-05      Lydia H. Hamlet                                                    0.10   $17.50   $175.00      0.00    $0.00     100.00%   Client Communication
 2019-12-05      Lydia H. Hamlet                                                    0.10   $17.50   $175.00      0.10   $17.50       0.00%   Client Communication
 2019-12-05      Lydia H. Hamlet                                                    0.10   $17.50   $175.00      0.10   $17.50       0.00%   Client Communication
 2019-12-05      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50   $175.00      0.00    $0.00     100.00%   In House Conference
                                 email(s) from AR re: responsive letter to oc
 2019-12-05      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00        0.10   $17.50       0.00% Case Management
                                 email(s) from AP re: contact with plaintiffs
 2019-12-05      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00        0.10   $17.50       0.00% Opposing Counsel Communication
                                 email(s) from oc re: depositions
 2019-12-05      Lydia H. Hamlet                                                    0.10   $17.50 $175.00        0.00    $0.00     100.00% Client Communication
 2019-12-05      Josh Sanford    Receive, read and prepare response to              0.10   $30.00 $300.00        0.00    $0.00     100.00% In House Conference
                                 email(s) from LH: email to OC
 2019-12-05      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00        0.00    $0.00     100.00% In House Conference
                                 JS/SR re: letter from oc; deposition prep
 2019-12-05      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00        0.00    $0.00     100.00% In House Conference
                                 AR re: letter from oc
 2019-12-05      Lydia H. Hamlet                                                    0.10   $17.50 $175.00        0.10   $17.50       0.00% Client Communication
 2019-12-06      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00        0.10   $17.50       0.00% Opposing Counsel Communication
                                 response to oc's email
 2019-12-06      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00        0.00    $0.00     100.00% In House Conference
                                 JS re: response
 2019-12-06      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00        0.10   $17.50       0.00% Opposing Counsel Communication
                                 oc re: letter
 2019-12-06      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00        0.00    $0.00     100.00% In House Conference
                                 JS/SR re: response
 2019-12-06      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00        0.00    $0.00     100.00% In House Conference
                                 JS/SR re: conference call
 2019-12-06      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00        0.10   $17.50       0.00% Opposing Counsel Communication
                                 oc re: response; conference with court
 2019-12-06      Josh Sanford    Receive, read and prepare response to              0.10   $30.00 $300.00        0.00    $0.00     100.00% In House Conference
                                 email(s) from SR/LH
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                                                                                     Actual Actual            Time   Amount
Date Billed on      Billed By                       Description                                      Rate                     % Reduction           Category
                                                                                     Time Charge            Claimed Claimed
 2019-12-06      Josh Sanford      Receive, read and prepare response to                0.10 $30.00 $300.00     0.00    $0.00     100.00% In House Conference
                                   email(s) from LH: depos
 2019-12-06      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00    0.10   $17.50        0.00% Opposing Counsel Communication
                                   email(s) from oc re: response
 2019-12-06      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00    0.10   $17.50        0.00% In House Conference
                                   email(s) from JS re: response to letter
 2019-12-06      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                   email(s) from JS re: status
 2019-12-06      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                   email(s) from JS re: response
 2019-12-06      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                   email(s) from SR re: conference with court
 2019-12-06      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                   email(s) from SR re: response
 2019-12-06      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                   email(s) from JS re: supplemental discovery
                                   responses
 2019-12-06      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00    0.10   $17.50        0.00% In House Conference
                                   email(s) from SR re: email re: conference with
                                   court
 2019-12-06      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                   email(s) from JS re: conference call with court

 2019-12-06      Lydia H. Hamlet Telephone Conference(s) with SR re:                   0.10   $17.50 $175.00    0.10   $17.50        0.00% In House Conference
                                 Bradberry depo prep
 2019-12-06      Lydia H. Hamlet Telephone Conference(s) with JS re: Bradberry         0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 depo prep
 2019-12-06      Lydia H. Hamlet                                                       0.10   $17.50 $175.00    0.10   $17.50        0.00% Client Communication
 2019-12-06      Lydia H. Hamlet                                                       0.30   $52.50 $175.00    0.30   $52.50        0.00% Client Communication
 2019-12-06      Steve Rauls     Telephone Conference(s) with LH regarding             0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                 planning for Bradberry and Dinteru depositions

 2019-12-06      Josh Sanford    Telephone Conference(s) with                          0.10   $30.00 $300.00    0.00    $0.00      100.00% In House Conference
 2019-12-06      Josh Sanford                                                          0.20   $60.00 $300.00    0.20   $60.00        0.00% Client Communication
 2019-12-06      Lydia H. Hamlet Receipt and review of medical records- email          0.10   $17.50 $175.00    0.00    $0.00      100.00% Case Management
                                 JS/SR re: same
 2019-12-06      Lydia H. Hamlet Work on Client's file re: Work on Client's file:      0.10   $17.50 $175.00    0.10   $17.50        0.00% Discovery Related
                                 email oc re: supplemental discovery responses

 2019-12-06      Josh Sanford      Editing and revision of email to OC                 0.10   $30.00 $300.00    0.10   $30.00        0.00% Opposing Counsel Communication
 2019-12-06      Josh Sanford      Examination of OC email-more harassment             0.20   $60.00 $300.00    0.00    $0.00      100.00% Opposing Counsel Communication
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                                                                                   Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                      Rate                     % Reduction          Category
                                                                                   Time Charge            Claimed Claimed
 2019-12-06      Josh Sanford    Examination of email to OC                           0.10 $30.00 $300.00     0.00    $0.00     100.00% Opposing Counsel Communication
 2019-12-06      Josh Sanford    Examination of email to OC                           0.10 $30.00 $300.00     0.00    $0.00     100.00% Opposing Counsel Communication
 2019-12-06      Steve Rauls     Examination of email from opposing counsel           0.30 $52.50 $175.00     0.30  $52.50        0.00% Opposing Counsel Communication
                                 regarding discovery; discuss response with JS
                                 and LH
 2019-12-06      Staff           Conference with LH re depositions, discovery,       0.20    $5.00    $25.00   0.20     $5.00      0.00% Case Management
                                 conference with client
 2019-12-06      Lydia H. Hamlet Conference with AP re: Bradberry call               0.10   $17.50   $175.00   0.10    $17.50      0.00%   Case Management
 2019-12-06      Staff           Conference with LH re email to OC                   0.10    $2.50    $25.00   0.00     $0.00    100.00%   Case Management
 2019-12-06      Josh Sanford    Conference with LH: Bradbury                        0.10   $30.00   $300.00   0.00     $0.00    100.00%   In House Conference
 2019-12-07      Lydia H. Hamlet                                                     0.10   $17.50   $175.00   0.10    $17.50      0.00%   Client Communication
 2019-12-07      Lydia H. Hamlet                                                     0.10   $17.50   $175.00   0.00     $0.00    100.00%   Client Communication
 2019-12-07      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50   $175.00   0.10    $17.50      0.00%   Opposing Counsel Communication
                                 email(s) from oc re: conference with judge,
                                 etc.
 2019-12-07      Lydia H. Hamlet Compose, prepare and send correspondence to         0.30   $52.50 $175.00     0.30    $52.50      0.00% In House Conference
                                 JS/SR re: information from Davidson response
                                 to oc's last email
 2019-12-08      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50 $175.00     0.10    $17.50      0.00% Opposing Counsel Communication
                                 oc re: call with court, Davidson
 2019-12-08      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                 email(s) from SR re: Davidson, oc's email, call
                                 with court
 2019-12-08      Lydia H. Hamlet Work on Client's file: review Bradberry             0.60 $105.00 $175.00      0.60   $105.00      0.00% Discovery Related
                                 personnel records
 2019-12-08      Lydia H. Hamlet Work on Client's file: review Walker personnel      0.60 $105.00 $175.00      0.60   $105.00      0.00% Discovery Related
                                 records
 2019-12-08      Lydia H. Hamlet Work on Client's file: review Dinteru personnel     0.60 $105.00 $175.00      0.60   $105.00      0.00% Discovery Related
                                 records
 2019-12-09      Josh Sanford    Examination of OC email                             0.10   $30.00   $300.00   0.00     $0.00    100.00%   Opposing Counsel Communication
 2019-12-09      Josh Sanford    Examination of chambers email                       0.10   $30.00   $300.00   0.10    $30.00      0.00%   Court Communication
 2019-12-09      Josh Sanford    Examination of OC email                             0.10   $30.00   $300.00   0.00     $0.00    100.00%   Opposing Counsel Communication
 2019-12-09      Sean Short      Conference with SR, AR and DF regarding case        0.10   $17.50   $175.00   0.00     $0.00    100.00%   In House Conference
                                 status.
 2019-12-09      Josh Sanford    Conference with SR: dispute                         0.20   $60.00 $300.00     0.20    $60.00      0.00% In House Conference
 2019-12-09      Josh Sanford    Discussion of case status and directing case        0.10   $30.00 $300.00     0.00     $0.00    100.00% In House Conference
                                 strategy to Attorney LH
 2019-12-09      Lydia H. Hamlet Work on Client's file: deposition prep              1.70 $297.50 $175.00      1.70   $297.50      0.00% Deposition Related
 2019-12-09      Lydia H. Hamlet Work on Client's file: deposition prep              3.10 $542.50 $175.00      3.10   $542.50      0.00% Deposition Related
 2019-12-09      Lydia H. Hamlet Work on Client's file: travel to canceled           2.80 $490.00 $175.00      2.80   $490.00      0.00% Deposition Related
                                 depositions and return
 2019-12-09      Lydia H. Hamlet Work on Client's file: deposition prep/outline      1.40 $245.00 $175.00      1.40   $245.00      0.00% Deposition Related
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                                                                                 Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                    Rate                    % Reduction          Category
                                                                                 Time Charge            Claimed Claimed
 2019-12-09      Steve Rauls     Receipt and review of emails from opposing         0.10 $17.50 $175.00     0.10  $17.50       0.00% Opposing Counsel Communication
                                 counsel regarding postponing depositions;
                                 follow up with LH
 2019-12-09      Lydia H. Hamlet Receipt and review of email from oc to court      0.10   $17.50 $175.00    0.10    $17.50      0.00% Opposing Counsel Communication
 2019-12-09      Lydia H. Hamlet Receipt and review of email from oc re:           0.10   $17.50 $175.00    0.10    $17.50      0.00% Opposing Counsel Communication
                                 "discovery dispute"
 2019-12-09      Lydia H. Hamlet                                                   0.80 $140.00 $175.00     0.80   $140.00      0.00%   Client Communication
 2019-12-09      Lydia H. Hamlet                                                   0.50 $87.50 $175.00      0.50    $87.50      0.00%   Client Communication
 2019-12-09      Lydia H. Hamlet                                                   0.10 $17.50 $175.00      0.10    $17.50      0.00%   Client Communication
 2019-12-09      Lydia H. Hamlet                                                   0.10 $17.50 $175.00      0.10    $17.50      0.00%   Client Communication
 2019-12-09      Lydia H. Hamlet                                                   0.10 $17.50 $175.00      0.10    $17.50      0.00%   Client Communication
 2019-12-09      Steve Rauls     Telephone Conference(s) with LH regarding         0.10 $17.50 $175.00      0.00     $0.00    100.00%   In House Conference
                                 Def.'s request for telephonic hearing; follow
                                 up via email
 2019-12-09      Lydia H. Hamlet Telephone Conference(s) with SR re: email         0.10   $17.50 $175.00    0.10    $17.50      0.00% In House Conference
                                 from oc/conference with court
 2019-12-09      Lydia H. Hamlet Telephone Conference(s) with SR re:               0.20   $35.00 $175.00    0.20    $35.00      0.00% In House Conference
                                 prep/personnel file re: Walker and Dinteru
 2019-12-09      Lydia H. Hamlet Telephone Conference(s) with JS re: email         0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                 from oc to court
 2019-12-09      Lydia H. Hamlet Telephone Conference(s) with JS re: notifying     0.10   $17.50 $175.00    0.10    $17.50      0.00% In House Conference
                                 deponents, etc.
 2019-12-09      Steve Rauls     Telephone Conference(s) with LH regarding         0.20   $35.00 $175.00    0.00     $0.00    100.00% In House Conference
                                 planning for Walker and Dinteru depositions
 2019-12-09      Steve Rauls                                                       0.50   $87.50 $175.00    0.50    $87.50      0.00% Client Communication
 2019-12-09      Josh Sanford    Telephone Conference(s) with LH: OC's email       0.10   $30.00 $300.00    0.00     $0.00    100.00% In House Conference
                                 to chambers
 2019-12-09      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                 email(s) from JS re: call with court
 2019-12-09      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                 email(s) from SR re: call with court
 2019-12-09      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00    0.10    $17.50      0.00% Court Communication
                                 email(s) from court re: requested conference
                                 call
 2019-12-09      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                 email(s) from JS re: request for conference
                                 call
 2019-12-09      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00    0.10    $17.50      0.00% Opposing Counsel Communication
                                 email(s) from oc re: request for conference
                                 call
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                     Rate                     % Reduction          Category
                                                                                  Time Charge            Claimed Claimed
 2019-12-09      Lydia H. Hamlet Receive, read and prepare response to               0.10 $17.50 $175.00     0.00    $0.00     100.00% Court Communication
                                 email(s) from JS to court
 2019-12-09      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.10   $17.50        0.00% Opposing Counsel Communication
                                 email(s) from oc re: conference call with
                                 Judge Brooks
 2019-12-09      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.10   $17.50        0.00% Court Communication
                                 email(s) from court re: request for conference

 2019-12-09      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.10   $17.50        0.00% Opposing Counsel Communication
                                 email(s) from oc re: request for conference,
                                 etc.
 2019-12-09      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.10   $17.50        0.00% Opposing Counsel Communication
                                 email(s) from oc re: postponing depositions
 2019-12-09      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.10   $17.50        0.00% In House Conference
                                 email(s) from JS re: postponed depositions,
                                 etc.
 2019-12-09      Josh Sanford    Receive, read and prepare response to              0.10   $30.00 $300.00    0.00    $0.00      100.00% In House Conference
                                 email(s) from SR/LH: response to OC
 2019-12-09      Josh Sanford    Receive, read and prepare response to              0.10   $30.00 $300.00    0.00    $0.00      100.00% In House Conference
                                 email(s) from LH: deposition cancelation
 2019-12-09      Josh Sanford    Receive, read and prepare response to              0.10   $30.00 $300.00    0.10   $30.00        0.00% Opposing Counsel Communication
                                 email(s) from OC
 2019-12-09      Josh Sanford    Receive, read and prepare response to              0.20   $60.00 $300.00    0.20   $60.00        0.00% Court Communication
                                 email(s) from chambers
 2019-12-09      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00    0.10   $17.50        0.00% In House Conference
                                 SR re: conference with court
 2019-12-09      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                 JS/SR re: call with court
 2019-12-09      Lydia H. Hamlet                                                    0.10   $17.50 $175.00    0.10   $17.50        0.00% Client Communication
 2019-12-10      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00    0.10   $17.50        0.00% In House Conference
                                 JS re: depositions
 2019-12-10      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                 SR re: conference call
 2019-12-10      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00    0.10   $17.50        0.00% Opposing Counsel Communication
                                 oc re: meet and confer
 2019-12-10      Josh Sanford    Receive, read and prepare response to              0.20   $60.00 $300.00    0.20   $60.00        0.00% Opposing Counsel Communication
                                 email(s) from OCs
 2019-12-10      Steve Rauls     Receive, read and prepare response to              0.20   $35.00 $175.00    0.00    $0.00      100.00% In House Conference
                                 email(s) from JS and LH regarding discovery
                                 dispute
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                                                                                   Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                     Rate                     % Reduction           Category
                                                                                   Time Charge            Claimed Claimed
 2019-12-10      Lydia H. Hamlet Receive, read and prepare response to                0.10 $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from JS re: deposition dates
 2019-12-10      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00     0.10    $17.50      0.00% In House Conference
                                 email(s) from SR re: deposition dates
 2019-12-10      Lydia H. Hamlet Receive, read and prepare response to               0.20   $35.00 $175.00     0.20    $35.00      0.00% In House Conference
                                 email(s) from SR re: next steps/email to oc
 2019-12-10      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                 email(s) from JS re: depositions
 2019-12-10      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                 email(s) from JS re: email to oc re: meet and
                                 confer
 2019-12-10      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00     0.10    $17.50      0.00% Opposing Counsel Communication
                                 email(s) from oc re: meet and confer
 2019-12-10      Lydia H. Hamlet Work on Client's file: calendar "deadline" to       0.20   $35.00 $175.00     0.10    $17.50     50.00% Case Management
                                 respond to oc's letter (12/27/19)
 2019-12-10      Lydia H. Hamlet Work on Client's file: calendar conference call     0.20   $35.00 $175.00     0.00     $0.00    100.00% Case Management
                                 with oc
 2019-12-10      Josh Sanford    Examination of Intra-office memo regarding          0.10   $30.00 $300.00     0.00     $0.00    100.00% Case Management
                                 case events and deadlines
 2019-12-10      Staff           Conference with LH RE depositions                   0.10    $2.50    $25.00   0.00     $0.00    100.00%   Case Management
 2019-12-10      Lydia H. Hamlet Conference with AK re: strategy conference          0.10   $17.50   $175.00   0.00     $0.00    100.00%   Case Management
 2019-12-10      Staff           Conference with LH RE depositions                   0.10    $2.50    $25.00   0.00     $0.00    100.00%   Case Management
 2019-12-10      Josh Sanford    Examination of IOMS: depositions                    0.10   $30.00   $300.00   0.00     $0.00    100.00%   Case Management
 2019-12-11      Josh Sanford    Examination of IOM: client contact                  0.10   $30.00   $300.00   0.00     $0.00    100.00%   Case Management
 2019-12-11      Josh Sanford    Examination of OC email                             0.10   $30.00   $300.00   0.00     $0.00    100.00%   Opposing Counsel Communication
 2019-12-11      Josh Sanford    Examination of email to OC                          0.10   $30.00   $300.00   0.00     $0.00    100.00%   Opposing Counsel Communication
 2019-12-11      Josh Sanford    Conference with LH call with OC                     0.10   $30.00   $300.00   0.00     $0.00    100.00%   In House Conference
 2019-12-11      Josh Sanford    Conference with JW: preservation issues             0.10   $30.00   $300.00   0.10    $30.00      0.00%   In House Conference
 2019-12-11      Steve Rauls     Email to opposing counsel regarding planned         0.10   $17.50   $175.00   0.10    $17.50      0.00%   Opposing Counsel Communication
                                 teleconference
 2019-12-11      Josh Sanford    Discussion of case status and directing case        0.20   $60.00 $300.00     0.20    $60.00      0.00% In House Conference
                                 strategy to Attorney LH/SR: (Discovery
                                 dispute)
 2019-12-11      Lydia H. Hamlet Work on Client's file: review notes from            0.60 $105.00 $175.00      0.60   $105.00      0.00% Deposition Related
                                 deposition; call SR re: same
 2019-12-11      Lydia H. Hamlet                                                     0.10   $17.50   $175.00   0.10    $17.50      0.00%   Client Communication
 2019-12-11      Lydia H. Hamlet                                                     0.10   $17.50   $175.00   0.10    $17.50      0.00%   Client Communication
 2019-12-11      Lydia H. Hamlet                                                     0.10   $17.50   $175.00   0.10    $17.50      0.00%   Client Communication
 2019-12-11      Lydia H. Hamlet                                                     0.10   $17.50   $175.00   0.10    $17.50      0.00%   Client Communication
 2019-12-11      Lydia H. Hamlet                                                     0.30   $52.50   $175.00   0.30    $52.50      0.00%   Client Communication
 2019-12-11      Lydia H. Hamlet                                                     0.10   $17.50   $175.00   0.10    $17.50      0.00%   Client Communication
 2019-12-11      Lydia H. Hamlet                                                     0.10   $17.50   $175.00   0.10    $17.50      0.00%   Client Communication
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                                                                                 Actual Actual            Time   Amount
Date Billed on      Billed By                    Description                                     Rate                    % Reduction           Category
                                                                                 Time Charge            Claimed Claimed
 2019-12-11      Lydia H. Hamlet                                                    0.10 $17.50 $175.00     0.10  $17.50       0.00% Client Communication
 2019-12-11      Lydia H. Hamlet Telephone Conference(s) with JS re:                0.10 $17.50 $175.00     0.10  $17.50       0.00% In House Conference
                                 preservation efforts
 2019-12-11      Lydia H. Hamlet                                                   0.10   $17.50 $175.00     0.10   $17.50      0.00% Client Communication
 2019-12-11      Steve Rauls     Telephone Conference(s) with JS, LH and           0.50   $87.50 $175.00     0.00    $0.00    100.00% Opposing Counsel Communication
                                 opposing counsel regarding discovery dispute
 2019-12-11      Josh Sanford    Telephone Conference(s) with OCs                  0.30   $90.00 $300.00     0.00    $0.00    100.00% Opposing Counsel Communication
 2019-12-11      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
                                 email(s) from SR re: call in number;
                                 conference call with oc
 2019-12-11      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00     0.10   $17.50      0.00% In House Conference
                                 email(s) from JS re: conference with oc; save
                                 info to file
 2019-12-11      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00     0.00    $0.00    100.00% Opposing Counsel Communication
                                 email(s) from oc re: information from
                                 Rodriguez
 2019-12-11      Josh Sanford    Receive, read and prepare response to             0.20   $60.00 $300.00     0.20   $60.00      0.00% Opposing Counsel Communication
                                 email(s) from OC; LH re Dinteru
 2019-12-11      Lydia H. Hamlet Compose, prepare and send correspondence to       0.20   $35.00 $175.00     0.20   $35.00      0.00% In House Conference
                                 JS/SR re: responsive email, conferences with
                                 clients, etc.
 2019-12-11      Lydia H. Hamlet Compose, prepare and send correspondence to       0.50   $87.50 $175.00     0.50   $87.50      0.00% Opposing Counsel Communication
                                 oc - teleconference - notes following - call
                                 with JS/SR following
 2019-12-11      Lydia H. Hamlet                                                   0.10   $17.50   $175.00   0.10   $17.50      0.00%   Client Communication
 2019-12-11      Lydia H. Hamlet                                                   0.10   $17.50   $175.00   0.10   $17.50      0.00%   Client Communication
 2019-12-11      Lydia H. Hamlet                                                   0.10   $17.50   $175.00   0.10   $17.50      0.00%   Client Communication
 2019-12-12      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50   $175.00   0.00    $0.00    100.00%   In House Conference
                                 email(s) from JS re: draft to oc
 2019-12-12      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
                                 email(s) from JS re: response
 2019-12-12      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
                                 email(s) from SR re: response
 2019-12-12      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00     0.10   $17.50      0.00% In House Conference
                                 email(s) from JS re: email in follow-up to
                                 conference call with oc
 2019-12-12      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
                                 email(s) from SR re: email to oc
 2019-12-12      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
                                 email(s) from JS re: texts, etc. to oc
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                                                                                    Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                      Rate                    % Reduction          Category
                                                                                    Time Charge            Claimed Claimed
 2019-12-12      Lydia H. Hamlet Receive, read and prepare response to                 0.10 $17.50 $175.00     0.10  $17.50       0.00% Opposing Counsel Communication
                                 email(s) from oc re: texts, review of
                                 transcripts, costs, etc.
 2019-12-12      Steve Rauls     Draft proposed response to discovery email           0.20   $35.00 $175.00     0.20   $35.00      0.00% Discovery Related
                                 from opposing counsel; send to JS for review
 2019-12-12      Lydia H. Hamlet Conference with SR re: response                      0.10   $17.50 $175.00     0.10   $17.50      0.00% In House Conference
 2019-12-12      Lydia H. Hamlet Conference with SR re: call with oc, likely next     0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
                                 steps
 2019-12-12      Lydia H. Hamlet Conference with AK re: case strategy                 0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
 2019-12-12      Lydia H. Hamlet Conference with AK re: conference call with oc       0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference

 2019-12-12      Josh Sanford      Editing and revision of email to OC                0.10   $30.00   $300.00   0.10   $30.00      0.00%   Opposing Counsel Communication
 2019-12-12      Josh Sanford      Editing and revision of draft of email to OC       0.10   $30.00   $300.00   0.00    $0.00    100.00%   Opposing Counsel Communication
 2019-12-13      Josh Sanford      Examination of OC email                            0.10   $30.00   $300.00   0.00    $0.00    100.00%   Opposing Counsel Communication
 2019-12-13      Lydia H. Hamlet   Receipt and review of JS email in response to      0.10   $17.50   $175.00   0.00    $0.00    100.00%   Opposing Counsel Communication
                                   oc's re: obligation to preserve information
 2019-12-13      Josh Sanford      Receive, read and prepare response to              0.10   $30.00 $300.00     0.10   $30.00      0.00% Opposing Counsel Communication
                                   email(s) from OCs
 2019-12-16      Lydia H. Hamlet   Conference with TF re: transcripts                 0.10   $17.50 $175.00     0.10   $17.50      0.00% Case Management
 2019-12-16      Lydia H. Hamlet   Conference with SR re: transcripts, etc.           0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
 2019-12-16      Steve Rauls       Telephone Conference(s) with LH regarding          0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
                                   discovery dispute
 2019-12-16      Lydia H. Hamlet   Compose, prepare and send correspondence to        0.10   $17.50 $175.00     0.10   $17.50      0.00% In House Conference
                                   JS,etc. re: transcripts
 2019-12-16      Lydia H. Hamlet   Receive, read and prepare response to              0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
                                   email(s) from JS re: transcripts
 2019-12-16      Lydia H. Hamlet   Receive, read and prepare response to              0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
                                   email(s) from JS re: no receipt of transcript
 2019-12-16      Lydia H. Hamlet   Receive, read and prepare response to              0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
                                   email(s) from oc re: transcripts
 2019-12-16      Josh Sanford      Receive, read and prepare response to              0.10   $30.00 $300.00     0.10   $30.00      0.00% Opposing Counsel Communication
                                   email(s) from OC: transcripts
 2019-12-17      Josh Sanford      Receive, read and prepare response to              0.10   $30.00 $300.00     0.00    $0.00    100.00% Opposing Counsel Communication
                                   email(s) from OC-transcripts
 2019-12-17      Lydia H. Hamlet   Telephone Conference(s) with JS re: read and       0.10   $17.50 $175.00     0.10   $17.50      0.00% In House Conference
                                   sign transcripts , etc.
 2019-12-17      Lydia H. Hamlet                                                      0.10   $17.50   $175.00   0.10   $17.50      0.00%   Client Communication
 2019-12-17      Lydia H. Hamlet                                                      0.10   $17.50   $175.00   0.10   $17.50      0.00%   Client Communication
 2019-12-17      Josh Sanford    Conference with LH: depo review                      0.10   $30.00   $300.00   0.00    $0.00    100.00%   In House Conference
 2019-12-17      Josh Sanford    Conference with staff: transcripts                   0.10   $30.00   $300.00   0.10   $30.00      0.00%   Case Management
 2019-12-17      Josh Sanford    Examination of transcripts from CCR                  0.10   $30.00   $300.00   0.00    $0.00    100.00%   Case Management
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                                                                                     Actual Actual             Time   Amount
Date Billed on      Billed By                       Description                                       Rate                    % Reduction           Category
                                                                                     Time Charge             Claimed Claimed
 2019-12-18      Steve Rauls       Examination of Rodriguez deposition                  1.80 $315.00 $175.00     1.80 $315.00       0.00% Discovery Related
                                   transcript; draft response to opposing
                                   counsel's discovery letter
 2019-12-18      Lydia H. Hamlet   Conference with JS/SR (notes to file                0.20   $35.00 $175.00     0.00    $0.00      100.00% In House Conference
                                   following)
 2019-12-18      Lydia H. Hamlet   Conference with SR re: review of transcripts        0.10   $17.50 $175.00     0.10   $17.50        0.00% In House Conference
 2019-12-18      Lydia H. Hamlet   Conference with JS re: response to oc               0.10   $17.50 $175.00     0.10   $17.50        0.00% In House Conference
 2019-12-18      Lydia H. Hamlet   Receipt and review of IOM re: response to oc's      0.10   $17.50 $175.00     0.00    $0.00      100.00% Case Management
                                   letter
 2019-12-19      Josh Sanford      Receive, read and prepare response to               0.10   $30.00 $300.00     0.00    $0.00      100.00% In House Conference
                                   email(s) from SR: edits to letter
 2019-12-19      Josh Sanford      Receive, read and prepare response to               0.10   $30.00 $300.00     0.10   $30.00        0.00% In House Conference
                                   email(s) from LH/SR: letter to OCs
 2019-12-19      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00     0.00    $0.00      100.00% In House Conference
                                   email(s) from SR re: response
 2019-12-19      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00     0.00    $0.00      100.00% In House Conference
                                   email(s) from JS re: letter in response to oc's
                                   12-4-19 letter
 2019-12-19      Lydia H. Hamlet   Receipt and review of edited letter to oc           0.10   $17.50   $175.00   0.10   $17.50        0.00%   Discovery Related
 2019-12-19      Lydia H. Hamlet   Receipt and review of draft response to oc          0.10   $17.50   $175.00   0.10   $17.50        0.00%   Discovery Related
 2019-12-19      Josh Sanford      Editing and revision of letter to OCs               0.30   $90.00   $300.00   0.30   $90.00        0.00%   Discovery Related
 2019-12-20      Steve Rauls       Edit and send letter in response to opposing        0.20   $35.00   $175.00   0.20   $35.00        0.00%   Discovery Related
                                   counsel's discovery letter
 2019-12-31      Lydia H. Hamlet                                                       0.10   $17.50   $175.00   0.10   $17.50        0.00%   Client Communication
 2019-12-31      Lydia H. Hamlet                                                       0.10   $17.50   $175.00   0.10   $17.50        0.00%   Client Communication
 2019-12-31      Lydia H. Hamlet                                                       0.10   $17.50   $175.00   0.10   $17.50        0.00%   Client Communication
 2020-01-02      Lydia H. Hamlet Compose, prepare and send correspondence to           0.10   $17.50   $175.00   0.00    $0.00      100.00%   In House Conference
                                 SR re: letter to oc
 2020-01-06      Sean Short      Conference with SR, DF, LH, MQ and AR                 0.10   $17.50 $175.00     0.00    $0.00      100.00% In House Conference
                                 regarding case status.
 2020-01-06      Lydia H. Hamlet Conference with SR re: case status                    0.10   $17.50 $175.00     0.00    $0.00      100.00% In House Conference
 2020-01-07      Steve Rauls     Conference with LH regarding discovery and            0.10   $17.50 $175.00     0.00    $0.00      100.00% In House Conference
                                 emails from opt-in Dinteru
 2020-01-07      Lydia H. Hamlet                                                       0.30   $52.50   $175.00   0.10   $17.50       66.67%   Client Communication
 2020-01-10      Lydia H. Hamlet                                                       0.10   $17.50   $175.00   0.10   $17.50        0.00%   Client Communication
 2020-01-10      Lydia H. Hamlet                                                       0.20   $35.00   $175.00   0.20   $35.00        0.00%   Client Communication
 2020-01-10      Lydia H. Hamlet                                                       0.10   $17.50   $175.00   0.10   $17.50        0.00%   Client Communication
 2020-01-13      Lydia H. Hamlet                                                       0.10   $17.50   $175.00   0.10   $17.50        0.00%   Client Communication
 2020-01-13      Lydia H. Hamlet Work on Client's file: calendar Dinteru call          0.10   $17.50   $175.00   0.00    $0.00      100.00%   Case Management
 2020-01-14      Lydia H. Hamlet                                                       0.30   $52.50   $175.00   0.30   $52.50        0.00%   Client Communication
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                                                                                      Actual Actual            Time   Amount
Date Billed on      Billed By                       Description                                       Rate                    % Reduction         Category
                                                                                      Time Charge            Claimed Claimed
 2020-01-14      Lydia H. Hamlet Receive, read and prepare response to                   0.10 $17.50 $175.00     0.10  $17.50       0.00% Case Management
                                 email(s) from Tristan re: message from
                                 Dinteru
 2020-01-15      Lydia H. Hamlet                                                        0.20   $35.00   $175.00   0.20   $35.00      0.00%   Client Communication
 2020-01-15      Lydia H. Hamlet Conference with SR re: Dinteru documents               0.10   $17.50   $175.00   0.10   $17.50      0.00%   In House Conference
 2020-01-15      Lydia H. Hamlet Conference with AK, SS re: case status                 0.10   $17.50   $175.00   0.00    $0.00    100.00%   In House Conference
 2020-01-17      Lydia H. Hamlet Work on Client's file: review discovery                0.20   $35.00   $175.00   0.20   $35.00      0.00%   Discovery Related
                                 requests; email SR re: potential
                                 supplementation
 2020-01-17      Lydia H. Hamlet Work on Client's file - notes to file re: possible     0.10   $17.50 $175.00     0.10   $17.50      0.00% Discovery Related
                                 discovery supplements, etc.
 2020-01-17      Lydia H. Hamlet Conference with SR re: case status,                    0.10   $17.50 $175.00     0.10   $17.50      0.00% In House Conference
                                 supplementing discovery
 2020-01-17      Steve Rauls     Conference with LH regarding discovery                 0.10   $17.50 $175.00     0.00    $0.00    100.00%   In House Conference
 2020-01-20      Lydia H. Hamlet Conference with GE re: transcripts                     0.10   $17.50 $175.00     0.10   $17.50      0.00%   Case Management
 2020-01-27      Staff                                                                  0.20    $5.00 $25.00      0.20    $5.00      0.00%   Client Communication
 2020-01-27      Lydia H. Hamlet Telephone Conference(s) with AP re:                    0.10   $17.50 $175.00     0.10   $17.50      0.00%   Case Management
                                 Bradberry case update
 2020-01-28      Lydia H. Hamlet                                                        0.10 $17.50 $175.00       0.10   $17.50      0.00% Client Communication
 2020-01-28      Lydia H. Hamlet Conference with AP re: status update                   0.10 $17.50 $175.00       0.00    $0.00    100.00% Case Management
 2020-01-29      Lydia H. Hamlet Work on Client's file: calendar                        0.90 $157.50 $175.00      0.00    $0.00    100.00% Case Management
                                 deadlines/reminders
 2020-01-30      Lydia H. Hamlet Work on Client's file: calendar                        0.10   $17.50 $175.00     0.00    $0.00    100.00% Case Management
                                 deadlines/reminders from ISO
 2020-02-03      Lydia H. Hamlet Telephone Conference(s) with AP re:                    0.10   $17.50 $175.00     0.00    $0.00    100.00% Case Management
                                 Waldroup/case update
 2020-02-03      Staff           Telephone Conference(s) with LH re update on           0.10    $2.50    $25.00   0.00    $0.00    100.00% Case Management
                                 case
 2020-02-03      Staff                                                                  0.10    $2.50    $25.00   0.10    $2.50      0.00%   Client Communication
 2020-02-03      Sean Short      Conference with SR, AR, LH and MQ.                     0.10   $17.50   $175.00   0.00    $0.00    100.00%   In House Conference
 2020-02-03      Lydia H. Hamlet Conference with SR/team re: case status                0.10   $17.50   $175.00   0.00    $0.00    100.00%   In House Conference
 2020-02-05      Lydia H. Hamlet Conference with SR re: case value, EOA                 0.10   $17.50   $175.00   0.10   $17.50      0.00%   In House Conference
 2020-02-11      Lydia H. Hamlet Conference with JS re: case status/depos               0.10   $17.50   $175.00   0.00    $0.00    100.00%   In House Conference
 2020-02-11      Josh Sanford    Discussion of case status and directing case           0.10   $30.00   $300.00   0.10   $30.00      0.00%   In House Conference
                                 strategy to Attorney SR/LH
 2020-02-12      Lydia H. Hamlet                                                        0.10   $17.50   $175.00   0.10   $17.50      0.00%   Client Communication
 2020-03-09      Lydia H. Hamlet Conference with SR re: email attachments               0.10   $17.50   $175.00   0.00    $0.00    100.00%   In House Conference
 2020-03-09      Lydia H. Hamlet Conference with JS re: response to oc's email          0.10   $17.50   $175.00   0.00    $0.00    100.00%   In House Conference
 2020-03-09      Lydia H. Hamlet Conference with SR re: transcripts and written         0.10   $17.50   $175.00   0.00    $0.00    100.00%   In House Conference
                                 discovery responses
 2020-03-09      Lydia H. Hamlet Conference with SR re: email/attachments               0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
                                 from oc
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                     Rate                     % Reduction           Category
                                                                                  Time Charge            Claimed Claimed
 2020-03-09      Josh Sanford    Conference with LH: response to OCs                 0.10 $30.00 $300.00     0.00    $0.00     100.00% In House Conference
 2020-03-09      Steve Rauls     Receipt and review of email from opposing           0.20 $35.00 $175.00     0.20  $35.00        0.00% Discovery Related
                                 counsel with Rodriguez text messages; follow
                                 up with LH
 2020-03-10      Josh Sanford    Receive, read and prepare response to              0.10   $30.00 $300.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from LH: email to OC
 2020-03-10      Lydia H. Hamlet Receive, read and prepare response to              0.30   $52.50 $175.00    0.30    $52.50       0.00% Opposing Counsel Communication
                                 email(s) from oc re: "spoliation of evidence";
                                 conference with SR re: same; calendar
                                 deadline
 2020-03-10      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.10    $17.50       0.00% In House Conference
                                 email(s) from JS re: response to oc
 2020-03-10      Josh Sanford    Telephone Conference(s) with VK: R11               0.10   $30.00 $300.00    0.10    $30.00       0.00% In House Conference
                                 response
 2020-03-10      Josh Sanford    Examination of OC email                            0.10 $30.00 $300.00      0.00     $0.00     100.00%   Opposing Counsel Communication
 2020-03-10      Josh Sanford    Examination of R11 motion                          0.10 $30.00 $300.00      0.10    $30.00       0.00%   Discovery Related
 2020-03-10      Josh Sanford    Examination of R11 BIS and exhibits                0.70 $210.00 $300.00     0.70   $210.00       0.00%   Discovery Related
 2020-03-16      Lydia H. Hamlet Telephone Conference(s) with law clerk re:         0.10 $17.50 $175.00      0.00     $0.00     100.00%   Case Management
                                 discovery requests
 2020-03-16      Staff           Telephone Conference(s) with LH re review of       0.10    $2.50   $25.00   0.00     $0.00     100.00% Case Management
                                 discovery responses and deposition transcripts

 2020-03-16      Staff           Telephone Conference(s) with LH re depos and       0.10    $2.50   $25.00   0.00     $0.00     100.00% Case Management
                                 discovery responses, email from OC
 2020-03-16      Lydia H. Hamlet Telephone Conference(s) with AP re: response       0.10   $17.50 $175.00    0.00     $0.00     100.00% Case Management
                                 to oc
 2020-03-16      Staff           Telephone Conference(s) with LH re review of       0.40   $10.00   $25.00   0.40    $10.00       0.00% Case Management
                                 discovery records, compose email to LH re
                                 same
 2020-03-16      Lydia H. Hamlet Telephone Conference(s) with AP re: review of      0.10   $17.50 $175.00    0.00     $0.00     100.00% Case Management
                                 transcripts and information submitted by oc

 2020-03-16      Staff           Examination of email from OC, text messages        0.10    $2.50   $25.00   0.10     $2.50       0.00% Discovery Related

 2020-03-16      Staff           Examination of client text messages, depo          0.70   $17.50   $25.00   0.70    $17.50       0.00% Discovery Related
                                 transcripts, discovery answers
 2020-03-17      Steve Rauls     Conference with LH regarding Def.'s discovery      0.20   $35.00 $175.00    0.00     $0.00     100.00% In House Conference
                                 requests
 2020-03-17      Lydia H. Hamlet Work on Client's file: review of documents         1.80 $315.00 $175.00     1.80   $315.00       0.00% Discovery Related
                                 provided by Defendant, discovery responses,
                                 and deposition transcripts
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                                                                                    Actual Actual            Time   Amount
Date Billed on      Billed By                       Description                                     Rate                     % Reduction         Category
                                                                                    Time Charge            Claimed Claimed
 2020-03-17      Lydia H. Hamlet Receive, read and prepare response to                 0.10 $17.50 $175.00     0.00    $0.00     100.00% Case Management
                                 email(s) from AP re: review of transcripts, etc.

 2020-03-17      Staff             Receive, read and prepare response to texts        0.10    $2.50   $25.00   0.10     $2.50      0.00% Case Management
                                   from LH re discovery responses
 2020-03-18      Staff             Telephone Conference(s) with LH re                 0.10    $2.50   $25.00   0.00     $0.00    100.00% Case Management
                                   examination of depo transcript
 2020-03-18      Lydia H. Hamlet   Compose, prepare and send correspondence to        0.20   $35.00 $175.00    0.20    $35.00      0.00% In House Conference
                                   SR re: defendant's discovery responses (notes
                                   following)
 2020-03-18      Lydia H. Hamlet   Compose, prepare and send correspondence to        0.20   $35.00 $175.00    0.20    $35.00      0.00% Case Management
                                   AP re: Davidson depo transcript
 2020-03-18      Staff             Receive, read and prepare response to texts        0.10    $2.50   $25.00   0.10     $2.50      0.00% Case Management
                                   from LH re depo transcript
 2020-03-18      Lydia H. Hamlet   Receive, read and prepare response to              0.10   $17.50 $175.00    0.10    $17.50      0.00% In House Conference
                                   email(s) from SR re: defendant's discovery
                                   responses
 2020-03-18      Lydia H. Hamlet   Receipt and review of IOM re: Davidson             0.10   $17.50 $175.00    0.00     $0.00    100.00% Case Management
                                   discovery responses
 2020-03-18      Lydia H. Hamlet   Work on Client's file: review Defendant's          0.20   $35.00 $175.00    0.20    $35.00      0.00% Discovery Related
                                   discovery responses
 2020-03-18      Lydia H. Hamlet   Conference with SR re: letter to oc                0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
 2020-03-18      Lydia H. Hamlet   Conference with SR re: defendant's discovery       0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                   responses; response to oc's email
 2020-03-18      Lydia H. Hamlet   Conference with JS re: response to oc's email;     0.20   $35.00 $175.00    0.00     $0.00    100.00% In House Conference
                                   notes following
 2020-03-18      Staff             Examination of Jason Davidson deposition           0.30    $7.50   $25.00   0.30     $7.50      0.00% Discovery Related
                                   transcript
 2020-03-18      Steve Rauls       Examination of Def.'s responses to RFPs;           0.30   $52.50 $175.00    0.30    $52.50      0.00% Discovery Related
                                   discuss possible additional discovery with LH
 2020-03-18      Steve Rauls       Editing and revision of response to Def.'s         0.30   $52.50 $175.00    0.30    $52.50      0.00% Opposing Counsel Communication
                                   email regarding text messages
 2020-03-18      Lydia H. Hamlet   letter to oc; further review of text messages      2.30 $402.50 $175.00     2.30   $402.50      0.00% Discovery Related
                                   sent by oc and deposition transcripts
 2020-03-19      Josh Sanford      Examination of email to OC                         0.10   $30.00 $300.00    0.00     $0.00    100.00% Opposing Counsel Communication
 2020-03-19      Lydia H. Hamlet   Conference with SR re: letter to oc, notes         0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                   following
 2020-03-19      Lydia H. Hamlet   Receipt and review of JS-edited letter to oc;      0.30   $52.50 $175.00    0.30    $52.50      0.00% Discovery Related
                                   prepare same for service; conference with SR
                                   re: same; email same to oc
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                                                                                 Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                   Rate                     % Reduction           Category
                                                                                 Time Charge            Claimed Claimed
 2020-03-19      Lydia H. Hamlet Receipt and review of SR-edited letter to oc;      0.20 $35.00 $175.00     0.00    $0.00     100.00% Discovery Related
                                 forward same to JS
 2020-03-24      Lydia H. Hamlet Work on Client's file: calendar deadline to       0.10   $17.50 $175.00    0.00     $0.00      100.00% Case Management
                                 submit damages; set reminders
 2020-03-27      Josh Sanford    Examination of letter                             0.10   $30.00 $300.00    0.00     $0.00      100.00% Case Management
 2020-03-27      Josh Sanford    Examination of Intra-office memo regarding        0.10   $30.00 $300.00    0.10    $30.00        0.00% Case Management
                                 case events and deadlines
 2020-03-30      Staff           Telephone Conference(s) with LH re damages        0.10    $2.50   $25.00   0.10     $2.50        0.00% Case Management
                                 calculations
 2020-03-30      Lydia H. Hamlet Telephone Conference(s) with AP re: damages       0.10   $17.50 $175.00    0.10    $17.50        0.00% Case Management
                                 calculations, review of personnel files, etc.

 2020-03-30      Vanessa Kinney Telephone Conference(s) with Josh Sanford re:      0.10   $22.50 $225.00    0.00     $0.00      100.00% In House Conference
                                 responding to defendant's rule 11 motion
 2020-03-30      Steve Rauls     Conference with LH regarding damages              0.10   $17.50 $175.00    0.00     $0.00      100.00% In House Conference
                                 project
 2020-03-30      Lydia H. Hamlet Conference with SR re: damages calculations       0.20   $35.00 $175.00    0.20    $35.00        0.00% In House Conference
                                 (notes following)
 2020-03-30      Sean Short      Conference with SR, MQ and LH regarding           0.10   $17.50 $175.00    0.00     $0.00      100.00% In House Conference
                                 case status.
 2020-03-31      Sean Short      Conference with LH regarding damage               0.10   $17.50 $175.00    0.00     $0.00      100.00% In House Conference
                                 calculations.
 2020-03-31      Lydia H. Hamlet Conference with SS re: damages calculations       0.10   $17.50 $175.00    0.00     $0.00      100.00% In House Conference
 2020-03-31      Staff           Work on Client's file: create spreadsheet of      0.70   $17.50 $25.00     0.70    $17.50        0.00% Damages Calculations
                                 plaintiffs' vacation days
 2020-03-31      Lydia H. Hamlet Telephone Conference(s) with AP re: damages       0.10   $17.50 $175.00    0.00     $0.00      100.00% Case Management

 2020-04-01      Staff             Work on Client's file: damages spreadsheet      0.40   $10.00 $25.00     0.40    $10.00        0.00%   Damages Calculations
 2020-04-01      Staff             Work on Client's file: damages spreadsheet      0.60   $15.00 $25.00     0.60    $15.00        0.00%   Damages Calculations
 2020-04-01      Staff             Work on Client's file: damages spreadsheet      0.10    $2.50 $25.00     0.10     $2.50        0.00%   Damages Calculations
 2020-04-02      Staff             Work on Client's file: damages spreadsheet      1.20   $30.00 $25.00     1.20    $30.00        0.00%   Damages Calculations
 2020-04-02      Staff             Work on Client's file: damages spreadsheet      0.80   $20.00 $25.00     0.80    $20.00        0.00%   Damages Calculations
 2020-04-02      Staff             Work on Client's file: damages spreadsheet      0.30    $7.50 $25.00     0.30     $7.50        0.00%   Damages Calculations
 2020-04-02      Staff             Work on Client's file: damages spreadsheet      0.10    $2.50 $25.00     0.10     $2.50        0.00%   Damages Calculations
 2020-04-02      Staff             Work on Client's file: damages spreadsheet      0.40   $10.00 $25.00     0.40    $10.00        0.00%   Damages Calculations
 2020-04-02      Staff             Work on Client's file: damages spreadsheet      0.30    $7.50 $25.00     0.30     $7.50        0.00%   Damages Calculations
 2020-04-02      Staff             Work on Client's file: damages spreadsheet      0.10    $2.50 $25.00     0.10     $2.50        0.00%   Damages Calculations
 2020-04-02      Lydia H. Hamlet   Telephone Conference(s) with AP re: damages     0.10   $17.50 $175.00    0.10    $17.50        0.00%   Case Management
                                   calculations/review of personnel records

 2020-04-02      Staff             Telephone Conference(s) with LH re damages      0.10    $2.50   $25.00   0.00     $0.00      100.00% Case Management
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                                                                                 Actual Actual               Time   Amount
Date Billed on      Billed By                      Description                                     Rate                     % Reduction         Category
                                                                                 Time Charge               Claimed Claimed
 2020-04-02      Lydia H. Hamlet   Telephone Conference(s) with AP re: review of    0.10 $17.50    $175.00     0.10  $17.50       0.00% Case Management
                                   records for damages calculations
 2020-04-03      Lydia H. Hamlet   Receive, read and prepare response to            0.10 $17.50    $175.00    0.10    $17.50      0.00% Case Management
                                   email(s) from AP re: damages spreadsheet
 2020-04-03      Lydia H. Hamlet   Receive, read and prepare response to            0.10 $17.50    $175.00    0.10    $17.50      0.00% In House Conference
                                   email(s) from SR re: Defendant's initial
                                   disclosures, etc.
 2020-04-03      Josh Sanford      Receive, read and prepare response to            0.20 $60.00    $300.00    0.20    $60.00      0.00% In House Conference
                                   email(s) from LH/VK: response to sanctions
                                   letters
 2020-04-03      Lydia H. Hamlet   Compose, prepare and send correspondence to      0.10 $17.50    $175.00    0.10    $17.50      0.00% In House Conference
                                   SR re: damages spreadsheet, pay information,
                                   etc. for Rodriguez and Davidson
 2020-04-03      Lydia H. Hamlet   Telephone Conference(s) with SR re: damages      0.10 $17.50    $175.00    0.00     $0.00    100.00% In House Conference
                                   spreadsheet, pay information, etc. for
                                   Rodriguez and Davidson
 2020-04-03      Lydia H. Hamlet   Telephone Conference(s) with AP re:              0.10 $17.50    $175.00    0.00     $0.00    100.00% Case Management
                                   Defendant's initial disclosures, etc.
 2020-04-03      Steve Rauls       Telephone Conference(s) with LH regarding        0.20 $35.00    $175.00    0.00     $0.00    100.00% In House Conference
                                   damages project; follow up via email
 2020-04-03      Staff             Telephone Conference(s) with LH re damages       0.10   $2.50    $25.00    0.00     $0.00    100.00% Case Management
                                   spreadsheet
 2020-04-03      Lydia H. Hamlet   Telephone Conference(s) with AP re:              0.10 $17.50    $175.00    0.00     $0.00    100.00% Case Management
                                   spreadsheet
 2020-04-03      Lydia H. Hamlet   Telephone Conference(s) with AP re: damages      0.10 $17.50    $175.00    0.00     $0.00    100.00% Case Management
                                   spreadsheet, etc.
 2020-04-03      Staff             Work on Client's file: damages spreadsheet       0.30   $7.50    $25.00    0.30     $7.50      0.00%   Damages Calculations
 2020-04-03      Staff             Work on Client's file: damages spreadsheet       0.40 $10.00     $25.00    0.40    $10.00      0.00%   Damages Calculations
 2020-04-03      Staff             Work on Client's file: damages spreadsheet       0.20   $5.00    $25.00    0.20     $5.00      0.00%   Damages Calculations
 2020-04-03      Staff             Work on Client's file: damages spreadsheet       0.10   $2.50    $25.00    0.10     $2.50      0.00%   Damages Calculations
 2020-04-03      Staff             Work on Client's file: damages spreadsheet       0.20   $5.00    $25.00    0.20     $5.00      0.00%   Damages Calculations
 2020-04-03      Staff             Work on Client's file: damages spreadsheet       0.10   $2.50    $25.00    0.10     $2.50      0.00%   Damages Calculations
 2020-04-03      Vanessa Kinney    Receipt and review of exhibits to motion for     0.40 $90.00    $225.00    0.40    $90.00      0.00%   Discovery Related
                                   sanctions
 2020-04-03      Staff             Compose electronic communication to LH re        0.10   $2.50    $25.00    0.10     $2.50      0.00% Case Management
                                   damages spreadsheet
 2020-04-03      Staff             Examination of client's file                     0.10   $2.50    $25.00    0.00     $0.00    100.00% Case Management
 2020-04-03      Vanessa Kinney    review file documents and good faith letters     0.30 $67.50    $225.00    0.30    $67.50      0.00% Discovery Related
 2020-04-03      Vanessa Kinney    message Josh Sanford and Lydia Hamlet re:        0.10 $22.50    $225.00    0.00     $0.00    100.00% In House Conference
                                   Sanctions Motion
 2020-04-03      Vanessa Kinney    brief in support of motion for sanctions and     1.60 $360.00   $225.00    1.60   $360.00      0.00% Discovery Related
                                   take notes for response
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                                                                                    Actual Actual            Time   Amount
Date Billed on      Billed By                       Description                                     Rate                    % Reduction           Category
                                                                                    Time Charge            Claimed Claimed
 2020-04-03      Vanessa Kinney compare issues raised in discovery dispute             0.20 $45.00 $225.00     0.20  $45.00       0.00% Discovery Related
                                communications with sanctions motion
 2020-04-03      Vanessa Kinney review additional file documents relevant to          0.70 $157.50 $225.00     0.70   $157.50       0.00% Discovery Related
                                sanctions motion
 2020-04-04      Vanessa Kinney Perform legal research regarding spoliation           3.10 $697.50 $225.00     3.10   $697.50       0.00% Discovery Related
                                and sanctions issues and review cases cited by
                                Defendant; formulate strategy for responding

 2020-04-04      Josh Sanford      Telephone Conference(s) with VK: response to       0.10   $30.00 $300.00    0.00     $0.00     100.00% In House Conference
                                   sanctions motion
 2020-04-04      Steve Rauls       Telephone Conference(s) with VK regarding          0.30   $52.50 $175.00    0.30    $52.50       0.00% In House Conference
                                   response to Def.'s sanctions motion
 2020-04-04      Josh Sanford      Receive, read and prepare response to              0.10   $30.00 $300.00    0.00     $0.00     100.00% In House Conference
                                   email(s) from VK: response to sanctions
                                   motion
 2020-04-04      Vanessa Kinney    message to Steve Rauls re: conference to           0.10   $22.50 $225.00    0.00     $0.00     100.00% In House Conference
                                   discuss text message issue raised by
                                   Defendant
 2020-04-04      Vanessa Kinney    Steve Rauls re: background facts of discovery      0.40   $90.00 $225.00    0.00     $0.00     100.00% In House Conference
                                   dispute, potential resolution and strategy for
                                   going forward
 2020-04-06      Josh Sanford      Conference with VK: response to sanctions          0.20   $60.00 $300.00    0.00     $0.00     100.00% In House Conference
                                   motions
 2020-04-06      Lydia H. Hamlet   Compose, prepare and send correspondence to        0.10   $17.50 $175.00    0.10    $17.50       0.00% In House Conference
                                   VK re: letter/motion threatening sanctions
 2020-04-06      Lydia H. Hamlet   Compose, prepare and send correspondence to        0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                   SR re: updated spreadsheet for damages
                                   calculations
 2020-04-06      Lydia H. Hamlet   Receive, read and prepare response to              0.10   $17.50 $175.00    0.10    $17.50       0.00% Case Management
                                   email(s) from AP re: updated spreadsheet re:
                                   information for damages calculations
 2020-04-06      Lydia H. Hamlet   Telephone Conference(s) with VK re: response       0.30   $52.50 $175.00    0.30    $52.50       0.00% In House Conference

 2020-04-06      Lydia H. Hamlet Telephone Conference(s) with VK re:                  0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 letter/motion re: contempt
 2020-04-06      Lydia H. Hamlet Telephone Conference(s) with JS re:                  0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 letter/motion re: contempt
 2020-04-06      Lydia H. Hamlet Telephone Conference(s) with AP re: damages          0.10   $17.50 $175.00    0.10    $17.50       0.00% Case Management
                                 calculations
 2020-04-06      Staff           Telephone Conference(s) with LH re damages           0.10    $2.50   $25.00   0.00     $0.00     100.00% In House Conference
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                                                                                    Actual Actual             Time   Amount
Date Billed on      Billed By                       Description                                      Rate                     % Reduction         Category
                                                                                    Time Charge             Claimed Claimed
 2020-04-06      Staff             Compose electronic communication to LH re           0.10  $2.50   $25.00     0.00    $0.00     100.00% Case Management
                                   damages
 2020-04-06      Lydia H. Hamlet   Receipt and review of letter from oc               0.10   $17.50 $175.00    0.00     $0.00     100.00% Discovery Related
                                   threatening motion for sanctions
 2020-04-06      Lydia H. Hamlet   Receipt and initial review of beginning of         0.10   $17.50 $175.00    0.10    $17.50       0.00% Damages Calculations
                                   damages spreadsheet
 2020-04-06      Lydia H. Hamlet   Receipt and initial review of updated              0.10   $17.50 $175.00    0.10    $17.50       0.00% Damages Calculations
                                   spreadsheet for damages calculations
 2020-04-06      Lydia H. Hamlet   notes to file re: damages                          0.10   $17.50 $175.00    0.00     $0.00     100.00%   Damages Calculations
 2020-04-06      Staff             Work on Client's file: damages spreadsheet         1.20   $30.00 $25.00     1.20    $30.00       0.00%   Damages Calculations
 2020-04-06      Staff             Work on Client's file: damages spreadsheet         0.30    $7.50 $25.00     0.30     $7.50       0.00%   Damages Calculations
 2020-04-06      Vanessa Kinney    Lydia Hamlet re: facts for responding to           0.20   $45.00 $225.00    0.00     $0.00     100.00%   In House Conference
                                   sanctions motion
 2020-04-06      Vanessa Kinney    set up and start outline for response to           1.80 $405.00 $225.00     1.80   $405.00       0.00% Discovery Related
                                   sanctions motion
 2020-04-07      Steve Rauls       Work on Client's file: damages spreadsheet         0.80 $140.00 $175.00     0.80   $140.00       0.00% Damages Calculations
                                   for Jason Davidson
 2020-04-07      Steve Rauls       Work on Client's file: damages spreadsheet         0.50   $87.50 $175.00    0.50    $87.50       0.00% Damages Calculations
                                   for Rodriguez
 2020-04-07      Steve Rauls       Work on Client's file: damages spreadsheet         1.80 $315.00 $175.00     1.80   $315.00       0.00% Damages Calculations
                                   for opt-in Bradberry
 2020-04-07      Lydia H. Hamlet   Receipt and cursory review of proposed             0.20   $35.00 $175.00    0.00     $0.00     100.00% Discovery Related
                                   motion for sanctions and BIS and exhibits
 2020-04-07      Vanessa Kinney    Telephone Conference(s) with Josh Sanford re:      0.20   $45.00 $225.00    0.00     $0.00     100.00% In House Conference
                                   drafting letter rather than response to motion
                                   for sanctions
 2020-04-07      Josh Sanford      Telephone Conference(s) with VK: response to       0.20   $60.00 $300.00    0.00     $0.00     100.00% In House Conference
                                   sanctions
 2020-04-07      Staff             Telephone Conference(s) with LH re damages         0.10    $2.50 $25.00     0.10     $2.50       0.00% Damages Calculations
 2020-04-07      Lydia H. Hamlet   Telephone Conference(s) AP re: damages             0.10   $17.50 $175.00    0.00     $0.00     100.00% Damages Calculations
                                   calculations
 2020-04-07      Lydia H. Hamlet   Receive, read and prepare response to              0.10   $17.50 $175.00    0.10    $17.50       0.00% In House Conference
                                   email(s) from SR re: damages calculations
 2020-04-07      Lydia H. Hamlet   Compose, prepare and send correspondence to        0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                   JS re: damages calculations
 2020-04-07      Josh Sanford      Receive, read and prepare response to              0.10   $30.00 $300.00    0.00     $0.00     100.00% In House Conference
                                   email(s) from VK: response to sanctions
 2020-04-07      Josh Sanford      Receive, read and prepare response to              0.10   $30.00 $300.00    0.00     $0.00     100.00% In House Conference
                                   email(s) from LH: calculating damages
 2020-04-07      Vanessa Kinney    additional research on rule 11 opportunity to      1.30 $292.50 $225.00     1.30   $292.50       0.00% Discovery Related
                                   cure and mark relevant portions of research
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                                                                                   Actual Actual             Time   Amount
Date Billed on      Billed By                      Description                                      Rate                    % Reduction           Category
                                                                                   Time Charge             Claimed Claimed
 2020-04-07      Vanessa Kinney work on letter in response to motion for              3.70 $832.50 $225.00     3.70 $832.50       0.00% Discovery Related
                                 sanctions
 2020-04-08      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.10    $17.50        0.00% In House Conference
                                 email(s) from SR re: Rodriguez damages
 2020-04-08      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.10    $17.50        0.00% Opposing Counsel Communication
                                 email(s) from oc re: agreed postponement (R.
                                 11 motion)
 2020-04-08      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.10    $17.50        0.00% In House Conference
                                 email(s) from VK re: letter to oc, calling
                                 clients
 2020-04-08      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.00     $0.00      100.00% In House Conference
                                 email(s) from VK re: letter to oc
 2020-04-08      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.00     $0.00      100.00% In House Conference
                                 email(s) from VK re: client declarations
 2020-04-08      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.00     $0.00      100.00% In House Conference
                                 email(s) from JS re: request re: R. 11 motion
 2020-04-08      Lydia H. Hamlet Telephone Conference(s) with JS re: case            0.10   $17.50 $175.00    0.00     $0.00      100.00% In House Conference
                                 status/R. 11 response letter
 2020-04-08      Lydia H. Hamlet Telephone Conference(s) with VK re: letter in       0.30   $52.50 $175.00    0.30    $52.50        0.00% In House Conference
                                 response to R. 11 motion (notes following)
 2020-04-08      Vanessa Kinney Telephone Conference(s) with Lydia Hamlet            0.20   $45.00 $225.00    0.00     $0.00      100.00% In House Conference
                                 re: plan for responding to defendant motion
                                 for sanctions and for contacting plaintiffs
 2020-04-08      Josh Sanford    Preparation and drafting of IOM: response to        0.10   $30.00 $300.00    0.00     $0.00      100.00% In House Conference
                                 R11 letter
 2020-04-08      Steve Rauls     Work on Client's file: damages spreadsheet          1.00 $175.00 $175.00     1.00   $175.00        0.00% Damages Calculations
                                 for opt-in Waldroup
 2020-04-08      Steve Rauls     Work on Client's file: damages spreadsheet          1.00 $175.00 $175.00     1.00   $175.00        0.00% Damages Calculations
                                 for opt-in Walker
 2020-04-08      Steve Rauls     Work on Client's file: damages spreadsheet          0.80 $140.00 $175.00     0.80   $140.00        0.00% Damages Calculations
                                 for opt-in Dinteru
 2020-04-08      Vanessa Kinney email Josh Sanford re: possible extension to         0.20   $45.00 $225.00    0.00     $0.00      100.00% In House Conference
                                 Motion for Sanctions
 2020-04-08      Vanessa Kinney email Josh Sanford, Lydia Hamlet and Steve           0.20   $45.00 $225.00    0.00     $0.00      100.00% In House Conference
                                 Rauls re: contacting plaintiffs
 2020-04-08      Vanessa Kinney email Josh Sanford, Lydia Hamlet and Steve           0.10   $22.50 $225.00    0.00     $0.00      100.00% In House Conference
                                 Rauls re: additional information for contacting
                                 plaintiffs
 2020-04-08      Vanessa Kinney work on letter in response to motion for             2.90 $652.50 $225.00     2.90   $652.50        0.00% Discovery Related
                                 sanctions
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                                                                                    Actual Actual             Time   Amount
Date Billed on      Billed By                      Description                                       Rate                    % Reduction           Category
                                                                                    Time Charge             Claimed Claimed
 2020-04-08      Vanessa Kinney work on letter in response to motion for               1.60 $360.00 $225.00     1.60 $360.00       0.00% Discovery Related
                                 sanctions
 2020-04-09      Lydia H. Hamlet Work on Client's file: questions for each            0.30   $52.50 $175.00    0.30    $52.50        0.00% Discovery Related
                                 individual plaintiff; attempts to access contact
                                 information
 2020-04-09      Lydia H. Hamlet Receipt and review of correspondence from JS         0.10   $17.50 $175.00    0.10    $17.50        0.00% Discovery Related
                                 re: R. 11 "response" due date; original mailed
                                 documents
 2020-04-09      Lydia H. Hamlet Receipt and review of IOM re: response to oc         0.10   $17.50 $175.00    0.10    $17.50        0.00% Discovery Related
                                 letter
 2020-04-09      Lydia H. Hamlet Receipt and review of text from oc re: contact       0.10   $17.50 $175.00    0.10    $17.50        0.00% Opposing Counsel Communication
                                 with clients; letter deadline
 2020-04-09      Vanessa Kinney Telephone Conference(s) with Lydia Hamlet             0.30   $67.50 $225.00    0.00     $0.00      100.00% Discovery Related
                                 re: conversations with clients
 2020-04-09      Lydia H. Hamlet Telephone Conference(s) with TF re: response         0.10   $17.50 $175.00    0.00     $0.00      100.00% Discovery Related
                                 to oc letter
 2020-04-09      Lydia H. Hamlet                                                      0.10   $17.50 $175.00    0.10    $17.50        0.00% Client Communication
 2020-04-09      Lydia H. Hamlet Telephone Conference(s) with VK re: response         0.10   $17.50 $175.00    0.10    $17.50        0.00% In House Conference
                                 to R. 11 letter; contact with clients, etc.

 2020-04-09      Lydia H. Hamlet Telephone Conference(s) with VK re: contact          0.10   $17.50 $175.00    0.00     $0.00      100.00% In House Conference
                                 with clients
 2020-04-09      Lydia H. Hamlet                                                      0.10   $17.50 $175.00    0.10    $17.50        0.00% Client Communication
 2020-04-09      Lydia H. Hamlet Compose, prepare and send correspondence to          0.10   $17.50 $175.00    0.00     $0.00      100.00% In House Conference
                                 VK re: status/contacting plaintiffs
 2020-04-09      Lydia H. Hamlet Compose, prepare and send correspondence to          0.10   $17.50 $175.00    0.00     $0.00      100.00% In House Conference
                                 JS re: letter in response to R. 11 letter
 2020-04-09      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.00     $0.00      100.00% In House Conference
                                 email(s) from JS re: letter to oc
 2020-04-09      Josh Sanford    Receive, read and prepare response to                0.20   $60.00 $300.00    0.20    $60.00        0.00% In House Conference
                                 email(s) from VK/LH: contact with clients
 2020-04-09      Lydia H. Hamlet Conference with JS re: letter to oc                  0.10   $17.50 $175.00    0.00     $0.00      100.00% In House Conference
 2020-04-09      Steve Rauls     Editing and revision of damages spreadsheets;        0.30   $52.50 $175.00    0.30    $52.50        0.00% Damages Calculations
                                 follow-up email to LH
 2020-04-09      Vanessa Kinney Editing and revision of letter in response to         2.10 $472.50 $225.00     1.10   $247.50       47.62% Discovery Related
                                 motinon for sanctions
 2020-04-10      Steve Rauls     Editing and revision of response to Def.'s draft     1.00 $175.00 $175.00     1.00   $175.00        0.00% Discovery Related
                                 Rule 11 motion
 2020-04-10      Josh Sanford    Examination of IOM: R11 response                     0.10   $30.00 $300.00    0.10    $30.00        0.00% Case Management
 2020-04-10      Josh Sanford    Conference with LH: damages                          0.10   $30.00 $300.00    0.00     $0.00      100.00% In House Conference
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                                                                                 Actual Actual            Time   Amount
Date Billed on      Billed By                    Description                                     Rate                    % Reduction           Category
                                                                                 Time Charge            Claimed Claimed
 2020-04-10      Lydia H. Hamlet Receive, read and prepare response to              0.10 $17.50 $175.00     0.10  $17.50       0.00% In House Conference
                                 email(s) from VK re: responsive letter to oc
 2020-04-10      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                 email(s) from SR re: responsive letter to oc
 2020-04-10      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00    0.10   $17.50        0.00% In House Conference
                                 email(s) from SR re: damages calculations
 2020-04-10      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                 email(s) from JS re: working draft of
                                 responsive letter to oc
 2020-04-10      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00    0.10   $17.50        0.00% In House Conference
                                 email(s) from SR re: finalizing damages
 2020-04-10      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                 email(s) from JS re: response to R. 11 letter
 2020-04-10      Josh Sanford    Receive, read and prepare response to             0.10   $30.00 $300.00    0.00    $0.00      100.00% In House Conference
                                 email(s) from VK: R11 response
 2020-04-10      Josh Sanford    Receive, read and prepare response to             0.10   $30.00 $300.00    0.10   $30.00        0.00% In House Conference
                                 email(s) from LH/SR/VK: response to R11
 2020-04-10      Lydia H. Hamlet Compose, prepare and send correspondence to       0.10   $17.50 $175.00    0.10   $17.50        0.00% In House Conference
                                 VK re: call with Wadroup- outstanding
                                 information
 2020-04-10      Lydia H. Hamlet                                                   0.10   $17.50 $175.00    0.10   $17.50        0.00% Client Communication
 2020-04-10      Lydia H. Hamlet                                                   0.10   $17.50 $175.00    0.10   $17.50        0.00% Client Communication
 2020-04-10      Lydia H. Hamlet Compose, prepare and send correspondence to       0.20   $35.00 $175.00    0.00    $0.00      100.00% In House Conference
                                 VK/JS/SR re: information from clients re:
                                 messages/declarations
 2020-04-10      Lydia H. Hamlet Compose, prepare and send correspondence to       0.10   $17.50 $175.00    0.10   $17.50        0.00% In House Conference
                                 VK/SR re: supplementing discovery responses

 2020-04-10      Lydia H. Hamlet                                                   0.30   $52.50 $175.00    0.30   $52.50        0.00% Client Communication
 2020-04-10      Lydia H. Hamlet Telephone Conference(s) with VK re: clients'      0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                 declarations
 2020-04-10      Lydia H. Hamlet Telephone Conference(s) with JS and VK re:        0.40   $70.00 $175.00    0.40   $70.00        0.00% In House Conference
                                 damages; letter to oc; email SR re: same
 2020-04-10      Lydia H. Hamlet                                                   0.20   $35.00 $175.00    0.20   $35.00        0.00% Client Communication
 2020-04-10      Josh Sanford    Telephone Conference(s) with VK: contact          0.10   $30.00 $300.00    0.00    $0.00      100.00% In House Conference
                                 with clients
 2020-04-10      Vanessa Kinney Telephone Conference(s) with Lydia Hamlet          0.10   $22.50 $225.00    0.00    $0.00      100.00% In House Conference
                                 re: update on conversations with plaintiffs
 2020-04-10      Vanessa Kinney Telephone Conference(s) with Josh Sanford re:      0.10   $22.50 $225.00    0.00    $0.00      100.00% In House Conference
                                 getting letter to opposing counsel
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                    Rate                     % Reduction           Category
                                                                                  Time Charge            Claimed Claimed
 2020-04-10      Vanessa Kinney Telephone Conference(s) with Lydia Hamlet            0.20 $45.00 $225.00     0.00    $0.00     100.00% In House Conference
                                 re: additions to good faith letter
 2020-04-10      Lydia H. Hamlet                                                    0.20   $35.00   $175.00   0.20    $35.00      0.00%   Client Communication
 2020-04-10      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10    $17.50      0.00%   Client Communication
 2020-04-10      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10    $17.50      0.00%   Client Communication
 2020-04-10      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10    $17.50      0.00%   Client Communication
 2020-04-10      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10    $17.50      0.00%   Client Communication
 2020-04-10      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10    $17.50      0.00%   Client Communication
 2020-04-10      Josh Sanford    Compose electronic communication OCs               0.10   $30.00   $300.00   0.10    $30.00      0.00%   Opposing Counsel Communication
 2020-04-10      Lydia H. Hamlet Receipt and review of damages                      0.20   $35.00   $175.00   0.20    $35.00      0.00%   Damages Calculations
 2020-04-10      Lydia H. Hamlet Receipt and review of SR-edited damages            0.10   $17.50   $175.00   0.10    $17.50      0.00%   Damages Calculations
                                 calculations- Dinteru, Waldroup, Walker
 2020-04-10      Lydia H. Hamlet Receipt and review of SR-edited responsive         0.70 $122.50 $175.00      0.70   $122.50      0.00% Discovery Related
                                 letter to oc; email JS/SR/VK re: same
 2020-04-10      Lydia H. Hamlet Work on Client's file: review messages from        0.70 $122.50 $175.00      0.70   $122.50      0.00% Discovery Related
                                 Bradberry- forward same to email; save all to
                                 file
 2020-04-10      Lydia H. Hamlet Work on Client's file: put Bradberry text          0.40   $70.00 $175.00     0.40    $70.00      0.00% Discovery Related
                                 messages and Dinteru reports to management
                                 in proper order; save same to electronic file
                                 for provision to oc
 2020-04-11      Vanessa Kinney Editing and revision of letter in response to       1.40 $315.00 $225.00      1.40   $315.00      0.00% Discovery Related
                                motion for sanctions; review emails and text
                                messages from Lydia Hamlet re: conversations
                                with client to ensure all information in letter
                                is accurate
 2020-04-11      Vanessa Kinney message Lydia Hamlet re: Plaintiff Rodriguez        0.10   $22.50 $225.00     0.00     $0.00    100.00% In House Conference
 2020-04-12      Vanessa Kinney Editing and revision of good faith letter and       0.20   $45.00 $225.00     0.20    $45.00      0.00% Discovery Related
                                 email to Josh Sanford and Steve Rauls and
                                 Lydia Hamlet
 2020-04-13      Lydia H. Hamlet Receipt and review of Rule 11 response letter      0.20   $35.00 $175.00     0.20    $35.00      0.00% Discovery Related

 2020-04-13      Lydia H. Hamlet Receipt and review of finalize version of FLSA     0.10   $17.50 $175.00     0.10    $17.50      0.00% Damages Calculations
                                 damages
 2020-04-13      Lydia H. Hamlet                                                    0.10 $17.50 $175.00       0.10    $17.50      0.00% Client Communication
 2020-04-13      Steve Rauls     Work on Client's file: revise damages              1.70 $297.50 $175.00      1.70   $297.50      0.00% Discovery Related
                                 spreadsheets, edit sanctions letter response,
                                 review client text messages, and send all to
                                 opposing counsel
 2020-04-13      Josh Sanford    Preparation and drafting of IOM: damages           0.10   $30.00 $300.00     0.10    $30.00      0.00% Case Management
 2020-04-13      Lydia H. Hamlet                                                    0.20   $35.00 $175.00     0.20    $35.00      0.00% Client Communication
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                     Rate                     % Reduction           Category
                                                                                  Time Charge            Claimed Claimed
 2020-04-13      Lydia H. Hamlet Telephone Conference(s) with SR re: demand,         0.20 $35.00 $175.00     0.00    $0.00     100.00% In House Conference
                                 FMLA damages, FLSA damages (notes
                                 following); text SR re: FLSA damages
 2020-04-13      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from SR re: letter to oc and
                                 attachments
 2020-04-13      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from AR re: FMLA damages
 2020-04-13      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from JS re: review of response letter
 2020-04-13      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.10   $17.50       0.00% In House Conference
                                 email(s) from SR re: damages calculations
 2020-04-13      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from VK re: response to Rule 11
                                 letter
 2020-04-13      Josh Sanford    Receive, read and prepare response to              0.80 $240.00 $300.00      0.00    $0.00     100.00% In House Conference
                                 email(s) from LH/SR: sanctions response
 2020-04-13      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 JS, etc. re: Davidson FMLA damages
 2020-04-13      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00     0.10   $17.50       0.00% In House Conference
                                 JS re: R. 11 response letter and attachments

 2020-04-13      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 JS re: response letter, FMLA damages
 2020-04-13      Josh Sanford    Examination of IOM: letter to OC                   0.10   $30.00   $300.00   0.00    $0.00     100.00%   Case Management
 2020-04-13      Josh Sanford    Examination of IOM: letter to OCs                  0.10   $30.00   $300.00   0.00    $0.00     100.00%   Case Management
 2020-04-13      Josh Sanford    Examination of IOM: sanctions response             0.10   $30.00   $300.00   0.00    $0.00     100.00%   Case Management
 2020-04-13      Lydia H. Hamlet Editing and revision of R. 11 response letter-     0.30   $52.50   $175.00   0.30   $52.50       0.00%   Discovery Related
                                 letterhead
 2020-04-13      Josh Sanford    Editing and revision of sanctions response         0.10   $30.00   $300.00   0.10   $30.00       0.00%   Discovery Related
 2020-04-13      Josh Sanford    Conference with VK: rev of text messages           0.10   $30.00   $300.00   0.10   $30.00       0.00%   In House Conference
 2020-04-14      Josh Sanford    Examination of IOM: Call with OC                   0.10   $30.00   $300.00   0.10   $30.00       0.00%   Case Management
 2020-04-14      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50   $175.00   0.10   $17.50       0.00%   In House Conference
                                 JS/SR re: discovery letter from oc/client
                                 responses/drafting
 2020-04-14      Josh Sanford    Receive, read and prepare response to              0.10   $30.00 $300.00     0.10   $30.00       0.00% Opposing Counsel Communication
                                 email(s) from OC
 2020-04-14      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from SR re: discovery letter
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                                                                                    Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                      Rate                     % Reduction          Category
                                                                                    Time Charge            Claimed Claimed
 2020-04-14      Lydia H. Hamlet Receive, read and prepare response to                 0.10 $17.50 $175.00     0.00    $0.00     100.00% Opposing Counsel Communication
                                 email(s) from oc re: plaintiffs' discovery
                                 responses
 2020-04-14      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.10    $17.50       0.00% Opposing Counsel Communication
                                 email(s) from oc re: conference call
 2020-04-14      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from SR re: conference call
 2020-04-14      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from JS re: Rodriguez conference call

 2020-04-14      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.10    $17.50       0.00% In House Conference
                                 email(s) from JS re: conference call;
                                 response(es) to oc's "good faith" letter
 2020-04-14      Lydia H. Hamlet                                                      0.10   $17.50 $175.00    0.00     $0.00     100.00% Client Communication
 2020-04-14      Lydia H. Hamlet                                                      0.40   $70.00 $175.00    0.00     $0.00     100.00% Client Communication
 2020-04-14      Lydia H. Hamlet Telephone Conference(s) with SR re: FLMA             0.20   $35.00 $175.00    0.00     $0.00     100.00% In House Conference
                                 damages and proposed response to "good
                                 faith" letter (notes following)
 2020-04-14      Lydia H. Hamlet                                                      0.20   $35.00 $175.00    0.00     $0.00     100.00% Client Communication
 2020-04-14      Vanessa Kinney Receipt and review of emails re: telephone            0.10   $22.50 $225.00    0.00     $0.00     100.00% In House Conference
                                 conference with Opposing Counsel
 2020-04-14      Lydia H. Hamlet Work on Client's file: IOM re: conference call       0.10   $17.50 $175.00    0.00     $0.00     100.00% Case Management
                                 with oc/calendar
 2020-04-14      Lydia H. Hamlet Work on Client's file: information for               0.40   $70.00 $175.00    0.00     $0.00     100.00% Damages Calculations
                                 calculation of FMLA damages
 2020-04-14      Steve Rauls     Receipt and review of letter from opposing           0.80 $140.00 $175.00     0.80   $140.00       0.00% Discovery Related
                                 counsel regarding discovery; compare
                                 allegations in letter to discovery responses
                                 and send follow-up email to LH and JS
 2020-04-14      Lydia H. Hamlet Receipt and review of letter re: perceived           0.20   $35.00 $175.00    0.20    $35.00       0.00% Discovery Related
                                 discovery deficiencies - calendar due date, etc.

 2020-04-15      Steve Rauls     Work on Client's file: review Rodriguez,             1.50 $262.50 $175.00     1.50   $262.50       0.00% Discovery Related
                                 Davidson, Bradberry discovery responses to
                                 prepare for afternoon conference call
 2020-04-15      Lydia H. Hamlet Work on Client's file: prepare documents for         0.20   $35.00 $175.00    0.20    $35.00       0.00% Discovery Related
                                 conference call with oc; send correspondence
                                 to SR re: same
 2020-04-15      Lydia H. Hamlet Telephone Conference(s) with SR re: discovery        0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 responses
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                     Rate                    % Reduction          Category
                                                                                  Time Charge            Claimed Claimed
 2020-04-15      Lydia H. Hamlet conference call with oc (notes following);          0.50 $87.50 $175.00     0.50  $87.50       0.00% Opposing Counsel Communication
                                 email JS/SR/VK re: contacting client
 2020-04-15      Steve Rauls     Telephone Conference(s) with JS, LH, VK and        0.50   $87.50 $175.00    0.50    $87.50      0.00% Opposing Counsel Communication
                                 opposing counsel regarding discovery disputes;
                                 follow up with LH via email
 2020-04-15      Lydia H. Hamlet Telephone Conference(s) with JS re: SDTs for       0.20   $35.00 $175.00    0.00     $0.00    100.00% In House Conference
                                 deposition, etc. - notes following
 2020-04-15      Lydia H. Hamlet                                                    0.50   $87.50 $175.00    0.50    $87.50      0.00% Client Communication
 2020-04-15      Josh Sanford    Telephone Conference(s) with LH: call with         0.10   $30.00 $300.00    0.00     $0.00    100.00% In House Conference
                                 client
 2020-04-15      Josh Sanford    Telephone Conference(s) with OC- discovery         0.40 $120.00 $300.00     0.40   $120.00      0.00% Opposing Counsel Communication
                                 dispute
 2020-04-15      Vanessa Kinney Telephone Conference(s) with Steve Rauls re:        0.20   $45.00 $225.00    0.00     $0.00    100.00% In House Conference
                                 questions about phone company release of
                                 plaintiff text messages
 2020-04-15      Vanessa Kinney Telephone Conference(s) with Lydia Hamlet           0.20   $45.00 $225.00    0.00     $0.00    100.00% In House Conference
                                 re: plan for text messages
 2020-04-15      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                 email(s) from SR re: conference call with oc
 2020-04-15      Lydia H. Hamlet Receive, read and prepare response to              0.20   $35.00 $175.00    0.00     $0.00    100.00% In House Conference
                                 email(s) from JS re: plan for SDTs, review
                                 correspondence for possible information about
                                 who she might have exchanged texts with

 2020-04-15      Josh Sanford   Receive, read and prepare response to               0.10   $30.00 $300.00    0.00     $0.00    100.00% In House Conference
                                email(s) from VK/LH/SR: next steps
 2020-04-15      Josh Sanford   Receive, read and prepare response to               0.10   $30.00 $300.00    0.00     $0.00    100.00% In House Conference
                                email(s) from LH: call with client
 2020-04-15      Josh Sanford   Conference with LH: missing texts; IOMS: text       0.20   $60.00 $300.00    0.20    $60.00      0.00% In House Conference
                                recovery
 2020-04-15      Vanessa Kinney phone conference with Opposing counsel, Josh        0.30   $67.50 $225.00    0.00     $0.00    100.00% Opposing Counsel Communication
                                Sanford, Lydia Hamlet, Steve Rauls re:
                                sanctions issues
 2020-04-16      Josh Sanford   Conference with LH/SR: discovery, next steps        0.20   $60.00 $300.00    0.00     $0.00    100.00% In House Conference
 2020-04-16      Josh Sanford   Examination of emails to/from OCs: discovery        0.20   $60.00 $300.00    0.20    $60.00      0.00% Discovery Related

 2020-04-16      Josh Sanford    Examination of IOM: client contact                 0.10   $30.00 $300.00    0.00     $0.00    100.00% Case Management
 2020-04-16      Josh Sanford    Examination of discovery email to OC               0.10   $30.00 $300.00    0.10    $30.00      0.00% Discovery Related
 2020-04-16      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                 JS/SR re: people client texted with
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                                                                               Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                 Rate                     % Reduction           Category
                                                                               Time Charge            Claimed Claimed
 2020-04-16      Lydia H. Hamlet Compose, prepare and send correspondence to      0.10 $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 JS/SR re: prior written communication with oc

 2020-04-16      Lydia H. Hamlet Compose, prepare and send                          0.20   $35.00 $175.00   0.00    $0.00   100.00% In House Conference
                                 correspondence/emails to SR re: SDTs, etc.
 2020-04-16      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00   0.00    $0.00   100.00% Case Management
                                 Barnett re: phone number for agent
 2020-04-16      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00   0.10   $17.50     0.00% Opposing Counsel Communication
                                 oc re: employee contact information
 2020-04-16      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00   0.00    $0.00   100.00% In House Conference
                                 SS re: SDT
 2020-04-16      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00   0.00    $0.00   100.00% Opposing Counsel Communication
                                 oc re: SDT
 2020-04-16      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00   0.00    $0.00   100.00% Discovery Related
                                 Sprint re: SDT
 2020-04-16      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00   0.00    $0.00   100.00% In House Conference
                                 SR re: SDT, letters, etc.
 2020-04-16      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00   0.10   $17.50     0.00% In House Conference
                                 email(s) from JS re: conference call re: Sprint,
                                 etc.
 2020-04-16      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00   0.10   $17.50     0.00% Opposing Counsel Communication
                                 email(s) from oc re: RFAs and efforts to
                                 retrieve text messages
 2020-04-16      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00   0.00    $0.00   100.00% In House Conference
                                 email(s) from SR re: review of SDT, second
                                 SDT for records, etc.
 2020-04-16      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00   0.00    $0.00   100.00% In House Conference
                                 email(s) from JS re: emailing oc
 2020-04-16      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00   0.00    $0.00   100.00% In House Conference
                                 email(s) from SR re: return email to oc
 2020-04-16      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00   0.10   $17.50     0.00% In House Conference
                                 email(s) from SR re: backup for phone, etc.
 2020-04-16      Steve Rauls     Receive, read and prepare response to              0.10   $17.50 $175.00   0.10   $17.50     0.00% Opposing Counsel Communication
                                 email(s) from opposing counsel regarding
                                 discovery matters
 2020-04-16      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00   0.00    $0.00   100.00% In House Conference
                                 email(s) from SS re: SDT
 2020-04-16      Sean Short      Receive, read and prepare response to              0.10   $17.50 $175.00   0.00    $0.00   100.00% In House Conference
                                 email(s) from LH regarding sample subpoena
                                 for production of documents.
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                                                                                     Actual Actual            Time   Amount
Date Billed on      Billed By                       Description                                      Rate                     % Reduction           Category
                                                                                     Time Charge            Claimed Claimed
 2020-04-16      Steve Rauls       Telephone Conference(s) with JS and LH               0.40 $70.00 $175.00     0.00    $0.00     100.00% In House Conference
                                   regarding discovery matters
 2020-04-16      Lydia H. Hamlet   Telephone Conference(s) with SR re: emailing        0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                   oc
 2020-04-16      Lydia H. Hamlet   Telephone Conference(s) with Sprint                 0.20   $35.00 $175.00    0.20   $35.00        0.00% Discovery Related
                                   Subpoena compliance - notes following
 2020-04-16      Lydia H. Hamlet   Telephone Conference(s) with SR re: SDT             0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
 2020-04-16      Lydia H. Hamlet   Telephone Conference(s) with JS/SR re: SDTs,        0.50   $87.50 $175.00    0.00     $0.00     100.00% In House Conference
                                   etc. (notes following)
 2020-04-16      Lydia H. Hamlet                                                       0.10   $17.50 $175.00    0.00     $0.00     100.00% Client Communication
 2020-04-16      Lydia H. Hamlet                                                       0.20   $35.00 $175.00    0.00     $0.00     100.00% Client Communication
 2020-04-16      Lydia H. Hamlet Telephone Conference(s) with VK re: call with         0.30   $52.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 oc, R. 11 motion, jury instruction, SDTs, etc.

 2020-04-16      Vanessa Kinney Receipt and review of follow-up message                0.10   $22.50 $225.00    0.00     $0.00     100.00% Discovery Related
                                 from opposing counsel on phone conference to
                                 address text messages
 2020-04-16      Josh Sanford    Preparation and drafting of IOM: discovery            0.10   $30.00 $300.00    0.10   $30.00        0.00% Case Management
                                 dispute
 2020-04-16      Lydia H. Hamlet Preparation and drafting of Sprint affidavit          0.10   $17.50 $175.00    0.00     $0.00     100.00% Discovery Related
 2020-04-16      Lydia H. Hamlet Preparation and drafting of Sprint SDT                0.50   $87.50 $175.00    0.00     $0.00     100.00% Discovery Related
 2020-04-16      Lydia H. Hamlet Work on Client's file: texts with VK re:              0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 conference call with oc
 2020-04-16      Lydia H. Hamlet Work on Client's file: research re: custodian,        0.20   $35.00 $175.00    0.00     $0.00     100.00% Discovery Related
                                 etc.
 2020-04-16      Lydia H. Hamlet Work on Client's file: research re proper entity,     0.40   $70.00 $175.00    0.00     $0.00     100.00% Discovery Related
                                 address, registered agent, etc.
 2020-04-16      Lydia H. Hamlet Work on Client's file: research procedure for         0.50   $87.50 $175.00    0.00     $0.00     100.00% Discovery Related
                                 retrieving texts from Sprint - call Sprint
                                 Corporate Security, etc. (notes following re:
                                 details, instruction, etc.)
 2020-04-16      Steve Rauls     Work on Client's file: work with LH on                0.50   $87.50 $175.00    0.00     $0.00     100.00% Discovery Related
                                 researching proper entity for phone records
                                 subpoenas and drafting subpoenas
 2020-04-16      Lydia H. Hamlet Receipt and review of SR-reviewed SDT to              0.10   $17.50 $175.00    0.00     $0.00     100.00% Discovery Related
                                 Sprint
 2020-04-17      Lydia H. Hamlet Receipt and review of revised response to             0.10   $17.50 $175.00    0.00     $0.00     100.00% Discovery Related
                                 "good faith" letter
 2020-04-17      Lydia H. Hamlet Receipt and review of IOM re: deadline to             0.10   $17.50 $175.00    0.00     $0.00     100.00% Case Management
                                 provide texts to oc
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                                                                                    Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                      Rate                     % Reduction           Category
                                                                                    Time Charge            Claimed Claimed
 2020-04-17      Lydia H. Hamlet Receipt and review of letter from Sprint I re         0.20 $35.00 $175.00     0.00    $0.00     100.00% Discovery Related
                                 SDT; save same to file; email same to JS/SR
 2020-04-17      Lydia H. Hamlet Receipt and review of SR letter to oc                0.10   $17.50 $175.00     0.00     $0.00     100.00% Opposing Counsel Communication
 2020-04-17      Lydia H. Hamlet Work on Client's file: contact Barnett re:           0.10   $17.50 $175.00     0.00     $0.00     100.00% Discovery Related
                                 service in Conway
 2020-04-17      Lydia H. Hamlet Work on Client's file: prepare SDTs II for           0.10   $17.50 $175.00     0.00     $0.00     100.00% Discovery Related
                                 service
 2020-04-17      Lydia H. Hamlet Work on Client's file: calendar deadline to          0.10   $17.50 $175.00     0.00     $0.00     100.00% Case Management
                                 send texts to oc - reminders
 2020-04-17      Steve Rauls     Preparation and drafting of response to              1.50 $262.50 $175.00      1.50   $262.50       0.00% Discovery Related
                                 "discovery deficiency" letter from opposing
                                 counsel; send to LH and JS for review
 2020-04-17      Lydia H. Hamlet Preparation and drafting of two versions of          0.50   $87.50 $175.00     0.00     $0.00     100.00% Discovery Related
                                 SDT to Sprint II
 2020-04-17      Lydia H. Hamlet Preparation and drafting of Affidavit for Sprint     0.10   $17.50 $175.00     0.00     $0.00     100.00% Discovery Related
                                 II
 2020-04-17      Josh Sanford    Discussion of case status and directing case         0.10   $30.00 $300.00     0.00     $0.00     100.00% In House Conference
                                 strategy to Attorney JW (Discovery dispute)
 2020-04-17      Lydia H. Hamlet                                                      0.10   $17.50   $175.00   0.00     $0.00     100.00%   Client Communication
 2020-04-17      Lydia H. Hamlet Telephone Conference(s) with JS re; SDT I            0.10   $17.50   $175.00   0.00     $0.00     100.00%   In House Conference
 2020-04-17      Lydia H. Hamlet texts with Barnett re: service of SDT II             0.20   $35.00   $175.00   0.00     $0.00     100.00%   Discovery Related
 2020-04-17      Lydia H. Hamlet Telephone Conference(s) with TF re: TLO              0.10   $17.50   $175.00   0.00     $0.00     100.00%   Case Management
                                 search of Crafton
 2020-04-17      Steve Rauls     Receive, read and prepare response to                0.10   $17.50 $175.00     0.00     $0.00     100.00% In House Conference
                                 email(s) from LH regarding service of
                                 subpoenas of cell provider
 2020-04-17      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00     0.00     $0.00     100.00% In House Conference
                                 email(s) from SR re: communication from
                                 Sprint I
 2020-04-17      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00     0.00     $0.00     100.00% Opposing Counsel Communication
                                 email(s) from oc re: no objection to Sprint I
                                 SDT
 2020-04-17      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00     0.00     $0.00     100.00% Opposing Counsel Communication
                                 email(s) from oc re: no objection to Sprint II
                                 SDT
 2020-04-17      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00     0.10    $17.50       0.00% In House Conference
                                 email(s) from JS re: request for contact info
 2020-04-17      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00     0.10    $17.50       0.00% Opposing Counsel Communication
                                 email(s) from oc re: request for contact info
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                     Rate                     % Reduction           Category
                                                                                  Time Charge            Claimed Claimed
 2020-04-17      Lydia H. Hamlet Receive, read and prepare response to               0.10 $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from SR re: letter in response to
                                 "good faith" letter
 2020-04-17      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.10   $17.50       0.00% Opposing Counsel Communication
                                 email(s) from oc re: request for contact
                                 information of employees
 2020-04-17      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from SR re: SDTs, additional
                                 information needed from client
 2020-04-17      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 SR re: details for SDTs, etc.
 2020-04-17      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00     0.00    $0.00     100.00% Discovery Related
                                 Sprint II
 2020-04-17      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00     0.00    $0.00     100.00% Opposing Counsel Communication
                                 oc re: Sprint II SDTs
 2020-04-17      Lydia H. Hamlet                                                    0.10   $17.50 $175.00     0.00    $0.00     100.00% Client Communication
 2020-04-17      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00     0.00    $0.00     100.00% Opposing Counsel Communication
                                 oc re: SDT I
 2020-04-17      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 JS re: SDTs II
 2020-04-17      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 JS re: SDT I
 2020-04-17      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00     0.00    $0.00     100.00% Opposing Counsel Communication
                                 oc re: Sprint I SDT and reason for requesting
                                 employee contact information
 2020-04-17      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00     0.00    $0.00     100.00% Discovery Related
                                 Barnett re: wait on service until no objection
                                 from oc
 2020-04-17      Josh Sanford    Receive, read and prepare response to              0.10   $30.00 $300.00     0.10   $30.00       0.00% Opposing Counsel Communication
                                 email(s) from OC: phone numbers via text
 2020-04-17      Josh Sanford    Receive, read and prepare response to              0.10   $30.00 $300.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from LH/SR: efforts to serve Sprint
 2020-04-17      Josh Sanford    Editing and revision of letter to OC               0.20   $60.00 $300.00     0.20   $60.00       0.00% Opposing Counsel Communication
 2020-04-17      Lydia H. Hamlet Editing and revision of Sprint Corp. SDT-          0.20   $35.00 $175.00     0.00    $0.00     100.00% Discovery Related
                                 prepare same for service
 2020-04-17      Lydia H. Hamlet Editing and revision of letter to Sprint Corp      0.10   $17.50   $175.00   0.00    $0.00     100.00%   Discovery Related
 2020-04-17      Lydia H. Hamlet Editing and revision of Sprint Corp letter         0.10   $17.50   $175.00   0.00    $0.00     100.00%   Discovery Related
 2020-04-17      Josh Sanford    Examination of email to OC, with SDT               0.10   $30.00   $300.00   0.00    $0.00     100.00%   Opposing Counsel Communication
 2020-04-17      Josh Sanford    Examination of OC email                            0.10   $30.00   $300.00   0.00    $0.00     100.00%   Opposing Counsel Communication
 2020-04-17      Josh Sanford    Examination of OC email                            0.10   $30.00   $300.00   0.00    $0.00     100.00%   Opposing Counsel Communication
 2020-04-17      Josh Sanford    Examination of email (with SDT) to OC              0.10   $30.00   $300.00   0.00    $0.00     100.00%   Opposing Counsel Communication
 2020-04-17      Josh Sanford    Examination of IOMS: sprint response to SDT        0.10   $30.00   $300.00   0.00    $0.00     100.00%   Case Management
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                                                                                   Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                     Rate                     % Reduction           Category
                                                                                   Time Charge            Claimed Claimed
 2020-04-17      Josh Sanford      Conference with LH: subpoenas to sprint            0.10 $30.00 $300.00     0.00    $0.00     100.00% In House Conference
 2020-04-17      Josh Sanford      Conference with SR/LH: resolving discovery         0.20 $60.00 $300.00     0.20  $60.00        0.00% In House Conference
                                   dispute
 2020-04-17      Josh Sanford      Conference with LH: more subpoenas                0.10   $30.00 $300.00     0.00    $0.00     100.00% In House Conference
 2020-04-17      Josh West         Conference with JS re: D's attempt to obtain      0.20   $45.00 $225.00     0.00    $0.00     100.00% In House Conference
                                   negative inference;
 2020-04-20      Josh Sanford      Examination of OC email-discovery                 0.20   $60.00 $300.00     0.20   $60.00       0.00%   Opposing Counsel Communication
 2020-04-20      Josh Sanford      Examination of transmittal of SDT to OC           0.10   $30.00 $300.00     0.00    $0.00     100.00%   Case Management
 2020-04-20      Josh Sanford      Examination of letter to OC                       0.10   $30.00 $300.00     0.00    $0.00     100.00%   Opposing Counsel Communication
 2020-04-20      Staff             Examination of intake notes, damages              0.10    $2.50 $25.00      0.10    $2.50       0.00%   Damages Calculations
                                   spreadsheet
 2020-04-20      Lydia H. Hamlet   Conference with JS re: service                    0.10   $17.50 $175.00     0.10   $17.50       0.00% In House Conference
 2020-04-20      Josh Sanford      Conference with LH: service of SD7 on Sprint      0.10   $30.00 $300.00     0.00    $0.00     100.00% In House Conference
 2020-04-20      Lydia H. Hamlet   Receive, read and prepare response to             0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                   email(s) from SR re: SDTs, etc.
 2020-04-20      Lydia H. Hamlet   Receive, read and prepare response to             0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                   email(s) from SR re: letter to oc
 2020-04-20      Lydia H. Hamlet   Compose, prepare and send correspondence to       0.10   $17.50 $175.00     0.00    $0.00     100.00% Opposing Counsel Communication
                                   oc re: second Sprint Spectrum Limited
                                   Partnership SDT
 2020-04-20      Lydia H. Hamlet   Receive, read and prepare response to             0.10   $17.50 $175.00     0.00    $0.00     100.00% Opposing Counsel Communication
                                   email(s) from oc re: response to SR letter
 2020-04-20      Steve Rauls       Telephone Conference(s) with LH regarding         0.30   $52.50 $175.00     0.00    $0.00     100.00% In House Conference
                                   revised FLSA and FMLA damages calculations
                                   for Rodriguez; follow up by email
 2020-04-20      Lydia H. Hamlet   Telephone Conference(s) with Barnett re:          0.10   $17.50 $175.00     0.00    $0.00     100.00% Case Management
                                   service
 2020-04-20      Lydia H. Hamlet   Telephone Conference(s) with Barnett re:          0.10   $17.50 $175.00     0.00    $0.00     100.00% Case Management
                                   service
 2020-04-20      Lydia H. Hamlet                                                     0.10   $17.50   $175.00   0.10   $17.50       0.00%   Client Communication
 2020-04-20      Lydia H. Hamlet                                                     0.10   $17.50   $175.00   0.10   $17.50       0.00%   Client Communication
 2020-04-20      Lydia H. Hamlet Telephone Conference(s) with SR re: SDTs            0.10   $17.50   $175.00   0.00    $0.00     100.00%   In House Conference
 2020-04-20      Steve Rauls     Telephone Conference(s) with LH regarding           0.10   $17.50   $175.00   0.00    $0.00     100.00%   In House Conference
                                 subpoenas to Sprint
 2020-04-20      Lydia H. Hamlet Receipt and review of oc letter re: Plaintiffs'     0.10   $17.50 $175.00     0.00    $0.00     100.00% Opposing Counsel Communication
                                 discovery responses
 2020-04-20      Steve Rauls     Receipt and review of letter from opposing          0.10   $17.50 $175.00     0.10   $17.50       0.00% Opposing Counsel Communication
                                 counsel regarding discovery
 2020-04-20      Staff           Receipt and review of text from LH re plaintiff     0.10    $2.50    $25.00   0.00    $0.00     100.00% Case Management
                                 work dates
 2020-04-20      Lydia H. Hamlet Receipt and review of letter to oc                  0.10   $17.50 $175.00     0.00    $0.00     100.00% Opposing Counsel Communication
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                                                                                     Actual Actual            Time   Amount
Date Billed on      Billed By                       Description                                      Rate                    % Reduction           Category
                                                                                     Time Charge            Claimed Claimed
 2020-04-20      Lydia H. Hamlet Work on Client's file: prepare initial                 0.10 $17.50 $175.00     0.10  $17.50       0.00% Discovery Related
                                 disclosures for service
 2020-04-20      Lydia H. Hamlet Work on Client's file: SDTs to Sprint Spectrum        1.00 $175.00 $175.00     0.00     $0.00     100.00% Discovery Related
                                 Limited Partnership on Spring, Affidavit, letter
                                 to oc and Sprint Spectrum, email SR re: same

 2020-04-20      Steve Rauls       Work on Client's file: final review of response     0.20   $35.00 $175.00    0.20    $35.00       0.00% Discovery Related
                                   to discovery deficiency letter; email to
                                   opposing counsel
 2020-04-20      Lydia H. Hamlet   Work on Client's file: FLSA DAMAGES                 1.50 $262.50 $175.00     1.50   $262.50       0.00% Damages Calculations
 2020-04-21      Steve Rauls       Work on Client's file: revise damages               1.40 $245.00 $175.00     1.40   $245.00       0.00% Damages Calculations
                                   spreadsheet for Rodriguez; draft damages
                                   supplement letter to opposing counsel and
                                   send to LH and JS for review
 2020-04-21      Lydia H. Hamlet   Receipt and review of draft letter to oc from       0.10   $17.50 $175.00    0.00     $0.00     100.00% Opposing Counsel Communication
                                   SR and updated Rodriguez FLSA damages
 2020-04-21      Lydia H. Hamlet   Receipt and review of correspondence from           0.10   $17.50 $175.00    0.00     $0.00     100.00% Case Management
                                   Barnett re: service
 2020-04-21      Steve Rauls       Receipt and review of email from JS with            0.20   $35.00 $175.00    0.20    $35.00       0.00% Discovery Related
                                   edits to discovery letter; make changes and
                                   send to opposing counsel
 2020-04-21      Lydia H. Hamlet   Telephone Conference(s) with Barnett re:            0.20   $35.00 $175.00    0.10    $17.50      50.00% Case Management
                                   service on agent and custodian
 2020-04-21      Josh Sanford      Receive, read and prepare response to               0.10   $30.00 $300.00    0.10    $30.00       0.00% In House Conference
                                   email(s) from LH/SR: depos
 2020-04-21      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                   email(s) from JS re: letter to oc, etc.
 2020-04-21      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00    0.10    $17.50       0.00% In House Conference
                                   email(s) from JS re: depositions
 2020-04-21      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00    0.00     $0.00     100.00% Case Management
                                   email(s) from Barnett re: service on Prentice-
                                   Hall
 2020-04-21      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00    0.10    $17.50       0.00% In House Conference
                                   email(s) from SR re: updated
                                   damages/supplementation letter to oc; review
                                   same
 2020-04-21      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00    0.00     $0.00     100.00% Opposing Counsel Communication
                                   email(s) from oc re: Sprint Spectrum SDT II
 2020-04-21      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00    0.00     $0.00     100.00% Opposing Counsel Communication
                                   email(s) from oc re: requested contact
                                   information for Par Fry employees
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                                                                                   Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                      Rate                     % Reduction           Category
                                                                                   Time Charge            Claimed Claimed
 2020-04-21      Lydia H. Hamlet Receive, read and prepare response to                0.10 $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from SR re: FMLA/FLSA damages
                                 calculations, etc., response to oc letter, etc.
 2020-04-21      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from SR re: proposed supplemental
                                 response to oc letter
 2020-04-21      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50 $175.00     0.10   $17.50       0.00% In House Conference
                                 JS/SR re: depositions
 2020-04-21      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50 $175.00     0.00    $0.00     100.00% Case Management
                                 Barnett re: second set of Sprint Spectrum
                                 SDTs, etc.
 2020-04-21      Josh Sanford    Conference with LH: subpoenas                       0.10   $30.00   $300.00   0.10   $30.00       0.00%   In House Conference
 2020-04-21      Josh Sanford    Examination of OC email                             0.10   $30.00   $300.00   0.00    $0.00     100.00%   Opposing Counsel Communication
 2020-04-21      Josh Sanford    Examination of OC emails                            0.10   $30.00   $300.00   0.00    $0.00     100.00%   Opposing Counsel Communication
 2020-04-21      Josh Sanford    Examination of witness contact information          0.10   $30.00   $300.00   0.10   $30.00       0.00%   Discovery Related
                                 OC
 2020-04-21      Josh Sanford    Editing and revision of letter to OC                0.10   $30.00 $300.00     0.10   $30.00       0.00% Opposing Counsel Communication
 2020-04-22      Josh Sanford    Examination of email to OC-contact with             0.10   $30.00 $300.00     0.00    $0.00     100.00% Opposing Counsel Communication
                                 witnesses
 2020-04-22      Josh Sanford    Examination of RFAs from OC                         0.20   $60.00 $300.00     0.20   $60.00       0.00% Discovery Related
 2020-04-22      Josh Sanford    Conference with LH: contact with witnesses          0.10   $30.00 $300.00     0.10   $30.00       0.00% In House Conference
 2020-04-22      Josh Sanford    Examination of Intra-office memo regarding          0.10   $30.00 $300.00     0.00    $0.00     100.00% Case Management
                                 case events and deadlines
 2020-04-22      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50 $175.00     0.10   $17.50       0.00% Opposing Counsel Communication
                                 oc re: 4.2 protection
 2020-04-22      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 SR re: RFA formatting
 2020-04-22      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50 $175.00     0.00    $0.00     100.00% Case Management
                                 SO re: formatting RFAs
 2020-04-22      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 JS/SR re: proceeding with SDTs, etc.
 2020-04-22      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50 $175.00     0.00    $0.00     100.00% Discovery Related
                                 TLO search of George's employees
 2020-04-22      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00     0.10   $17.50       0.00% In House Conference
                                 email(s) from JS re: RFAs to name plaintiffs
 2020-04-22      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00     0.00    $0.00     100.00% Opposing Counsel Communication
                                 email(s) from oc re: RFAs in Word
 2020-04-22      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from SR re: formatting RFAs
 2020-04-22      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00     0.10   $17.50       0.00% In House Conference
                                 email(s) from TF re: RFAs and deadline
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                                                                                     Actual Actual            Time   Amount
Date Billed on      Billed By                       Description                                      Rate                    % Reduction          Category
                                                                                     Time Charge            Claimed Claimed
 2020-04-22      Lydia H. Hamlet Receive, read and prepare response to                  0.10 $17.50 $175.00     0.10  $17.50       0.00% Opposing Counsel Communication
                                 email(s) from oc re: second set of RFAs to
                                 Rodriguez and Davidson
 2020-04-22      Josh Sanford    Receive, read and prepare response to                 0.10   $30.00 $300.00    0.10   $30.00       0.00% Opposing Counsel Communication
                                 email(s) from OC: RFAs
 2020-04-22      Lydia H. Hamlet Receive, read and prepare response to                 0.10   $17.50 $175.00    0.10   $17.50       0.00% In House Conference
                                 email(s) from SR re: letter in response to oc
 2020-04-22      Lydia H. Hamlet Receive, read and prepare response to                 0.10   $17.50 $175.00    0.00    $0.00     100.00% Case Management
                                 email(s) from TF re: TLO'd information re:
                                 George's employees/former employees- save
                                 information to file
 2020-04-22      Lydia H. Hamlet Receive, read and prepare response to                 0.10   $17.50 $175.00    0.00    $0.00     100.00% In House Conference
                                 email(s) from SR re: SDTs to George's
                                 employees, etc.
 2020-04-22      Lydia H. Hamlet Telephone Conference(s) with JS re: contact           0.20   $35.00 $175.00    0.00    $0.00     100.00% In House Conference
                                 information for individuals - plan re: same
                                 (notes to file)
 2020-04-22      Lydia H. Hamlet Telephone Conference(s) with JS re: employee          0.10   $17.50 $175.00    0.00    $0.00     100.00% In House Conference
                                 depositions, additional contact information

 2020-04-22      Lydia H. Hamlet Telephone Conference(s) with TF re: TLO               0.10   $17.50 $175.00    0.00    $0.00     100.00% Case Management
                                 search of George's employees
 2020-04-22      Lydia H. Hamlet Telephone Conference(s) with SR re:                   0.30   $52.50 $175.00    0.00    $0.00     100.00% In House Conference
                                 SDTs/calls to George's employees, questions
                                 for same, etc. (notes following)
 2020-04-22      Steve Rauls     Email exchange with LH regarding efforts to           0.40   $70.00 $175.00    0.00    $0.00     100.00% In House Conference
                                 obtain text messages from former employees
                                 identified by opposing counsel; follow up by
                                 phone
 2020-04-22      Staff           Receipt and review of Second RFA from                 0.10    $2.50   $25.00   0.10    $2.50       0.00% Case Management
                                 Defendant; save in file; update Pipefy
 2020-04-22      Lydia H. Hamlet Receipt and review of final draft of letter to oc     0.10   $17.50 $175.00    0.00    $0.00     100.00% Opposing Counsel Communication
                                 supplementing damages
 2020-04-22      Lydia H. Hamlet Receipt and review of revised damages                 0.10   $17.50 $175.00    0.00    $0.00     100.00% Damages Calculations
                                 calculations provided to oc
 2020-04-22      Lydia H. Hamlet Receipt and review of IOM re: deadline to             0.10   $17.50 $175.00    0.00    $0.00     100.00% Case Management
                                 respond to RFAs
 2020-04-22      Lydia H. Hamlet Receipt and review of IOM re: case deadlines          0.10   $17.50 $175.00    0.00    $0.00     100.00% Case Management
 2020-04-22      Lydia H. Hamlet Receipt and initial review of RFAs to                 0.10   $17.50 $175.00    0.10   $17.50       0.00% Discovery Related
                                 Rodriguez
 2020-04-22      Lydia H. Hamlet Receipt and review of RFAs to Davidson                0.10   $17.50 $175.00    0.10   $17.50       0.00% Discovery Related
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                                                                                     Actual Actual            Time   Amount
Date Billed on      Billed By                       Description                                      Rate                    % Reduction         Category
                                                                                     Time Charge            Claimed Claimed
 2020-04-22      Josh Sanford      Preparation and drafting of IOM: RFA                 0.10 $30.00 $300.00     0.10  $30.00       0.00% Case Management
                                   responses
 2020-04-22      Lydia H. Hamlet   Work on Client's file: additional                   0.10   $17.50 $175.00     0.00    $0.00    100.00% Case Management
                                   calendaring/reminders re: deadline to respond
                                   to RFAs
 2020-04-22      Staff             Work on Client's file: TLO search addresses         0.10    $2.50    $25.00   0.10    $2.50      0.00% Discovery Related
                                   from Defendant; email LH
 2020-04-22      Lydia H. Hamlet   Work on Client's file: review ARPC 4.2              0.10   $17.50 $175.00     0.10   $17.50      0.00% Discovery Related
 2020-04-23      Lydia H. Hamlet   Work on Client's file: JS office to call former     0.10   $17.50 $175.00     0.00    $0.00    100.00% Case Management
                                   employees/reschedule
 2020-04-23      Staff             Work on Client's file: formatting 2 RFA             0.70   $17.50    $25.00   0.70   $17.50      0.00% Discovery Related
                                   documents, save to file and email LH: re:
                                   same
 2020-04-23      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
                                   email(s) from JS re: calls to Rodriguez
                                   Plaintiffs
 2020-04-23      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00     0.10   $17.50      0.00% Opposing Counsel Communication
                                   email(s) from oc re: 4.2 protection
 2020-04-23      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00     0.00    $0.00    100.00% Case Management
                                   email(s) from So re: RFAs formatting
 2020-04-23      Josh Sanford      Receive, read and prepare response to               0.10   $30.00 $300.00     0.00    $0.00    100.00% Case Management
                                   email(s) from
 2020-04-23      Lydia H. Hamlet   Compose, prepare and send correspondence to         0.10   $17.50 $175.00     0.10   $17.50      0.00% In House Conference
                                   JS re: calling former employees re: records
 2020-04-23      Lydia H. Hamlet   Compose, prepare and send correspondence to         0.10   $17.50 $175.00     0.10   $17.50      0.00% In House Conference
                                   JS re: calls to former employees
 2020-04-23      Josh Sanford      Receive, read and prepare response to               0.10   $30.00 $300.00     0.00    $0.00    100.00% In House Conference
                                   email(s) from LH: calls with witnesses
 2020-04-23      Josh Sanford      Conference with LH: call with witnesses             0.10   $30.00   $300.00   0.00    $0.00    100.00%   In House Conference
 2020-04-23      Josh Sanford      Examination of email from OC                        0.10   $30.00   $300.00   0.00    $0.00    100.00%   Opposing Counsel Communication
 2020-04-24      Josh Sanford      Examination of IOM: info for S. Hughes              0.10   $30.00   $300.00   0.00    $0.00    100.00%   Case Management
 2020-04-24      Lydia H. Hamlet   Conference with JS re: calls to employees,          0.40   $70.00   $175.00   0.00    $0.00    100.00%   In House Conference
                                   SDTS, discovery supplements, etc. (notes
                                   following)
 2020-04-24      Josh Sanford      Conference with LH: calls to witnesses              0.20   $60.00 $300.00     0.00    $0.00    100.00% In House Conference
 2020-04-24      Josh Sanford      Conference with LH: call with Ms. Hughes            0.10   $30.00 $300.00     0.00    $0.00    100.00% In House Conference
 2020-04-24      Lydia H. Hamlet   Compose, prepare and send correspondence to         0.10   $17.50 $175.00     0.10   $17.50      0.00% Case Management
                                   TF re: additional TLO of Steven Hughes
 2020-04-24      Lydia H. Hamlet   Compose, prepare and send correspondence to         0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
                                   JS re: another possible number for Hughes;
                                   save information to file
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                                                                                  Actual Actual               Time   Amount
Date Billed on      Billed By                      Description                                      Rate                      % Reduction           Category
                                                                                  Time Charge               Claimed Claimed
 2020-04-24      Lydia H. Hamlet   Compose, prepare and send correspondence to       0.10 $17.50    $175.00     0.00    $0.00     100.00% Discovery Related
                                   Barry Wilkins - text
 2020-04-24      Lydia H. Hamlet   Compose, prepare and send correspondence to       0.10 $17.50    $175.00    0.00     $0.00      100.00% Discovery Related
                                   Sandro Julio - FB message
 2020-04-24      Lydia H. Hamlet   Compose, prepare and send correspondence to       0.10 $17.50    $175.00    0.00     $0.00      100.00% Discovery Related
                                   - Barry Wilkins - text
 2020-04-24      Lydia H. Hamlet   Receive, read and prepare response to             0.10 $17.50    $175.00    0.00     $0.00      100.00% Case Management
                                   email(s) from TF re: another possible number
                                   for Steven Hughes
 2020-04-24      Lydia H. Hamlet   Telephone Conference(s) with- attempt to call     0.10 $17.50    $175.00    0.00     $0.00      100.00% Discovery Related
                                   Sandro Julio
 2020-04-24      Lydia H. Hamlet   Telephone Conference(s) with - attempt tp ca;     0.10 $17.50    $175.00    0.00     $0.00      100.00% Discovery Related
                                   Barry Wilkins
 2020-04-24      Lydia H. Hamlet   Telephone Conference(s) with - attempt to         0.10 $17.50    $175.00    0.00     $0.00      100.00% Discovery Related
                                   call Steven Hughes
 2020-04-24      Lydia H. Hamlet   Telephone Conference(s) with JS re: call from     0.10 $17.50    $175.00    0.00     $0.00      100.00% In House Conference
                                   Robin (Hughes)
 2020-04-24      Josh Sanford      Telephone Conference(s) with Robin Hughes         0.10 $30.00    $300.00    0.00     $0.00      100.00% Discovery Related
                                   (wife of Steven)
 2020-04-26      Josh Sanford      Examination of IOM: witness phone number          0.10 $30.00    $300.00    0.00     $0.00      100.00% Case Management
 2020-04-27      Lydia H. Hamlet   Work on Client's file re: RFAs                    1.00 $175.00   $175.00    1.00   $175.00        0.00% Discovery Related
 2020-04-27      Josh Sanford      Preparation and drafting of IOM: witness          0.10 $30.00    $300.00    0.10    $30.00        0.00% Case Management
                                   contact
 2020-04-27      Steve Rauls       Receipt and review of phone records from          0.30 $52.50    $175.00    0.30    $52.50        0.00% Discovery Related
                                   Sprint in response to subpoena; follow up with
                                   LH regarding production to opposing counsel

 2020-04-27      Lydia H. Hamlet Receipt and review of information/documents       1.00 $175.00 $175.00        1.00   $175.00        0.00% Discovery Related
                                 from Sprint; save all to file

 2020-04-27      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00       0.10    $17.50        0.00% In House Conference
                                 email(s) from SR re: email to oc re: text
                                 messages, etc.
 2020-04-27      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00       0.10    $17.50        0.00% In House Conference
                                 email(s) from JS re: email to oc
 2020-04-27      Lydia H. Hamlet Compose, prepare and send correspondence to       0.40   $70.00 $175.00       0.40    $70.00        0.00% Opposing Counsel Communication
                                 OC RE: STATUS OF SPRINT SUBPOENAS; save
                                 text message to Wilkins and FB message to
                                 Sandro Julio to file
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                                                                              Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                 Rate                     % Reduction         Category
                                                                              Time Charge            Claimed Claimed
 2020-04-27      Lydia H. Hamlet Compose, prepare and send correspondence to     0.10 $17.50 $175.00     0.00    $0.00     100.00% Case Management
                                 Barnett re: status of second SDT for service

 2020-04-27      Lydia H. Hamlet Compose, prepare and send correspondence to      0.00    $0.00 $175.00   0.00     $0.00   #DIV/0! In House Conference
                                 Client SR/JS re: correspondence to oc/Sprint
                                 records
 2020-04-27      Lydia H. Hamlet Compose, prepare and send correspondence to      0.30   $52.50 $175.00   0.00     $0.00   100.00% Opposing Counsel Communication
                                 oc re: Sprint records/status
 2020-04-27      Lydia H. Hamlet Compose, prepare and send correspondence to      0.30   $52.50 $175.00   0.00     $0.00   100.00% Opposing Counsel Communication
                                 oc re: SDTs, records, etc.
 2020-04-27      Lydia H. Hamlet Receive, read and prepare response to text       0.10   $17.50 $175.00   0.00     $0.00   100.00% Case Management
                                 from Barnett re: status of service
 2020-04-27      Lydia H. Hamlet Receive, read and prepare response to            0.10   $17.50 $175.00   0.00     $0.00   100.00% In House Conference
                                 email(s) from JS re: calling Steven Hughes at
                                 alternate number
 2020-04-27      Lydia H. Hamlet Telephone Conference(s) with GE re: TLOs to      0.10   $17.50 $175.00   0.00     $0.00   100.00% Case Management
                                 Rsvl
 2020-04-27      Josh Sanford    Examination of Intra-office memo regarding       0.10   $30.00 $300.00   0.00     $0.00   100.00% Case Management
                                 case events and deadlines
 2020-04-27      Josh Sanford    Conference with LH: email to OCs/texts           0.10   $30.00 $300.00   0.00     $0.00   100.00% In House Conference
 2020-04-27      Steve Rauls     Conferences with LH and JS regarding             0.20   $35.00 $175.00   0.00     $0.00   100.00% In House Conference
                                 deadlines this week and progress on
                                 subpoenas
 2020-04-27      Josh Sanford    Conference with SR: answering RFAs               0.10   $30.00 $300.00   0.10    $30.00     0.00% In House Conference
 2020-04-27      Sean Short      Conference with AR, LH, SR and MQ regarding      0.10   $17.50 $175.00   0.00     $0.00   100.00% In House Conference
                                 case status.
 2020-04-27      Lydia H. Hamlet Conference with SR re: Sprint records/email to   0.10   $17.50 $175.00   0.00     $0.00   100.00% In House Conference
                                 oc
 2020-04-27      Lydia H. Hamlet Conference with JS re: Sprint records            0.10   $17.50 $175.00   0.00     $0.00   100.00% In House Conference
 2020-04-27      Lydia H. Hamlet Conference with SR re: status report to oc re:   0.10   $17.50 $175.00   0.00     $0.00   100.00% In House Conference
                                 texts
 2020-04-27      Josh Sanford    Editing and revision of letter to OC             0.10 $30.00 $300.00     0.10    $30.00     0.00% Opposing Counsel Communication
 2020-04-27      Josh Sanford    Examination of email to OC                       0.10 $30.00 $300.00     0.00     $0.00   100.00% Opposing Counsel Communication
 2020-04-28      Steve Rauls     Examination of phone records provided by         1.60 $280.00 $175.00    0.00     $0.00   100.00% Discovery Related
                                 Sprint to determine likely phone numbers of
                                 George's employees; follow up with LH and
                                 staff
 2020-04-28      Steve Rauls     Examination of second set of RFAs to             0.70 $122.50 $175.00    0.70   $122.50     0.00% Discovery Related
                                 Rodriguez and Davidson; start drafting
                                 Davidson responses
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                                                                                   Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                     Rate                     % Reduction         Category
                                                                                   Time Charge            Claimed Claimed
 2020-04-28      Lydia H. Hamlet Conference with TF re: service of SDTs for           0.10 $17.50 $175.00     0.00    $0.00     100.00% Case Management
                                 depo
 2020-04-28      Josh Sanford    Telephone Conference(s) with LH: depos for          0.20   $60.00 $300.00    0.00     $0.00    100.00% In House Conference
                                 text records
 2020-04-28      Lydia H. Hamlet Telephone Conference(s) with JS re: call to         0.30   $52.50 $175.00    0.00     $0.00    100.00% In House Conference
                                 Steven Hughes, SDTs for deposition on
                                 5/11/2020/Professional Reporters (notes
                                 following)
 2020-04-28      Lydia H. Hamlet Telephone Conference(s) with Professional           0.10   $17.50 $175.00    0.00     $0.00    100.00% Case Management
                                 Reporters
 2020-04-28      Lydia H. Hamlet Telephone Conference(s) with JS re: calling         0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                 Hughes
 2020-04-28      Lydia H. Hamlet Telephone Conference(s) with JS re: Steven          0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                 Hughes call
 2020-04-28      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50 $175.00    0.00     $0.00    100.00% Case Management
                                 TF re: reverse number lookup
 2020-04-28      Josh Sanford    Receive, read and prepare response to               0.10   $30.00 $300.00    0.00     $0.00    100.00% In House Conference
                                 email(s) from LH: subpoenas, scheduling
 2020-04-28      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.00     $0.00    100.00% Deposition Related
                                 email(s) from Professional Reporters re: depo
                                 confirmation; forward same to JS/SR
 2020-04-28      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                 email(s) from JS re: SDTs
 2020-04-28      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                 email(s) from SR re: information from client
 2020-04-28      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                 email(s) from SR re: reverse number lookup
 2020-04-28      Lydia H. Hamlet Work on Client's file calendar/IOM depositions      0.20   $35.00 $175.00    0.10    $17.50     50.00% Deposition Related

 2020-04-29      Lydia H. Hamlet Work on Client's file: SDT to Barry Wilkins         0.50   $87.50 $175.00    0.00     $0.00    100.00% Discovery Related
 2020-04-29      Staff           Work on Client's file: TLO search phone             0.50   $12.50 $25.00     0.00     $0.00    100.00% Discovery Related
                                 numbers; email SR
 2020-04-29      Steve Rauls     Preparation and drafting of responses to Def.'s     1.00 $175.00 $175.00     1.00   $175.00      0.00% Discovery Related
                                 second RFAs to Davidson
 2020-04-29      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.10    $17.50      0.00% In House Conference
                                 email(s) from SR re: witnesses supplement
 2020-04-29      Josh Sanford    Receive, read and prepare response to               0.10   $30.00 $300.00    0.00     $0.00    100.00% In House Conference
                                 email(s) from LH: SDT
 2020-04-29      Josh Sanford    Receive, read and prepare response to               0.10   $30.00 $300.00    0.00     $0.00    100.00% In House Conference
                                 email(s) from SR/LH: discovery supplement
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                                                                                 Actual Actual              Time   Amount
Date Billed on      Billed By                     Description                                     Rate                      % Reduction           Category
                                                                                 Time Charge              Claimed Claimed
 2020-04-29      Lydia H. Hamlet   Compose, prepare and send correspondence to      0.50 $87.50   $175.00     0.00    $0.00     100.00% Discovery Related
                                   Barry Wilkins re: subpoena
 2020-04-29      Lydia H. Hamlet   Compose, prepare and send correspondence to      0.10 $17.50   $175.00    0.00     $0.00      100.00% In House Conference
                                   JS/SR re: letter to deponents
 2020-04-29      Lydia H. Hamlet   Compose, prepare and send correspondence to      0.40 $70.00   $175.00    0.40    $70.00        0.00% Opposing Counsel Communication
                                   oc re: supplementing discovery responses -
                                   adding witnesses; review discovery responses;
                                   email JS and SR re: same
 2020-04-29      Lydia H. Hamlet   Compose, prepare and send correspondence to      0.10 $17.50   $175.00    0.00     $0.00      100.00% In House Conference
                                   JS/SR re: subpoena language
 2020-04-29      Steve Rauls       Telephone Conference(s) with LH regarding        0.10 $17.50   $175.00    0.10    $17.50        0.00% In House Conference
                                   RFA responses
 2020-04-29      Lydia H. Hamlet   Telephone Conference(s) with SR re:              0.10 $17.50   $175.00    0.00     $0.00      100.00% In House Conference
                                   responses to RFAs
 2020-04-29      Lydia H. Hamlet   Telephone Conference(s) with SR re:              0.10 $17.50   $175.00    0.00     $0.00      100.00% In House Conference
                                   responses to RFAs
 2020-04-29      Josh Sanford      Editing and revision of letter to accompany      0.10 $30.00   $300.00    0.00     $0.00      100.00% Discovery Related
                                   subpoena
 2020-04-29      Steve Rauls       Examination of spreadsheet created by staff      0.30 $52.50   $175.00    0.00     $0.00      100.00% Discovery Related
                                   from Rodriguez phone records
 2020-04-29      Josh Sanford      Examination of discovery support                 0.10 $30.00   $300.00    0.00     $0.00      100.00%   Discovery Related
 2020-04-30      Josh Sanford      Examination of SDTs and emails to OC             0.10 $30.00   $300.00    0.00     $0.00      100.00%   Discovery Related
 2020-04-30      Josh Sanford      Examination of IOMS: SDT, NODs                   0.10 $30.00   $300.00    0.00     $0.00      100.00%   Case Management
 2020-04-30      Lydia H. Hamlet   Editing and revision of Wilkins letter           0.10 $17.50   $175.00    0.00     $0.00      100.00%   Discovery Related
 2020-04-30      Lydia H. Hamlet   Conferences with JS re: subpoenas, witness       0.20 $35.00   $175.00    0.00     $0.00      100.00%   In House Conference
                                   and mileage fees
 2020-04-30      Josh Sanford      Conference with LH: subpoenas                    0.10 $30.00   $300.00    0.00     $0.00      100.00% In House Conference
 2020-04-30      Lydia H. Hamlet   Telephone Conference(s) with SR re:              0.10 $17.50   $175.00    0.10    $17.50        0.00% In House Conference
                                   Rodriguez responses to RFAs
 2020-04-30      Lydia H. Hamlet   Telephone Conference(s) with SR re:              0.10 $17.50   $175.00    0.00     $0.00      100.00% In House Conference
                                   subpoenas and notices
 2020-04-30      Lydia H. Hamlet   Telephone Conference(s) with attorney re:        0.10 $17.50   $175.00    0.00     $0.00      100.00% In House Conference
                                   witness and mileage fees/remedies for non-
                                   compliance
 2020-04-30      Lydia H. Hamlet   Telephone Conference(s) with JS re: witness      0.10 $17.50   $175.00    0.00     $0.00      100.00% In House Conference
                                   and mileage fees
 2020-04-30      Lydia H. Hamlet   Compose, prepare and send correspondence to      0.10 $17.50   $175.00    0.00     $0.00      100.00% In House Conference
                                   SR re: notices of deposition/subpoenas
 2020-04-30      Lydia H. Hamlet   Compose, prepare and send correspondence to      0.10 $17.50   $175.00    0.00     $0.00      100.00% In House Conference
                                   SR re: correspondence to oc
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                                                                                  Actual Actual               Time   Amount
Date Billed on      Billed By                      Description                                      Rate                      % Reduction          Category
                                                                                  Time Charge               Claimed Claimed
 2020-04-30      Lydia H. Hamlet   Compose, prepare and send correspondence to       0.10 $17.50    $175.00     0.00    $0.00     100.00% Opposing Counsel Communication
                                   oc re: notices, subpoenas, and disclosures
                                   supplement
 2020-04-30      Lydia H. Hamlet   Compose, prepare and send correspondence to       0.30 $52.50    $175.00    0.00    $0.00      100.00% Case Management
                                   TF re: subpoenas for
                                   deposition/service/witness and mileage fees
 2020-04-30      Lydia H. Hamlet   Receive, read and prepare response to             0.10 $17.50    $175.00    0.00    $0.00      100.00% In House Conference
                                   email(s) from JS re: subpoena language
 2020-04-30      Lydia H. Hamlet   Receive, read and prepare response to             0.10 $17.50    $175.00    0.10   $17.50        0.00% In House Conference
                                   email(s) from JS re: supplementation
                                   language
 2020-04-30      Lydia H. Hamlet   Receive, read and prepare response to             0.10 $17.50    $175.00    0.00    $0.00      100.00% In House Conference
                                   email(s) from JS re: letter to deponent
 2020-04-30      Lydia H. Hamlet   Receive, read and prepare response to             0.10 $17.50    $175.00    0.00    $0.00      100.00% In House Conference
                                   email(s) from SR re: subpoenas
 2020-04-30      Steve Rauls       Receive, read and prepare response to             0.20 $35.00    $175.00    0.00    $0.00      100.00% In House Conference
                                   email(s) from JS regarding subpoenas for text
                                   messages; follow up by phone with LH
 2020-04-30      Lydia H. Hamlet   Receipt and review of edited letter to            0.10 $17.50    $175.00    0.00    $0.00      100.00% Discovery Related
                                   deponent; edit and save same
 2020-04-30      Lydia H. Hamlet   Work on Client's file: prepare notices,           0.40 $70.00    $175.00    0.00    $0.00      100.00% Discovery Related
                                   subpoenas, correspondence for service -
                                   deponents and oc
 2020-04-30      Lydia H. Hamlet   Work on Client's file: witness and mileage        0.30 $52.50    $175.00    0.00    $0.00      100.00% Discovery Related
                                   fees
 2020-04-30      Lydia H. Hamlet   Work on Client's file: Rodriguez responses to     0.10 $17.50    $175.00    0.00    $0.00      100.00% Discovery Related
                                   RFAs
 2020-04-30      Lydia H. Hamlet   Work on Client's file: drafting subpoenas for     2.40 $420.00   $175.00    0.00    $0.00      100.00% Discovery Related
                                   and notices of deposition and related
                                   correspondence to deponents
 2020-04-30      Lydia H. Hamlet   Work on Client's file re: letter supplementing    0.20 $35.00    $175.00    0.20   $35.00        0.00% Discovery Related
                                   disclosures; email from JS/SR re: same
 2020-04-30      Lydia H. Hamlet   Work on Client's file: witness and mileage        0.10 $17.50    $175.00    0.00    $0.00      100.00% Discovery Related
                                   fees
 2020-04-30      Lydia H. Hamlet   Work on Client's file:                            0.30 $52.50    $175.00    0.00    $0.00      100.00% Discovery Related
                                   subpoenas/corresponding letter- Barry Wilkins

 2020-05-01      Josh Sanford      Preparation and drafting of IOM: withdrawal     0.10   $30.00 $300.00       0.00    $0.00      100.00% Case Management
                                   of subpoenas
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                    Rate                     % Reduction          Category
                                                                                  Time Charge            Claimed Claimed
 2020-05-01      Steve Rauls       Receipt and review of email from opposing         0.20 $35.00 $175.00     0.00    $0.00     100.00% Opposing Counsel Communication
                                   counsel regarding third-party subpoenas;
                                   discuss response with LH
 2020-05-01      Lydia H. Hamlet   Receipt and review of reverse number lookup      0.10   $17.50 $175.00    0.00    $0.00      100.00% Discovery Related
                                   spreadsheet
 2020-05-01      Josh Sanford      Receive, read and prepare response to            0.10   $30.00 $300.00    0.00    $0.00      100.00% Opposing Counsel Communication
                                   email(s) from OC: withdrawal of subpoenas
 2020-05-01      Lydia H. Hamlet   Receive, read and prepare response to            0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                   email(s) from JS re: withdrawing subpoenas
 2020-05-01      Lydia H. Hamlet   Receive, read and prepare response to            0.10   $17.50 $175.00    0.00    $0.00      100.00% Opposing Counsel Communication
                                   email(s) from oc re: subpoenas
 2020-05-01      Lydia H. Hamlet   Receive, read and prepare response to            0.10   $17.50 $175.00    0.00    $0.00      100.00% Opposing Counsel Communication
                                   email(s) from JS re: withdrawing subpoenas
 2020-05-01      Lydia H. Hamlet   Receive, read and prepare response to            0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                   email(s) from JS/TF re: withdrawing
                                   subpoenas
 2020-05-01      Lydia H. Hamlet   Receive, read and prepare response to            0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                   email(s) from JS re: notices of deposition
 2020-05-01      Lydia H. Hamlet   Receive, read and prepare response to            0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                   email(s) from SR re: notices/subpoenas
 2020-05-01      Lydia H. Hamlet   Receive, read and prepare response to            0.10   $17.50 $175.00    0.00    $0.00      100.00% Opposing Counsel Communication
                                   email(s) from oc re: moving to quash
                                   subpoenas
 2020-05-01      Lydia H. Hamlet   Receive, read and prepare response to            0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                   email(s) from SR re: oc's motion to quash
 2020-05-01      Lydia H. Hamlet   Compose, prepare and send correspondence to      0.10   $17.50 $175.00    0.00    $0.00      100.00% Opposing Counsel Communication
                                   oc re: withdrawing subpoenas
 2020-05-01      Lydia H. Hamlet   Telephone Conference(s) with SR re:              0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                   subpoenas
 2020-05-01      Lydia H. Hamlet   Telephone Conference(s) with TF re: reverse      0.10   $17.50 $175.00    0.00    $0.00      100.00% Case Management
                                   number lookup
 2020-05-01      Lydia H. Hamlet   Telephone Conference(s) with SR re: email        0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                   from oc re: subpoenas
 2020-05-01      Steve Rauls       Perform legal research regarding rules           0.40   $70.00 $175.00    0.00    $0.00      100.00% Discovery Related
                                   surrounding third-party depositions
 2020-05-01      Josh Sanford      Examination of Intra-office memo regarding       0.10   $30.00 $300.00    0.00    $0.00      100.00% Case Management
                                   case events and deadlines
 2020-05-01      Josh Sanford      Conference with LH: Response to OC               0.10   $30.00 $300.00    0.00    $0.00      100.00% In House Conference
 2020-05-01      Lydia H. Hamlet   Conference with JS re: withdrawing subpoenas     0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference

 2020-05-01      Lydia H. Hamlet Conference with SS re: subpoenas                   0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
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                                                                                    Actual Actual            Time   Amount
Date Billed on      Billed By                       Description                                     Rate                    % Reduction           Category
                                                                                    Time Charge            Claimed Claimed
 2020-05-01      Josh Sanford      Conference with SR: damages, end of                 0.10 $30.00 $300.00     0.10  $30.00       0.00% In House Conference
                                   discovery
 2020-05-01      Josh Sanford      Conference with LH: depositions                    0.10   $30.00   $300.00   0.10    $30.00      0.00%   In House Conference
 2020-05-01      Josh Sanford      Examination of OC email                            0.10   $30.00   $300.00   0.00     $0.00    100.00%   Opposing Counsel Communication
 2020-05-01      Josh Sanford      Examination of email to OC                         0.10   $30.00   $300.00   0.00     $0.00    100.00%   Opposing Counsel Communication
 2020-05-04      Lydia H. Hamlet   Work on Client's file: finalize Rodriguez and      0.20   $35.00   $175.00   0.20    $35.00      0.00%   Discovery Related
                                   Davidson responses to RFAs; email SR re:
                                   same
 2020-05-04      Lydia H. Hamlet   Work on Client's file: responses to second set     1.50 $262.50 $175.00      1.50   $262.50      0.00% Discovery Related
                                   of RFAs; conference with JS re: same
 2020-05-04      Lydia H. Hamlet   Telephone Conference(s) with JS re: responses      0.10   $17.50 $175.00     0.10    $17.50      0.00% In House Conference
                                   to RFAs
 2020-05-04      Josh Sanford      Editing and revision of discovery (RFA)            0.10   $30.00 $300.00     0.10    $30.00      0.00% Discovery Related
                                   responses
 2020-05-04      Lydia H. Hamlet   Conference with SR/team re: case deadlines         0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
 2020-05-04      Josh Sanford      Conference with LH: discovery responses            0.10   $30.00 $300.00     0.00     $0.00    100.00% In House Conference
 2020-05-05      Steve Rauls       Final review of Rodriguez and Davidson RFA         0.30   $52.50 $175.00     0.30    $52.50      0.00% Discovery Related
                                   responses; follow up with LH
 2020-05-05      Josh Sanford      Examination of transmittal of discovery            0.10   $30.00 $300.00     0.00     $0.00    100.00% Opposing Counsel Communication
                                   response to OC
 2020-05-05      Lydia H. Hamlet                                                      0.10   $17.50   $175.00   0.10    $17.50      0.00%   Client Communication
 2020-05-05      Lydia H. Hamlet                                                      0.10   $17.50   $175.00   0.10    $17.50      0.00%   Client Communication
 2020-05-05      Lydia H. Hamlet                                                      0.10   $17.50   $175.00   0.10    $17.50      0.00%   Client Communication
 2020-05-05      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50   $175.00   0.00     $0.00    100.00%   In House Conference
                                 email(s) from SR re: responses to RFAs
 2020-05-05      Lydia H. Hamlet Work on Client's file: prepare responses to          0.60 $105.00 $175.00      0.60   $105.00      0.00% Discovery Related
                                 RFAs for service; final review of same
 2020-05-05      Lydia H. Hamlet Work on Client's file: deliver RFAs for mailing      0.10   $17.50 $175.00     0.00     $0.00    100.00% Case Management
 2020-05-07      Lydia H. Hamlet Work on Client's file re: settlement                 0.10   $17.50 $175.00     0.10    $17.50      0.00% Settlement Related
                                 conference, etc.
 2020-05-07      Lydia H. Hamlet Receipt and review of IOMs re: case                  0.10   $17.50 $175.00     0.10    $17.50      0.00% Case Management
                                 deadlines/motions, depositions
 2020-05-08      Steve Rauls     Receipt and review of email from opposing            0.20   $35.00 $175.00     0.20    $35.00      0.00% Opposing Counsel Communication
                                 counsel with supplemental discovery
                                 documents; save in file
 2020-05-08      Lydia H. Hamlet Work on Client's file- notes to file re:             0.10   $17.50 $175.00     0.10    $17.50      0.00% Discovery Related
                                 plaintiff's efforts to retrieve text messages
 2020-05-08      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00     0.00     $0.00    100.00% Discovery Related
                                 email(s) from Professional Reporters re:
                                 reservation
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                    Rate                    % Reduction           Category
                                                                                  Time Charge            Claimed Claimed
 2020-05-08      Lydia H. Hamlet Receive, read and prepare response to               0.10 $17.50 $175.00     0.10  $17.50       0.00% Discovery Related
                                 email(s) from Professional Reporters
                                 confirming cancellation
 2020-05-08      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                 email(s) from JS re: professional reporters
 2020-05-08      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                 email(s) from JS re; professional reporters
                                 reservation
 2020-05-08      Lydia H. Hamlet Telephone Conference(s) with Professional          0.10   $17.50 $175.00    0.10   $17.50        0.00% Discovery Related
                                 Reporters re: cancelling reservation
 2020-05-08      Josh Sanford    Examination of OC email                            0.10   $30.00 $300.00    0.00    $0.00      100.00% Opposing Counsel Communication
 2020-05-08      Josh Sanford    Examination of IOMS: docs from client              0.10   $30.00 $300.00    0.10   $30.00        0.00% Case Management
 2020-05-11      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.10   $17.50        0.00% Opposing Counsel Communication
                                 email(s) from oc re: supplemental discovery
                                 responses
 2020-05-11      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                 email(s) from SR re: Def's supplements- two
                                 write-ups by client
 2020-05-11      Lydia H. Hamlet Telephone Conference(s) with SR re:                0.10   $17.50 $175.00    0.10   $17.50        0.00% In House Conference
                                 subpoenas/motion for negative inference
 2020-05-11      Lydia H. Hamlet                                                    0.10   $17.50 $175.00    0.10   $17.50        0.00% Client Communication
 2020-05-11      Lydia H. Hamlet Receipt and review of Def's supplemental           0.10   $17.50 $175.00    0.10   $17.50        0.00% Discovery Related
                                 docs
 2020-05-13      Josh Sanford    Examination of IOM: case management                0.10   $30.00 $300.00    0.00    $0.00      100.00% Case Management
 2020-05-13      Steve Rauls     Receive, read and prepare response to              0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                 email(s) from JS regarding motion strategy
 2020-05-13      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                 email(s) from JS re: MSJ
 2020-05-13      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.10   $17.50        0.00% In House Conference
                                 email(s) from SR re: MSJs/motion to decertify

 2020-05-13      Josh Sanford    Receive, read and prepare response to              0.10   $30.00 $300.00    0.00    $0.00      100.00% In House Conference
                                 email(s) from SR/LH: motion strategy
 2020-05-14      Josh Sanford    Discussion of case status and directing case       0.10   $30.00 $300.00    0.10   $30.00        0.00% In House Conference
                                 strategy to Attorney SR
 2020-05-14      Josh Sanford    Preparation and drafting of IOM: RESPONSE          0.10   $30.00 $300.00    0.00    $0.00      100.00% Case Management
 2020-05-14      Steve Rauls     Receipt and review of Def.'s motion for            0.50   $87.50 $175.00    0.50   $87.50        0.00% Summary Judgment
                                 summary judgment and brief
 2020-05-14      Staff           Receipt and review of Def's MSJ; save in file;     0.10    $2.50   $25.00   0.10    $2.50        0.00% Summary Judgment
                                 calendar response
 2020-05-14      Lydia H. Hamlet Receipt and initial review of MSJ                  0.10   $17.50 $175.00    0.10   $17.50        0.00% Summary Judgment
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                                                                                    Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                      Rate                    % Reduction        Category
                                                                                    Time Charge            Claimed Claimed
 2020-05-14      Lydia H. Hamlet Receipt and initial review of Def's statement         0.10 $17.50 $175.00     0.10  $17.50       0.00% Summary Judgment
                                 of facts
 2020-05-14      Lydia H. Hamlet Compose, prepare and send correspondence to          0.10   $17.50 $175.00   0.10    $17.50      0.00% In House Conference
                                 SR re: defensive pleadings
 2020-05-14      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00   0.10    $17.50      0.00% Opposing Counsel Communication
                                 email(s) from oc re: documents filed under
                                 seal
 2020-05-14      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00   0.00     $0.00    100.00% In House Conference
                                 email(s) from SR re: documents filed under
                                 seal
 2020-05-14      Josh Sanford    Receive, read and prepare response to                0.10   $30.00 $300.00   0.10    $30.00      0.00% Opposing Counsel Communication
                                 email(s) from OC-SUMF
 2020-05-14      Steve Rauls     Receive, read and prepare response to                0.10   $17.50 $175.00   0.00     $0.00    100.00% In House Conference
                                 email(s) from LH regarding plan for responses
                                 to Def.'s anticipated motions; follow up with
                                 JS
 2020-05-14      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00   0.10    $17.50      0.00% Court Communication
                                 email(s) from court re: filing under seal, etc.;
                                 save same to file
 2020-05-14      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00   0.10    $17.50      0.00% Opposing Counsel Communication
                                 email(s) from oc to court re: dispositive
                                 motions
 2020-05-14      Josh Sanford    Conference with VK: status of briefing               0.10 $30.00 $300.00     0.00     $0.00    100.00%   In House Conference
 2020-05-14      Josh Sanford    Examination of emails with chambers                  0.20 $60.00 $300.00     0.00     $0.00    100.00%   Court Communication
 2020-05-14      Josh Sanford    Examination of IOM: exhibits                         0.10 $30.00 $300.00     0.10    $30.00      0.00%   Case Management
 2020-05-14      Josh Sanford    Examination of MSJ/BIS/SUMF                          0.80 $240.00 $300.00    0.80   $240.00      0.00%   Summary Judgment
 2020-05-14      Josh Sanford    Examination of OC email                              0.10 $30.00 $300.00     0.00     $0.00    100.00%   Opposing Counsel Communication
 2020-05-15      Josh Sanford    Examination of cLERK'S NOTICE                        0.10 $30.00 $300.00     0.00     $0.00    100.00%   Case Management
 2020-05-15      Josh Sanford    Examination of OC email                              0.10 $30.00 $300.00     0.00     $0.00    100.00%   Opposing Counsel Communication
 2020-05-15      Josh Sanford    Examination of motion to decertify, BIS              0.60 $180.00 $300.00    0.60   $180.00      0.00%   Decertification Motion
 2020-05-15      Josh Sanford    Examination of notice of sealed exhibits             0.10 $30.00 $300.00     0.00     $0.00    100.00%   Case Management
 2020-05-15      Josh Sanford    Conference with LH: SUMF response                    0.10 $30.00 $300.00     0.10    $30.00      0.00%   In House Conference
 2020-05-15      Josh Sanford    Conference with LH: responses formation              0.10 $30.00 $300.00     0.00     $0.00    100.00%   In House Conference
 2020-05-15      Lydia H. Hamlet Conference with SS re: motions                       0.10 $17.50 $175.00     0.00     $0.00    100.00%   In House Conference
 2020-05-15      Lydia H. Hamlet Conference with JS re: responses to MSJ and          0.10 $17.50 $175.00     0.00     $0.00    100.00%   In House Conference
                                 motion for decert
 2020-05-15      Josh Sanford    Examination of Intra-office memo regarding           0.10   $30.00 $300.00   0.10    $30.00      0.00% Case Management
                                 case events and deadlines
 2020-05-15      Josh Sanford    Examination of Intra-office memo regarding           0.10   $30.00 $300.00   0.00     $0.00    100.00% Case Management
                                 case events and deadlines
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                                                                                    Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                      Rate                     % Reduction           Category
                                                                                    Time Charge            Claimed Claimed
 2020-05-15      Lydia H. Hamlet Receive, read and prepare response to                 0.10 $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from SR re: documents filed under
                                 seal
 2020-05-15      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.00     $0.00     100.00% Case Management
                                 email(s) from Gov re: SUMF
 2020-05-15      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from SR re: SUMF
 2020-05-15      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from JS re: SUMF
 2020-05-15      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.10   $17.50        0.00% In House Conference
                                 email(s) from SR re: response to SUMF
 2020-05-15      Josh Sanford    Receive, read and prepare response to                0.10   $30.00 $300.00    0.10   $30.00        0.00% Opposing Counsel Communication
                                 email(s) from OCs
 2020-05-15      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.10   $17.50        0.00% Case Management
                                 email(s) from clerk re: filed/filing documents
                                 under seal
 2020-05-15      Lydia H. Hamlet Compose, prepare and send correspondence to          0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 SR re: SUMF
 2020-05-15      Lydia H. Hamlet Telephone Conference(s) with JS re: response         0.20   $35.00 $175.00    0.20   $35.00        0.00% In House Conference
                                 to MSJ; SUMF (notes following)
 2020-05-15      Steve Rauls     Telephone Conference(s) with paralegal               0.20   $35.00 $175.00    0.20   $35.00        0.00% Case Management
                                 regarding starting response to Def.'s summary
                                 judgment motion; follow up via email

 2020-05-15      Lydia H. Hamlet Telephone Conference(s) with SR re:                  0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 responses to SUMF, SMJ, and motion to
                                 decertify
 2020-05-15      Steve Rauls     Telephone Conference(s) with LH regarding            0.30   $52.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 strategy for summary judgment response;
                                 follow up via email
 2020-05-15      Staff           Receipt and review of Defendant's Motion for         0.10    $2.50   $25.00   0.10     $2.50       0.00% Decertification Motion
                                 Decertification; save in file; calendar response

 2020-05-15      Lydia H. Hamlet Receipt and initial review of documents filed        0.50   $87.50 $175.00    0.50   $87.50        0.00% Summary Judgment
                                 under seal, etc.
 2020-05-15      Lydia H. Hamlet Receipt and initial review of BIS MSJ                0.20   $35.00 $175.00    0.20   $35.00        0.00% Summary Judgment
 2020-05-15      Lydia H. Hamlet Receipt and review of IOM re: response to            0.10   $17.50 $175.00    0.10   $17.50        0.00% Case Management
                                 motion to decertify
 2020-05-15      Lydia H. Hamlet Receipt and initial review of BIS of decert          0.40   $70.00 $175.00    0.40   $70.00        0.00% Summary Judgment
 2020-05-15      Lydia H. Hamlet Receipt and initial review of motion to              0.10   $17.50 $175.00    0.10   $17.50        0.00% Summary Judgment
                                 decertify
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                                                                                    Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                      Rate                     % Reduction         Category
                                                                                    Time Charge            Claimed Claimed
 2020-05-15      Lydia H. Hamlet Receipt and review of IOM re: response to             0.10 $17.50 $175.00     0.00    $0.00     100.00% Case Management
                                 MSJ
 2020-05-15      Lydia H. Hamlet Receipt and review of IOM re: responses to           0.10   $17.50 $175.00     0.00     $0.00   100.00% Case Management
                                 RFAs
 2020-05-15      Josh Sanford    Preparation and drafting of IOM: SUMF                0.10   $30.00 $300.00     0.10    $30.00     0.00% Case Management
                                 response
 2020-05-15      Josh Sanford    Preparation and drafting of IOM: response            0.10   $30.00 $300.00     0.10    $30.00     0.00% Case Management
 2020-05-15      Staff           Preparation and Drafting of Answer to                0.50   $12.50 $25.00      0.50    $12.50     0.00% Summary Judgment
                                 Defendants' Statement of facts
 2020-05-18      Sean Short      Conference with SR, LH, MQ and AR regarding          0.10   $17.50 $175.00     0.00     $0.00   100.00% In House Conference
                                 case status.
 2020-05-18      Lydia H. Hamlet Conference with SS re: deposition transcripts        0.10   $17.50 $175.00     0.00     $0.00   100.00% In House Conference
 2020-05-18      Lydia H. Hamlet Conference with SS re: response to SUMF-             0.10   $17.50 $175.00     0.00     $0.00   100.00% In House Conference
                                 examples
 2020-05-18      Lydia H. Hamlet Work on Client's file: detailed reading of           1.90 $332.50 $175.00      1.90   $332.50     0.00% Summary Judgment
                                 MSJ/otherwise work on response to SUMF
 2020-05-18      Lydia H. Hamlet Work on Client's file: scan and save deposition      0.20   $35.00 $175.00     0.00     $0.00   100.00% Summary Judgment
                                 transcripts to file
 2020-05-18      Lydia H. Hamlet Work on Client's file: response to SUMF              0.20   $35.00 $175.00     0.20    $35.00     0.00% Summary Judgment
 2020-05-19      Lydia H. Hamlet Receipt and review of return of service - Sprint     0.10   $17.50 $175.00     0.10    $17.50     0.00% Discovery Related
                                 - Prentice Hall; save same to file
 2020-05-19      Steve Rauls     Examination of Def.'s motion for                     4.20 $735.00 $175.00      4.20   $735.00     0.00% Decertification Motion
                                 decertification; start drafting response
 2020-05-20      Lydia H. Hamlet Work on Client's file - detailed of                  2.60 $455.00 $175.00      2.60   $455.00     0.00% Summary Judgment
                                 MSJ/otherwise work on response to
                                 SUMF/review deposition transcript -
                                 Rodriguez
 2020-05-20      Lydia H. Hamlet Telephone Conference(s) with JS re: response         0.10   $17.50 $175.00     0.00     $0.00   100.00% In House Conference
                                 to MSJ, client declarations
 2020-05-21      Lydia H. Hamlet Telephone Conference(s) with VK re: MSJ              0.20   $35.00 $175.00     0.20    $35.00     0.00% In House Conference
                                 response
 2020-05-21      Lydia H. Hamlet Work on Client's file re: response to                3.30 $577.50 $175.00      3.30   $577.50     0.00% Summary Judgment
                                 MSJ/client declarations/response to SUMF,
                                 etc.; review deposition transcripts
 2020-05-21      Lydia H. Hamlet Receipt and review of IOM re: responses to           0.10   $17.50 $175.00     0.00     $0.00   100.00% Case Management
                                 MSJ and decert
 2020-05-22      Josh Sanford    Examination of OC emails                             0.20   $60.00   $300.00   0.00     $0.00   100.00%   Opposing Counsel Communication
 2020-05-22      Josh Sanford    Examination of order                                 0.10   $30.00   $300.00   0.10    $30.00     0.00%   Case Management
 2020-05-22      Josh Sanford    Examination of IOM: draft complaint                  0.10   $30.00   $300.00   0.00     $0.00   100.00%   Case Management
 2020-05-22      Josh Sanford    Examination of filed motion                          0.10   $30.00   $300.00   0.00     $0.00   100.00%   Case Management
 2020-05-22      Josh Sanford    Editing and revision of motion for extension         0.20   $60.00   $300.00   0.20    $60.00     0.00%   Summary Judgment
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                     Rate                     % Reduction           Category
                                                                                  Time Charge            Claimed Claimed
 2020-05-22      Lydia H. Hamlet Conference with JS re: extension/emails to oc       0.10 $17.50 $175.00     0.00    $0.00     100.00% In House Conference

 2020-05-22      Josh Sanford    Conference with LH: motion for extension           0.10 $30.00 $300.00       0.00     $0.00    100.00% In House Conference
 2020-05-22      Steve Rauls     Preparation and drafting of response to Def.'s     3.50 $612.50 $175.00      3.50   $612.50      0.00% Decertification Motion
                                 motion to decertify
 2020-05-22      Lydia H. Hamlet Receipt and review of motion granting (and         0.10   $17.50 $175.00     0.10    $17.50      0.00% Case Management
                                 denying in part) plaintiffs' motion for
                                 extension of time to respond
 2020-05-22      Lydia H. Hamlet Receipt and review of file-marked motion for       0.10   $17.50 $175.00     0.00     $0.00    100.00% Case Management
                                 extension of time
 2020-05-22      Lydia H. Hamlet                                                    0.10   $17.50 $175.00     0.10    $17.50      0.00% Client Communication
 2020-05-22      Lydia H. Hamlet Work on Client's file: prepare motion for          0.10   $17.50 $175.00     0.10    $17.50      0.00% Summary Judgment
                                 extensions for filing
 2020-05-22      Lydia H. Hamlet                                                    0.10 $17.50 $175.00       0.10    $17.50      0.00% Client Communication
 2020-05-22      Lydia H. Hamlet Work on Client's file: motion for extension of     1.30 $227.50 $175.00      1.30   $227.50      0.00% Summary Judgment
                                 time to file responses
 2020-05-22      Lydia H. Hamlet Work on Client's file: FILE MOTION FOR             0.10   $17.50 $175.00     0.00     $0.00    100.00% Case Management
                                 EXTENSION OF TIME
 2020-05-22      Lydia H. Hamlet Work on Client's file: RESPONSE TO MSJ             1.20 $210.00 $175.00      1.20   $210.00      0.00%   Summary Judgment
 2020-05-22      Lydia H. Hamlet notes to file re: Rodriguez declaration, etc.      0.20 $35.00 $175.00       0.20    $35.00      0.00%   Summary Judgment
 2020-05-22      Lydia H. Hamlet                                                    0.20 $35.00 $175.00       0.20    $35.00      0.00%   Client Communication
 2020-05-22      Josh Sanford    Telephone Conference(s) with VK: briefing,         0.10 $30.00 $300.00       0.00     $0.00    100.00%   In House Conference
                                 schedule
 2020-05-22      Lydia H. Hamlet Telephone Conference(s) with JS re: motion         0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                 for extension of time to respond
 2020-05-22      Lydia H. Hamlet                                                    0.40   $70.00 $175.00     0.40    $70.00      0.00% Client Communication
 2020-05-22      Lydia H. Hamlet Telephone Conference(s) with VK re: response       0.30   $52.50 $175.00     0.00     $0.00    100.00% In House Conference
                                 to MSJ/SUMF - notes following
 2020-05-22      Lydia H. Hamlet                                                    0.10   $17.50 $175.00     0.10    $17.50      0.00% Client Communication
 2020-05-22      Lydia H. Hamlet                                                    0.10   $17.50 $175.00     0.10    $17.50      0.00% Client Communication
 2020-05-22      Lydia H. Hamlet Telephone Conference(s) with SR re: motion         0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                 for extensions
 2020-05-22      Steve Rauls     Telephone Conference(s) with LH regarding          0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                 responses to Def.'s motions
 2020-05-22      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10    $17.50      0.00%   Client Communication
 2020-05-22      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10    $17.50      0.00%   Client Communication
 2020-05-22      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10    $17.50      0.00%   Client Communication
 2020-05-22      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.00     $0.00    100.00%   Client Communication
 2020-05-22      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50   $175.00   0.00     $0.00    100.00%   In House Conference
                                 email(s) from JS re: motion for extension
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                                                                                   Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                      Rate                     % Reduction           Category
                                                                                   Time Charge            Claimed Claimed
 2020-05-22      Lydia H. Hamlet Receive, read and prepare response to                0.20 $35.00 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from JS re: motion for extensions of
                                 time to respond
 2020-05-22      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from JS re motion for extension of
                                 time to respond
 2020-05-22      Stacy Gibson    Receive, read and prepare response to               0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from SR re: converting opt ins to
                                 named plaintiffs
 2020-05-22      Josh Sanford    Receive, read and prepare response to               0.10   $30.00 $300.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from LH: revised motion for
                                 extension
 2020-05-22      Josh Sanford    Receive, read and prepare response to               0.10   $30.00 $300.00    0.10    $30.00       0.00% In House Conference
                                 email(s) from SR: response to decert motion
 2020-05-22      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50 $175.00    0.10    $17.50       0.00% Opposing Counsel Communication
                                 oc re: Sprint Spectrum records
 2020-05-22      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50 $175.00    0.10    $17.50       0.00% In House Conference
                                 JS re: updating motion for extensions
 2020-05-22      Lydia H. Hamlet                                                     0.10 $17.50    $175.00   0.10    $17.50       0.00%   Client Communication
 2020-05-22      Lydia H. Hamlet                                                     0.10 $17.50    $175.00   0.10    $17.50       0.00%   Client Communication
 2020-05-22      Lydia H. Hamlet                                                     0.10 $17.50    $175.00   0.10    $17.50       0.00%   Client Communication
 2020-05-24      Lydia H. Hamlet Work on Client's file: review depo transcripts      2.20 $385.00   $175.00   2.20   $385.00       0.00%   Summary Judgment
                                 for response to MSJ
 2020-05-26      Josh Sanford    Discussion of case status and directing case        0.10   $30.00 $300.00    0.00     $0.00     100.00% In House Conference
                                 strategy to Attorney SR
 2020-05-26      Josh Sanford    Discussion of case status and directing case        0.10   $30.00 $300.00    0.00     $0.00     100.00% In House Conference
                                 strategy to Attorney MS
 2020-05-26      Lydia H. Hamlet Receipt and review of IOM re: responses to          0.10   $17.50 $175.00    0.00     $0.00     100.00% Case Management
                                 MTD and motion to decertify
 2020-05-26      Steve Rauls     Receipt and review of order on motion for           0.10   $17.50 $175.00    0.10    $17.50       0.00% Case Management
                                 extension of time; follow up with JS and LH
 2020-05-26      Stacy Gibson    Receipt and review of message from JS;              0.30   $52.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 locate case cite for sua sponte addition of opt
                                 ins and email to JS and SR
 2020-05-26      Lydia H. Hamlet Work on Client's file: review deposition            0.10   $17.50 $175.00    0.00     $0.00     100.00% Summary Judgment
                                 transcripts/notes re: same for MSJ response
 2020-05-26      Lydia H. Hamlet Work on Client's file: review deposition            2.50 $437.50 $175.00     2.50   $437.50       0.00% Summary Judgment
                                 transcripts/notes re: same for response to
                                 MSJ, etc.
 2020-05-26      Lydia H. Hamlet IOM re: 6/5/2020 deadline for responses to          0.10   $17.50 $175.00    0.10    $17.50       0.00% Case Management
                                 MSJ and decert
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                                                                                     Actual Actual            Time   Amount
Date Billed on      Billed By                       Description                                      Rate                     % Reduction           Category
                                                                                     Time Charge            Claimed Claimed
 2020-05-26      Josh Sanford      Receive, read and prepare response to                0.10 $30.00 $300.00     0.00    $0.00     100.00% In House Conference
                                   email(s) from CL: filing today
 2020-05-26      Josh Sanford      Receive, read and prepare response to               0.20   $60.00 $300.00     0.20    $60.00      0.00% In House Conference
                                   email(s) from SG/SR: decert issues
 2020-05-26      Lydia H. Hamlet   Compose, prepare and send correspondence to         0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                   VK re: depo notes
 2020-05-26      Lydia H. Hamlet   Compose, prepare and send correspondence to         0.10   $17.50 $175.00     0.10    $17.50      0.00% In House Conference
                                   VK re: defendant's disclosures, etc.
 2020-05-26      Josh Sanford      Examination of IOMS: response to decert             0.10   $30.00 $300.00     0.00     $0.00    100.00% Case Management
 2020-05-26      Josh Sanford      Examination of receipts from clerk                  0.20   $60.00 $300.00     0.20    $60.00      0.00% Case Management
 2020-05-26      Lydia H. Hamlet   Conference with SR re: response to MSJ/Sprint       0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                   Spectrum SDT
 2020-05-26      Josh Sanford      Conference with VK: briefing                        0.10   $30.00 $300.00     0.00     $0.00    100.00% In House Conference
 2020-05-26      Lydia H. Hamlet   Conference with SR/team re: case status             0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
 2020-05-27      Lydia H. Hamlet   Conference with SR re: response to                  0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                   decertification motion
 2020-05-27      Steve Rauls       Conference with law clerk regarding research        0.30   $52.50 $175.00     0.30    $52.50      0.00% Decertification Motion
                                   project for decertification response
 2020-05-27      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00     0.10    $17.50      0.00% In House Conference
                                   email(s) from VK re: information for MSJ
                                   response
 2020-05-27      Lydia H. Hamlet   Work on Client's file: review deposition            0.80 $140.00 $175.00      0.80   $140.00      0.00% Summary Judgment
                                   transcripts re: MSJ response
 2020-05-27      Steve Rauls       Preparation and drafting of response to             1.50 $262.50 $175.00      1.50   $262.50      0.00% Decertification Motion
                                   motion to decertify
 2020-05-28      Steve Rauls       Preparation and drafting of response to             2.70 $472.50 $175.00      2.70   $472.50      0.00% Decertification Motion
                                   decertification motion; send draft to JS and LH
                                   for review
 2020-05-28      Lydia H. Hamlet   Receipt and initial review of draft response to     0.10   $17.50 $175.00     0.00     $0.00    100.00% Decertification Motion
                                   decert motion
 2020-05-28      Lydia H. Hamlet   Work on Client's file: review deposition            0.30   $52.50 $175.00     0.30    $52.50      0.00% Summary Judgment
                                   transcripts for MSJ response
 2020-05-28      Lydia H. Hamlet   Receive, read and prepare response to               0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                   email(s) from SR re: response to motion for
                                   decertification
 2020-05-28      Josh Sanford      Examination of IOM: decert response                 0.10   $30.00   $300.00   0.00     $0.00    100.00%   Case Management
 2020-05-28      Josh Sanford      Editing and revision of response to decert          0.20   $60.00   $300.00   0.20    $60.00      0.00%   Decertification Motion
 2020-05-28      Josh Sanford      Conference with VK: MSJ response briefing           0.20   $60.00   $300.00   0.20    $60.00      0.00%   In House Conference
 2020-05-28      Josh Sanford      Conference with SR: status of decert briefing       0.10   $30.00   $300.00   0.10    $30.00      0.00%   In House Conference
 2020-05-29      Josh Sanford      Editing and revision of response to decert          0.20   $60.00   $300.00   0.20    $60.00      0.00%   Decertification Motion
 2020-05-29      Lydia H. Hamlet                                                       0.10   $17.50   $175.00   0.10    $17.50      0.00%   Client Communication
 2020-05-29      Lydia H. Hamlet                                                       0.10   $17.50   $175.00   0.10    $17.50      0.00%   Client Communication
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                                                                                Actual Actual                Time   Amount
Date Billed on      Billed By                    Description                                     Rate                       % Reduction           Category
                                                                                Time Charge                Claimed Claimed
 2020-05-29      Lydia H. Hamlet                                                   0.10 $17.50   $175.00       0.10  $17.50       0.00%   Client Communication
 2020-05-29      Lydia H. Hamlet                                                   0.10 $17.50   $175.00       0.10  $17.50       0.00%   Client Communication
 2020-05-29      Lydia H. Hamlet                                                   0.10 $17.50   $175.00       0.10  $17.50       0.00%   Client Communication
 2020-05-29      Lydia H. Hamlet                                                   0.10 $17.50   $175.00       0.10  $17.50       0.00%   Client Communication
 2020-05-29      Lydia H. Hamlet Telephone Conference(s) with VK re: MSJ           0.30 $52.50   $175.00       0.30  $52.50       0.00%   In House Conference
                                 response status/information needed/notes
                                 following
 2020-05-29      Lydia H. Hamlet Work on Client's file: information for MSJ       2.30 $402.50 $175.00        2.30   $402.50      0.00% Summary Judgment
                                 response
 2020-05-30      Lydia H. Hamlet                                                  0.10 $17.50    $175.00      0.10    $17.50      0.00%   Client Communication
 2020-05-30      Lydia H. Hamlet                                                  0.10 $17.50    $175.00      0.10    $17.50      0.00%   Client Communication
 2020-05-30      Lydia H. Hamlet                                                  0.10 $17.50    $175.00      0.10    $17.50      0.00%   Client Communication
 2020-05-30      Lydia H. Hamlet                                                  0.10 $17.50    $175.00      0.10    $17.50      0.00%   Client Communication
 2020-05-30      Lydia H. Hamlet                                                  0.10 $17.50    $175.00      0.10    $17.50      0.00%   Client Communication
 2020-05-30      Lydia H. Hamlet                                                  0.10 $17.50    $175.00      0.10    $17.50      0.00%   Client Communication
 2020-05-30      Lydia H. Hamlet                                                  0.20 $35.00    $175.00      0.20    $35.00      0.00%   Client Communication
 2020-05-31      Lydia H. Hamlet Work on Client's file: review alleged            1.30 $227.50   $175.00      1.30   $227.50      0.00%   Summary Judgment
                                 disciplinary actions; email VK re: same,
                                 declarations, etc.
 2020-05-31      Vanessa Kinney work on Dinteru Declaration                       0.70 $157.50 $225.00        0.70   $157.50      0.00% Summary Judgment
 2020-05-31      Vanessa Kinney work on response to motion for summary            2.30 $517.50 $225.00        2.30   $517.50      0.00% Summary Judgment
                                 judgment
 2020-06-01      Lydia H. Hamlet Receipt and review of Dinteru declaration        0.10   $17.50 $175.00       0.10    $17.50      0.00% Summary Judgment
 2020-06-01      Lydia H. Hamlet                                                  0.10   $17.50 $175.00       0.10    $17.50      0.00% Client Communication
 2020-06-01      Lydia H. Hamlet Telephone Conference(s) with VK re: response     0.10   $17.50 $175.00       0.00     $0.00    100.00% In House Conference
                                 status
 2020-06-01      Lydia H. Hamlet                                                  0.10   $17.50 $175.00       0.00     $0.00    100.00% Client Communication
 2020-06-01      Vanessa Kinney Telephone Conference(s) with Josh Sanford re:     0.10   $22.50 $225.00       0.00     $0.00    100.00% In House Conference
                                 response to MSJ status
 2020-06-01      Vanessa Kinney Telephone Conference(s) with Lydia Hamlet         0.10   $22.50 $225.00       0.00     $0.00    100.00% In House Conference
                                 re: update on contacting Plaintiffs and
                                 completing declarations
 2020-06-01      Lydia H. Hamlet Receive, read and prepare response to            0.10   $17.50 $175.00       0.10    $17.50      0.00% In House Conference
                                 email(s) from VK re: Dinteru declaration
 2020-06-01      Lydia H. Hamlet Receive, read and prepare response to            0.10   $17.50 $175.00       0.00     $0.00    100.00% In House Conference
                                 email(s) from VK re: Dinteru declaration
 2020-06-01      Lydia H. Hamlet Receive, read and prepare response to            0.10   $17.50 $175.00       0.00     $0.00    100.00% In House Conference
                                 email(s) from SDG re: discovery status
 2020-06-01      Lydia H. Hamlet                                                  0.10   $17.50 $175.00       0.10    $17.50      0.00% Client Communication
 2020-06-01      Lydia H. Hamlet                                                  0.10   $17.50 $175.00       0.10    $17.50      0.00% Client Communication
 2020-06-01      Lydia H. Hamlet Editing and revision of Dinteru declaration;     0.20   $35.00 $175.00       0.20    $35.00      0.00% Summary Judgment
                                 email SDG re: same
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                                                                                  Actual Actual             Time   Amount
Date Billed on      Billed By                     Description                                      Rate                    % Reduction        Category
                                                                                  Time Charge             Claimed Claimed
 2020-06-01      Vanessa Kinney Editing and revision of declaration of               1.00 $225.00 $225.00     1.00 $225.00       0.00% Summary Judgment
                                 Bradberry and draft declaration of Waldroup
 2020-06-01      Josh Sanford    Conference with VK: status of briefing             0.10   $30.00 $300.00     0.00     $0.00   100.00% In House Conference
 2020-06-01      Lydia H. Hamlet Conference with SR/team re: response to MSJ,       0.10   $17.50 $175.00     0.00     $0.00   100.00% In House Conference
                                 etc.
 2020-06-01      Vanessa Kinney email Lydia Hamlet re: exhibit 20 to Davidson       0.10   $22.50 $225.00     0.00     $0.00   100.00% In House Conference
                                 deposition
 2020-06-01      Vanessa Kinney work on Rodriguez, Davidson and Walker              3.30 $742.50 $225.00      3.30   $742.50     0.00% Summary Judgment
                                 sections of MSJ response briefing
 2020-06-01      Vanessa Kinney work on declaration of Bradberry                    0.40 $90.00 $225.00       0.40    $90.00     0.00% Summary Judgment
 2020-06-01      Vanessa Kinney Work on rodriguez and Davidson declarations         1.60 $360.00 $225.00      1.60   $360.00     0.00% Summary Judgment
                                 and edit bradberry and waldroup declarations
 2020-06-02      Lydia H. Hamlet Conference with SDG re: Dinteru                    0.10   $17.50 $175.00     0.00     $0.00   100.00% In House Conference
 2020-06-02      Steve Rauls     Conference with LH regarding declarations in       0.20   $35.00 $175.00     0.00     $0.00   100.00% In House Conference
                                 support of MSJ response; follow up with
                                 paralegal
 2020-06-02      Lydia H. Hamlet Conference with SR re: declarations, etc.          0.10 $17.50 $175.00       0.00     $0.00   100.00%   In House Conference
 2020-06-02      Vanessa Kinney Editing and revision of Plaintiff declarations      2.60 $585.00 $225.00      2.60   $585.00     0.00%   Summary Judgment
 2020-06-02      Lydia H. Hamlet Editing and revision of declaration- Bradberry     0.20 $35.00 $175.00       0.20    $35.00     0.00%   Summary Judgment
 2020-06-02      Lydia H. Hamlet Compose, prepare and send correspondence to        0.20 $35.00 $175.00       0.20    $35.00     0.00%   In House Conference
                                 VK re: Waldroup, documents from disclosures,
                                 etc.
 2020-06-02      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00     0.00     $0.00   100.00% In House Conference
                                 VK re: Bradberry
 2020-06-02      Lydia H. Hamlet Compose, prepare and send correspondence to        0.10   $17.50 $175.00     0.10    $17.50     0.00% In House Conference
                                 VK re: Walker declaration
 2020-06-02      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10    $17.50     0.00%   Client Communication
 2020-06-02      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10    $17.50     0.00%   Client Communication
 2020-06-02      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10    $17.50     0.00%   Client Communication
 2020-06-02      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10    $17.50     0.00%   Client Communication
 2020-06-02      Lydia H. Hamlet                                                    0.20   $35.00   $175.00   0.20    $35.00     0.00%   Client Communication
 2020-06-02      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10    $17.50     0.00%   Client Communication
 2020-06-02      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10    $17.50     0.00%   Client Communication
 2020-06-02      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10    $17.50     0.00%   Client Communication
 2020-06-02      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10    $17.50     0.00%   Client Communication
 2020-06-02      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10    $17.50     0.00%   Client Communication
 2020-06-02      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10    $17.50     0.00%   Client Communication
 2020-06-02      Lydia H. Hamlet                                                    0.20   $35.00   $175.00   0.20    $35.00     0.00%   Client Communication
 2020-06-02      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10    $17.50     0.00%   Client Communication
 2020-06-02      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10    $17.50     0.00%   Client Communication
 2020-06-02      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10    $17.50     0.00%   Client Communication
 2020-06-02      Lydia H. Hamlet                                                    0.10   $17.50   $175.00   0.10    $17.50     0.00%   Client Communication
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                                                                                   Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                     Rate                    % Reduction           Category
                                                                                   Time Charge            Claimed Claimed
 2020-06-02      Lydia H. Hamlet                                                      0.10 $17.50 $175.00     0.10  $17.50       0.00% Client Communication
 2020-06-02      Lydia H. Hamlet Receive, read and prepare response to                0.10 $17.50 $175.00     0.10  $17.50       0.00% In House Conference
                                 email(s) from VK re: Bradberry declaration
 2020-06-02      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.10   $17.50       0.00% In House Conference
                                 email(s) from VK re: Walker declaration
 2020-06-02      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.00    $0.00     100.00% In House Conference
                                 email(s) from VK re: client declarations
 2020-06-02      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.00    $0.00     100.00% In House Conference
                                 email(s) from VK re: Walker declaration
 2020-06-02      Vanessa Kinney Receive, read and prepare response to                0.10   $22.50 $225.00    0.00    $0.00     100.00% In House Conference
                                 email(s) from Lydia Hamlet re: conference
                                 with Plaintiff Bradberry and review email
                                 from Lydia Hamlet re: Walker declaration
 2020-06-02      Lydia H. Hamlet Telephone Conference(s) with VK/Rodriguez           0.30   $52.50 $175.00    0.30   $52.50       0.00% In House Conference
                                 re: declaration
 2020-06-02      Lydia H. Hamlet Telephone Conference(s) with VK re:                 0.10   $17.50 $175.00    0.00    $0.00     100.00% In House Conference
                                 Rodriguez declaration
 2020-06-02      Lydia H. Hamlet Telephone Conference(s) with VK re:                 0.10   $17.50 $175.00    0.00    $0.00     100.00% In House Conference
                                 declarations
 2020-06-02      Lydia H. Hamlet Telephone Conference(s) with VK/Walker re;          0.20   $35.00 $175.00    0.00    $0.00     100.00% In House Conference
                                 declaration
 2020-06-02      Vanessa Kinney Telephone Conference(s) with Lydia Hamlet            0.10   $22.50 $225.00    0.00    $0.00     100.00% In House Conference
                                 re: declarations; email updated versions of
                                 declarations
 2020-06-02      Lydia H. Hamlet Telephone Conference(s) with AP re: Walker          0.10   $17.50 $175.00    0.10   $17.50       0.00% Case Management
                                 declaration
 2020-06-02      Staff           Telephone Conference(s) with LH re email            0.10    $2.50   $25.00   0.00    $0.00     100.00% In House Conference
                                 from opt-in
 2020-06-02      Vanessa Kinney Telephone Conference(s) with Lydia Hamlet            0.20   $45.00 $225.00    0.00    $0.00     100.00% In House Conference
                                 re: scheduling phone conferences with
                                 Plaintiffs and discussion of facts missing from
                                 declarations
 2020-06-02      Lydia H. Hamlet Telephone Conference(s) with VK re:                 0.10   $17.50 $175.00    0.00    $0.00     100.00% In House Conference
                                 declarations
 2020-06-02      Lydia H. Hamlet                                                     0.30   $52.50 $175.00    0.30   $52.50       0.00% Client Communication
 2020-06-02      Lydia H. Hamlet Telephone Conference(s) with VK re:                 0.20   $35.00 $175.00    0.20   $35.00       0.00% In House Conference
                                 declarations, response status, conferences
                                 with clients
 2020-06-02      Vanessa Kinney Telephone Conference(s) with Lydia Hamlet            0.10   $22.50 $225.00    0.00    $0.00     100.00% In House Conference
                                 re: editing declarations and re-sending to
                                 client and impact on briefing schedule
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                     Rate                     % Reduction           Category
                                                                                  Time Charge            Claimed Claimed
 2020-06-02      Vanessa Kinney                                                      0.30 $67.50 $225.00     0.00    $0.00     100.00% Client Communication
 2020-06-02      Vanessa Kinney                                                      0.30 $67.50 $225.00     0.00    $0.00     100.00% Client Communication
 2020-06-02      Lydia H. Hamlet Receipt and review of Bradberry declaration;        0.10 $17.50 $175.00     0.10  $17.50        0.00% Summary Judgment
                                 save same to file
 2020-06-02      Lydia H. Hamlet Receipt and review of Davidson declaration-        0.10   $17.50 $175.00    0.10    $17.50       0.00% Summary Judgment
                                 save same to file
 2020-06-02      Lydia H. Hamlet Receipt and review of Rodriguez declaration-       0.10   $17.50 $175.00    0.10    $17.50       0.00% Summary Judgment
                                 save same to file
 2020-06-02      Lydia H. Hamlet Receipt and review of Waldroup declaration;        0.10   $17.50 $175.00    0.10    $17.50       0.00% Summary Judgment
                                 save same to file
 2020-06-02      Lydia H. Hamlet Receipt and review of correspondence from          0.10   $17.50 $175.00    0.10    $17.50       0.00% In House Conference
                                 VK re: Bradberry
 2020-06-02      Lydia H. Hamlet Receipt and review of client-edited                0.10   $17.50 $175.00    0.10    $17.50       0.00% Summary Judgment
                                 declaration - save same to file
 2020-06-02      Lydia H. Hamlet                                                    0.10   $17.50 $175.00    0.10    $17.50       0.00%   Client Communication
 2020-06-02      Staff                                                              0.10    $2.50 $25.00     0.10     $2.50       0.00%   Client Communication
 2020-06-02      Lydia H. Hamlet Receipt and review of Walker declaration           0.10   $17.50 $175.00    0.10    $17.50       0.00%   Summary Judgment
 2020-06-02      Vanessa Kinney Receipt and review of email from Lydia              0.20   $45.00 $225.00    0.00     $0.00     100.00%   In House Conference
                                 Hamlet re: notes on Bradberry Declaration and
                                 respond to email
 2020-06-02      Lydia H. Hamlet Work on Client's file: review defendant's          0.70 $122.50 $175.00     0.70   $122.50       0.00% Summary Judgment
                                 documents
 2020-06-02      Vanessa Kinney email declarations to Lydia Hamlet with Notes       0.10   $22.50 $225.00    0.00     $0.00     100.00% In House Conference
                                 for Walker
 2020-06-02      Vanessa Kinney work on Walker declaration, make edits to           0.90 $202.50 $225.00     0.50   $112.50      44.44% Summary Judgment
                                 other declarations and email Lydia Hamlet
 2020-06-02      Vanessa Kinney work on MSJ response argument                       1.10 $247.50 $225.00     1.10   $247.50       0.00% Summary Judgment
 2020-06-02      Vanessa Kinney phone conference with Lydia Hamlet and              0.20 $45.00 $225.00      0.00     $0.00     100.00% In House Conference
                                 Plaintiff Walker
 2020-06-02      Vanessa Kinney work on case law portion of MSJ response            0.70 $157.50 $225.00     0.70   $157.50       0.00% Summary Judgment
                                 briefing
 2020-06-03      Staff           Draft right signatures for two declarations of     0.10    $2.50   $25.00   0.00     $0.00     100.00% Summary Judgment
                                 clients
 2020-06-03      Staff           Create Right Signature document for                0.10    $2.50   $25.00   0.00     $0.00     100.00% Summary Judgment
                                 declaration signing by Mr. Bradberry
 2020-06-03      Steve Rauls     Receipt and review of email from JS with           0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 edits to response to decertification motion
 2020-06-03      Lydia H. Hamlet Receipt and review of Bradberry declaration-       0.10   $17.50 $175.00    0.00     $0.00     100.00% Summary Judgment
                                 save same to file
 2020-06-03      Lydia H. Hamlet Receipt and review of signed Walker                0.10   $17.50 $175.00    0.00     $0.00     100.00% Summary Judgment
                                 declaration - save same to file
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                                                                                   Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                     Rate                     % Reduction        Category
                                                                                   Time Charge            Claimed Claimed
 2020-06-03      Lydia H. Hamlet Receipt and review of Waldroup declaration;          0.10 $17.50 $175.00     0.00    $0.00     100.00% Summary Judgment
                                 save same to file
 2020-06-03      Lydia H. Hamlet                                                     0.10   $17.50 $175.00     0.10   $17.50      0.00% Client Communication
 2020-06-03      Lydia H. Hamlet                                                     0.10   $17.50 $175.00     0.10   $17.50      0.00% Client Communication
 2020-06-03      Lydia H. Hamlet Receipt and review of response to motion for        0.10   $17.50 $175.00     0.00    $0.00    100.00% Decertification Motion
                                 decert
 2020-06-03      Lydia H. Hamlet                                                     0.30   $52.50 $175.00     0.30   $52.50      0.00% Client Communication
 2020-06-03      Lydia H. Hamlet Receipt and review of Dinteru signed                0.10   $17.50 $175.00     0.00    $0.00    100.00% Summary Judgment
                                 declaration; ensure saved correctly to file
 2020-06-03      Vanessa Kinney Receipt and review of notes on Bradberry             0.30   $67.50 $225.00     0.30   $67.50      0.00% Summary Judgment
                                 Declaration, edit declaration and email to
                                 Lydia Hamlet
 2020-06-03      Vanessa Kinney Receipt and review of notes on Davidson              0.20   $45.00 $225.00     0.20   $45.00      0.00% Summary Judgment
                                 declaration changes from Lydia Hamlet; edit
                                 declaration in support of summary judgment
                                 response
 2020-06-03      Vanessa Kinney Receipt and review of message from Lydia             0.10   $22.50 $225.00     0.10   $22.50      0.00% Summary Judgment
                                 Hamlet; edit Davidson declaration and email
                                 to Lydia Hamlet
 2020-06-03      Steve Rauls     Receipt and review of signed declaration from       0.10   $17.50 $175.00     0.00    $0.00    100.00% Summary Judgment
                                 Dinteru; follow up with LH
 2020-06-03      Lydia H. Hamlet                                                     0.10   $17.50 $175.00     0.10   $17.50      0.00% Client Communication
 2020-06-03      Lydia H. Hamlet Receipt and review of signed DInteru                0.10   $17.50 $175.00     0.00    $0.00    100.00% Summary Judgment
                                 declaration; save same to file
 2020-06-03      Lydia H. Hamlet                                                     0.10   $17.50   $175.00   0.10   $17.50      0.00%   Client Communication
 2020-06-03      Lydia H. Hamlet                                                     0.10   $17.50   $175.00   0.10   $17.50      0.00%   Client Communication
 2020-06-03      Lydia H. Hamlet                                                     0.10   $17.50   $175.00   0.10   $17.50      0.00%   Client Communication
 2020-06-03      Lydia H. Hamlet Receipt and review of updated Bradberry             0.10   $17.50   $175.00   0.00    $0.00    100.00%   Summary Judgment
                                 declaration; save same to file
 2020-06-03      Lydia H. Hamlet Receipt and review of updated Rodriguez             0.20   $35.00 $175.00     0.20   $35.00      0.00% Summary Judgment
                                 declaration; edit/revise same/texts with VK
                                 re: same; save same to file
 2020-06-03      Lydia H. Hamlet Receipt and review of updated Davidson              0.10   $17.50 $175.00     0.00    $0.00    100.00% Summary Judgment
                                 declaration, save same to file
 2020-06-03      Lydia H. Hamlet Receipt and review of updated Walker                0.10   $17.50 $175.00     0.00    $0.00    100.00% Summary Judgment
                                 declaration, save same to file
 2020-06-03      Lydia H. Hamlet Receipt and review of updated Waldroup              0.10   $17.50 $175.00     0.00    $0.00    100.00% Summary Judgment
                                 declaration; edit same; save same to file; text
                                 client re: same
 2020-06-03      Lydia H. Hamlet                                                     0.20   $35.00 $175.00     0.20   $35.00      0.00% Client Communication
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                                                                                Actual Actual            Time   Amount
Date Billed on      Billed By                    Description                                    Rate                     % Reduction           Category
                                                                                Time Charge            Claimed Claimed
 2020-06-03      Vanessa Kinney Telephone Conference(s) with Lydia Hamlet          0.10 $22.50 $225.00     0.00    $0.00     100.00% In House Conference
                                 re: changes to Rodriguez declaration
 2020-06-03      Vanessa Kinney Telephone Conference(s) with Lydia Hamlet         0.10   $22.50 $225.00     0.00    $0.00     100.00% In House Conference
                                 re: changes to declarations and status of
                                 remaining declarations
 2020-06-03      Lydia H. Hamlet                                                  0.30   $52.50 $175.00     0.30   $52.50       0.00% Client Communication
 2020-06-03      Lydia H. Hamlet Telephone Conference(s) with VK re:              0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 declarations, etc.
 2020-06-03      Lydia H. Hamlet Telephone Conference(s) with VK re: Davidson     0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference

 2020-06-03      Lydia H. Hamlet Telephone Conference(s) with VK re:              0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 declaration edits
 2020-06-03      Lydia H. Hamlet Receive, read and prepare response to            0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from SR re: Dinteru RightSignature
 2020-06-03      Lydia H. Hamlet Receive, read and prepare response to            0.10   $17.50 $175.00     0.10   $17.50       0.00% In House Conference
                                 email(s) from JS re: declarations
 2020-06-03      Lydia H. Hamlet Receive, read and prepare response to            0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from JS re: response to motion for
                                 decert
 2020-06-03      Lydia H. Hamlet                                                  0.10   $17.50 $175.00     0.10   $17.50       0.00% Client Communication
 2020-06-03      Lydia H. Hamlet Receive, read and prepare response to            0.10   $17.50 $175.00     0.10   $17.50       0.00% In House Conference
                                 email(s) from VK re: Davidson
 2020-06-03      Lydia H. Hamlet                                                  0.10   $17.50   $175.00   0.10   $17.50       0.00%   Client Communication
 2020-06-03      Lydia H. Hamlet                                                  0.10   $17.50   $175.00   0.00    $0.00     100.00%   Client Communication
 2020-06-03      Lydia H. Hamlet                                                  0.10   $17.50   $175.00   0.10   $17.50       0.00%   Client Communication
 2020-06-03      Lydia H. Hamlet                                                  0.10   $17.50   $175.00   0.10   $17.50       0.00%   Client Communication
 2020-06-03      Lydia H. Hamlet                                                  0.10   $17.50   $175.00   0.10   $17.50       0.00%   Client Communication
 2020-06-03      Josh Sanford    Receive, read and prepare response to            0.10   $30.00   $300.00   0.00    $0.00     100.00%   In House Conference
                                 email(s) from LH: client decs
 2020-06-03      Lydia H. Hamlet Receive, read and prepare response to texts      0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 from VK re: client declarations
 2020-06-03      Lydia H. Hamlet Receive, read and prepare response to            0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from VK re: client declarations
 2020-06-03      Lydia H. Hamlet Receive, read and prepare response to            0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from VK re: Waldroup declaration
 2020-06-03      Lydia H. Hamlet Receive, read and prepare response to            0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from VK re: edited/updated
                                 Bradberry declaration
 2020-06-03      Lydia H. Hamlet Compose, prepare and send correspondence to      0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 SDG re: Bradberry declaration
 2020-06-03      Lydia H. Hamlet                                                  0.10   $17.50 $175.00     0.10   $17.50       0.00% Client Communication
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                                                                               Actual Actual               Time   Amount
Date Billed on      Billed By                     Description                                    Rate                      % Reduction           Category
                                                                               Time Charge               Claimed Claimed
 2020-06-03      Lydia H. Hamlet   Compose, prepare and send correspondence to    0.10 $17.50    $175.00     0.00    $0.00     100.00% In House Conference
                                   SDG re: edited Bradberry declaration
 2020-06-03      Lydia H. Hamlet   Compose, prepare and send correspondence to    0.10 $17.50    $175.00    0.00     $0.00      100.00% In House Conference
                                   SDG re: Davidson declaration for
                                   RightSignature
 2020-06-03      Lydia H. Hamlet                                                  0.10 $17.50    $175.00    0.10    $17.50        0.00% Client Communication
 2020-06-03      Lydia H. Hamlet   Compose, prepare and send correspondence to    0.10 $17.50    $175.00    0.00     $0.00      100.00% In House Conference
                                   SDG re: Waldroup declaration for signature

 2020-06-03      Lydia H. Hamlet                                                 0.10   $17.50 $175.00      0.10    $17.50        0.00% Client Communication
 2020-06-03      Lydia H. Hamlet Compose, prepare and send correspondence to     0.10   $17.50 $175.00      0.00     $0.00      100.00% In House Conference
                                 SDG re: Walker declaration for RightSignature

 2020-06-03      Lydia H. Hamlet                                                 0.10   $17.50 $175.00      0.10    $17.50        0.00% Client Communication
 2020-06-03      Lydia H. Hamlet Compose, prepare and send correspondence to     0.10   $17.50 $175.00      0.00     $0.00      100.00% In House Conference
                                 Client/SDG re: declaration, etc.
 2020-06-03      Lydia H. Hamlet                                                 0.10   $17.50 $175.00      0.10    $17.50        0.00% Client Communication
 2020-06-03      Lydia H. Hamlet                                                 0.10   $17.50 $175.00      0.10    $17.50        0.00% Client Communication
 2020-06-03      Lydia H. Hamlet Compose, prepare and send correspondence to     0.10   $17.50 $175.00      0.10    $17.50        0.00% In House Conference
                                 VK re: Davidson call
 2020-06-03      Lydia H. Hamlet Compose, prepare and send correspondence to     0.10   $17.50 $175.00      0.00     $0.00      100.00% In House Conference
                                 SDG/Bradberry re: declaration
 2020-06-03      Lydia H. Hamlet Compose, prepare and send correspondence to     0.10   $17.50 $175.00      0.10    $17.50        0.00% In House Conference
                                 VK re: changes to Davidson declaration
 2020-06-03      Lydia H. Hamlet                                                 0.10   $17.50 $175.00      0.10    $17.50        0.00% Client Communication
 2020-06-03      Lydia H. Hamlet Compose, prepare and send correspondence to     0.10   $17.50 $175.00      0.00     $0.00      100.00% In House Conference
                                 VK re: Davidson declaration edits
 2020-06-03      Lydia H. Hamlet Compose, prepare and send correspondence to     0.10   $17.50 $175.00      0.00     $0.00      100.00% In House Conference
                                 VK re: status/declarations
 2020-06-03      Lydia H. Hamlet Compose, prepare and send correspondence to     0.10   $17.50 $175.00      0.00     $0.00      100.00% In House Conference
                                 VK re: Rodriguez declaration, ADA email
 2020-06-03      Josh Sanford    Conference with SR: decert response             0.10   $30.00   $300.00    0.10    $30.00        0.00%   In House Conference
 2020-06-03      Lydia H. Hamlet Conference with SDG re: declarations            0.10   $17.50   $175.00    0.00     $0.00      100.00%   In House Conference
 2020-06-03      Lydia H. Hamlet Conference with SDG re: signed declarations     0.10   $17.50   $175.00    0.00     $0.00      100.00%   In House Conference
 2020-06-03      Lydia H. Hamlet Conference with SDG re: sending declarations    0.10   $17.50   $175.00    0.00     $0.00      100.00%   In House Conference

 2020-06-03      Staff          Receipt and review of declaration signed by      0.10    $2.50    $25.00    0.10     $2.50        0.00% Case Management
                                Ryan Bradberry; forward to attorney for
                                handling
 2020-06-03      Vanessa Kinney work on case law section of FLSA portion of      1.80 $405.00 $225.00       1.80   $405.00        0.00% Summary Judgment
                                MSJ response brief
 2020-06-03      Vanessa Kinney additional edits to davidson declaration         0.10   $22.50 $225.00      0.10    $22.50        0.00% Summary Judgment
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                                                                                Actual Actual             Time   Amount
Date Billed on      Billed By                    Description                                     Rate                     % Reduction        Category
                                                                                Time Charge             Claimed Claimed
 2020-06-03      Vanessa Kinney review FMLA cases, client deposition               1.20 $270.00 $225.00     0.00    $0.00     100.00% Summary Judgment
                                 testimony and file documents on FMLA claim
 2020-06-03      Vanessa Kinney edit fact portion of briefing for consistency     1.60 $360.00 $225.00      1.60   $360.00     0.00% Summary Judgment
                                 with changes to plaintiff declarations
 2020-06-04      Steve Rauls     Conference with LH regarding exhibit for         0.40   $70.00 $175.00     0.40    $70.00     0.00% Decertification Motion
                                 response to decertification motion; prepare
                                 exhibit and edit motion
 2020-06-04      Josh Sanford    Conference with VK: status of briefing           0.10 $30.00     $300.00   0.00     $0.00   100.00%   In House Conference
 2020-06-04      Josh Sanford    Conference with SR: deadline tomorrow            0.10 $30.00     $300.00   0.00     $0.00   100.00%   In House Conference
 2020-06-04      Josh Sanford    Conference with VK: MSJ briefing                 0.10 $30.00     $300.00   0.00     $0.00   100.00%   In House Conference
 2020-06-04      Steve Rauls     Editing and revision of response to Def.'s       3.80 $665.00    $175.00   3.80   $665.00     0.00%   Summary Judgment
                                 motion for summary judgment; follow up with
                                 LH and VK
 2020-06-04      Vanessa Kinney Editing and revision of Response to SUMF and      0.10   $22.50 $225.00     0.00     $0.00   100.00% Summary Judgment
                                 email to Lydia Hamlet
 2020-06-04      Vanessa Kinney Editing and revision of response to MSJ brief     1.70 $382.50 $225.00      1.70   $382.50     0.00% Summary Judgment
                                 and email to Lydia Hamlet, Josh Sanford and
                                 Steve Rauls
 2020-06-04      Josh Sanford    Examination of IOM: MSJ briefing                 0.10   $30.00   $300.00   0.00     $0.00   100.00%   Case Management
 2020-06-04      Josh Sanford    Examination of IOMS: MSJ response                0.10   $30.00   $300.00   0.00     $0.00   100.00%   Case Management
 2020-06-04      Lydia H. Hamlet                                                  0.10   $17.50   $175.00   0.10    $17.50     0.00%   Client Communication
 2020-06-04      Lydia H. Hamlet                                                  0.10   $17.50   $175.00   0.00     $0.00   100.00%   Client Communication
 2020-06-04      Lydia H. Hamlet                                                  0.10   $17.50   $175.00   0.00     $0.00   100.00%   Client Communication
 2020-06-04      Lydia H. Hamlet                                                  0.10   $17.50   $175.00   0.00     $0.00   100.00%   Client Communication
 2020-06-04      Lydia H. Hamlet                                                  0.20   $35.00   $175.00   0.20    $35.00     0.00%   Client Communication
 2020-06-04      Lydia H. Hamlet Receive, read and prepare response to            0.10   $17.50   $175.00   0.00     $0.00   100.00%   In House Conference
                                 email(s) from VK re: Davidson declaration
 2020-06-04      Lydia H. Hamlet Receive, read and prepare response to            0.10   $17.50 $175.00     0.00     $0.00   100.00% In House Conference
                                 email(s) from VK re: MSJ response
 2020-06-04      Lydia H. Hamlet Receive, read and prepare response to            0.10   $17.50 $175.00     0.00     $0.00   100.00% In House Conference
                                 email(s) from JS re: MSJ response
 2020-06-04      Lydia H. Hamlet Receive, read and prepare response to            0.10   $17.50 $175.00     0.10    $17.50     0.00% In House Conference
                                 email(s) from VK r: SUMF response; forward
                                 same to JS/SR
 2020-06-04      Lydia H. Hamlet Receive, read and prepare response to            0.10   $17.50 $175.00     0.00     $0.00   100.00% In House Conference
                                 email(s) from VK re:
 2020-06-04      Lydia H. Hamlet Receive, read and prepare response to            0.10   $17.50 $175.00     0.00     $0.00   100.00% In House Conference
                                 email(s) from VK re: edited SUMF response
 2020-06-04      Lydia H. Hamlet Receive, read and prepare response to            0.10   $17.50 $175.00     0.00     $0.00   100.00% In House Conference
                                 email(s) from VK re: FMLA claims
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                                                                                    Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                      Rate                     % Reduction           Category
                                                                                    Time Charge            Claimed Claimed
 2020-06-04      Lydia H. Hamlet Receive, read and prepare response to                 0.10 $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from VK re: final revisions to
                                 declarations
 2020-06-04      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from VK re: declaration
 2020-06-04      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from VK re: Davidson declaration
 2020-06-04      Vanessa Kinney Telephone Conference(s) with Phone                    0.20   $45.00 $225.00    0.00     $0.00     100.00% In House Conference
                                 conference with Lydia Hamlet and Steve Rauls
                                 re: FMLA claims
 2020-06-04      Vanessa Kinney Telephone Conference(s) with Lydia Hamlet             0.10   $22.50 $225.00    0.00     $0.00     100.00% In House Conference
                                 re: issues with response to statement of
                                 undisputed material facts
 2020-06-04      Steve Rauls     Telephone Conference(s) with LH and VK               0.30   $52.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 regarding response to Def.'s motion for
                                 summary judgment; follow up with JS
 2020-06-04      Lydia H. Hamlet Telephone Conference(s) with VK/SR re: FMLA          0.20   $35.00 $175.00    0.00     $0.00     100.00% In House Conference
                                 claims
 2020-06-04      Lydia H. Hamlet Telephone Conference(s) with VK/SR re:               0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 editing MSJ response
 2020-06-04      Vanessa Kinney Telephone Conference(s) with Josh Sanford re:         0.10   $22.50 $225.00    0.00     $0.00     100.00% In House Conference
                                 plaintiff declarations in response to motion for
                                 summary judgment
 2020-06-04      Vanessa Kinney Telephone Conference(s) with Lydia Hamlet             0.10   $22.50 $225.00    0.00     $0.00     100.00% In House Conference
                                 re: remaining work on summary judgment
                                 motion
 2020-06-04      Vanessa Kinney Telephone Conference(s) with Josh Sanford re:         0.10   $22.50 $225.00    0.00     $0.00     100.00% In House Conference
                                 completing summary judgment motion
 2020-06-04      Vanessa Kinney Telephone Conference(s) with Steve Rauls and          0.10   $22.50 $225.00    0.00     $0.00     100.00% In House Conference
                                 Lydia Hamlet re: shortening briefing
 2020-06-04      Lydia H. Hamlet                                                      0.20   $35.00 $175.00    0.00    $0.00      100.00% Client Communication
 2020-06-04      Lydia H. Hamlet Receipt and review of response to SUMF;              0.50   $87.50 $175.00    0.50   $87.50        0.00% In House Conference
                                 call/email VK re: same
 2020-06-04      Lydia H. Hamlet Receipt and review of "final" version of             0.10   $17.50 $175.00    0.10   $17.50        0.00% Summary Judgment
                                 Davidson declaration
 2020-06-04      Lydia H. Hamlet Receipt and review of notice re: Davidson            0.10   $17.50 $175.00    0.00     $0.00     100.00% Summary Judgment
                                 declaration
 2020-06-04      Lydia H. Hamlet Receipt and review of signed Rodriguez               0.10   $17.50 $175.00    0.00     $0.00     100.00% Summary Judgment
                                 declaration; save same to file
 2020-06-04      Lydia H. Hamlet Receipt and review of signed Davidson                0.10   $17.50 $175.00    0.00     $0.00     100.00% Summary Judgment
                                 declaration; saved same to file
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                                                                                    Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                      Rate                    % Reduction        Category
                                                                                    Time Charge            Claimed Claimed
 2020-06-04      Lydia H. Hamlet Work on Client's file: prepare exhibits to            0.20 $35.00 $175.00     0.20  $35.00       0.00% Summary Judgment
                                 responses
 2020-06-04      Lydia H. Hamlet Work on Client's file: responses                     0.50 $87.50 $175.00     0.50    $87.50      0.00% Summary Judgment
 2020-06-04      Lydia H. Hamlet Work on Client's file: prepare exhibits to           1.10 $192.50 $175.00    1.10   $192.50      0.00% Summary Judgment
                                 response; call with VK re: all
 2020-06-04      Vanessa Kinney response to motion for summary judgment               1.00 $225.00 $225.00    1.00   $225.00      0.00% Summary Judgment
 2020-06-04      Vanessa Kinney work on response to Defendant's Statement of          2.20 $495.00 $225.00    2.20   $495.00      0.00% Summary Judgment
                                 Undisputed Material Facts
 2020-06-05      Steve Rauls     Work with LH on final changes to summary             1.70 $297.50 $175.00    1.70   $297.50      0.00% Summary Judgment
                                 judgment response and compiling exhibits
 2020-06-05      Lydia H. Hamlet Work on Client's file: communication with VK         0.40   $70.00 $175.00   0.40    $70.00      0.00% In House Conference
                                 re: outstanding issues
 2020-06-05      Lydia H. Hamlet Work on Client's file:                               0.10 $17.50 $175.00     0.00     $0.00    100.00% Summary Judgment
 2020-06-05      Lydia H. Hamlet Work on Client's file: receipt and review of JS-     1.40 $245.00 $175.00    1.40   $245.00      0.00% Summary Judgment
                                 edited MSJ response, edit and revision of
                                 same; prepare exhibits, prepare exhibits for
                                 filing, conferences with VK and SR re: same;
                                 file MSJ response and response to defendant's
                                 SUMF
 2020-06-05      Lydia H. Hamlet receipt and review of compressed response to         2.40 $420.00 $175.00    2.40   $420.00      0.00% Summary Judgment
                                 MSJ; edit/revise same; conferences with SR
                                 and VK re: same; preparation of
                                 exhibits/prepare same for filing, etc.
 2020-06-05      Lydia H. Hamlet Receipt and review of file-marked decert             0.10   $17.50 $175.00   0.00     $0.00    100.00% Decertification Motion
                                 response
 2020-06-05      Lydia H. Hamlet Receipt and review of file-marked MSJ                0.10   $17.50 $175.00   0.00     $0.00    100.00% Summary Judgment
                                 response
 2020-06-05      Vanessa Kinney Receipt and review of message from client via         0.20   $45.00 $225.00   0.00     $0.00    100.00% In House Conference
                                 Lydia Hamlet; review documents and phone
                                 call to Lydia Hamlet
 2020-06-05      Lydia H. Hamlet Receipt and review of file-marked SUMF               0.10   $17.50 $175.00   0.00     $0.00    100.00% Summary Judgment
                                 response
 2020-06-05      Lydia H. Hamlet                                                      0.10   $17.50 $175.00   0.00     $0.00    100.00% Client Communication
 2020-06-05      Lydia H. Hamlet Telephone Conference(s) with VK re: Davidson         0.10   $17.50 $175.00   0.00     $0.00    100.00% In House Conference
                                 FMLA claim
 2020-06-05      Lydia H. Hamlet Telephone Conference(s) with VK re: FMLA             0.20   $35.00 $175.00   0.00     $0.00    100.00% In House Conference
                                 claims
 2020-06-05      Lydia H. Hamlet                                                      0.10   $17.50 $175.00   0.00     $0.00    100.00% Client Communication
 2020-06-05      Lydia H. Hamlet Telephone Conference(s) with VK re: status           0.10   $17.50 $175.00   0.00     $0.00    100.00% In House Conference
 2020-06-05      Vanessa Kinney Telephone Conference(s) with Lydia Hamlet             0.10   $22.50 $225.00   0.00     $0.00    100.00% In House Conference
                                 re: edits needed to MSJ response briefing
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                                                                                    Actual Actual            Time   Amount
Date Billed on      Billed By                       Description                                     Rate                     % Reduction           Category
                                                                                    Time Charge            Claimed Claimed
 2020-06-05      Vanessa Kinney Telephone Conference(s) with Lydia Hamlet              0.10 $22.50 $225.00     0.00    $0.00     100.00% In House Conference
                                 and Plaintiff Davidson
 2020-06-05      Lydia H. Hamlet Telephone Conference(s) with VK re: MSJ              0.30   $52.50 $175.00    0.00     $0.00     100.00% Summary Judgment
                                 response
 2020-06-05      Lydia H. Hamlet Telephone Conference(s) with VK re:                  0.30   $52.50 $175.00    0.30    $52.50       0.00% In House Conference
                                 responses, issues for trial, etc. (notes to file
                                 following)
 2020-06-05      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from VK re: status
 2020-06-05      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from SR re: SUMF answer
 2020-06-05      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from JS re: SUMF answer; prepare
                                 same for filing
 2020-06-05      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from VK re: status
 2020-06-05      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from SDG re: Rodriguez decl
 2020-06-05      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from SDG re: Davidson decl
 2020-06-05      Josh Sanford    Examination of IOM: edits to argument                0.10 $30.00 $300.00      0.00     $0.00     100.00%   In House Conference
 2020-06-05      Josh Sanford    Examination of filed-response to decert              0.10 $30.00 $300.00      0.00     $0.00     100.00%   Decertification Motion
 2020-06-05      Josh Sanford    Editing and revision of response to SUMF             0.40 $120.00 $300.00     0.40   $120.00       0.00%   Summary Judgment
 2020-06-05      Vanessa Kinney Editing and revision of response briefing and         0.20 $45.00 $225.00      0.20    $45.00       0.00%   Summary Judgment
                                 email to Lydia Hamlet
 2020-06-05      Josh Sanford    Editing and revision of response to MSJ              0.80 $240.00 $300.00     0.80   $240.00       0.00% Summary Judgment
 2020-06-05      Steve Rauls     Editing and revision of response to Def.'s           0.50 $87.50 $175.00      0.00     $0.00     100.00% Summary Judgment
                                 statement of undisputed facts
 2020-06-05      Josh Sanford    Conference with VK: briefing                         0.10   $30.00 $300.00    0.00     $0.00     100.00% In House Conference
 2020-06-05      Josh Sanford    Conference with SR: finalizing briefing              0.10   $30.00 $300.00    0.00     $0.00     100.00% In House Conference
 2020-06-05      Lydia H. Hamlet Conference with SR re: MSJ response/exhibits         0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference

 2020-06-05      Vanessa Kinney message Lydia Hamlet re: Waldroup                     0.10   $22.50 $225.00    0.00     $0.00     100.00% In House Conference
                                declaration
 2020-06-05      Vanessa Kinney message Lydia Hamlet re: explanation of issue         0.10   $22.50 $225.00    0.00     $0.00     100.00% In House Conference
                                with Waldroup deposition testimony
 2020-06-05      Vanessa Kinney email Steve Rauls, Josh Sanford and Lydia             0.20   $45.00 $225.00    0.00     $0.00     100.00% In House Conference
                                Hamlet re: Waldroup declaration and
                                deposition
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                                                                                 Actual Actual             Time   Amount
Date Billed on      Billed By                    Description                                      Rate                    % Reduction        Category
                                                                                 Time Charge             Claimed Claimed
 2020-06-05      Vanessa Kinney review deposition testimony and make notes          0.90 $202.50 $225.00     0.90 $202.50       0.00% Summary Judgment
                                 for additions; review file for completed
                                 deposition documents; make notes for
                                 summary judgment response
 2020-06-05      Vanessa Kinney Message Lydia Hamlet re: declarations and          0.10   $22.50 $225.00   0.00    $0.00      100.00% In House Conference
                                 FMLA claims
 2020-06-05      Vanessa Kinney note possible changes to briefing and email        0.40   $90.00 $225.00   0.00    $0.00      100.00% Summary Judgment
                                 Lydia Hamlet
 2020-06-10      Steve Rauls     Receipt and review of Def.'s motion for leave     0.10   $17.50 $175.00   0.00    $0.00      100.00% Case Management
                                 to exceed page limits
 2020-06-10      Josh Sanford    Examination of MFL-Defendant                      0.10   $30.00 $300.00   0.00    $0.00      100.00% Case Management
 2020-06-11      Lydia H. Hamlet Receipt and review of motion for leave to         0.10   $17.50 $175.00   0.10   $17.50        0.00% Case Management
                                 exceed page limitation
 2020-06-11      Steve Rauls     Receipt and review of order granting Def.'s       0.10   $17.50 $175.00   0.00    $0.00      100.00% Case Management
                                 request to file overlong brief
 2020-06-11      Lydia H. Hamlet Receipt and review of order granting MFL to       0.10   $17.50 $175.00   0.10   $17.50        0.00% Case Management
                                 exceed page limitation
 2020-06-11      Lydia H. Hamlet Conference with SR re: order granting motion      0.10   $17.50 $175.00   0.00    $0.00      100.00% In House Conference
                                 for leave; sur reply
 2020-06-11      Josh Sanford    Examination of text order                         0.10 $30.00 $300.00     0.00    $0.00      100.00% Case Management
 2020-06-12      Josh Sanford    Examination of MSJ reply                          0.40 $120.00 $300.00    0.00    $0.00      100.00% Summary Judgment
 2020-06-12      Josh Sanford    Preparation and drafting of IOM: response to      0.10 $30.00 $300.00     0.00    $0.00      100.00% In House Conference
                                 reply
 2020-06-15      Lydia H. Hamlet Receipt and review of MSJ reply                   0.70 $122.50 $175.00    0.00    $0.00      100.00% Summary Judgment
 2020-06-15      Lydia H. Hamlet Receipt and review of correspondence from JS      0.10 $17.50 $175.00     0.10   $17.50        0.00% In House Conference
                                 re: sur-reply
 2020-06-15      Steve Rauls     Receipt and review of Def.'s reply in support     0.70 $122.50 $175.00    0.00    $0.00      100.00% Summary Judgment
                                 of summary judgment; discuss possible sur-
                                 reply with LH
 2020-06-15      Lydia H. Hamlet Work on Client's file: calendar sur-reply         0.10   $17.50 $175.00   0.00    $0.00      100.00% Case Management
                                 deadline =
 2020-06-15      Lydia H. Hamlet Compose, prepare and send correspondence to       0.10   $17.50 $175.00   0.10   $17.50        0.00% In House Conference
                                 VK re: reply/sur-reply
 2020-06-15      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00   0.10   $17.50        0.00% In House Conference
                                 email(s) from JS re: proposed sur-reply
 2020-06-15      Lydia H. Hamlet Telephone Conference(s) with SR re: sur-reply     0.10   $17.50 $175.00   0.00    $0.00      100.00% In House Conference

 2020-06-15      Lydia H. Hamlet Telephone Conference(s) with MFL/sur-reply        0.10   $17.50 $175.00   0.00    $0.00      100.00% In House Conference
 2020-06-15      Lydia H. Hamlet Conference with SR/team re: sur-reply             0.10   $17.50 $175.00   0.00    $0.00      100.00% In House Conference
 2020-06-15      Josh Sanford    Receive, read and prepare response to             0.10   $30.00 $300.00   0.00    $0.00      100.00% In House Conference
                                 email(s) from LH/VK: sur-reply
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                                                                                     Actual Actual            Time   Amount
Date Billed on      Billed By                       Description                                      Rate                     % Reduction           Category
                                                                                     Time Charge            Claimed Claimed
 2020-06-15      Vanessa Kinney Telephone Conference(s) with Lydia Hamlet               0.10 $22.50 $225.00     0.00    $0.00     100.00% In House Conference
                                re: sur-reply to motion for summary judgment

 2020-06-15      Vanessa Kinney Receipt and review of defendant reply in               0.70 $157.50 $225.00     0.70   $157.50       0.00% Summary Judgment
                                support of motion for summary judgment and
                                declaration in support
 2020-06-15      Vanessa Kinney Work on Client's file: make notes on possible          0.50 $112.50 $225.00     0.50   $112.50       0.00% Summary Judgment
                                points for sur-reply or issues to address
 2020-06-15      Vanessa Kinney Compose electronic communication to Steve              0.10   $22.50 $225.00    0.00     $0.00     100.00% In House Conference
                                Rauls re: issue of how defendant's motion for
                                decertification impacts summary judgment
                                argument on representative proof
 2020-06-15      Vanessa Kinney Perform legal research regarding use of                1.90 $427.50 $225.00     0.90   $202.50      52.63% Summary Judgment
                                representative evidence in FLSA cases
 2020-06-16      Vanessa Kinney Telephone Conference(s) with Lydia Hamlet              0.10   $22.50 $225.00    0.00     $0.00     100.00% Summary Judgment
                                re: response to motion for summary judgment

 2020-06-16      Steve Rauls       Receive, read and prepare response to               0.20   $35.00 $175.00    0.00     $0.00     100.00% In House Conference
                                   email(s) from VK regarding strategy for
                                   possible MSJ sur-reply
 2020-06-16      Lydia H. Hamlet   Compose, prepare and send correspondence to         0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                   VK re: sur-reply status
 2020-06-16      Josh Sanford      Discussion of case status and directing case        0.10   $30.00 $300.00    0.00     $0.00     100.00% In House Conference
                                   strategy to Attorney VK
 2020-06-16      Vanessa Kinney    Receive, read and prepare response to               0.10   $22.50 $225.00    0.00     $0.00     100.00% In House Conference
                                   email(s) from Steve Rauls re: representative
                                   evidence and new evidence
 2020-06-16      Vanessa Kinney    Perform legal research regarding progressive        3.40 $765.00 $225.00     3.40   $765.00       0.00% Summary Judgment
                                   discipline in executive exemption cases; work
                                   on sur-reply on summary judgment motion
 2020-06-17      Josh Sanford      Preparation and drafting of IOM: sur-reply,         0.10   $30.00 $300.00    0.00     $0.00     100.00% In House Conference
                                   MFL
 2020-06-17      Vanessa Kinney    Editing and revision of sur-reply and draft         2.50 $562.50 $225.00     1.50   $337.50      40.00% Summary Judgment
                                   motion for leave to file sur-reply and email to
                                   Josh Sanford, Steve Rauls and Lydia Hamlet

 2020-06-18      Steve Rauls     Editing and revision of sur-reply and motion          0.30   $52.50 $175.00    0.30    $52.50       0.00% Summary Judgment
                                 for leave to file; follow up with LH
 2020-06-18      Lydia H. Hamlet Telephone Conference(s) with AP re: sur-reply         0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
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                                                                                   Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                      Rate                     % Reduction           Category
                                                                                   Time Charge            Claimed Claimed
 2020-06-18      Lydia H. Hamlet Receive, read and prepare response to                0.10 $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from SR re: review/edits
 2020-06-18      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from SR re: MFL and sur-reply
 2020-06-18      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from JS re: MFL/sur-reply
 2020-06-18      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from JS re: deadline to file sur-reply
 2020-06-18      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from VK re: MFL and sur-reply
 2020-06-18      Lydia H. Hamlet Compose, prepare and send correspondence to         0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 JS re: sur-reply
 2020-06-18      Josh Sanford    Receive, read and prepare response to               0.20   $60.00 $300.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from LH/VK: MFL/sur-reply
 2020-06-18      Josh Sanford    Editing and revision of MFL and sur-reply           0.20   $60.00   $300.00   0.20   $60.00       0.00%   Summary Judgment
 2020-06-19      Lydia H. Hamlet Receipt and review of final MFL                     0.10   $17.50   $175.00   0.00    $0.00     100.00%   Summary Judgment
 2020-06-19      Lydia H. Hamlet Receipt and review of final sur-reply               0.10   $17.50   $175.00   0.00    $0.00     100.00%   Summary Judgment
 2020-06-19      Lydia H. Hamlet Receipt and review of file-marked MFL               0.10   $17.50   $175.00   0.00    $0.00     100.00%   Case Management
 2020-06-19      Lydia H. Hamlet Work on Client's file: prepare MFL/sur-reply        0.10   $17.50   $175.00   0.00    $0.00     100.00%   Summary Judgment
                                 for filing
 2020-06-19      Lydia H. Hamlet file MFL                                            0.10   $17.50 $175.00     0.00    $0.00     100.00% Case Management
 2020-06-19      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from JS re: MFL/sur-reply
 2020-06-19      Josh Sanford    Examination of MFL/sur-reply-filed                  0.10   $30.00 $300.00     0.00    $0.00     100.00% Case Management
 2020-06-22      Lydia H. Hamlet Conference with SR re: case status                  0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
 2020-06-23      Steve Rauls     Receipt and review of order granting leave to       0.10   $17.50 $175.00     0.00    $0.00     100.00% Case Management
                                 file sur-reply; follow up with LH
 2020-06-23      Lydia H. Hamlet Receipt and review of text order granting MFL       0.10   $17.50 $175.00     0.10   $17.50       0.00% Case Management
                                 to file sur-reply
 2020-06-23      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00     0.10   $17.50       0.00% In House Conference
                                 email(s) from JS re: sur-reply
 2020-06-23      Lydia H. Hamlet Filing of sur-reply                                 0.10   $17.50   $175.00   0.10   $17.50       0.00%   Case Management
 2020-06-23      Lydia H. Hamlet Conference with SR re: filing sur-reply             0.10   $17.50   $175.00   0.00    $0.00     100.00%   In House Conference
 2020-06-23      Lydia H. Hamlet Receipt and review of file-marked sur-reply         0.10   $17.50   $175.00   0.00    $0.00     100.00%   Case Management
 2020-06-23      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50   $175.00   0.00    $0.00     100.00%   In House Conference
                                 email(s) from JS re: sur-reply
 2020-06-23      Staff           Work on Client's file: process ECF - Pl's Sur       0.10    $2.50    $25.00   0.00    $0.00     100.00% Case Management
                                 Reply re Def''s MSJ
 2020-06-23      Staff           Work on Client's file: process ECF - Text Only      0.10    $2.50    $25.00   0.10    $2.50       0.00% Case Management
                                 Order Granting MFL re Sur Reply
 2020-06-23      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00     0.10   $17.50       0.00% Opposing Counsel Communication
                                 email(s) from oc re: SDTs for records
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                                                                                    Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                      Rate                    % Reduction           Category
                                                                                    Time Charge            Claimed Claimed
 2020-06-23      Lydia H. Hamlet Conference with SR re: need to enforce SDT            0.10 $17.50 $175.00     0.10  $17.50       0.00% In House Conference
                                 compliance
 2020-06-23      Josh Sanford    Examination of text order                            0.10   $30.00   $300.00   0.00     $0.00    100.00%   Case Management
 2020-06-23      Josh Sanford    Examination of filed sur-reply                       0.10   $30.00   $300.00   0.00     $0.00    100.00%   Case Management
 2020-06-23      Josh Sanford    Examination of OC email                              0.10   $30.00   $300.00   0.00     $0.00    100.00%   Opposing Counsel Communication
 2020-06-23      Josh Sanford    Examination of email to OC                           0.10   $30.00   $300.00   0.00     $0.00    100.00%   Opposing Counsel Communication
 2020-06-24      Lydia H. Hamlet Receipt and review of motion for sanctions           0.10   $17.50   $175.00   0.00     $0.00    100.00%   Motion for Sanctions
 2020-06-24      Steve Rauls     Receipt and review of Def.'s motion for              0.50   $87.50   $175.00   0.50    $87.50      0.00%   Motion for Sanctions
                                 sanctions and brief in support; follow up with
                                 LH
 2020-06-24      Lydia H. Hamlet Receipt and initial review of BIS of motion for      0.10   $17.50 $175.00     0.00     $0.00    100.00% Motion for Sanctions
                                 sanctions
 2020-06-24      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                 email(s) from SR re: motion for sanctions
 2020-06-24      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                 email(s) from JS re: motion for sanctions
 2020-06-24      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                 email(s) from SR re: relief sought pursuant to
                                 motion for sanctions
 2020-06-24      Lydia H. Hamlet Receipt and review of notice of filing of sealed     0.10   $17.50 $175.00     0.10    $17.50      0.00% Case Management
                                 documents
 2020-06-24      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                 email(s) from SR re: relief sought pursuant to
                                 motion for sanctions
 2020-06-24      Lydia H. Hamlet Receive, read and prepare response to                0.10   $17.50 $175.00     0.10    $17.50      0.00% Opposing Counsel Communication
                                 email(s) from oc re: documents filed under
                                 seal
 2020-06-24      Lydia H. Hamlet Receipt and initial review of documents filed        0.10   $17.50 $175.00     0.10    $17.50      0.00% Motion for Sanctions
                                 under seal
 2020-06-24      Staff           Work on Client's file: process ECF - Sealed          0.10    $2.50    $25.00   0.00     $0.00    100.00% Case Management
                                 Document
 2020-06-24      Staff           Work on Client's file: process ECF - Motion for      0.10    $2.50    $25.00   0.00     $0.00    100.00% Case Management
                                 Sanctions
 2020-06-24      Staff           Work on Client's file: process ECF - Def's BIS       0.10    $2.50    $25.00   0.00     $0.00    100.00% Case Management
                                 re Motion for Sanctions
 2020-06-24      Josh Sanford    Preparation and drafting of IOM: response            0.10   $30.00 $300.00     0.00     $0.00    100.00% In House Conference
 2020-06-24      Josh Sanford    Receive, read and prepare response to                0.10   $30.00 $300.00     0.00     $0.00    100.00% In House Conference
                                 email(s) from SR/LH: contents of motion
 2020-06-24      Josh Sanford    Examination of OC email                              0.10 $30.00 $300.00       0.00     $0.00    100.00% Opposing Counsel Communication
 2020-06-24      Josh Sanford    Examination of motion for                            0.70 $210.00 $300.00      0.70   $210.00      0.00% Motion for Sanctions
                                 sanctions/BIS/exhibits
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                     Rate                     % Reduction         Category
                                                                                  Time Charge            Claimed Claimed
 2020-06-24      Josh Sanford    Examination of Intra-office memo regarding          0.10 $30.00 $300.00     0.00    $0.00     100.00% Case Management
                                 case events and deadlines
 2020-06-25      Lydia H. Hamlet Conference with SS re: case status                 0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
 2020-06-25      Lydia H. Hamlet Conference with SR re: response to motion for      0.10   $17.50 $175.00    0.10    $17.50      0.00% In House Conference
                                 sanctions
 2020-06-25      Lydia H. Hamlet Conference with SR re: response to motion for      0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                 sanctions
 2020-06-25      Steve Rauls     Conference with JS regarding response to           0.20   $35.00 $175.00    0.20    $35.00      0.00% In House Conference
                                 Def.'s motion for sanctions; follow up with LH

 2020-06-25      Lydia H. Hamlet Conference with JS re: response to motion for      0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                 sanctions
 2020-06-25      Lydia H. Hamlet Conference with AP re: response to motion for      0.10   $17.50 $175.00    0.00     $0.00    100.00% In House Conference
                                 sanctions
 2020-06-25      Lydia H. Hamlet Receipt and review of motion, BIS, exhibits,       0.40   $70.00 $175.00    0.00     $0.00    100.00% Motion for Sanctions
                                 etc.
 2020-06-25      Staff           Preparation and drafting of Right Signature        0.10    $2.50   $25.00   0.10     $2.50      0.00% Case Management
                                 document of Declaration for completion by
                                 Jason Davidson
 2020-06-25      Josh Sanford    Conference with SR: response to sanctions          0.10   $30.00 $300.00    0.10    $30.00      0.00% In House Conference
                                 motion
 2020-06-25      Josh Sanford    Conference with JW/LH: response to motion,         0.20   $60.00 $300.00    0.20    $60.00      0.00% In House Conference
                                 strategy
 2020-06-29      Steve Rauls     Examination of Def.'s brief in support of          1.50 $262.50 $175.00     1.50   $262.50      0.00% Motion for Sanctions
                                 sanctions motion; start drafting response
 2020-06-30      Steve Rauls     Preparation and drafting of response to Def.'s     3.70 $647.50 $175.00     3.70   $647.50      0.00% Motion for Sanctions
                                 motion for discovery sanctions
 2020-07-01      Josh Sanford    Conference with LH: settlement conference          0.10   $30.00 $300.00    0.00     $0.00    100.00% In House Conference
 2020-07-01      Lydia H. Hamlet Conference with AP re: response to motion for      0.10   $17.50 $175.00    0.10    $17.50      0.00% In House Conference
                                 sanctions
 2020-07-01      Steve Rauls     Preparation and drafting of response to Def.'s     2.50 $437.50 $175.00     2.50   $437.50      0.00% Motion for Sanctions
                                 motion for sanctions
 2020-07-01      Lydia H. Hamlet Conference with JS re: settlement conference       0.10   $17.50 $175.00    0.10    $17.50      0.00% In House Conference
 2020-07-01      Lydia H. Hamlet Receipt and review of motion for sanction and      0.40   $70.00 $175.00    0.00     $0.00    100.00% Motion for Sanctions
                                 BIS
 2020-07-02      Lydia H. Hamlet Receipt and review of response to motion for       0.30   $52.50 $175.00    0.00     $0.00    100.00% Motion for Sanctions
                                 sanctions; email SR re: same
 2020-07-03      Lydia H. Hamlet Work on Client's file: review BIS - motion for     0.40   $70.00 $175.00    0.00     $0.00    100.00% Motion for Sanctions
                                 sanctions
 2020-07-06      Josh Sanford    Conference with SR: response to motion             0.20   $60.00 $300.00    0.20    $60.00      0.00% In House Conference
 2020-07-06      Josh Sanford    Examination of IOM: response to motion             0.10   $30.00 $300.00    0.00     $0.00    100.00% In House Conference
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                                                                                   Actual Actual             Time   Amount
Date Billed on      Billed By                       Description                                     Rate                    % Reduction          Category
                                                                                   Time Charge             Claimed Claimed
 2020-07-06      Josh Sanford      Editing and revision of response to sanctions      0.60 $180.00 $300.00     0.60 $180.00       0.00% Motion for Sanctions
                                   motion
 2020-07-06      Josh Sanford      Receive, read and prepare response to             0.10   $30.00 $300.00     0.00     $0.00     100.00% In House Conference
                                   email(s) from LH/SR:
 2020-07-06      Lydia H. Hamlet   Conference with SR re: response to motion for     0.10   $17.50 $175.00     0.10    $17.50       0.00% In House Conference
                                   sanctions
 2020-07-06      Lydia H. Hamlet   Receive, read and prepare response to             0.10   $17.50 $175.00     0.00     $0.00     100.00% In House Conference
                                   email(s) from SR re: response to motion for
                                   sanctions
 2020-07-06      Lydia H. Hamlet   Conference with SR re: filing response to         0.10   $17.50 $175.00     0.00     $0.00     100.00% In House Conference
                                   sanctions motion
 2020-07-06      Lydia H. Hamlet   Receive, read and prepare response to             0.10   $17.50 $175.00     0.10    $17.50       0.00% In House Conference
                                   email(s) from JS re: edits to response to
                                   sanctions motion
 2020-07-07      Josh Sanford      Conference with SR: response to sanctions         0.10   $30.00 $300.00     0.00     $0.00     100.00% In House Conference
 2020-07-07      Josh Sanford      Examination of filed response to sanctions        0.10   $30.00 $300.00     0.00     $0.00     100.00% Case Management
                                   motions
 2020-07-07      Josh Sanford      Editing and revision of revised response to       0.60 $180.00 $300.00      0.60   $180.00       0.00% Motion for Sanctions
                                   sanctions
 2020-07-07      Josh Sanford      Receive, read and prepare response to             0.10   $30.00 $300.00     0.00     $0.00     100.00% In House Conference
                                   email(s) from SR: response to sanctions
 2020-07-07      Josh Sanford      Editing and revision of revised (again)           0.20   $60.00 $300.00     0.20    $60.00       0.00% Motion for Sanctions
                                   sanctions response
 2020-07-07      Steve Rauls       Editing and revision of response to Def.'s        2.10 $367.50 $175.00      2.10   $367.50       0.00% Motion for Sanctions
                                   motion for sanctions; discuss changes with JS
                                   and file
 2020-07-07      Lydia H. Hamlet   Receive, read and prepare response to             0.10   $17.50 $175.00     0.00     $0.00     100.00% In House Conference
                                   email(s) from SR re: revised response to
                                   motion for sanctions
 2020-07-07      Lydia H. Hamlet   Receipt and review of Exhibits to response to     0.10   $17.50 $175.00     0.00     $0.00     100.00% Motion for Sanctions
                                   motion for sanctions
 2020-07-07      Lydia H. Hamlet   Receive, read and prepare response to             0.10   $17.50 $175.00     0.00     $0.00     100.00% In House Conference
                                   email(s) from JS re: response to motion for
                                   sanctions revisions
 2020-07-07      Lydia H. Hamlet   Conference with SR re: response to motion for     0.10   $17.50 $175.00     0.00     $0.00     100.00% In House Conference
                                   sanctions/settlement conference
 2020-07-07      Lydia H. Hamlet   Conference with staff re: settlement              0.10   $17.50 $175.00     0.10    $17.50       0.00% Case Management
                                   conference
 2020-07-07      Lydia H. Hamlet   Receive, read and prepare response to             0.10   $17.50 $175.00     0.10    $17.50       0.00% In House Conference
                                   email(s) from SR re: revised response to
                                   motion for sanctions
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                                                                                 Actual Actual               Time   Amount
Date Billed on      Billed By                      Description                                     Rate                      % Reduction         Category
                                                                                 Time Charge               Claimed Claimed
 2020-07-08      Lydia H. Hamlet   Receipt and review of file-marked response to    0.10 $17.50    $175.00     0.00    $0.00     100.00% Case Management
                                   motion for sanctions
 2020-07-08      Staff             Work on Client's file: process ECF - Response    0.10   $2.50    $25.00    0.00     $0.00     100.00% Case Management
                                   to Motion for Sanctions
 2020-07-08      Lydia H. Hamlet   Receipt and review of IOM re: response to        0.10 $17.50    $175.00    0.00     $0.00     100.00% In House Conference
                                   motion for sanctions
 2020-07-09      Josh Sanford      Examination of NOA- Yupango                      0.10 $30.00    $300.00    0.00     $0.00     100.00% Case Management
 2020-07-09      Lydia H. Hamlet   Conference with SR/SS re: case status            0.10 $17.50    $175.00    0.00     $0.00     100.00% In House Conference
 2020-07-09      Staff             Work on Client's file: process ECF - NOA -       0.10   $2.50    $25.00    0.00     $0.00     100.00% Case Management
                                   Lauren Elizabeth Yupangco
 2020-07-09      Lydia H. Hamlet   Receipt and review of Yupango NOA                0.10 $17.50    $175.00    0.10    $17.50       0.00% Case Management
 2020-07-09      Lydia H. Hamlet   Receipt and review of IOM re: Yupancgo NOA       0.10 $17.50    $175.00    0.10    $17.50       0.00% Case Management
 2020-07-10      Lydia H. Hamlet   Telephone Conference(s) with SR re:              0.10 $17.50    $175.00    0.10    $17.50       0.00% In House Conference
                                   settlement statement
 2020-07-10      Lydia H. Hamlet   Work on Client's file: settlement statement      0.20 $35.00    $175.00    0.20    $35.00       0.00% Settlement Related
 2020-07-10      Steve Rauls       Telephone Conference(s) with LH regarding        0.10 $17.50    $175.00    0.00     $0.00     100.00% In House Conference
                                   mediation statement for July 28 settlement
                                   conference
 2020-07-10      Lydia H. Hamlet   Work on Client's file: settlement statement      0.20 $35.00    $175.00    0.20    $35.00       0.00% Settlement Related
 2020-07-13      Lydia H. Hamlet   Work on Client's file: settlement statement      0.70 $122.50   $175.00    0.70   $122.50       0.00% Settlement Related
                                   (research re: same)
 2020-07-13      Lydia H. Hamlet   Conference with SR re: settlement conference     0.10 $17.50    $175.00    0.00     $0.00     100.00% In House Conference

 2020-07-13      Lydia H. Hamlet                                                   0.10   $17.50 $175.00      0.10    $17.50       0.00% Client Communication
 2020-07-13      Lydia H. Hamlet Receive, read and prepare response to             0.20   $35.00 $175.00      0.20    $35.00       0.00% In House Conference
                                 email(s) from SR re: original
                                 damages/demand; review associated
                                 spreadsheet
 2020-07-13      Lydia H. Hamlet                                                   0.10 $17.50     $175.00    0.10    $17.50       0.00%   Client Communication
 2020-07-13      Lydia H. Hamlet                                                   0.10 $17.50     $175.00    0.10    $17.50       0.00%   Client Communication
 2020-07-14      Lydia H. Hamlet Conference with SR re: settlement statement       0.10 $17.50     $175.00    0.00     $0.00     100.00%   In House Conference
 2020-07-14      Lydia H. Hamlet Work on Client's file: settlement statement;      1.60 $280.00    $175.00    1.60   $280.00       0.00%   Settlement Related
                                 review of pleadings, etc.
 2020-07-14      Lydia H. Hamlet                                                   0.10   $17.50 $175.00      0.10    $17.50       0.00% Client Communication
 2020-07-14      Lydia H. Hamlet Conference with JS re: attending settlement       0.10   $17.50 $175.00      0.00     $0.00     100.00% In House Conference
                                 conference
 2020-07-14      Lydia H. Hamlet Conference with SR re: JS letter re: settlement   0.10   $17.50 $175.00      0.00     $0.00     100.00% In House Conference
                                 conference
 2020-07-14      Lydia H. Hamlet Work on Client's file: letter to court re:        0.20   $35.00 $175.00      0.20    $35.00       0.00% Settlement Related
                                 settlement conference; email JS re: same
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                       Description                                   Rate                     % Reduction           Category
                                                                                  Time Charge            Claimed Claimed
 2020-07-14      Lydia H. Hamlet Receive, read and prepare response to               0.10 $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from JS re: letter to chambers re:
                                 settlement conference
 2020-07-14      Lydia H. Hamlet Conference with SR re: letter to court re:         0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                 JS/settlement conference
 2020-07-14      Lydia H. Hamlet Editing and revision of letter to court re;        0.10   $17.50 $175.00     0.10    $17.50      0.00% Settlement Related
                                 settlement conference
 2020-07-14      Lydia H. Hamlet Compose electronic communication to                0.10   $17.50 $175.00     0.10    $17.50      0.00% Court Communication
                                 magistrate re: JS/settlement conference
 2020-07-14      Steve Rauls     Conference with LH regarding planning for          0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                 settlement conference
 2020-07-14      Josh Sanford    Conference with LH- MJ set conf                    0.10   $30.00   $300.00   0.00     $0.00    100.00%   In House Conference
 2020-07-14      Josh Sanford    Editing and revision of letter to MJ               0.10   $30.00   $300.00   0.10    $30.00      0.00%   Settlement Related
 2020-07-14      Josh Sanford    Examination of transmittal of letter to MJ         0.10   $30.00   $300.00   0.00     $0.00    100.00%   Court Communication
 2020-07-15      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50   $175.00   0.10    $17.50      0.00%   Court Communication
                                 email(s) from court re: settlement conference

 2020-07-15      Lydia H. Hamlet   Work on Client's file: settlement statement      0.10 $17.50 $175.00       0.10    $17.50      0.00%   Settlement Related
 2020-07-15      Lydia H. Hamlet   Work on Client's file: settlement statement      1.50 $262.50 $175.00      1.50   $262.50      0.00%   Settlement Related
 2020-07-15      Josh Sanford      Examination of chambers email                    0.10 $30.00 $300.00       0.00     $0.00    100.00%   Court Communication
 2020-07-16      Lydia H. Hamlet                                                    0.10 $17.50 $175.00       0.10    $17.50      0.00%   Client Communication
 2020-07-16      Lydia H. Hamlet                                                    0.10 $17.50 $175.00       0.10    $17.50      0.00%   Client Communication
 2020-07-16      Lydia H. Hamlet   Receive, read and prepare response to            0.10 $17.50 $175.00       0.00     $0.00    100.00%   In House Conference
                                   email(s) from JS re: settlement conference
 2020-07-16      Lydia H. Hamlet   Conference with SR re: settlement                0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                   conference/procedure
 2020-07-16      Lydia H. Hamlet   Conference with SR re: settlement                0.10   $17.50 $175.00     0.10    $17.50      0.00% In House Conference
                                   statement/status
 2020-07-16      Steve Rauls       Conference with LH regarding planning for        0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                   settlement conference
 2020-07-16      Lydia H. Hamlet   Work on Client's file: settlement statement      0.80 $140.00 $175.00      0.80   $140.00      0.00% Settlement Related
 2020-07-16      Lydia H. Hamlet   Work on Client's file: settlement statement      1.30 $227.50 $175.00      1.30   $227.50      0.00% Settlement Related
 2020-07-17      Steve Rauls       Editing and revision of settlement statement     0.80 $140.00 $175.00      0.80   $140.00      0.00% Settlement Related
                                   for magistrate
 2020-07-20      Lydia H. Hamlet   Compose electronic communication to TF re:       0.10   $17.50 $175.00     0.10    $17.50      0.00% Case Management
                                   travel for settlement conference
 2020-07-20      Lydia H. Hamlet   Conference with SS re: settlement conference     0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference

 2020-07-20      Lydia H. Hamlet Conference with SR re: settlement offer            0.10   $17.50 $175.00     0.10    $17.50      0.00% In House Conference
 2020-07-20      Lydia H. Hamlet Conference with JS re: settlement offer            0.10   $17.50 $175.00     0.10    $17.50      0.00% In House Conference
 2020-07-20      Lydia H. Hamlet                                                    0.20   $35.00 $175.00     0.20    $35.00      0.00% Client Communication
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                                                                                 Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                    Rate                    % Reduction          Category
                                                                                 Time Charge            Claimed Claimed
 2020-07-20      Steve Rauls     Receipt and review of email from opposing          0.20 $35.00 $175.00     0.20  $35.00       0.00% Opposing Counsel Communication
                                 counsel regarding settlement conference;
                                 follow up with JS and LH
 2020-07-20      Lydia H. Hamlet                                                   0.10   $17.50 $175.00     0.10   $17.50      0.00% Client Communication
 2020-07-20      Lydia H. Hamlet Conference with SR re: settlement authority       0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
 2020-07-20      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00     0.10   $17.50      0.00% Court Communication
                                 email(s) from court re: settlement conference
                                 via Zoom
 2020-07-20      Lydia H. Hamlet                                                   0.20   $35.00 $175.00     0.20   $35.00      0.00%   Client Communication
 2020-07-20      Lydia H. Hamlet                                                   0.10   $17.50 $175.00     0.00    $0.00    100.00%   Client Communication
 2020-07-20      Staff           Examination of offer from OC                      0.10    $2.50 $25.00      0.10    $2.50      0.00%   Case Management
 2020-07-20      Josh Sanford    Discussion of case status and directing case      0.10   $30.00 $300.00     0.00    $0.00    100.00%   In House Conference
                                 strategy to Attorney LH/SR
 2020-07-20      Josh Sanford    Examination of chambers email                     0.10   $30.00   $300.00   0.00    $0.00    100.00%   Court Communication
 2020-07-21      Lydia H. Hamlet                                                   0.10   $17.50   $175.00   0.10   $17.50      0.00%   Client Communication
 2020-07-21      Lydia H. Hamlet                                                   0.10   $17.50   $175.00   0.00    $0.00    100.00%   Client Communication
 2020-07-21      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50   $175.00   0.10   $17.50      0.00%   In House Conference
                                 email(s) from SR re: edited settlement
                                 statement
 2020-07-21      Lydia H. Hamlet Receipt and review of SR-edited settlement        0.10   $17.50 $175.00     0.10   $17.50      0.00% Settlement Related
                                 statement
 2020-07-21      Lydia H. Hamlet Receipt and review of damages spreadsheet         0.10   $17.50 $175.00     0.10   $17.50      0.00% Settlement Related
                                 for submission to court
 2020-07-21      Lydia H. Hamlet Telephone Conference(s) with TF re:               0.10   $17.50 $175.00     0.10   $17.50      0.00% Case Management
                                 settlement conference
 2020-07-21      Lydia H. Hamlet Conference with JS re: settlement statement       0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
 2020-07-21      Lydia H. Hamlet Conference with SR re: initial demand             0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
 2020-07-21      Lydia H. Hamlet Compose electronic communication to court         0.10   $17.50 $175.00     0.10   $17.50      0.00% Court Communication
                                 re: settlement conference participants
 2020-07-21      Lydia H. Hamlet Receipt and review of edited mediation letter     0.10   $17.50 $175.00     0.10   $17.50      0.00% Settlement Related

 2020-07-21      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
                                 email(s) from JS re: mediation letter
 2020-07-21      Lydia H. Hamlet Telephone Conference(s) with JS/SR re:            0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
                                 mediation letter
 2020-07-21      Lydia H. Hamlet Conference with SR re: high-low negotiation       0.10   $17.50 $175.00     0.10   $17.50      0.00% In House Conference
 2020-07-21      Steve Rauls     Conferences with JS and LH regarding              0.40   $70.00 $175.00     0.00    $0.00    100.00% In House Conference
                                 settlement strategy; edit settlement
                                 statement
 2020-07-21      Lydia H. Hamlet Editing and revision of mediation statement       0.20   $35.00 $175.00     0.20   $35.00      0.00% Settlement Related
 2020-07-21      Lydia H. Hamlet Conference with law clerk re: settlement          0.10   $17.50 $175.00     0.00    $0.00    100.00% In House Conference
                                 conference
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                                                                                 Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                    Rate                    % Reduction          Category
                                                                                 Time Charge            Claimed Claimed
 2020-07-21      Lydia H. Hamlet Compose electronic communication to court          0.10 $17.50 $175.00     0.10  $17.50       0.00% Court Communication
                                 re: mediation statement
 2020-07-21      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00     0.10    $17.50     0.00% Court Communication
                                 email(s) from court re: settlement conference
                                 participants
 2020-07-21      Josh Sanford    Conference with LH: set conf letter               0.10   $30.00   $300.00   0.10    $30.00     0.00%   In House Conference
 2020-07-21      Josh Sanford    Editing and revision of set conf letter           0.20   $60.00   $300.00   0.20    $60.00     0.00%   Settlement Related
 2020-07-21      Josh Sanford    Examination of email to chambers                  0.10   $30.00   $300.00   0.00     $0.00   100.00%   Court Communication
 2020-07-21      Josh Sanford    Conference with SR/LH: mediation strategy         0.10   $30.00   $300.00   0.00     $0.00   100.00%   In House Conference
 2020-07-21      Josh Sanford    Examination of email to chambers                  0.10   $30.00   $300.00   0.00     $0.00   100.00%   Court Communication
 2020-07-21      Josh Sanford    Examination of chambers email                     0.10   $30.00   $300.00   0.00     $0.00   100.00%   Court Communication
 2020-07-22      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50   $175.00   0.10    $17.50     0.00%   Court Communication
                                 email(s) from court re: link for settlement
                                 conference, save same to file
 2020-07-22      Lydia H. Hamlet                                                   0.10   $17.50   $175.00   0.10    $17.50     0.00%   Client Communication
 2020-07-22      Lydia H. Hamlet                                                   0.10   $17.50   $175.00   0.10    $17.50     0.00%   Client Communication
 2020-07-22      Lydia H. Hamlet                                                   0.10   $17.50   $175.00   0.10    $17.50     0.00%   Client Communication
 2020-07-22      Lydia H. Hamlet                                                   0.10   $17.50   $175.00   0.10    $17.50     0.00%   Client Communication
 2020-07-22      Lydia H. Hamlet Conference with SR re: Rodriguez attendance       0.10   $17.50   $175.00   0.00     $0.00   100.00%   In House Conference
                                 at settlement conference
 2020-07-22      Lydia H. Hamlet                                                   0.10   $17.50 $175.00     0.00     $0.00   100.00% Client Communication
 2020-07-22      Lydia H. Hamlet Telephone Conference(s) with staff re:            0.10   $17.50 $175.00     0.10    $17.50     0.00% Case Management
                                 potential travel for settlement conference
 2020-07-24      Lydia H. Hamlet Conference with SR re: settlement conference      0.10   $17.50 $175.00     0.00     $0.00   100.00% In House Conference

 2020-07-24      Lydia H. Hamlet Work on Client's file: pull information for       0.10   $17.50 $175.00     0.10    $17.50     0.00% Settlement Related
                                 settlement conference
 2020-07-27      Lydia H. Hamlet Work on Client's file: review relevant            1.80 $315.00 $175.00      1.80   $315.00     0.00% Settlement Related
                                 pleadings/case law in preparation for
                                 settlement conference
 2020-07-27      Lydia H. Hamlet                                                   0.10 $17.50     $175.00   0.10    $17.50     0.00%   Client Communication
 2020-07-27      Lydia H. Hamlet                                                   0.10 $17.50     $175.00   0.00     $0.00   100.00%   Client Communication
 2020-07-27      Lydia H. Hamlet                                                   0.10 $17.50     $175.00   0.00     $0.00   100.00%   Client Communication
 2020-07-27      Lydia H. Hamlet Work on Client's file: prepare for settlement     1.30 $227.50    $175.00   1.30   $227.50     0.00%   Settlement Related
                                 conference
 2020-07-27      Lydia H. Hamlet Conference with SR re: final prep for             0.10   $17.50 $175.00     0.10    $17.50     0.00% Settlement Related
                                 settlement conference/communication with
                                 clients
 2020-07-27      Sean Short      Conference with SR, LH, AR and MQ regarding       0.10   $17.50 $175.00     0.00     $0.00   100.00% In House Conference
                                 case status; next steps.
 2020-07-28      Josh Sanford    Examination of IOM: results of depo               0.10   $30.00 $300.00     0.10    $30.00     0.00% Case Management
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                      Description                                    Rate                    % Reduction           Category
                                                                                  Time Charge            Claimed Claimed
 2020-07-28      Josh Sanford    Receive, read and prepare response to               0.30 $90.00 $300.00     0.30  $90.00       0.00% In House Conference
                                 email(s) from SR/LH: P's settlement
 2020-07-28      Josh Sanford    Receive, read and prepare response to              0.20   $60.00 $300.00     0.20    $60.00      0.00% In House Conference
                                 email(s) from SR/LH: fee settlement
 2020-07-28      Josh Sanford    Receive, read and prepare response to              0.10   $30.00 $300.00     0.00     $0.00    100.00% In House Conference
                                 email(s) from LH: case status
 2020-07-28      Josh Sanford    Receive, read and prepare response to              0.10   $30.00 $300.00     0.00     $0.00    100.00% In House Conference
                                 email(s) from LH/SR: status of mediation
 2020-07-28      Josh Sanford    Examination of minute entry                        0.10   $30.00   $300.00   0.00     $0.00    100.00%   Case Management
 2020-07-28      Josh Sanford    Preparation and drafting of IOM: case status       0.10   $30.00   $300.00   0.10    $30.00      0.00%   Case Management
 2020-07-28      Josh Sanford    Examination of memo to OC                          0.10   $30.00   $300.00   0.00     $0.00    100.00%   Opposing Counsel Communication
 2020-07-28      Lydia H. Hamlet Work on Client's file: final preparation for       0.25   $43.75   $175.00   0.20    $35.00     20.00%   Settlement Related
                                 settlement conference/conference with SR re:
                                 same
 2020-07-28      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.00     $0.00    100.00% Case Management
                                 email(s) from staff re: settlement conference

 2020-07-28      Lydia H. Hamlet Travel time and attendance at Court for            3.10 $542.50 $175.00      3.10   $542.50      0.00% Settlement Related
                                 settlement conference.
 2020-07-28      Lydia H. Hamlet Travel time and attendance at Court for            3.20 $560.00 $175.00      3.20   $560.00      0.00% Settlement Related
                                 settlement conference.
 2020-07-28      Steve Rauls     Court Appearance: video settlement                 6.00 #######    $175.00   6.00 $1,050.00      0.00% Settlement Related
                                 conference
 2020-07-29      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.10    $17.50      0.00% In House Conference
                                 email(s) from JS re: settlement re: damages
 2020-07-29      Staff           Work on Client's file: process ECF - Text Only     0.10    $2.50    $25.00   0.10     $2.50      0.00% Case Management
                                 Minute Order re Settlement Conference
 2020-07-29      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                 email(s) from SR re: settlement breakdown
                                 for oc
 2020-07-29      Lydia H. Hamlet Receipt and review of minute entry re:             0.10   $17.50 $175.00     0.10    $17.50      0.00% Case Management
                                 settlement conference
 2020-07-29      Lydia H. Hamlet Receipt and review of IOM re: minute entry         0.10   $17.50 $175.00     0.00     $0.00    100.00% Case Management
 2020-07-29      Lydia H. Hamlet Conference with SR re: communication with          0.10   $17.50 $175.00     0.10    $17.50      0.00% In House Conference
                                 opt-ins re: settlement
 2020-07-30      Steve Rauls     Receive, read and prepare response to              0.10   $17.50 $175.00     0.00     $0.00    100.00% Court Communication
                                 email(s) from court regarding magistrate
                                 consent form
 2020-07-30      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00     0.00     $0.00    100.00% In House Conference
                                 email(s) from SR re: consent to magistrate
 2020-07-31      Josh Sanford    Examination of consent to MJ                       0.10   $30.00 $300.00     0.00     $0.00    100.00% Case Management
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                                                                                   Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                      Rate                     % Reduction          Category
                                                                                   Time Charge            Claimed Claimed
 2020-07-31      Lydia H. Hamlet consent to magistrate                                0.10 $17.50 $175.00     0.00    $0.00     100.00% Case Management
 2020-07-31      Lydia H. Hamlet Receive, read and prepare response to                0.10 $17.50 $175.00     0.10  $17.50        0.00% Court Communication
                                 email(s) from court re: consent to magistrate
 2020-07-31      Lydia H. Hamlet Receipt and review of file-marked consent to        0.10   $17.50 $175.00    0.00    $0.00      100.00% Case Management
                                 magistrate
 2020-08-03      Staff           Work on Client's file: process ECFs.                0.10    $2.50 $25.00     0.10    $2.50        0.00% Case Management
 2020-08-04      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.10   $17.50        0.00% Opposing Counsel Communication
                                 email(s) from oc re: settlement agreement
 2020-08-04      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.10   $17.50        0.00% In House Conference
                                 email(s) from JS re: order/petition for fees
 2020-08-04      Josh Sanford    Examination of OC email                             0.10   $30.00 $300.00    0.00    $0.00      100.00% Opposing Counsel Communication
 2020-08-04      Josh Sanford    Work on Client's file: fee request                  0.10   $30.00 $300.00    0.10   $30.00        0.00% Fee Petition
 2020-08-05      Lydia H. Hamlet Receipt and review of settlement agreement          0.20   $35.00 $175.00    0.20   $35.00        0.00% Settlement Related
                                 draft
 2020-08-05      Lydia H. Hamlet Compose electronic communication to SG, SR          0.10   $17.50 $175.00    0.10   $17.50        0.00% In House Conference
                                 re: settlement agreement draft
 2020-08-07      Josh Sanford    Conference with LH: fee petition                    0.10   $30.00 $300.00    0.00    $0.00      100.00% In House Conference
 2020-08-07      Lydia H. Hamlet                                                     0.10   $17.50 $175.00    0.10   $17.50        0.00% Client Communication
 2020-08-07      Lydia H. Hamlet Conference with JS re: settlement value to opt-     0.10   $17.50 $175.00    0.10   $17.50        0.00% In House Conference
                                 ins, correspondence re: same
 2020-08-07      Lydia H. Hamlet Conference with JS re: fee petition                 0.10   $17.50 $175.00    0.10   $17.50        0.00% In House Conference
 2020-08-07      Lydia H. Hamlet Compose electronic communication to SR re:          0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                 fee petition
 2020-08-09      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                 email(s) from SR re: fee petition drafting
 2020-08-09      Lydia H. Hamlet Compose electronic communication to RM re:          0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                 fee petition
 2020-08-10      Steve Rauls     Examination of Def.'s proposed settlement           0.50   $87.50 $175.00    0.50   $87.50        0.00% Settlement Related
                                 agreement
 2020-08-10      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.10   $17.50        0.00% Opposing Counsel Communication
                                 email(s) from oc re: settlement agreement
                                 status
 2020-08-10      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                 email(s) from RM re: fee petition
 2020-08-10      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                 email(s) from SR re: fee petition/conference
                                 re: same
 2020-08-10      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00    0.00    $0.00      100.00% In House Conference
                                 email(s) from RM re: fee petition
 2020-08-10      Rebecca MatlockReceive, read and prepare response to                0.10   $12.50 $125.00    0.00    $0.00      100.00% In House Conference
                                 email(s) from LH and SR about drafting a fee
                                 petition
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                                                                                  Actual Actual            Time   Amount
Date Billed on      Billed By                     Description                                     Rate                     % Reduction           Category
                                                                                  Time Charge            Claimed Claimed
 2020-08-11      Thomas Odom Receipt and review of email from SG fwd SA              0.10 $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 draft to review
 2020-08-11      Lydia H. Hamlet Conference with SR re: settlement agreement        0.10   $17.50 $175.00    0.10    $17.50       0.00% In House Conference
                                 edits
 2020-08-11      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from SR re: settlement agreement
                                 review
 2020-08-11      Steve Rauls     Editing and revision of Def.'s proposed            1.30 $227.50 $175.00     1.30   $227.50       0.00% Settlement Related
                                 settlement agreement; email changes to
                                 opposing counsel
 2020-08-11      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.10    $17.50       0.00% In House Conference
                                 email(s) from SR re: proposed edits to
                                 settlement agreement
 2020-08-11      Lydia H. Hamlet                                                    0.10   $17.50 $175.00    0.10    $17.50       0.00% Client Communication
 2020-08-11      Lydia H. Hamlet Receipt and review of edited settlement            0.10   $17.50 $175.00    0.10    $17.50       0.00% Settlement Related
                                 agreement
 2020-08-11      Lydia H. Hamlet                                                    0.40   $70.00 $175.00    0.40    $70.00       0.00% Client Communication
 2020-08-11      Lydia H. Hamlet Work on Client's file: editing and revision of     0.20   $35.00 $175.00    0.20    $35.00       0.00% Settlement Related
                                 correspondence to opt-ins; conference with SR
                                 re: same
 2020-08-12      Stacy Gibson    Receive, read and prepare response to              0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from LH re: settlement
 2020-08-13      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.10    $17.50       0.00% In House Conference
                                 email(s) from SG re: settlement agreement
                                 edits/settlement process
 2020-08-13      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from SG re: settlement process, etc.
 2020-08-13      Stacy Gibson    Receive, read and prepare response to              0.10   $17.50 $175.00    0.00     $0.00     100.00% In House Conference
                                 email(s) from LH re: settlement edited
 2020-08-13      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.10    $17.50       0.00% Opposing Counsel Communication
                                 email(s) from oc re: settlement agreement
                                 edits
 2020-08-13      Josh Sanford    Examination of OC email                            0.10   $30.00 $300.00    0.00     $0.00     100.00% Opposing Counsel Communication
 2020-08-14      Steve Rauls     Examination of Def.'s proposed edits to            0.30   $52.50 $175.00    0.30    $52.50       0.00% Settlement Related
                                 settlement agreement; follow-up emails to
                                 opposing counsel and LH
 2020-08-14      Lydia H. Hamlet Receive, read and prepare response to              0.10   $17.50 $175.00    0.10    $17.50       0.00% In House Conference
                                 email(s) from SR re: settlement agreement
                                 for signatures
 2020-08-14      Lydia H. Hamlet                                                    0.10   $17.50 $175.00    0.10    $17.50       0.00% Client Communication
 2020-08-14      Lydia H. Hamlet                                                    0.10   $17.50 $175.00    0.10    $17.50       0.00% Client Communication
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                                                                                 Actual Actual            Time   Amount
Date Billed on      Billed By                    Description                                     Rate                     % Reduction          Category
                                                                                 Time Charge            Claimed Claimed
 2020-08-14      Thomas Odom Editing and revision of SA drafted by OC               0.30 $52.50 $175.00     0.00    $0.00     100.00% Settlement Related
 2020-08-14      Staff           Preparation and drafting of HelloSign              0.10  $2.50 $25.00      0.10    $2.50       0.00% Case Management
                                 document to obtain signed Settlement
                                 Agreement
 2020-08-14      Steve Rauls     Receive, read and prepare response to             0.10   $17.50 $175.00     0.10   $17.50       0.00% Court Communication
                                 email(s) from magistrate regarding
                                 settlement agreement
 2020-08-14      Lydia H. Hamlet Receipt and review of settlement agreement        0.10   $17.50 $175.00     0.10   $17.50       0.00% Settlement Related
                                 signed by defendant
 2020-08-14      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from SR re: settlement agreement
 2020-08-14      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00     0.10   $17.50       0.00% In House Conference
                                 email(s) from SR re: settlement agreement
                                 signed by Defendant
 2020-08-14      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00     0.10   $17.50       0.00% Opposing Counsel Communication
                                 email(s) from oc re: settlement agreement
 2020-08-14      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 email(s) from SR re: settlement agreement
 2020-08-14      Lydia H. Hamlet Receipt and review of updated settlement          0.10   $17.50 $175.00     0.10   $17.50       0.00% Settlement Related
                                 agreement
 2020-08-14      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00     0.10   $17.50       0.00% Case Management
                                 email(s) from SDG re: Hello Sign
 2020-08-14      Lydia H. Hamlet Receive, read and prepare response to             0.10   $17.50 $175.00     0.00    $0.00     100.00% Case Management
                                 email(s) from SDG re: signatures
 2020-08-14      Lydia H. Hamlet Receipt and review of fully executed              0.10   $17.50 $175.00     0.10   $17.50       0.00% Settlement Related
                                 settlement agreement
 2020-08-14      Josh Sanford    Examination of emails with OC                     0.10   $30.00   $300.00   0.00    $0.00     100.00%   Opposing Counsel Communication
 2020-08-17      Lydia H. Hamlet                                                   0.10   $17.50   $175.00   0.10   $17.50       0.00%   Client Communication
 2020-08-17      Lydia H. Hamlet                                                   0.10   $17.50   $175.00   0.10   $17.50       0.00%   Client Communication
 2020-08-17      Lydia H. Hamlet Work on Client's file: enter settlement           0.20   $35.00   $175.00   0.20   $35.00       0.00%   Case Management
                                 information into Salesforce
 2020-08-17      Staff           Receipt and review of executed Settlement         0.10    $2.50    $25.00   0.00    $0.00     100.00% Settlement Related
                                 Agreement
 2020-08-17      Lydia H. Hamlet Conference with SR/SDG re: fully executed         0.10   $17.50 $175.00     0.00    $0.00     100.00% In House Conference
                                 settlement agreement/receipt and review of
                                 same
 2020-08-17      Lydia H. Hamlet Compose electronic communication oc re: fully     0.10   $17.50 $175.00     0.10   $17.50       0.00% Opposing Counsel Communication
                                 executed settlement agreement
 2020-08-17      Lydia H. Hamlet                                                   0.20   $35.00   $175.00   0.20   $35.00       0.00%   Client Communication
 2020-08-17      Lydia H. Hamlet                                                   0.10   $17.50   $175.00   0.10   $17.50       0.00%   Client Communication
 2020-08-17      Lydia H. Hamlet                                                   0.10   $17.50   $175.00   0.00    $0.00     100.00%   Client Communication
 2020-08-17      Lydia H. Hamlet                                                   0.10   $17.50   $175.00   0.10   $17.50       0.00%   Client Communication
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                                                                                   Actual Actual                Time   Amount
Date Billed on      Billed By                      Description                                      Rate                        % Reduction           Category
                                                                                   Time Charge                Claimed Claimed
 2020-08-17      Lydia H. Hamlet                                                      0.10 $17.50   $175.00       0.00    $0.00     100.00%   Client Communication
 2020-08-17      Lydia H. Hamlet                                                      0.10 $17.50   $175.00       0.10  $17.50        0.00%   Client Communication
 2020-08-17      Lydia H. Hamlet                                                      0.10 $17.50   $175.00       0.00    $0.00     100.00%   Client Communication
 2020-08-17      Lydia H. Hamlet                                                      0.10 $17.50   $175.00       0.10  $17.50        0.00%   Client Communication
 2020-08-17      Lydia H. Hamlet                                                      0.10 $17.50   $175.00       0.00    $0.00     100.00%   Client Communication
 2020-08-17      Lydia H. Hamlet Receive, read and prepare response to                0.10 $17.50   $175.00       0.10  $17.50        0.00%   Opposing Counsel Communication
                                 email(s) from oc to court re: executed
                                 settlement agreement
 2020-08-17      Lydia H. Hamlet                                                     0.10 $17.50 $175.00         0.00     $0.00     100.00% Client Communication
 2020-08-17      Vanessa Kinney overview of file in preparation for motion for       2.10 $472.50 $225.00        2.10   $472.50       0.00% Fee Petition
                                 fees and begin work on motion for fees
 2020-08-18      Lydia H. Hamlet Conference with team re: case                       0.10   $17.50 $175.00       0.00     $0.00     100.00% In House Conference
                                 update/settlement status/fee petition
 2020-08-18      Vanessa Kinney search and review past fee orders, make notes        4.40 $990.00 $225.00        2.40   $540.00      45.45% Fee Petition
                                 for fee petition references
 2020-08-19      Vanessa Kinney continue review of past fee orders and               3.30 $742.50 $225.00        0.00     $0.00     100.00% Fee Petition
                                 analysis and brief overview of billing in E.
                                 Rodriguez
 2020-08-20      Josh Sanford    Read and review ECF #58, ORDER regarding            0.10   $30.00 $300.00       0.00     $0.00     100.00% Case Management
                                 settlement conference
 2020-08-20      Lydia H. Hamlet Conference with SR re: order/fee petition           0.10   $17.50 $175.00       0.10    $17.50       0.00% In House Conference
 2020-08-20      Lydia H. Hamlet Receive, read and prepare response to               0.10   $17.50 $175.00       0.00     $0.00     100.00% In House Conference
                                 email(s) from SR re: fee petition
 2020-08-20      Lydia H. Hamlet Receipt and review of Order following               0.20   $35.00 $175.00       0.10    $17.50      50.00% Settlement Related
                                 settlement conference; calendar deadlines
 2020-08-20      Vanessa Kinney Telephone conference with Rebecca Matlock            0.10   $22.50 $225.00       0.00     $0.00     100.00% Fee Petition
                                 re: fee petition
 2020-08-21      Rebecca MatlockEditing and Revision of Invoice for Fee Petition     0.80 $100.00 $125.00        0.00     $0.00     100.00% Fee Petition

 2020-08-21      Vanessa Kinney work with order review data, review invoice          1.90 $427.50 $225.00        0.50   $112.50      73.68% Fee Petition
 2020-08-21      Vanessa Kinney pull additional orders cited by Vines and            2.50 $562.50 $225.00        1.50   $337.50      40.00% Fee Petition
                                review and take notes for fee petition; review
                                briefing in some of the cases for positive
                                analysis and facts not reflected by Orders

 2020-08-22      Vanessa Kinney work on fee briefing section addressing Vines        4.50 ####### $225.00        2.00   $450.00      55.56% Fee Petition
 2020-08-23      Vanessa Kinney work on fee petition briefing                        3.60 $810.00 $225.00        1.00   $225.00      72.22% Fee Petition
 2020-08-26      Rebecca MatlockEditing and Revision of Invoice for Fee Petition     0.70 $87.50 $125.00         0.00     $0.00     100.00% Fee Petition

 2020-08-26      Vanessa Kinney Categorizing and deducting invoice entries           4.10 $922.50 $225.00        1.00   $225.00      75.61% Fee Petition
 2020-08-27      Rebecca MatlockEditing and Revision of Invoice for Fee Petition     1.10 $137.50 $125.00        0.00     $0.00     100.00% Fee Petition
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                                                                                 Actual Actual             Time   Amount
Date Billed on      Billed By                    Description                                      Rate                     % Reduction           Category
                                                                                 Time Charge             Claimed Claimed
 2020-08-27      Vanessa Kinney Categorizing and deducting invoice entries          1.20 $270.00 $225.00     0.40  $90.00       66.67% Fee Petition
 2020-08-28      Rebecca MatlockEditing and Revision of Invoice for Fee Petition    1.00 $125.00 $125.00     0.00    $0.00     100.00% Fee Petition

 2020-08-29      Vanessa Kinney work with spreadsheet to determine               2.40 $540.00 $225.00     0.00     $0.00       100.00% Fee Petition
                                categories/attorneys that need reduction;
                                remove references to FMLA claims, protective
                                order, and reviewing file marked items

 2020-08-30      Vanessa Kinney work on fee petition briefing, adding            2.20 $495.00 $225.00     1.20   $270.00        45.45% Fee Petition
                                references to deductions and categories of
                                work
                                                                               670.00 #######           420.45 ########         37.25%
